  Case 18-12095-BFK                         Doc 93    Filed 09/28/18 Entered 09/28/18 14:20:49                        Desc Main
                                                     Document     Page 1 of 114


                                                     U.S. Trustee Monthly Operating Report


Fiil in this information to identify the case:


Debtor Name;                WW Contractors, Inc.                                                                      Check if this is an
                                                                                                                       amended filing.
United States Bankruptcy court for: Eastern                     District of Virginia


Case Number: 18-12095-BFK



Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11


Month:                     i30.Jun.18                        jDate Report Fifed:       h< ^/^g/^/^
                                                                                                 / MM/bD/YYYY
Line of Business: |Govt Contractor - Bldg Maint JNAISC Code;                           |238990


IN ACCORDANCE WiTH TITLE 2B, SECTION 1746. OF THE UNITED STATES CODE.! DECLARE UNDER PENALTY OF PERJURY THAT I
HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE ACCOMPANYING ATTACHMENTS
AND, TQfTH^BeST.OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
  ////, I//// .
  Wff-VA^^^ } \                                                                        \^W 12^ I •2^7^ \
OTftlGINALj^GNATURE <g^ RESPONi                                                        DATE RitPORT^)ONED

                  i, President
PRINTED NAME OF RESPONSIBLE PARTY AND POSITION WITH THE DEBTOR

|1. QUESTIONNAIRE:                      ]
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.


IF YOU ANSWER NO TO ANY QUES1TONS IN UNES 1-9. ATTACH AN EXPLANATION
                          AND LABEL IT EXH(B!T_A. YES                                                           NO           N/A
     1 DID THE BUSINESS OPERATE DURING THE ENTIRE REPORTING PERIOD? x
     2 "DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH? x
     3 HAVE YOU PAD ALL OF YOUR BILLS ON TIME                                                          x
     4 DID YOU PAY YOUR EMPLOYEES ON TIME?                                                             x
     5 HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO DEBTOR                                          x
          IN POSSESSION (DIP) ACCOUNTS?
     6
                                                                                                       x
          HAVE YOU TIMELY FILED YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES?
     7 HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS?                                                            x
     8 ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENTS TO THE U.S.                                      x
           TRUSTEE OR BANKRUPTCY ADMINISTRATOR?
     9 HAVE YOU TIMELY PAID ALL OF YOUR INSURANCE PREMIUMS?                                                                   x
Case 18-12095-BFK                  Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                Desc Main
                                                  Document     Page 2 of 114


     IF YOU ANSWER YES TO ANY OF THE QUESTIONS IN LINES 10-18, ATTACH AN EXPLANATION AND LABEL IT EXHIBIT B^

                                                                                                         YES NO N/A
    10 DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?                                    x
    11 HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY?                                                              x
    12 HAVE YOU SOLD OR TRANSFERRED ANY ASSETS OR PROVIDED SERVICES TO
           ANYONE RELATED TO THE DIP IN ANY WAY?                                                                   x
    13 DID ANY !NSURANCE COMPANY CANCEL YOUR POLiCY?                                                               x
    14 DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES?                                             x
    15 HAVE YOU BORROWED MONEY FROM ANYONE OR HAS ANYONE MADE ANY
           PAYMENTS ON YOUR BEHALF?                                                                                x
    16 HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS?                                                             x
    17 HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?                                     x
    18 HAVE YOU ALLOWED ANY CHECKS TO CLEAR THE BANK THAT WERE ISSUED
           BEFORE YOU FILED BANKRUPTCY?                                                                            x


|2. SUMMARY OF CASH ACTIVITY FOR ALL ACCOUNTS
                                                                                                                                            J
    19    Total opening balance of all accounts                                                                               $164,703.30
          This amount must equal what you reported as cash on hand at Ihe end of the month En the previous month. If
          this is your first report, report the total cash on hand as of the date of the filing of this case.

    20    Total Cash Receipts
          Attach a listing of ail cash received for the month and label it Exhibit C, include ail cash
          received even if you have not deposited it at the bank, collections on recoivabieSi credit
          card deposits, cash received from other pgrtiesi or loans, gifts, or payments made by
          other parties on your behalf. Do not attach bank statements In lieu of Exhibit C.

          Report the total from Exhibit C here.                                                              $820.371.73

   21    Total Cash Disbursements
         Attach a listing of al! payments you made in the month and label it Exhibit D, List the
         date paid, payee, purpose, and amount. Include ail cash payments, debit card
         transactions, checks issued even if they have not cleared tho bank, outstanding checks
         issued before the bankruptcy was filed that were allowed to clear this month, and
         payments made by other parties on your behalf. Do not attach bank statements in lieu
         of Exhibit D.


         Report the total from Exhibit D here.                                                               $626,976.76

   22 Net Cash Flow                                                                                          $193,394.97
         Subtract line 21 from 20 and report the result her. This amount may be different from
         what you may havo calculated as net profit.

   23 Cash on hand at the end of the month
         Add lino 22 + line 19. Report the result here.                                                                       $358,098.27

         Report this figure as the cash on hand at the beginning of the month on your next operating report,


         This amount may not match your bank account balance because you may have outstanding checks that have
         not cleared the bank or deposits In transit.
  Case 18-12095-BFK                   Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                                    Desc Main
                                                  Document     Page 3 of 114



|3. UNPAID BILLS

           Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but have
           not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the purspossof
           the debt, and when the debt Is due. Report the total from Exhibit E here.


    24         Total                    Payabfes                                 !    $1.063.934.67

                        (Exhibit E)

|4. MONEY OWED TO YOU

           Attach a list of all amounts owed to you by your customers for work you have done or merchandiso you have
           sold. Include amounts owed to you both before, and after you filed bankruptcy, Label it Exhibit F. Identify who
           owes you money, how much is owed, and when payment is due. REport the total from Exhibit F here.


    25        Total                   Receivables                                     I    $2.745,921.75
                        (Exhibit F)


15. EMPLOYEES ___ _•
    26 What was the number of employees when ths case was filed? j_85


    27 What is the number of employees as of tho date of this report? ]_85


|6. PROFESSIONAL FEES

    28 How much have you paid this month in professional fees related to this bankruptcy case? _ $0.00

    29 How much in professional fees related to this bankruptcy case since the case was filed? |_$0.00


    30 How much have you paid this month in other professional fees? $0.00


    31 How much have you paid En total other professional fees since filing this case? _$0^30^
 Case 18-12095-BFK                   Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                                      Desc Main
                                                 Document     Page 4 of 114



|7. PROJECTIONS

           Compare your actual cash receipts and disburesements to what you projected in the previous month.
           Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                     Column A                               Column B                                     nnC
                                            Projected                               Actual                                    Difference
                                     Copy lines 35-37 from                  Copy lines 20-22 of                          act Column B from
                                     the previous month's                   report.                                      nnA.
                                     report.


    32 Cash Receipts                           $694.074.00 |                             $820,37                                   ($126,297.73)

    33 Cash Disbursements                      $393.667.00 i                             $626,97                                   ($233,309.76)

    34 Net Cash Fiow                           $300,407.00 |                             $193,39                                    $107,012.03



    35 Total projected cash receipts for the next month:                                                                        r^T7l58.790.00

    36 Total projected cash disbursements for the next month:                                                                   I $1,050,161.00

    37 Totai projected net cash flow for the next month:                                                                        I $108,629.00

(IF ACTUAL CASH PROFiT WAS 90% OR LESS THAN PROJECTED CASH PROFIT, PLEASE INCLUDE A DETAILED
WRITTEN EXPLANATION.)




|8. ADDITIONAL INFORMATION

           If available, check the box to the [eft and attach copies of the following documsnts,

    38         ^ ]                   Bank statements for each open account (rodact all but the last 4 digits of the account numbers.

    39         ^ ]                  Bank reconciliation reports for each account including list of outstanding checks.


    40         ^T     ]             Financial reports such as an income statement (profit/loss), balance sheet, and cash flow statement.

    41
                      ]             Budget, projection, or forecast reports.


    42
                      ]             Project, job costing, or work-in-progress reports,


                           RECONCILIATION OF CASH DISBURSEMENTS
CASH DISBURSEMENTS PER FORM 4A-2                                                                                                      626,976.76
CASH DISBURSEMENTS PER SUM OF FORM 4A-3                                                                                               626,976.76
CASH DISBURSEMENTS PER FORM 4D                                                                                                        626,976.76
     Case 18-12095-BFK              Doc 93    Filed 09/28/18 Entered 09/28/18 14:20:49                     Desc Main
                                             Document     Page 5 of 114

DEBTOR: WW Contractors, In.c                                              CASE NO:            18-12095-BFK




                   CASH RECEIPTS AND DISBURSEMENTS STATEMENT FORM SB-2
                                     For Period: 06/13/18 to 06/30/18


CASH FLOW SUMMARY                                                      Current
                                                                        Month               Accumulated

1. Beginning Cash Balance                                              164,703.30 (1)$       164,703.30 (1)

2. Cash Receipts
     Operations                                                         820,371.73            820,371.73
     Sale of Assets NOTE: See (B) Below:                                      0.00                  0.00
     Loans/advances                                                           0.00                  0.00
     Other                                                                    0.00                  0.00

     Total Cash FWW Contractors                                        820,371.73 $          820,371.73


3. Cash DisburseiWWContrators
     Operations Customer                                                626,976.76 $         626,976.76
      Debt Service/ Customer                                                    0.00               0.00
      Professional fees/U.S. Trustee fees                                       0.00               0.00
      Payments made from asset sale: NOTE: See (C) Below.                       0.00               0.00
     Other                                                                      0.00               0.00

     Total Cash Disbursements                                          626,976.76 $          626,976.76


4. Net Cash Flow (Total Cash Receipts less
      Total Cash Disbursements)                                        193,394.97 $          193,394.97


5 Ending Cash Balance                                                  358,098.27 (2)$       358,098.27 (2)



CASH BALANCE SUMMARY See Note (A) below.                                                       Book


   Petty Cash                                                                                      0.00

   DIP Operating Account                                                               $ (3,880.12)

   DIP State Tax Account                                                               $ 0.00

   DIP Payroll Account                                                                 $ (287.54)
   Other Operating Account                                                             $ 362,265.93

   Other Interest-bearing Account                                                                  0.00

  TOTAL (must agree with Ending Cash Balance above)                                          358,098.27

  Variance between Ending Cash Balance and Ending Book Balances:                                   0.00


(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(B) This figure should include the gross amount the seller receives from the safe. On a HUD-1, this would be f
(C) This figure should include all reductions paid by the debtor for the sale of ofasset(s). On a HUD-1, this we
(1) Accumulated beginning cash balance is the cash available at the commencement of the case.
    Current month beginning cash balance should equal the previous month's ending balance.
(2) Afl cash balances should be the same.
     Case 18-12095-BFK                         Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                               Desc Main
                                                              Document     Page 6 of 114
DEBTOR: WW Contractors, In.c                                                                           CASE NO:                         18-12095-BFK
                                                                                                                                          Exhibit C
                                                                                  Form SB-3
                                               CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                                              FOR THE PERIOD 6/13/2018 TO 6/30/2018

CASH RECEIPTS DETAIL                                                  Account No;                              1118,1124,1126,1127,1129,1130,1131
(attach additional sheets as necessary)


        Date                               Payer                                                 Description                            Amount _j
    6/13/2018         Customer                                             Deposit - Bank of America Checking 3300            $                 271.966.00
    6/13/2018         Customer                                             Deposit - Bank of America Checking 3300            $                   29.782.50
    6/13/2018         Customer                                              Deposit-1124 • First National Checking Account    $                   56.462.30.
    6/13/2018         Customer                                              Deposit-1124- First National Checking AccoLint    $                   22.268.24
    6/14/2018         Customer                                              Deposit -1124 • First National Checking Account   $                  188,373.47
    6/18/2018         Customer                                              Deposit -1124 • First National Checking Account                           6,549.13
    6/13/2018         Customer                                              Deposit -1126 • First National Bank Payroll Ace                      198,145.53,
    6/14/2018         Customer                                             Deposit -1127 • First Nationa! Bank 9600           $                   44,001.56
    6/27/2018 WW Contractors                                                Deposit -1130 • Suntrust Payroil DIP Account      $                        100.00
    6/28/2018 Oliver Fire Protection & Security                             1129 • SunErust DIP Account                       $                       2,594.88
    6/27/2018 WW Contrators                                                 1123 • Suntrust DIP Account                       $                        100.00
    6/29/2018         Customer                                              Deposits-1131 - Wells Pargo Checking 8745         $                           3.12
    6/29/2018         Customer                                              Deposits-1131 • WeSls Fargo Checking 8745                                   25.00
                                                                                                                              $

                                                                           Total Cash Receipts                                $                  820,371.73


(A) The term "cash" Includes all forms of currency i.e; checks, cash, money orders, etc.

(1) Total for all accounts should agree with tofat cash receipts listed on Form SB-2.
         Case 18-12095-BFK                      Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                                             Document     Page 7 of 114
DEBTOR:             WW Contractors, In.c                                                                                       18-12095-BFK
                                                                                                                                Exhibit D
                                                                        Form SB-4
                                     CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)



CASH DISBURSEMENTS DETAIL                                                                            Account No:                 N/A
(attach additions! sheets as necessary)


         Date         I Check No.   [Payee                                                         Description (Purpose)         Amount
      6/14/2018                      Holiday Inn Express                                                TRAVEL                         (318.91)
      6/28/2018          13800       Machado Landscape LLC,                                     PROPERTY MAINTENANCE                (1,000.00)
      6/28/2018          ACH         Shades of Green                                                 COGS VENDOR                  (25.000.00)
      6/28/2018          ACH         Comdata                                                             W1569                    (15,OOO.Pp)_
      6/28/2018          WIRE        First National Bank                                          BANK DEBT-SECURED               (20,000,00)
      6/28/2018          WIRE       TTUMAN RESOURCES, TNC                                          PAYROLL COMPANY               (222,771.50)
      6/29/2018          AGH         WW Contractors, Inc.                                      PETTY CASH FOR JOB SITES             (2,500.0Q)_
      6/29/2018          WIRE        First National Bank                                          BANKDEBT-SECURED                  (9,374.18)
      6/29/2018                      Baltimore Gas & Electric                                          UTILITIES                    (3,903.93)
      6/29/2018           ACH        WW Contractors, Inc.                                           CHIMES STARTUP                  (2,500.00)
      6/29/2018           EFT        BMW Bank                                                        OFFICER COMP                     (779.84)_
      6/29/2018           ACH        Travelers                                                        INSURANCE                   (30,324.20)
      6/30/2018                      Bank of America                                                 Service Charge                   (600.00).
      6/14/2018           1327       Dspartment of Assessments and Taxation                 W13908702; TAX ID XX-XXXXXXX              (300.00)_
      6/14/2018           1327       State Dept. of Assessments and Taxation                W13908702; TAX ID XX-XXXXXXX               (300.00)
                                                                                           WW CONTRACTORS HOLD DEPT ID
      6/14/2018           1328       State Dept. of Assessments and Taxation                                                           (300.00)
                                                                                                    W11464799
                                                                                             WW CONTRACTORS DEPT !D
      6/14/2018           1329       State Dept. of Assessments and Taxation                                                           (300.00)
                                                                                               D02316008; 521525622
                                                                                            HAI-WW, LLC !D#W04951000; 52-
      6/14/2018           1330       State DepL of Assessments and Taxation                                                            (300.00)
                                                                                                      209651
      6/14/2018           1331       Nicholas Wigglns                                             PAYROLL OFFICE                       (800.00)
      6/14/2018                      Payrol! Funding Company                                    PAYROLL COMPANY                    (5,990,03)
      6/14/2018                      CHARLESSCHWAB                                                   401 KWW                      (32,152,35)_
      6/14/2018                      CHARLES SCHWAB                                                  401 KWW                      (36,609.76)
      6/20/2018           1332       Maura Zamora                                                  COGS VENDOR                       (220.00).
                                                                                          PAY PERIOD ENDING 06.09.18 NEW
      6/14/2018                      HUMAN RESOURCES, INC.                                                                        (38,052.98)
                                                                                                  ORLEANS; NIVEA
                                                                                          PAY PERIOD ENDING 06.09.18 FOUR
      6/14/2018                      HUMAN RESOURCES, iNC.                                                                        (31,919.58)
                                                                                                     FEDS; NEA
                                                                                          PAY PERIOD ENDING 06.09.18 CORP;
      6/14/2018                      HUMAN RESOURCES, INC.                                                                        (31.442.75)
                                                                                                         NEA
                                                                                            PAY PERIOD ENDING 05.26.18DEL
      6/14/2018                      HUMAN RESOURCES, INC.                                                                        (68,322.92)
                                                                                                      VAL; NEA
                                                                                           PAY PERIOD ENDING 06.09.18 EAST
      6/14/2018                      HUMAN RESOURCES. INC.                                                                        (16,956.56)
                                                                                                    TEXAS; NIVEA
                                                                                           PAY PERiOD ENDING 05.12.18 NEW
      6/14/2018                      HUMAN RESOURCES, INC.                                                                        (11,726.56)
                                                                                                    MEXICO; N!VEA
                                                                                            PAY PERIOD ENDING 06.09.18; fort
      6/14/2018                      HUMAN RESOURCES, INC.                                                                         (9.796.29)
                                                                                                     worth; NIVEA
      6/29/2018                     PLUMBERS & STEAMFITTERS                                          UNION DUES                    (6,575,OQ)_
      6/30/2018                     1UOE Local 953                                                     UNIONS                          (387.54)
      6/22/2018                      Cash                                                     PETTY CASH FOR JOB SITES                 (451.88)


                                                                                      Total Cash Disbursements                  ($626,976.76)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.


(1) Total for all accounts should agree with total cash disbursements ffsted on Form 2-B, page 1
        Case 18-12095-BFK                     Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                               Desc Main
                                                        Document     Page 8 of 114
DEBTOR: WW Contractors, In.c                                                                                   CASE NO:           18-12095-BFK

                                                                        Form SB-5
                                                     COMPARATIVE BALANCE SHEET
                                                      For Period Ended: 06/30/18
                                                                                                                   Current             Petition
ASSETS                                                                                                              Month              Date (1)
Current Assets:
  Cash and Cash Equivalents (from Form 2-B, line 5)                                                            $     358,098      $      164,703
  Accounts Receivable (from Form 2-E)                                                                              2,745,922           2,786,678
  Receivable from Officers, Employees, Affliiates
  inventory
  Other Current Assets :(List) Allowance for Doubtful Accounts                                                       (603,230)          (603,230)
                                                       Undepossted Funds                                                9,429               1,595
      Total Current Assets                                                                                     $   2,510,219      $    2,349,746

Fixed Assets:
  Land                                                                                                         $      60,158      $       60,158
  Building                                                                                                           506,329             506,329
  Equipment, Furniture and Fixtures                                                                                  379,248             379,248

      Total Fixed customer                                                                                     $     945,735      $      945,735
  Less: Accumulal Customer                                                                                     (     460,749 )    (      460,749

      Net Fixed Assets                                                                                         $     484,986      $      484,986

  Other Assets (List):                                  Shareholder Loan                                            1,073,931          1,073,151


      TOTAL ASSETS                                                                                             $   4,069,136      $    3,907,883

LIABILITiES
Post Petition Liabilities:
  Post-petftJon Accounts Payable (from Form 2-E)                                                                     102,462 $
  Post-petEtion Accrued Profesional Fees (from Form 2-E)
  Post-petition Taxes Payable (from Form 2-E)
  Post-petition Notes Payable
  Other Post-petition Payable(List):

      Total Post Petition Liabilities                                                                          $     102,462      $               0

Pre Petition Liabilities:
  Secured Debt                                                                                                     3,602,415           3,630,054
  Priority Debt                        Cash                  PETTY CASH FOR JOB SITES                              1,551,036           1,557,026
  Unsecured Debt                                                                                                   1,831,983           1,851,134

     Total Pre Petition Liabilities                                                                            $   6,985,434      $    7,038,214

     TOTAL LIABILITIES                                                                                         $   7,087,896      $    7,038,214

OWNERS'EQUITY
  Owner's/Stockholder's Equity                                                                                 $       (2,860)    $         (2,860)
  Retained Earnings" PrepetEtion                                                                                   (3,015,900)        (3,127,471)
  Retained Earnings" Post-petition

     TOTAL OWNERS' EQUITY                                                                                      $   (3,018,760)    $   (3,130,331)

     TOTAL LIABILITIES AND OWNERS' EQUITY                                                                      $   4,069,136      $    3,907,883

     VARIANCE (ASSETS " LIABILITIES +" CAPITAL) MUST BE $0                                                     $                  $
(1) Petition date values are taken from the Debtor's balance sheet as of the petition date or are the values
   listed on the Debtor's schedules.
  NOTE: IF USING EXCEL, EACH LINE MUST CONTAIN A NUMBER.
  Case 18-12095-BFK                 Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                                Document     Page 9 of 114

DEBTOR: WW Contractors, In.c                                                                          CASE NO: 18-12095-BFK


                                                             Form SB-6
                                             PROFIT AND LOSS STATEMENT
                                         For Period 06/13/18 to 06/30/18

                                                                                   Current                        Accumulated
                                                                                   IVtonth                          Total (D

Gross Operating Revenue                                                              784,960                  3         784.960
Less: Discounts, Returns and Aliowances                                   (                     ..)          (
       Net Operating Revenue                                              $          784,960                 $          784,960

Cost of Goods Sold                                                                   585,016                            585,016

       Gross Profit                                                       $          199,944                 $          199,944
       Gross Profit Margin                                                                                                      0
                       WW Contractors
Operating Expenses
   Officer Compens WW Contrators                                                        4,615                              4,615
   Selling, General i Customer                                                         79,904                             79,904
   Rents and Lease Customer
   Depreciation, Depletion and Amortization
   Other (list);


   Total Operating Expenses                                                            84,519                $            84,519


       Operating Income (Loss)                                                       115,425                 $          115,425


Non-Operating Income and Expenses
   Other Non-Operating Expenses
   Gains (Losses) on Sale of Assets
   Interest Income                                                                                                              3
   Interest Expense                                                                     1,735                              1,735
   Other Non-Operating Income

   Net Non-Operating Income or (Expenses)                                              (1,732)                            (1,732)

Reorganization Expenses
   Legal and Professional Fees                                                          2,122                $             2.122
   Other Reorganization Expen Cash

   Total Reorganization Expenses                                                        2,122                $             2,122

       Net Income (Loss) Before Income Taxes                                         111,571                 $          111,571

Federal and State Income Tax Expense (Benefit)                                           0.00

       NET INCOME (LOSS)                                                             111,571                 $          111,571


(1) Accumulated Totals Include all revenue and expenses since fhe petition date.
NOTE: IF USING EXCEL. ALL LINES MUST CONTAIN A NUMBER.
      Case 18-12095-BFK               Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                                Document      Page 10 of 114

DEBTOR: WW Contractors CASE NO: 18-12095-BFK



                                                         Form SB-7
                                              DISBURSEMENT SUMMARY
                                     For the Month Ended: |6/30/2018




   Totai Disbursements from Operating Account (Note 1) $ 418,371.58


   Total Disbursements from Payroll Account (Note 2) $ _ _208,605.18


   Total Disbursements from Tax Escrow Account (Note 3) $ , _0.00


   Total Disbursements from and other Account (Note 4) $ _0.00


   Grand Total disbursements from all accounts $ 626,976.76
                            WW Contractors


   NOTE 1 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the genera!
   operating account. Exclude only transfers to the debtor in possession payro!! account, the debtor in possession tax escrow
   account or other debtor in possession account where the disbursements will be listed on this report.
                            Customer

   NOTE 2 -. include in this amount ali checks written, wire transfers made from. or any other withdrawal from the payroll
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession tax escrow account
   or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 3 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the tax escrow
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession payroli account or
   other debtor in possession account where the disbursements will be listed on this report.

   NOTE 4 - include in this amount any other disbursements made by the debtor including (but not limited to) cash paid from a
   petty cash fund or cash register, amounts paid from any other debtor in possession account, and amounts paid from the
   accounts of others on the debtors behalf (for example, disbursements made from a law firm's escrow account as a result of
   a sale of property.)



                                                      FEE SCHEDULE

In accordance with the Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, the following website link will take you to
schedules which will appiy for the calendar quarters beginning January 1, 2018 through September 30,2018.


                                       www.justice.gov/ust/chapter-11 -quarterly-fees



Interest will be assessed on Chapter 11 quarterly fees not paid by the end of the month following the end of the calander quarter
pursuant to 31 U.S.C. See. 3717. The interest rate assessed Is the rate in effect as determined by the Treasury Department at the
time the account becomes past due.


Failure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)J
Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                    Desc Main
                                       Document      Page 11 of 114


DEBTOR: WW Contractors, in.c CASE NO: 18-12095-BFK

                                                 Form SB-8
                                              NARRATIVE
                                       FOR THE PERIOD 06/30/2018

Please provide a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported En
the financiai statements, and any significant changes in the financial condition of the debtor which have occurred
subsequent to the report date.
  Case 18-12095-BFK                    Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49                            Desc Main
                                                    Document      Page 12 of 114


DEBTOR: WW Contractors, Inc.                                                           CASE NO:                          18-12095-BFK


                                                                     Exhibit A1
                                                                NON-DIP DEPOSITS
                                                        FOR THE PERIOD 6/13/2018 TO 6/30/2018

CASH RECEIPTS DETAIL                                           Account No:                                     Various
(attach additional sheets as necessary)


  |^^piate:^.[    |^\-i^^^:^.l^<.:'l3ayer^l,^,^:^;'-::':i;^|                       ,^'\'. Description^                        'Amount;
   6/13/2018                     Customer                               Deposit - Bank of America Checking 3300               271,966.00
   6/13/2018                     Customer                               Deposit - Bank of America Checking 3300                 29,782.50
   6/13/2018                     Customer                            Deposit -1124 • First National Checking Account            56,462.30
   6/13/2018                     Customer                            Deposit -1124 • First National Checking Account            22,268.24
   6/14/2018                     Customer                            Deposit -1124 • First National Checking Account           188,373.47
   6/18/2018                     Customer                            Deposit-1124 • First National Checking Account              6,549.13
   6/13/2018                     Customer                             Deposit -1126 • First National Bank PayroK Ace           198,145.53
   6/14/2018                     Customer                               Deposit -1127 • First National Bank 9600                44,001.56
   6/29/2018                     Customer                              Deposits-1131 • Wells Fargo Checking 8745                     3.12


                                                                 Total Cash Receipts                                          817,551.85
 Case 18-12095-BFK   Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                              Document      Page 13 of 114


DEBTOR: WW Contractors, Inc. CASE NO: 18-12095-BFK



                                                Exhibit B1
                                          NON-D1P CASH ACCOUNTS
                                          FOR THE PERIOD: 6/30/2018

                                 Account No: I See Below



I^^AccoLHits^opein other fhian Pl R^accbun^ ^| |.; .^Cash: bin. Hand/ ^ |
 1118- Bank of America Checking 3300 $ 77,994.77
 1124 • First National Checking Account (5,179.47)
 1122 • Bank of America Savings 3326 $ 0.47
 1131 • Wells Fargo Checking 8745 $ 289,450.16



Total        Cash         on         Hands                   $   362,265.93
      Case 18-12095-BFK                          Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                                 Desc Main
                                                               Document      Page 14 of 114

DEBTOR:                       WW Contractors, Inc                                                                                     CASE NO:                 18-12095-BFK


                                                                                    Exhibit E
                                                                        UNPAID BILLS • POST BANKRUPTCY
                                                                     FOR THE PERIOD 6/13/2018 TO 6/30/2018


Payee Detail                                                                   Account No:                                                         IN/A
^ .J'.; ; - \ •'.
                                                                                                                                                               \.: ,.612012W8 ; \
i;-,County ^ Status;^         U^ype:.^   '^~. Date;:.': :::"^;'IJ.;;.Num:^';;'.^ .^^;.^^/,;;^*;^;^-l;"Natrte^.'..;;,.'^'^:^',l^,^:'   'Due Date    :A9inS      ^•^ Balance-::,^

       1            Current   Biii       06/30/2018       149245495]uly18      AT&T                                                   07/21/2018                        230.32
       2            Current   Blil       06/30/2018      285678004july18       AT&T                                                   07/21/2018                         272.87
       3            Current   Bill       06/30/2018           16148            Water Treatment Sen/ices inc.                          07/30/2018                       3,278.18
       4            Current   Bill       06/30/2018           78284            SECURITY AND DATA TECHNOLOGIES                         07/30/2018                         861.10
       5            Current   Bill       06/30/2018         CT0025009          Kroff Chemlcai Company, Inc.                           07/30/2018                         815.00
       6            Current   Bill       06/30/2018            29087           Admiral Elevator Company                               08/14/2018                      25.307.00
       7            Current   Bill       06/29/2018            377738          American Linen & Uniform Supply                        07/29/2018                          72.99
       8            Current   Bin        06/29/2018           377739           American Unen & Uniform Supply                         07/29/2018                          59.24
       9            Current   Biil       06/29/2018          S0378480          American Linen & Uniform Supply                        07/29/2018                           32,44
      10            Current   Bill       06/28/2018            17335           Rucfd Alarms                                           07/28/2018                         645,00
      11            Current   Bill       06/28/2018            17323           Rudd Alarms                                            07/28/2018                         865.50
      12            Current   Bill       06/28/2018           17329-20         Rudd Aiarms                                            07/28/2018                       1,146.00
      13            Current   Bill       06/27/2018            39212           ADS Systems, Inc.                                      07/27/2018                         620.10
      14            Current   Bill       06/27/2018      285678002Ju!y18       AT&T                                                   07/27/2018                         211.35
      15            Current   Bid        06/27/2018            376879          American Linen & Uniform Supply                        07/27/2018                          74.90
      16            Current   Bill       06/27/2018           376880           American Linen & Uniform Supply                        07/27/2018                          71.72
      17            Current   Biii       06/27/2018          18775787          Canon Financla! Services, Inc.                         07/27/2018                         172.72
      18            Current   Bil!       06/26/2018         6-224-92646        Federa! Express                                        07/11/2018                          52.21
      19            Current   Bill       06/26/2018       285873781]uly18      AT&T                                                   07/17/2018                         211.35
      20            Current   Bill       06/26/2018 8299420170300jul18 Comcast                                                        07/19/2018                         203.21
      21            Current   Bill       06/26/2018     287197764      Cintas Corporation -061,100,287                                07/26/2018                         176.02
      22            Current   Bill       06/26/2018      61668129      Cintas Corporation -061,100,287                                07/26/2018                           96.08
      23            Current   Bill       06/26/2018      61666354      Chtas Corporation -061,100,287                                 07/26/2018                         101.80
      24            Current   Bill       06/26/2018            78228           SECURITY AND DATA TECHNOLOGIES                         07/26/2018                       1,396.46
      25            Current   Bill       06/26/2018         5445071429         Slemen Building Technologies                           07/26/2018                         810.00
      26            Current   Bill       06/26/2018           5801065          Best Plumbing Specialties, Inc.                        07/26/2018                         363.27
      27            Current   Bill       06/25/2018      285673782Juiy18       AT&T                                                   07/16/2018                         194.40
      28            Current   Bill       06/25/2018      0650585046Jul18       AT&T                                                   07/19/2018                         113.71
      29            Current   Bill       06/25/2018     5756230865june18       Century Link                                           07/25/2018                         271.97
      30            Current   Bill       06/25/2018     5755243008jun18        Century Link                                           07/25/2018                         190.92
      31            Current   Bill       06/25/2018         12535651    Wlndstream Communications                                     07/25/2018                         128.18
      32            Current   Bill       05/23/2018 852555567001 july18 Verizon                                                       07/18/2018                         239.99
      33            Current   Bill       06/23/2018 9035954124ju1y18 AT&T                                                             07/18/2018                         278.97
      34            Current   Bill       06/22/2018 8564555145July18 Verizon                                                          07/17/2018                         239.11
      35            Current   Bll!       06/22/2018         287194256          Cintas Corporation -061,100,287                        07/22/2018                         173.02
      36            Current   Bil!       06/22/2018         3306458294         Pitney Bowes                                           07/22/2018                         292.56
      37            Current   Bill       06/22/2018           123391           Air Riter Maintenance, Inc                             07/22/2018                       1,038.24
      38            Current   Bill       06/22/2018           375703           American Linen & Uniform Supply                        07/22/2018                          54.16
      39            Current   Bill       06/22/2018           375704           American Linen & Uniform Supply                        07/22/2018                          59.24
      40            1-30      Bill       06/22/2018          376660410         Termlnlx Processing Center                             06/22/2018           8             120.00
      41            Current   Bil!       06/21/2018          100276030         Cintas Corporation -061,100,287                        07/21/2018                          91.18
      42            Current   Bili       06/21/2018            15499           Southwest Fire & Security, LLC                         07/21/2018                         997.13
      43            Current   Bill       06/21/2018            15246           Automated Control Systems, Inc.                        07/21/2018                         395.00
      44            Current   Bill       06/21/2018            10084           Weisinger Electric, Inc.                               07/21/2018                         260.00
      45            Current   Bill       06/21/2018            10083           Weisinger Electric, Inc.                               07/21/2018                          85.00
      46            Current   Bill       06/21/2018        14956(5847E)        Mid-South Equipment Sates & Services LLC               08/05/2018                       1,596,00
      47            Current   Bll!       06/20/2018           996683           C.O.P.S. Monitoring                                    07/20/2018                         113.00
      48            Current   Bill       06/20/2018            1101            Concord Mechanical Inc                                 07/20/2018                         325.00
      49            Current   Bill       06/20/2018           374858           American Linen & Uniform Supply                        07/20/2018                          54,16
      50            Current   Bill       06/20/2018           374859           American Linen & Uniform Supply                        07/20/2018                          65.32
      51            Current   Bit!       06/20/2018         S0375686           American Linen & Uniform Supply                        07/20/2018                          98.56
      52            1-30      Biii       08/20/2018        401795-6710         Rudd Contracting Co., Inc.                             06/20/2018          10           4,168,00
      53            Current   BIS!       06/19/2018         6-218-163S2        Federal Express                                        07/04/2018                         367.45
      54            Current   Bill       06/19/2018          JC33929           Herman Goidner, Inc.                                   07/19/2018                       2,435.00
      55            Current   Bill       06/19/2018          61663396          Clntas Corporation -061,100,287                        07/19/2018                          96.08
      56            Current   Bill       06/19/2018          13777MC           PRiTCHETT CONTROLS, INC.                               07/19/2018                       1,050.00




                                                                                                                                                                          Page 3 of 't8
   Case 18-12095-BFK                      Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                                                 Desc Main
                                                      Document      Page 15 of 114

DEBTOR:                WW Contractors, Inc                                                                                    CASE NO:                18-12095-BFK


                                                                             Exhibit E
                                                              UNPAID BILLS - POST BANKRUPTCY
                                                             FOR THE PERIOD 6/13/2018 TO 6/30/2018



Payee Detail                                                            Account No:                                                        N/A
                                                                                                                                   if.                 .; 6/30/2018^,
;;;fCount^ ^Status, i, •^.Typei.':. '^Date^. :1 ;^^;;,'.;'NUm^^.!':^'   .'•^ ,;''./:'^; .•,1^;^ Namie-':;'u^-»^''.;':;^^'f:   ',DUeDate    ..Aatnst ;;:^'?a1apce^\-,
    57     Current     B!|[        06/19/2018        SM31408            Gallo Mechanical Services, LLC                        07/19/2018                     7,246.00
    58     Current     Bill        06/19/2018    8569660300july18       Verlzon                                               07/19/2018                        11.73
    59     Current     Bill        06/19/2018     S2230046.001    Capp, Inc.                                                  07/19/2018                       387.00
    60     1-30         Biii       06/19/2018       376562503     Terminlx Processing Center                                  06/19/2018         11            279.29
    61     Current     Bill        06/18/2018 i2994201702993 JULH Comcast                                                     07/11/2018                       218.21
    62     Current     Bill        06/18/2018         JC33919           Herman Goldner, Inc.                                  07/18/2018                     3,961.00
    63     Current     Bill        06/18/2018          17675            Ecosave Automailon inc.                               07/18/2018                     4,527.90
    64     Current     R ill       06/18/2018          1227135          South Jersey Glass & Door Co.                         07/18/2018                     1.766.96
    65     Current     Biii        06/18/2018         JC33964           Herman GoSdner, Inc.                                  07/18/2018                       630,00
    66     1-30        B[J!        06/18/2018          279805           Baxter Clean Care                                     06/18/2018         12            153.43
    67     Current     Bill        06/17/2018     302655176Juiy18       Vertzon                                               07/16/2018                        51.23
    68     Current     Bill        06/16/2018     9366326 HJulyt 8      Consolidated CommunlcaSions                           07/09/2018                       165.19
    69     Current     Bill        06/16/2018     302658608july18       Verizon                                               07/11/2018                       146.21
    70     Current     Bill        06/16/2018     215848457July18       Verizon                                               07/11/2018                       206,74
    71     1-30        B1|[        06/16/2018     410685853jun18        Verizon                                               06/28/2018          2            132.57
    72     I-30        Biil        06/16/2018     410385303jun18        Verizon                                               06/28/2018          2            202.29
    73     Current     Bill        06/15/2018          7138             Corrosion Control Resources                           07/15/2018                    •9,546.56
    74     Current     Bill        06/15/2018          7139             Corrosion Control Resources                           07/15/2018                     9,546.56
    75     Current     Bill        06/15/2018        61661705           Chtas Corporation -061,1 00,287                       07/15/2018                       101.80
    76     Current     Bill        06/15/2018          7712             Resource New Jersey Jnc                               07/15/2018                     2,078.00
    77     Current     Bill        06/15/2018         373679            American Linen & Uniform Supply                       07/15/2018                        54.16
    78     Current     Bill        06/15/2018         373680            American Linen & Uniform Supply                       07/15/2018                        59.24
    79     1-30        Biii        06/15/2018       0360118-iN          Overhead Door Company of Tyier                        06/15/2018         15            709,04
    80     Current     Bil!        06/14/2018       3306432378          Pitney Bowes                                          07/13/2018                       154.76
    81     Current     Biii        G6/14/2018          3886B            Eastcoast Elevator Services, LLC                      07/14/2018                     1.830.00
    82     Current     B!!1        06/14/2018      S2159840.001         Capp. Inc.                                            07/14/2018                     1,285.00
    83     Current     Biil        06/14/2018          88947            Air-E^u Filters                                       07/14/2018                        33.60
    84     1-30        Bill        06/14/2018          32786            PJM Mechanical Contractors, Inc.                      06/14/2018         16          1.225.00
    85     Current     Bill        06/13/2018          4790             Ace Aiarm & Communications, LLC                       07/13/2018                     1,450.00
    86     Current     B!)I        08/13/2018        INV551067          Fraser Advanced Information Systems                   07/13/2018                       433.60
    87     Current     Bill        06/13/2018         372872            American Linen & Uniform Supply                       07/13/2018                        54.16
    88     Current     B!II        06/13/2018         372873            American Linen & Uniform Suppiy                       07/13/2018                        65.32


                                                                        Post Bankruptcy Bills Due at 6/30/2018                                        $ 102,460.73




                                                                                                                                                               Page 4 of 48
   Case 18-12095-BFK                       Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                           Desc Main
                                                     Document      Page 16 of 114


DEBTOR: WW Contractors, Inc                                                                                       CASE NO: 18-12095-BFK

                                                                           Exhibit B2
                                                         BILLS PAiD BEFORE FILING BANKRUPTCY
                                                          FOR THE PERIOD 6/13/2018 TO 6/30/2018



Payee Detail                                                                                     Account No:      JN/A
(attach additional sheets as necessary)


  ir-^.Date-^         ; Niim;               LABEL!                        '.Name                    Due Data                   |?Amourit'
     06/08/2018      2722331              COGS Vendors       Oliver Fire Protection & Security       07/08/2018                         1,792.50
     05/22/2018      272233H              COGS Vendors       Oiiver Fire Protection & Security       06/21/2018                         1,792.50
     05/22/2018       278792              COGS Vendors       Oliver Fire Protection & Security       06/21/2018                         1,000.00
     05/11/2018       278672              COGS Vendors       Oliver Fire Protection & Security       06/10/2018                           660.00
     05/11/2018       278681              COGS Vendors       Oiiver Fire protection & Security       06/10/2018                         1,330.00
     05/21/2018       21809               COGS Vendors       Shades of Green                         06/20/2018                        3,994.50
     03/23/2018       21683               COGS Vendors       Shades of Green                         04/22/2018                           265.50
     03/20/2018       21674               COGS Vendors       Shades of Grsen                         04/19/2018                       10.370.00
     02/13/2018       21619               COGS Vendors       Shades of Green                         03/15/2018                       10,370.00

  Total Paid                                                                                                                          31,575.00
Case 18-12095-BFK                                         Doc 93                 Filed 09/28/18 Entered 09/28/18 14:20:49                                                                       Desc Main
                                                                               Document      Page 17 of 114


                                                                                                                                                                                                 f
                           <d ^                            0!                                                                                                                                    -a

                             t                           y ff
                                                         ° 0
                                                                                                                                                                                                 (D
                                                            3




                                                                                                      3i
                                                   0                            ss                              (0 (0 f& (p




                                                                                                                                 OOC3C300000

                                                                                                                                                                                  11
                                                                                ^) gft ^                        ?>E"£?iyiyyiyi^-
      s
      u
                      a                                         5S                                   55R^^M:s5t3:?^S
                                                                                                     ss.rafe'fe£=;s=;sys§gsss
&
e>
   M
      0 0       Ci
                      @
                      0                 a o o
                                                                                                     F3i3K?&S?3t3i3i3i3t'3ii3h3t3i3F3@i3K5
                                                                                                              000      aooooaoo
os    oa   CB   on    03                                        <aoaa>co(n(Boooococo                                             oacnoooooBoawoococn



     ? "i       ^s                 ?si                                                          zQQiizzzzm^mQ
                                                                                                0?^^00007)^:T1^7<                                                            U d>
                                                                                                                                                                                  ^
                                                                      ^s?l?^?^??lsfe^l§                                                                                 ss
                                                                      11111111 II iiis"srffl
0 M M (^i 00
   ^1
   01                                                                                                                K? y tkl fa
                                                                                                                     0 C> 0 0
                                                                                                                     IS) to Kl 0




     0  0  0                                                    (DCTGl(T)C}CT(D(il(i)dG)G)G)(iind(ilC)CT?:Cl?:(DfflC)G)
     <t n> (»
                      3
                      3
                                                                §ss§sss§§?ssas§l§§s^s^s§§§                                                                                                                 0
                (t>                                             (afl»ffiWfl>(?fl»(ii(i>=j(pci>ffifl><t>^<&ff<^<;(b<:CT>f&(&?                                                                               z
                                                                                                                                                                                                           ^
           d)
     3   fli    3     §.                                        oS533tti3.3.c333Si33.^^3^ibi53^t3^&!3.c3(3
     <fl Cfl
     TO re
                ?
                n>
                                                                viv><nww<t>uiww'z.w(nu)U)W'z.<f>mui:S,wS,wwwu>
                                                                (»WOffl(&WO<0(9(SlOll&OWrof5fl><?fl?^'TOft<(ttf?(DW
                                                                                                                                                                                                           Q
     3. 3.      3                            .< 3               5. §. 3 3 i §. 3 3. 3 ^. 3 I 3. 3. 3 i 33 3 g 3 § 3 3 2 3
                                                                                                                                                                                                      -n   Im
     % 8 8
                                             E? I
                      0                                                                                         0<P(5f&<Df&0(ft<fr<DTI<&Tl
                      »                                                                                         a.(fltft<n<flto^tfl<fttA(0
                                                                                                                                                                                                      0
     > > >    ^                                                 >>>>^S->>>^^-£'>>>^>>>&>S^->>>                                                                                                        70 CT
     0. d. d. a
        3 3                                  sI                 llltlllll!llltlsll|g|gltll
                                                                5' 5' 5' 5' 5' 5' 5" 5' 5' a" 5' 5' 5' 5' 5' a- 5' 5' 5' •3 5' -? 5' 5' 5' 5'
                                                                                                                                                                                                      ^    0
                                                                Er^crcS'c^c^Srq-c;- i^tt^crq' q-q-^-^-^^^q-
                                                                &tC^iy(ii0to[yiijDj (D (u (u
                                                                                                                                                                                                      m  -<
                                                                                                                                                                                                      -0 0


                                                                                                                                                                                                      ^?s
                                                                                                                                                                                                      m c:
                                                                CKA c^d: c: d A [A cs Q: a cji vti cti c± s. cr> i=+; c: cb.
                                                                000000000 OOQOO 000 0 OOQO
                                                                333333333 33333 333 3 3333
                                                                baaooozoo zzzzm ["Dm m 2:mz"i                                                                                                         ^
                                                                                                                                                                                                      0 >
                                                                                                                                                                                                      0 0
                                                                o.B.ES.siia.iE.o'E.ES. SSS2S Ss-8 S 9SQ8
                                                                ^^^^^^F^^          ^EFF^i ^^=> ^ ^^Ft
                                  i Iw                          ^^^^s^s^s ^^^ss' ^^ I' s' ^^'g§
                                                                i f i' i' i's' §li ^§ § ^ s § i' | g ^ g I                                                                                            g>
                                                                                                                                                                                                      t3
                                                                                                                                                                                                         0
                                                                                                                                                                                                         0
                                                                                                                                                                                                         c
                                  3 :?
                                  w S-       ^~ Eu
                                                                                                                                                                                                      s
                                                                                                                                                                                                      5
                                                                                                                                                                                                      0 7S ^
                                        >
                                             §i
                                                                                                                                                                                                      •A
                                                                                                                                                                                                      w m
                                                                                                                                                                                                         0
                                             §I
                                             s: a>
                                                                                                                                                                                                         m
                                                                                                                                                                                                           <




                                  z z z y                       Z2Z2:?:ZZZZZZ2:ZZZZ2;ZZ                                                                              zz zz z y
S- £S. 2.                                                       <B(0 <S (D d» CT>                               ^ (^ 15 n*
                                                                                                                                               <0 -^ -A _k t^ ^ <^
     MMM0                                                       MMMMMMMMM                                            MMMMMOMMMOOO
                                                                 OOOCTOtSOO                                          ooaoo ooo


                                                                                                                0               0 0
                                                                                                                          Q 0 0 0 0                 d o
     §§§ s                                                                                D
                                                                                          5
                                                                                             Cf E2 gl s> s>
                                                                                                5 5 s t3
                                                                                                          I
                                                                                                                          al s! ^ Si £<
                                                                                                                                      M
                                                                                                                                                      g> go

           §I                                                   !§                        u> 0
                                                                                                                           t3   t^ 0       0 1\) -A -A Q'

                                                                                          (3 s
     tii                                                                                              En                     s ?3
                                                                                                                                s &°           is ~4 gi ^

& 0 0 0 @
R3 r5                                        K? F3                                           i3       t3 ?3
                                                                                                          ?3  [3 t3 f3 F3 to t3
                                                                                                                           t3
        0                                                                      o & e>                ooooooooooooooa oooo
00   <0    0}   a>    00          00 CO CO C&                   co a> co co co on ED                 cococnoooooooocooooococooooocooooaaico




     I     ^ z
                      sR                s£                                                0 £'
                                                                                                                i          s &
                                                                                                                                                                                                 &0             0
                                                                                     2:
                                                                                                          I
•^                                                                             •z.                   -D              I-               r-            ~t -a

                s.
                                        H" 1'
                                        i8 a
                                                                                          ro.
                                                                                          I6    B:
                                                                                                ID   s
                                                                                                                     c
                                                                                                                     IU
                                                                                                                           R'

                                                                                                                           M
                                                                                                                                I
                                                                                                                                (U
                                                                                                                                      0
                                                                                                                                      s:
                                                                                                                                      u
                                                                                                                                                    s' s
                                                                                                                                                    i^
                                                                                                                                                                  s s s ? $ ?
                                                                                                                                                                  '2. 8 *3. §" s S'
                                                                                                                                                                   u" u §•" 5'
                                                                                                                                                                                                                ~i
                                           S
                                                                               n>    (0              »<   0
                                                                                                                           g                                                                     0
                                                                               3n    3
                                                                                     sv
                                                                                                3
                                                                                                (B   &    s
                                                                                                          m
                                                                                                                     :3
                                                                                                                     B)
                                                                                                                                3
                                                                                                                                ffl
                                                                                                                                      3
                                                                                                                                      01                                                                        m
                                                                                                                                                                                                 s              z:
                                                                                                                                                                                                                b
                                                                                                                                                                                                 2:
                                                                                                                                                                                                 0




                             M                                  M          M
iS              ^u fe        Ul
                                             ^    (n            -~<
                                                                           0
                                                                           u         M M                                                   ^                      - K        GO   Ul
                                                                                                                                                                                            s
I=) 0 §^
                                        Ul        01       en                                        00   f'                          yi       .^   Ul                  <s   00   en   Cn

                                                                                                                           ^                                            ft '?
     s                                       M "fe         w (0            u u 00 '^                                                       i^ 0     0             aM        'fe           s
                                        ^                             ^
                                  0)    Ul                            00                        01   Ul   ta.   00                                                                     tn
                0
                0
                             <0
                             -^
                                  --;
                                             (D   •(=-     co
                                                              CT)
                                                              p>           w
                                                                           ?a u CT)
                                                                                                en
                                                                                                     Bs         (B
                                                                                                                     0
                                                                                                                     -^1           en
                                                                                                                                              0     0)    0 M
                                                                                                                                                             tn
                                                                                                                                                                             M         0
                                                                                                                                                                                       0 0
                      ^                                                                                         fe                                                                     0 ^
     -tk


                <3                5i                       ^ a        Is      0) 0
                                                                                                                                           is g;                  k) 01 :ES u          CT
                                                                                                                                                          0 s (0 .P. u
                             <B                   00                                            'u tn -^             co         co o                tl)
    0                        0          0 0 N              0 0                ro a                 0 0               F3    co                       (0
                                 Case 18-12095-BFK                Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                             Desc Main
                                                                             Document      Page 18 of 114

DEBTOR: WW Contractors, inc                                                                                                                               CASE NO:                18-12095-BFK


                                                                                                   Exhibit F
                                                                        MONEY OWED TO YOU - ACCOUNTS RECEIVABLE
                                                                                FOR THE PERIOD; 6/30/2018
Payee Detail                                                                                                                                              Account No:            )N/A

                     Type            Date            Mum      P.0.#                                        Name                   Terms     Due Date          Class      Aging Open Balance

               Invoice             03/31/2018 13614                     SSS WWJV, LLC.:Fbrt Worth Downtown                        Net 60    05/30/2018    Texas             31           11,561.64

               invoice             03/31/2018 13615                     SSS WW JV, LLC.:Brownsvil!e                               Net 60    05/30/2018    Texas             31           12,403.20

               Invoice             03/31/2018 13615                     SSG WW JV, LLC-Austin                                     Net SO    OS/30/2018    Texas             31           10.503.35

               Invoice             03/31C018 13S17                      SSG WW JV, LLC.:Utt!e Rock and Batesville, fish AEC O&M   Net 60    05/30/2018    Arkansas          31           18,311.52

Total 31-SO                                                                                                                                                                             213,901.36

S1.90

               invoice             01/31/2018    13574                  SSG WW JV. LLC-Austin                                     Net 60    04/01/2018    Texas             90           24,310-53

               Invoice             01/31/2018    13578                  SSG WW JV, LLC.:Brownsvilie                               Net SO    04/01/201 S   Texas             90           34,291.20

               Invoice             01/31/2018    13582                  SSG WW JV, LLC.:Fort Worth Downtown                       Net 60    04/01/2018    Texas             90           23,299.80

               invoice             01/31/2018    13584                  SSS WW JV, LLC-:Littie Rock and Batesville, Ark AEC O&M   Net 60    04/01/2018    Arkansas          90           52,329.60

               Invoice             12/05/2017    NOLA-1919              General Services Adminlstrsb'on:NOLA 2013                 Net 120   04/04/2018    Louisiana         87           14,421.23
               invoice             02/28/201 S   13595                  SSG WW JV. LLC.lUtUe Rock and BatesvHle, ArkAEC O&M       Net 60    04/29/201 B   Arkansas          62           50,054.40

               Invoice             02/2BQ01S     13596                  SSG WW JV, U-C.:Fort Worth Downtown                       Net SO    04/29/2018    Texas             62           20.371.06

               invoice             02/28/2018    13597                  SSG WW JV, U-C-:Brownsvtlie                               NstSO     04/29/2018    Texas             S2           31,430.40

               Invoice             02/28/2018    13598                  SSGWWJV.LLC.Ausdn                                         Net 60    04/29/2018    Texas             62           22,860.24

Tota;61-90                                                                                                                                                                              273,368.56

> 30

               Invoice             10/31/2012    127789      VPS08238   Pepco Government Services:Battimore City Schools          Net 30    11/30/2012    Maryland       2,038            7,512.09

               Invoice             11/30/2012    127792      VPS08238   Pepco Government Services: Baltimore City Schoo!s         Net 30    12/30/2012    Maryland        2,008           6,847.60

               invoice             12/31/2012    12849       VPS08238   Pepco Government Services:Balb'more City Schoois          Net 30    01/30/2013    Maryland        i,9r?           7,5Q2.22

               Credit Memo         03/31/2014    13028C                 General Senfices Administration:Houston 2012                        03/31/2014    Texas           1,552          -7,411.87

               Invoice             03/31/2014    13023                  General Services Administration: Houston 2012             Net 3Q    04/30/2014    Texas           1,S22           7,411.87

               invoice             08/31/2014    13108       VPS08238   Pepco Government Servlces:Ba!timore City Schools          Net 30    09/30/2014    Maryland        1,369           6,780.03

               Invoice             12/31/2014    13160       VPS08238   pepco Government Services:Baltimore City Sdiools          Net 30    01/30/2015    Maryiand        1,247           5.406.00

               General Journal     09/30B016     AE 348                 KKT:NRC-KKT                                                                                                       4,437.32

               Invoice             10/31/2016    13439                  Trinmar-WWC JV:Fort Worth, TX                             Net 60    12/30/201 e   Texas            S47           27,260.38

               Invoice             09/15/201 S   NOLA-18S9              General Services AdmInl5trstton:NOLA 2013                 Net 120   01/13/2017    Louisiana        533           11,994.31

               invoice             OS/21/201S    NOLA-1881              General Services Administra{ion:NOLA 2013                 Net 120   01/19/2017    Louisiana        527           lo.srr.os

               Invoice             09/21/2016    NOLA-1882              General Senrices Administration :NOLA 2013                Net 120   01/13/2017    Louisiana        527            3,348.86

               Invoice             09/23/2016    NOLA-1883              Genera! Senfices Administration:NOLA 2013                 Net 120   01/21/2017    Louisiana        525            5,055.82

               Invoice             09/23/2016    NOLA-1884              General Sere!cesAdin!n!stration:NOLA 2013                 Net 120   01/21/2017    Louisiana         525          15,894.18

               Invoice             09/23/2016    NOLA.1885              General Services Administration: NOLA 2013                Net 120   01/21/2017    Louisiana        325            5,187.01

               Invoice             01/19/2017    NOLA-1797              General Services Administrat!ofi:NOLA2013                 Net 120   05/19/2017    Louisiana        407                0.90

               Invoice             03/03/2017    WB-1765                General Services AdministrationiPennsytvania              Net 120   07/01/2017    Pennsylvania     364            1,057.30

               Invoice             04/18/2017    NOLA-1933              Genera; Services Administration:NOLA 2013                 Net 120   08/1S/2017    Louisiana        318              323.27
               trwoice             05/03Q017     NOLA-1934              General Services Administration:NOLA 2013                 Net 120   08/31/2017    Louisiana        303                0.03

               Genera! Journal     OS/O'i/2017   AE 375                 KKT:NRC-KKT                                                                                                       .4,437.32

               General Joumai      09/01/20-17   AE 376                 Pepco Government Services:Baltimo re CitySchoo!s                                                                 -34,047.94

               General Journal     09/01/2017    AE 377                 Trtnmar.WWCJWort Worth, TX                                                                                       -27,260.39

               Invoice             07/31/2017    13S20                  SSG WW JV, LLC.;LftHe Rock and Batesville, ArkAEC O&M               09/29/2017 Arkansas                             313.86




                                                                                                                                                                                                 Page 7 of4S
                                  Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                           Desc Main
                                                                         Document      Page 19 of 114

DEBTOR: WW Contractors, Inc.                                                                                                                        CASE NO:              18-12095-BFK


                                                                                                 Exhibit F
                                                                   MONEY OWED TO YOU - ACCOUNTS RECEIVABLE
                                                                                 FOR THE PERIOD: 6/30/2018
Payee Detail                                                                                                                                        Account No:           [N/A

                      Type            Date            Mum      P.O.       if        Name                                     Terms     Due Date         Class     Aging Open Balance

               Invoice              08/25/2017    13525            SSG WW JV, LLC.:Littie Rock and Batesville, Ark AEC O&M   Net 60    10/24/2017   Arkansas        243             1,914.11

               -Invoice             08/31/2017    13538            SSG WW JV, LLC.:LitUe Rock and Batesville, Ark AEC O&M    Net 60    10/30/2017   Arlonsas        243            32,639.76
               Invoice              08/31/2017    13S40            SSG WWJV, LLC.:Fort Worth Downtown                        Net 60    10/30/2017   Texas           243            18,809.53

               Invoice              OS/30/2017    13535            General Services Actminisfration:NOLA 2013                Net 30    10/30/2017   Louisiana       243            20,657.19

               Invoice              09/30/2017    13539            SSG WW JV, LLC.:Uttte Rock and Batesvllie, Ark AEC O&M    Net 60    11/29/2017   Arkansas        213            30,088.05

                Invoice             09/30/2017    13541            SSG WW JV, LLC.:Fort Worth Downtown                       Net 60    11/29/2017   Texas           213            23,353.21

                Invoice             10/31/2017    13544            General Sen/teesAdmNstrat!on:NOLA 2013                    Net 30    11/30/2017   Louisiana       212             5,940.54

                Invoice             08/14/2017    DV.CA.375A       Genera! Services Administration: Del Va! Facit.           Net 120   12/12/2017   New Jersey      200            19,843.38

                Invoice             10/31/2017    13547            SSG WW JV, LLC.:Utte Rock and Batesviile, Ark AEC O&M     Net SO    12/30/2017   Arkansas        182            50,283.67

                Invoice             10/31/2017    13548            SSG WW JV, LLC.:Fort Worth Downtawn                       Net 60    12/30/2017   Texas           182             8,326.56

                Invoice             10/31/2017    13575            SSG WW JV, LLC.:Brownsvnis                                Net SO    12/30/2017   Texas           182            23,995.20

                Invoice             11/30/2017    11302017         General Serrices Administration:NOLA2013                  Net 30    12/30/2017   Louisiana       182             3,146.47

                General Journal     12/31/2017    AE 407           SSSWWJV4J.C.                                                                                                   197.430.00

                Invoice             11/30/2017    13SS8            SSG WW JV, LLC.:UUie Rock and Batesvitle, ArkAEC O&M      Net 60    01/29/2018   Arkansas        152            51,307.47
                invoice             11/30/2017    13561            SSG WW JV, LLC-Austin                                     Net SO    01C9/201S    Texas           152            15,788.04

                Invoice             11/30/2017    13576            SSG WW JV, LLC.:Brownsviile                               Net 60    01/29/2018   Texas           152            24,667.20

                Invoice             11/30/2017    13580            SSS WW JV, LLC-:Fort Worft Dovwitown                      Net 60    01/29/2018   Texas           152             9,530.70

                Invoice             12/31/2017    1356S            Genera! Services Administration: East Texas-FSS           Net 30    01/30/2018   Texas           151                80.08

                Invoice             11/13/2017    13552            Trinmar-New Fort Worth                                    Net 90    02/11/2013   Texas           139            33,958.49

                Invoice             10/24/2017    ET-271           GsneratSer/icesAdministTation:EastTexas-FSS               Net 120   02/21/2018   Texas           123            21,614.41

                Credit Memo         02/21/2018    RWDT-073         SSG WW JV, LLC.:Fort Worth Downtown                                 02/21/2018   Texas           129              -304.51

                invoice             10/26/2017    ET-280           General Services Administration:East Texas-FSS            Net 120   02/23/2018   Texas           127            12,379.17

                invoice             12/31/2017    13573            SSGWWJV.LLC.Austin                                        Net 60    03/01/2018   Texas           121            20,251.52

                Invoice             12/31/2017    13577            SSS WW JV, LLC.:Brownsvilie                               Net 60    03/01/2018   Texas           121            27,086.40

                Invoice             12/31/2017    13581            SSS WW JV, LLC.:Fort Worth Downtown                       Net 60    03/01/2018   Texas           121            17,739.19

                Invoice             12/31/2017    13583            SSG WW JV. LLCjUtBe Rock and Batesvlile, ArkAEC O&M       Net 60    03/01/2018   Arkansas        121            47.8S7.01

                invoice             12/31/2017    13585            SSG WW JV, LLC.Ausbn                                      Net 60    03/01V2018   Texas           121             1,857.17

                invoice             12/19/2017    FWFC-1012        TrinmarNew Fort Worth                                     Net 90    03/19/2018   Texas           103             6.598.50

                Invoice             12/01/2017    NOLA-1988        General SeMcesAdministrato'on:NOLA 2013                   Net 120   03/31/2018   Louisiana        91               184.60

                Invoice             12/31/2017    13568            TrinmanNew Fort Worth                                     Net 90    03/31/2018   Texas            31            42.044.rr

                invoice             01/30/201S    13589            SSG WW JV, LLC.:UtUe Rock and 8atesvi;le, Ark AEC O&M     Net SO    03/31/2015   Arkansas         91            40,428.48

                Invoice •           01/30/201 S   13590            SSG WW JV, LLC.:Fort Worth Downtown                       Net 60    03/31/2018   Texas            91            21,795.88

Totai > 90                                                                                                                                                                        8SS,335.83

TOTAL                                                                                                                                                                            2,745,921.75




                                                                                                                                                                                           Page 8 of 48
             Case 18-12095-BFK                   Doc 93               Filed 09/28/18 Entered 09/28/18 14:20:49                                          Desc Main
                                                                    Document      Page 20 of 114

DEBTOR:                WW Contractors, !nc                                                                 CASE NO:                                     18-12095-BFK


                                                                                      Exhibit G1
                                                                          UNPAID BILLS - PRE BANKRUPTCY
                                                                                AS OF JUNE 12. 2018



" t • .' /
                                                                            ^        \j\                                                     s
Count ;^;Statys                ie_;^-_^ ^:".Date!'K
                                                      l''':^^ •,'':?imV''.-;:.:'!.   ^^^LABEL.l;^^         ;<'i;":?':;-'''l^^lilani8;^1.';^-":.:'^.^^

       1     Curren'           [I        OG/12/2018     287190562                          COGS Vendors    Cinias Corporation-061,100,287
       2     Current           n         OG/12/2018      61658674                          COGS Vendors    Cinias Corporation-061,100,287
       3     Current           11        06/12/2018    6-209-64549                    Postage/ShlppIng     Federal Express
       4     Curreni           II        06/12/2018    9816085295                      COGS Vendors        WW Grainger
       s     Curreni           II        06/12/2018    9816072087                      COGS Vendors        WW GraSnger
       6     Curreni           II        06/12/2018    9816085287                      COGS Vendors        WW Grainger
       7     Curreni           II        06/11/2018 9039230591 Jull 8                     Telecom          AT&T
      8       1-30             1i        06/11/2018        279389                      COGS Vendors        Baxter Clean Care
      9       1-30             li        06/11/2018        279446                      COGS Vendors        Baxter Clean Care
     10      Curren'           I!        06/11/2018     287186942                      COGS Vendors        Cintas Corporation -061,100,287
     11      Curren'           II        06/11/2016    9815134706                      COGS Vendors        WW Gralnger
     12      Curren            II        06/08/2018        371655                      COGS Vendors        American Linen & Uniform Supply
     13      Curren'           11        06/08/2018        371656                      COGS Vendors        American Linen & Uniform Supply
     14      Curren            !1        06/08/2018      S0371639                      COGS Vandors        American Linen & Uniform Supply
     15      Curren            ii        06/08/2018      S0372743                      COGS Vendors        American Unen & Urafomn Supply
     16      Current           !!        06/08/2018       5797574                      COGS Vendors        Best Plumbing Specialties, inc.
     17      Current           I!        06/08/2018      61656796                      COGS Vendors        Cintas Corporation -061,100,287
     18      Curren'           I!        08/08/2018       2722331                      COGS Vendors        Oliver Fire Protection & Security
     19      Curren'           I!        06/07/2018    98114184G7                      COGS Vendors        WW Grainger -
     20      Curren!           li        06/06/2018        370779                      COGS Vendors        American Linen & Uniform Suppiy
     21      Curren!           II        06/06/2018        370780                      COGS Vendors        Amsrican Linen & Uniform Supply
     22      Curreni           II        06/06/2018         3884B                      COGS Vendors        Eastcoast Elevator Sen/ices, LLC
     23      Curreni           [I        06/06/2018 SRVCEG0246225                      COGS Vendors        Entsch Sales & Sen/ices, Inc.
     24      Curren'           (i        06/06/2018       JC33812                      COGS Vendors        Herman Golcfner, Inc.
     25      Curren            II        06/06/2018    9809159800                      COGS Vendors        WW Grainger
     26      Curren'           II        06/05/2018      61653754                      COGS Vendors        Cintas Corporation-061,100,287
     27      Curren            II        06/05/2018          1584                      COGS Vendors        Lannick Construction
     28      Curren            !1        06/05/2018    9809281174                      COGS Vendors        WW Grainger
     29       1 -30            !1        06/04/2018        279167                      COGS Vendors        Baxter Clean Care
     30      Curren            II        06/04/2018 5755245882jun18                    COGS Vendors        Century Link
     31      Curren            11        06/04/2018 5756223535jun18                    COGS Vendors        Century Link
     32      Current           II        06/04/2018     100265967                      COGS Vendors        Clntas Corporation -061,100,287
     33      Current           It        08/04/2018     100268351                      COGS Vendors        Clntas Corporation -061,100,287
     34      Current           II        08/04/2018        18-059                      COGS Vendors        Mara Restoration
     35      Curreni           11        06/04/2018     05-934749                      COGS Vendors        Virginia Fire Protecflon
     3S      Curreni           II        06/04/2018    9806373669                      COGS Vendors        WW Grainger
     37      Curreni           II        06/04/2018    980679205S                      COGS Vendors        WW Grainger
     38      Current           11        06/04/2018    980679206G                      COGS Vendors        WW GraEnger
     39      Current           11        08/04/2018    980S852266                      COGS Vendors        WW Grainger
     40      Current           11        06/04/2018    9896852274                      COGS Vendors        WW Grainger
     41       1-30             II        06/01/2018          6936                      COGS Vendors        5-H Services Inc.
     42      Curreni           I!        06/01/2018        369621                      COGS Vendors        American Linen & Uniform Suppiy
     43      Curreni           11        06/01/2018        369622                      COGS Vendors        American Linen & Uniform Supply
     44      Curreni           11        06/01/2018      S0369614                      COGS Vendors        American Linen & Uniform Supply
     45      Curreni           II        06/01/2018      S0370346                      COGS Vendors        American Linen & Uniform Supply
     46      Current            II       06/01/2018      61652146                      COGS Vendors        ClntasCoiporatIon-061,100,287
     47      Currenl           II        06/01/2018    5244591937                      COGS Vendors        Honsywel! International Inc
     48      Currenl           II        06/01/2018     CT0024495                      COGS Vendors        Kroff Chemical Company, Inc.
     49      Currenl           II        06/01/2018        57019                       COGS Vendors
     so      Current           1[        06/01/2018        21343                       COGS Vendors
     51      Current           I!        06/01/2018        21859                       COGS Vendors
     S2      Current           II        06/01/2018        119453                      COGS Vendors
     S3      Current           I!        05/31/2018        28842                       COGS Vendors
     54      Currenl           II        05/31/2018        29920                       COGS Vendors
     55      Curren)           II        05/31/2018     CT0024531                      COGS Vendors
     S6      Currenl           II        05/31/2018        77950                       COGS Vendors
     57      Current           II        05/31/2018    5445044890                      COGS Vendors
     SB      Currenl           II        05/31/2018    5445044978                      COGS Vendors
     S9      Current           II        05/31/2018         16021                      COGS Vendors
     GO      Curren)           II        05/31/2018         15974                      COGS Vendors
     61      Currenl           il        05/31/2018         16044                      COGS Vendors
     62      Current           II        05/31/2018    9804456391                      COGS Vendors
     63      Current           II        05/30/2018        88576                       COGS Vendors
     64      Current           II        05/30/2018       368770                       COGS Vendors
     6S      Currenl           !1        05/30/2018       368771                       COGS Vendors
     66      Current           II        05/30/2018       129776                       COGS Vendors
     67      Current           II        05/29/2018        88522                       COGS Vendors
     68      Current           II        05/29/2018        88524                       COGS Vendors
     69      Currenl           II        05/29/2018     61649412                       COGS Vendors
     70      Current           I!        05/29/2018    6-197-25962                    Postage/S hip ping
     71      Currenl           I!        05/27/2018 1000018623june18                   COGS Vendors
     72      Current           I!        05/25/2018       367538                       COGS Vendors
     73      Currenl           II        05/25/2018       367539                       COGS Vendors
     74      Currenf           II        05/25/2018    9799568705                      COGS Vendors
         Case 18-12095-BFK                           Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                           Desc Main
                                                                   Document      Page 21 of 114

DEBTOR:                 WW Contractors, Inc                                                         CASE NO:                             18-12095-BFK


                                                                                Exhibit G1
                                                                        UNPAID BILLS - PRE BANKRUPTCY
                                                                              AS OF JUNE 12, 2018



^^.Aiv
                                                                                                %
Count [j^StaUisl.;:;f                         Date :'^ ;'-; ;!^'^.Nu"!&;i. i'      ^ABEl.:!^^.      ^^'1 ^ •?•;' ^ Name^ •.-i"^^^'''
   75    Current                              ,24/2018      61647834              3GS Vendors       Cintas Corporation -061,100,287
   76    Current                              ,24/2018     100262552              3GS Vendors       Cintas Corporation-061,100,287
   77    Current                              ,24/2018   140241-60532               Utilities       CityofTyler
   78    Current                              ,24/2018    9798441573              3GS Vendors       WW Grainger
   79    Current                              ,24/2018    9798750999              3GS Vendors       WW Gralnger
   so    Current                              ,24/2018    9798689171              3GS Vendors       WW Graingsr
   81    Current                              ,23/2018        366662              3GS Vendors       American Unsn & Uniform Supply
   82    Current                              ,23/2018        366663              3GS Vendors       American Linen & Uniform Supply
   83    Current                              ,23/2018   S2218042.001             3GS Vendors       Capp, !nc,
   84    Current                              ,23/2018      1N365575              3GS Vendors       i-UBR!CATION ENGINEERS, INC.
   85    Current                              ,22/2018     287179545              3GS Vendors       Clntas Corporation -061,100,287
   86    Current                              ,22/2018      61644937              3GS Vendors       Cintas Corporation -061,100,287
   87    Current                              ,22/2018 SRVCE0024534^              3GS Vendors       Entech Saies & Services, inc.
   88    Current                              ,22/2018         21894              3GS Vendors       Mr. ShrtdkWrap
   89    Current                              ,22/2018       272233H              3GS Vendors       Oliver Ftre Protection & Security
   90    Current                              ,22/2018        278792              3GS Vendors       Oliver Fire Protection & Security
   91    Current                              ,22/2018     340094976              3GS Vendors       Overhead Door Corporation
   92    Current                              ,22/2018 8564555145jun1(             Telecom          Verizon
   93    Current                              ,21/2018    INV0099311              3GS Vendors       APEX CONTROLS 1,LLC
   94    Current                              ,21/2018      61643399              3GS Vendors       Cintas Corporation -061,100,287
   95    Current                              ,21/2018      PA-10591              3GS Vendors       Fairbom Equipment Company Inc
   96    Current                              ,21/2018       13699MC              3GS Vendors       PRITCHETT CONTROLS, INC.
   97    Current                              .,21/2018        21809              3GS Vendors       Shades of Green
   98    Current                              .,21/2018   9795057240              3GS Vendors       WW Grainger
   99    Current                              ,20/2018        984761              3GS Vendors       C.O.P.S. Monitoring
  100    Current                              ,20/2018        384761              3GS Vendors       C.O.P.S. Monitoring
  101    Current                              ,19/2018 8563660300June1             Telecom          Verizon
  102    Current                              ,18/2018        365492              3GS Vendors       American Linen & Uniform Supply
  103    Current                              ,18/2018      S0366214              3GS Vendors       American Linen & Unifomi Suppiy
  104    Current                              ,18/2018         17568              3G3 Vendors       Ecosave Automation Inc.
  105    Current                              ,18/2018      05-929724             3GS Vendors       Virginia Fire Protection
  105    Current                              ,17/2018         16875              3GS Vendors       Rudd Alarms
  107    Current                              ,17/2018 302655176Jun18              Telecom          Verizon
  108    Current                              ,17/2018    9791669857              3GS Vendors       WW Grainger
  109    Current                              ,17/2018    9791669840              3GS Vendors       WW Grainger
  110    Current                              ,16/2018        364608              3GS Vendors       American Linen & Uniform Supply
  Ill    Current                              ,16/2018      S0365071              3GS Vendors       American Unen & Uniform Supply
  112     1 -30                               ,16/2018     375807611              3BS Vendors       Termirax Processing Center
  113    Current                              ,16/2018     2022464-1              3GS Vendors       Tri Dim Filter Corp.
  114     1 -30                               ,16/2018 215848457Juna1i             Telecom          Verizon
  115    Current                              ,16/2018    9790274550              3GS Vendors       WW Gralnger
  116    Current                              ,15/2018       5792522              3GS Vendors       Best Plumbing Specialties, Inc.
  117    Current                              ,15/2018      90036509              3GS Vendors       Buckeye Cleaning Centers
  118    Current                              ,15/2018      61640564              3GS Vendors       Cintas Corporation -061,100,287
  119    Current                              ,15/2018        58063R              3GS Vendors       Falrbom Mid Atlantic
  120     1-30                                ,15/2018     375575354              3GS Vendors       Terminix Processing Center
  121    Current                              ,15/2018    9789081974              3GS Vendors       WW Grainger
  122    Current                              ,14/2018     287175808              3GS Vendors       C!ntas Corporation -061,100,287
  123    Current                              ,14/2018     100259149              3GS Vendors
  124     1-30                                ,14/2018         89352              303 Vendors
  125    Current                              f14/2018        137110              )GS Vendors
  126    Current                              ,14/2018    9787230458              )GS Vendors
  127     1-30                                /11/2D18        363416              )GS Vendors
  128     1-30                                ,11/2018      S0361740              3GS Vendors
  129     1 .30                               ,11/2018      S0364168              )GS Vendors
  130     1.30                                ,11/2018      61636948              )GS Vendors
  131     1-30                                ,11/2018     100530283              )GS Vendors
  132     1.30                                ,11/2018     INV515220              )GS Vendors
  133     1-30                                ,11/2018        278672              3GS Vendors
  134     1-30                                ,11/2018        278681              )GS Vendors
  135     1-30                                ,11/2018 3121290250,001             )GS Vendors
  136     1-30                                f11/2018    9785337008              )GS Vendors
  137     1-30                                ,11/2018    9785504292              )GS Vendors
  138     1-30                                '09/2018     S0361744               )GS Vendors
  139     1-30                                '09/2018   S2210042.001             )GS Vendors
  140     1-30                                '09/2018     287172174              )GS Vendors
  141     1-30                                '09/2018         50218               Telecom
  142    31-60                                fOS/2018        277556              )GS Vendors
  143     1-30                                '08/2018      61636170              )GS Vendors
  144     1-30                                fOS/2018    9781465928              )GS Vendors
  145     1-30                                fOS/2018    9781465910              )GS Vendors
  146    31 -60                               f07/2018        277857              )GS Vendors
  147     1-30                                f07/2018     100255823              )GS Vendors
  148     1 -30                               f07/2018    9779240754              >GS Vendors
            Case 18-12095-BFK                                Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49                          Desc Main
                                                                          Document      Page 22 of 114

DEBTOR:                      WW Contractors, Inc                                                     CASE NO:                                 18-12095-BFK


                                                                                     Exhibit G1
                                                                              UNPAID BILLS - PRE BANKRUPTCY
                                                                                    AS OF JUNE 12, 2018



                                   ^                                                                               ^.
Count   ^; ^.Status-•.-:;•   .^^•..l.Typ6^.1^   .-.•^Date;. ^,:   ';;^^Ndm^^L: L^::J-AsMkL;;\^:; xi^^L^^^Nams^ '•^^^1-
  149       31-60                 Credit         05/07/2018            9778950882   COGS Vendors WW Gra!nger
  150        1-30                  Bill          05/06/2018            9781207940   COGS Vendors WW Gra!nger
  151        1-30                  BilS          05/06/2018            9781566212   COGS Vendors WW Gra!nger
  152        1-30                  Bil!          05/04/2018             S0361742    COGS Vendors American Unen & Uniform Supply
  1S3        1-30                  Sili          05/04/2018             S0361743    COGS Vendors American Linen & Unifonm Supply
  154        1-30                  Bill          05/04/2018                5513     COGS Vendors Atlantic Services, Inc.
  1S5        1-30                  Bill          05/04/2018         575622353Smay18 COGS Vendors Century Link
  1SG        1-30                  Bill          05/04/2018         5755245862may18 COGS Vendors Century Link
  IS?       31-60                  Bill          05/04/2018            39S337-5859  COGS Vendors Rudd Contracting Co., Inc.
  isa        1-30                  Biil          05/04/2018               21768     COGS Vendors Shades of Green
  1S9        1 -30                 Bill          05/03/2018               16716     COGS Vendors Rudd Alarms
  160        1-30                  Bill          05/03/2018            9776976897   COGS Vendors WW Gralnger
  161        1 -30                 Biil          05/03/2018            9776942295   COGS Vendors WW Gralnger
  162        1-30                  Bitl          05/03/2018            9776976889   COGS Vendops WW Grainger
  163        1-30                  Bi!l          05/02/2018         S5323909.001     COGS Vendors    Rumsey Electric Co.
  w
  16S
             1-30
            31-60
                                   Bill
                                   Bill
                                                 05/02/2018
                                                 05/01/2018
                                                                     9776071657
                                                                         6871
                                                                                     COGS Vendors
                                                                                     COGS Vendors
                                                                                                     WW Grainger
                                                                                                     5-H Services Inc.
  166        1-30                  B!II          05/01/2018           340079969      COGS Vendors    Advanced Door Service
  167       Current                B!II          05/01/2018         284509556Ju118     Teiecom       AT&T
  168        1-30                  B!IJ          05/01/2018           61632034       COGS Vendors    Cintas Corporation-061,100,287
  169        1-30                  BSD           05/01/2018             637345       COGS Vendors    Corrigo, Inc.
  170        1-30                  Bill          05/01/2018             131427       COGS Vendors    HA! integrated Building Services, !nc.
  171        1-30                  Bill          05/01/2018          5244230413      COGS Vendors    HonByweil International Inc
  172        1-30                  Bill          05/01/2018           CT0024273      COGS Vendors    Kroif Chemical Company, Inc.
  173        1-30                  Bit!          05/01/2018             118596       COGS Vendors    Southwest DispaEhc Center, LP
  174        1-30                  Bill          05/01/2018           05-926659      COGS Vendors    Virginia Fire Protection
  175        1-30                  Bill          04/30/2018             87902        COGS Vendors    Alr-Nu Filters
  175        1 "30                 Bill          04/30/2018             29908        COGS Vendors    Burke Industries
  177        1 -30                 BI!I          04/30/2018          287168483       COGS Vendors    Cinias Corporation-061,100,287
  178        1 "30                 Bill          04/30/2018          100252411       COGS Vendors    C!ntas Corporation -061,100,287
  179        1-30                  Bill          04/30/2018          287183246       COGS Vendors    Cintas CorpoFation ••061,100,287
  ISO        1-30                  BiSI          04/30/2018          CT0924286       COGS Vendors    Kroff Chemical Company, inc.
  181        1-30                  Bill          04/30/2018            278680        COGS Venciors   Oliver Fire Protection & Security
  182        1 -30                 BHI           04/30/2018            278676        COGS Vendors    Oliver Fira Protection & Security
  183        1 -30                 Biii          04/30/2018            278702        COGS Vendors    Oliver Fire Protection & Security
  184        1 -30                 BHI           04/30/2018            278687        COGS Vendors    Oliver Fira Protection & Security
  185        1 -30                 Bill          04/30/2018            278670        COGS Vendors    Oliver Fire Protection & Security
  18S        1-30                  Bill          04/30/2018          340093443       COGS Vendors    Overhead Door Corporation
  187       31-60                  Bl!f          04/30/2018            397889        COGS Vendors    Rudd Contracting Co., Inc.
  183        1-30                  Bill          04/30/2018         S5331778.001     COGS Vendors    Rumssy Electric Co.
  189        1-30                  Bill          04/30/2018         S5342645.001     COGS Vendors    Rumsey Electric Co.
  190        1-30                  Bid           04/30/2018          5445005344      COGS Vendors    Qtemen Building Technologies
  191        1-30                  Bill          04/30/2018              42518         Telecom       Verizon
  192        1 -30                 Bill          04/30/2018              15852       COGS Vendors    Water Treatment Services Inc.
  193        1-30                  Bill          04/30/2018              15829       COGS Vendors    Water Treatment Ssrvlcss Inc.
  194        1 -30                 Bill          04/30/2018              15782       COGS Vendors    Water Treatment Services Inc.
  19S        1 -30                 Bill          04/30/2018          9772575941      COGS Vendors    WW Grainger
  19S        1-30                  Bill          04/30/2018          9772480174      COGS Vendors    WW Grainger
  197        1 -30                 Bill          04/30/2018          9772718970      COGS Vendors
  198        1 -30                 BiH           04/30/2018          9773407433      COGS Vendors
  199        1 -30                 Bill          04/30/2018          9772824570      COGS Vendors
  200        -1-30                 Bill          04/30/2018          9773367769      COGS Vendors
  201        1 -30                 Bill          04/30/2018          9772824588      COGS Vsndors
  202        1-30                  Bill          04/30/2018          9772446333      COGS Vendors
  203       1-30                   Bill          04/27/2018            61630476      COGS Vendors
  204       1-30                   Bill          04/27/2018           100528267      COGS Vendors
  MS        31-60                  Bill          04/27/2018              32544       COGS Vendors
  205       1-30                   Bill          04/27/2018           437681224      COGS Vendors
  207       1-30                   Bill          04/27/2018          9771714467      COGS Vendors
  208        1 -30                 Bill          04/26/2018         140241-60532       Utilities
  203       1 -30                  Bill          04/26/2018           100528129      COGS Vendors
  210       31 -60                 Biil          04/26/2018            17338700      COGS Vendors
  211       1 -30                  Bill          04/26/2018             [001736      COGS Vendors
  212       1 -30                  Blil          04/26/2018           2020893-1      COGS Vendors
  213       1-30                   Blil          04/25/2018         32195226.001     COGS Vendors
  214       1 -30                  Biil          04/25/2018          5031938-IN      COGS Vendors
  215       1 -30                  Bill          04/25/2018        31212763^6.001    COGS Vendors
  216       31-60                  Bi!l          04/25/2018          374970568       COGS Vendors
  217       1-30                   Bill          04/25/2018           05-924413      COGS Vendors
  213       1-30                   Bill          04/25/2018          97G9325128      COGS Vendors
  219       1-30                   Bill          04/25/2018          9769454399      COGS Vendors
  220       1-30                   Bill          04/24/2018           61627760       COGS Vendors
  221       1-30                   Biil          04/24/2018          9336983486      COGS Vendors
  222       1-30                   Bill          04/24/2018            INV194        COGS Vendors
                Case 18-12095-BFK                                Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                           Desc Main
                                                                          Document      Page 23 of 114

DEBTOR:                          WW Contractors, Inc                                                   CASE NO:                                 18-12095-BFK


                                                                                       Exhibit G1
                                                                               UNPAID BILLS - PRE BANKRUPTCY
                                                                                     AS OF JUNE 12. 2018


                                                                                                                                     '•i
                                                                                                                                                  ^       ;6/12/201B:
Cfiurit   •'.'. '"•'.:, Status
                                     ^YPe^         .:; Date ;"     !^^:Num •.."...',   ^LLABEU^;       ^^^ij/'^^ww^::^:^^ •!•_ y jbusDate^ ,;:Agjng^_ :;'Balanced
   223           1 "30                 Bill        04/23/2018        100249012         COGS Vendors    Cjntas Corpofatlon -061,100,287   05/23/2018  20       74,00
   224           31-60                 Bill        04/23/2018          397282          COGS Vendors    Rudd Contracting Co.r tnc,        04/23/2018  50    2,236,00
   225           1-30                  3.If        04/23/2018       9766604657         COGS Vendors    WW Graingsr                       05/23/2018  20      317,20
   226           1-30                  sin         04/20/2018          9746D2          COGS Vendors    C.O.P.S. Monitoring               05/20/2018  23      145.75
   227           1-30                  8)1!        04/20/2018        61626083          COGS Vendors    Cintas Corporation-061,100,287    05/20/2018  23       89.90
   228           1-30                  Bill        04/20/2018         13579MC          COGS Vendors    PRITCHETf CONTROLS, INC.          05/20/2018  23    1,050.00
   229           1-30                  Bit!        04/19/2018       2016067-3          COGS Vendors    Tri Dim Filter Corp.              05/19/2018  24      392.08
   230           1-30                  Bill        04/19/2018       9763338465         COGS Vendors    WW Grainger                       05/19/2018  24      384.46
   231           1-30                  Bill        04/19/2018       9763367498         COGS Vendors    WW Grainger                       05/19/2018  24      142.24
   232           1-30                  BIH         04/19/2018       9762951003         COGS Vendors    WW Grainger                       05/19/2018  24       43,63
   233           1-30                  Btil        04/19/2018       9762951029         COGS Vendors    WW Grainger                       05/19/2018  24      326,39
   234           1-30                  Bill        04/19/2018       9763367506         COGS Vendors    WW Gralnger                       05/19/2018  24      148,00
   23S           1-30                  Bill        04/19/2018       9762951011         COGS Venciors   WW Grainger                       05/19/2018  24      223,09
   236           1-30                  Bi!l        04/19/2018       9762595602         COGS Vendors    WW Grainger                       05/19/2018  24       77.76
   237           1-30                  Bill        04/19/2018       9762595594         COGS Vendors    WW Graingsr                       05/19/2018  24      341.69
   238           1 -30                 Biii        04/18/2018      S2195534.001        COGS Vendors    Capp, Inc.                        05/18/201 S 25      320.72
   239           31-60                Credit       04/18/2018         643483           COGS Vendors    Ferguson Enterprises, inc.                           (610.26)
   240           31-60                 B!l!        04/18/2016       39S933-5503        COGS Vendors    Rudd Contracting Co., Inc.        04/18/2018  55      545.00
   241           1-30                  Bil!        04/18/2018      S5325710.001        COGS Vendors    Rumssy Electric Co.               05/18/201 S 25      568.57
   242           1 -30                 Bill        04/18/2018         10460983         COGS Vendors    The Standard                      05/15/2018  28   11.858.00
   243           1-30                  Bill        04/18/2018       9760936840         COGS Vendors    WW Granger                        05/18/201 S 25       28.58
   244            1-30                 Bill        04/18/2018       9760936832         COGS Vendors    WW Grainger                       05/18/2018  25      126.91
   245           1-30                  Bill        04/18/2018       9761903294         COGS Vendors    WW Grainger                       05/18/2018  25      599.20
   246           1-30                  Biil        04/17/2018           4666           COGS Vendors    Ace Alarm & Communications, LLC   05/17/2018  26      840.00
   247           1 -30                 Bill        04/17/2018         61623349         COGS Vendors    Cintas Corporation-061.100,287    05/17/2018  26       86.12
   248           1 -30                 Biil        04/17/2018       0210151389         COGS Vendors    CPR Sewices                       05/17/2018  26   24,631.98
   243           1-30                  Bill        04/17/2018        100526692         COGS Vendors    Firetro) Protection Systems, inc. 05/17/2018  26    7,178.96
   250           31-60                 Bill        04/17/2018        374736497         COGS Vendors    Tenninlx Processing Center        04/17/2018  56      279.29
   251           1 -30                 Bill        04/17/2018       9760280348         COGS Vendors    WW Gralnger                       05/17/2018  26      731.15
   252           1 -30                 Bill        04/17/2018       9760G32878         COGS Venciors   WW Gralnger                       05/17/2016  26      127.40
   253           1 -30                 Bill        04/17/2018       9759803779         COGS Vendors    WW Gralnger                       05/17/2016  26      298.93
   254           1 -30                 Bill        04/16/2018          974602          COGS Vendors    C.O.P.S. Monitoring               05/16/2016  27      137.50
   255           1-30                  Bill        04/16/2018        100245625         COGS Vendors    Cintas Corporation -061,100,287   05/16/2018  27       74.00
   256           1-30                  Bill        04/16/2018           1818           COGS Vendors    CRESPO'S CONSTRUCTION             05/1G/2018  27    5,250.00
   257           1-30                  Bill        04/16/2018      S5324747.001        COGS Vendors    Rumsey Eiecidc Co.                05/1G/2018  27      144.00
   258           1 -30                 Bill        04/16/2018        2005862-1         COGS Vendors    Tri Dim Filter Corp.              05/16/2018  27    2,254.23
   259           1-30                  Bill        04/16/2018       9758735949         COGS Vendors    WW Gratnger                       05/16/2018  27      351.80
   260           1-30                  Bill        04/16/2018       9758735956         COGS Vendors    WW Gralnger                       05/16/2018  27      333.60
   251            1 -30                Bill        04/13/2018        61621760          COGS Vendors    Cintas Corporation -061,100,287   05/13/2018  30       89.90
   262           1 -30                 Bill        04/13/2018       5031775-IN         COGS Vendors    G&M Electric Sales Co., Inc.      05/13/2016  30      423.00
   263           1 -30                 Bill        04/13/2018      S5319620J501        COGS Vendors    Rumsey EfecEfic Co.               05/13/2018  30    1,108.00
   264           1 -30                 Bill        04/13/2018      S5330243.001        COGS Ventiors   Rtimsey Efeciric Co.              05/13/2018  30      154.80
   265           1 -30                 Bill        04/13/2018       2009810-1          COGS Vendors    Tri Dim Filter Corp,              05/13/2018  30      225.84
   2S6           1 -30                 Bill        04/13/2018       2009816-1          COGS Vendors    Tri Dim Filter Corp.              05/13/2018  30    2,914.56
   267           1 -30                 Bill        04/13/2018       9757477709         COGS Vendors    WW Gralnger                       05/13/2018  30      116.59
   268          31-60                  Bill        04/12/2018          87553           COGS Vendors    Air-Nu Filters                    05/12/2018  31      158.64
   269          31-60                  Bill        04/12/2018       005-31324          COGS Vendors    Cummins Mid-South L.L.C.          05/12/2018  31    1,791.01
   270          31-60                  Bill        04/12/2018       005-31325          COGS Vendors    Cummins Mld-South L.L.C.          05/12/2018  31    2,211.01
   271          31-69                  Bill        04/12/2018       005-31280          COGS Vendors    Cummins Mid-South LL.C.           05/12/2018  31    2,061,01
   272          31-60                  Bill        04/12/2018       005-31279          COGS Vendors    Cummins Mld-South L.L.C.          05/12/2018  31    2,061,01
   273          31-60                  Bill        04/12/2018       005-31282          COGS Vendors    Cummins Mld-South L.L.C.          05/12/2018  31    1,791.00
   274          31-60                  Bill        04/12/2018       005-31281          COGS Vendors    Cummins Mld-South L.L.C.          05/12/2018  31    1,792,60
   275          31-60                  Bill        04/12/2018       9755332880         COGS Vendors    WW Gralnger                       05/12/2018  31       62.73
   Z76          31 -60                 Bill        04/11/2018      S2194846.001        COGS Vendors    Capp, inc.                        05/11/2018  32    1,087,70
   277          31-60                  Bit!        04/11/2018        100242285         COGS Vendors    Cintas Corporation-061,100,287    05/11/2018  32       74.00
   278          31-60                  BIN         04/11/2018          21723           COGS Vendors    Shades of Green                   05/11/2018  32   10,370.00
   279          31-60                  BID         04/11/2018        38946973          COGS Vendors    TranBU.S.Jnc.                     05/11/2018  32      436,00
   280          31-69                  Bill        04/11/2018       9755121263         COGS Vendors    WW Grainger                       05/11/2018  32      261.29
   281          31-69                  Bill        04/11/2018       9755121275         COGS Vendors    WW Grainger                       05/11/2018  32       67.85
   282          31-60                  BID         04/10/2018        61619125          COGS Vendors    Clntas Corporation-061,100,287    05/10/2018  33       86.12
   283          31-60                  Bill        04/09/2018          87467           COGS Vendors    Air-Nu Filters                    05/09/2018  34       67.20
   284          61-90                  Bill        04/09/2018         276523           COGS Vendors    Baxter Clean Care                 04/09/2018  64      502,94
   28S          31-60                  Bill        04/09/2018          H-034           COGS Vendors    Electrical Power Systems !nc.     05/09/2018  34      525.0Q
   286          31-60                  Bll!        04/09/2018          H-033           COGS Vendors    Electrical Power Systems inc.     05/09/2018  34      525.00
   287          31-60                  B1H         04/09/2018       9752312919         COGS Vendors    WW Grainger                       05/09/2018  34      361.55
   288          31-60                  Bill        04/09/20-18      9751707127         COGS Vendors    WW Grainger                       05/09/2018  34      219.75
   289          31-60                  Bill        04/09/2018       9752031279         COGS Vendors    WW Grainger                       05/09/2018  34       48.07
   290          31-60                  Bill        04/09/2018       9751678286         COGS Vendors    WW Grainger                       05/09/2018  34       48.24
   291          31-60                  Bill        04/OG/2018        61617614          COGS Vendors    Cintas Corporation-061,100,287    05/06/2018  37       89.90
   292          31-60                  Bill        04/OG/2018       9750568361         COGS Vendors    WW Grainger                       05/06/2018  37      173.50
   293          31-60                  BID         04/05/2018        1508-018          COGS Vendors    Buck Kreihs Marine Repair, LLC    05/05/2018  38    1,800.00
   294          31 -60                 Bill        04/05/2018       9748766376         COGS Vendors    WW Grainger                       05/05/2018  38      438.41
   29S          31-60                  BID         04/05/2018       9749658671         COGS Vendors    WW Grainger                       05/05/2018  38      249.70
   296          31-60                  BID         04/05/2018       9749096666         COGS Vendors    WW Grainger                       05/05/2018  36       53.78




                                                                                                                                                               Paga12of4a
             Case 18-12095-BFK                           Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                             Desc Main
                                                                     Document      Page 24 of 114

DEBTOR:                       WW Contractors, inc                                                CASE NO:                                   18-1209S.BFK


                                                                                Exhibit G1
                                                                          UNPAID BILLS - PRE BANKRUPTCY
                                                                                AS OF JUNE 12, 2018


f^';>,.
                              's                                                                                 '.:



Count     •'.^Status-'':-'.
                              ^^:TYPei±^ ^.. Date '.^ ^':;I:IN^^.^! ;; ^;'. 'LABEL. 1-:<.^);     ^:^i ^ '^^;; 'Name ;\-i ;' ^; ;.,^' ;.:^
  297        31 -60                  Bill        04/05/2018     9749096674       COGS Vendors    WW Gralnger
  298        31 -60                  Oil!        04/04/2018       5783633        COGS Vendors    Best Plumbing Specialties, Inc.
  299        31-60                   Bill        04/04/2018     9747842137       COGS Vendors    WW Grainger
  300        31-60                   Blli        04/04/2018     9748372605       COGS Vendors    WW Grainger
  301        31 -60                  Bill        04/04/2018     9747674357       COGS Vendors    WW Gralnger
  302        31 -60                  Bill        04/04/2018     9748031102       COGS Vendors    WW Grainger
  303        61-SO             Bill Pmt -CCard   04/04/2018                      COGS Vendors    WW Grainger
  304        31 -60                  Bill        04/03/2018      340091626       COGS Vendors    Advanced Door Service
  305        31 -60                  Bill        04/03/2018         87333        COGS Vendors    Alr-Nu Filters
  306        31-60                   Bill        04/03/2018       61614842       COGS Vendors    CintasCprporatton-061,100,287
  307        31 -60                  Biit        04/03/2018     9746960252       COGS Vendors    WW Grainger
  308        61-90                   B!l!        04/02/2018         6810         COGS Vendors    5-H Services inc.
  309        31-60                   B!l!        04/02/2018      100238880       COGS Vendors    Cintas Corporation-G61,100,287
  310        31-60                   Bill        04/02/2018     05-919321        COGS Vendors    Virginia Fire Proiection
  311        31-60                   Bill        04/02/2018     97^4975971       COGS Vendors    WW Grainger
  312        31-60                   Bill        04/02/2018     9745193533       COGS Vendors    WW Graingsr
  313        31-60                   Bill        04/02/2018     9744498347       COGS Vendors    WW Graingsf
  314        31-60                   Biit        04/02/2018     9744657421       COGS Vendors    WW Grainger
  315        31-60                   Bill        04/02/2018     9745366048       COGS Vendors    WW Grainger
  316        31-60                   8(11        04/01/2018       131425         COGS Vendors    HAI Integrated Building Services, Inc.
  317        31-60                   an          04/01/2018     CT0024050        COGS Vendors    Kroff Chemical Company, Inc.
  318        31-60                   B!l!        03/31/2018        29896         COGS Vendors    Burke Industries
  319        31-60                   Bill        03/31/2018        15675         COGS Vendors    Water Treatment Services Inc.
  320        31-60                   Bill        03/31/2018        15653         COGS Venciors   Water Treatment Services Inc.
  321        31-60                   Bill        03/31/2018        15607         COGS Vendors    Water Treatment Services tnc,
  322        31-60                   Bll!        03/31/2018        16514         COGS Vendors    Water Treatment Services !nc,
  323        31-60                   Blil        03/30/2018    S2147956.001      COGS Vendors    Capp, Inc.
  324        31-60                   Blil        03/30/2018     CT0024074        COGS Vendors    Kroff Chemical Company, !nc.
  325        31-60                   Blil        03/30/2018    S5321141.001      COGS Vendors    Rumsey Etectric Co.
  326        31-60                   BIS!        03/30/2018     9744221889       COGS Vendors    WW Graingsr
  327        31-60                   B!!l        03/29/2018    S2148420.001      COGS Vendors    Capp, !nc.
  328        31-60                   Bill        03/29/2018    140241-60532         uinitiss
  329        61-90                   Bill        03/29/2018      374160900       COGS Vendors
  330        31-60                   Hill        03/29/2018     9743050305       COGS Vendors
  331        31-60                  BHI          03/28/2018    S2191714.001      COG5 Vendors
  332        31-60                  Bill         03/28/2018     18-512760        COGS Vendors
  333        31-60                  B!H          03/28/2018     9742282529       COGS Vendors
  334        31-60                  Bin          03/27/2018    S2164931.001      COOS Vendors
  335        31-60                  BS1!         03/27/2018      61610520        COGS Vendors
  335        31-60                  an           03/27/2018     005-30315        COGS Vendors
  337        31-60                  B!II         03/27/2018       73712          COGS Vendors
  333        31-60                  Bill         03/27/2018    S5310353.001      COGS Vendors
  339        31-60                  Bill         03/27/2018    55312142,001      COGS Vendors
  340        31-60                  Bill         03/27/2018     9740902219       COGS Vendors
  341        31-60                  Bill         03/27/2018     9740615993       COGS Vendors
  342        31-60                  Bill         03/27/2018     9740178554       COGS Vendors
  343        61-90                  Bili         03/26/2018       275847         COGS Vendors
  344        31-60                  Bil!         03/26/2018      100235468       COGS Vendors
  345        31-60                  Bili         03/26/2018     005-30197        COGS Vendors
  346        31-60                  Bill         03/26/2018     9739189059       COGS Vendors
  347        31-60                  Bill         03/26/2018     9739599587       COGS Vendors
  348        31-60                  Bill         03/26/2018     9738155440       COGS Vendors
  349        31-60                  Bill         03/26/2018     9739762434       COGS Vendors
  350        31-60                  Bil!         03/23/2018   S120941902.001     COGS Vendors
  351        31-60                  Bili         03/23/2018        21684         COGS Vendors
  3S2        31-60                  Bill         03/23/2018        21683         COGS Vendors
  353        31-60                  Bill         03/23/2018     9737196031       COGS Venrfors
  354        31-60                  Bill         03/22/2018    32162550,001      COGS Vendors
  355        31-60                  Bill         03/22/2018    32162550,001      COGS Vendors
  356        61-90                  Bil!         03/22/2018      374000165       COGS Vendors
  357        31-60                  Bill         03/22/2018     9735367915       COGS Vendors
  358        31-60                  Bill         03/21/2018        28240         COGS Vendors
  35S        31-60                  Bill         03/21/2018     9734889612       COGS Vendors
  360        31-60                  Bill         03/21/2018     9734735773       COGS Vendors
  361        31-60                  Bill         03/21/2018     9735160740       COGS Vendors
  362        31-60                  Bill         03/20/2018        87081         COGS Vendors
  353        31-60                  Bill         03/20/2018       968692         COGS Vendors
  3S4        31-60                  Bill         03/20/2018      61606171        COGS Vendors
  365        31-60                  Bill         03/20/2018        13451         COGS Vendors
  3S6        31-60                  Bill         03/20/2018        21674         COGS Vendors
  367        31-60                  Bill         03/19/2018    S2173628.001      COGS Vendors
  368        31-60                  Bill         03/19/2018      100232069       COGS Vendors
  3G9        31 -60                 Bi!l         03/19/2018     005-29734        COGS Vendors
  370        31-60                  Bill         03/19/2018    9731223906        COGS Vendors
           Case 18-12095-BFK                                Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                Desc Main
                                                                          Document      Page 25 of 114

DEBTOR:                      WW Contractors, !nc                                                            CASE NO:                                 18.12095.BFK


                                                                                         Exhibit 01
                                                                                 UNPAID BILLS - PRE BANKRUPTCY
                                                                                      AS OF JUNE 12, 2016


                                                                                                •\-



ppynt   V.; -'Status :\~f'
                             .^^^'rvt^^^i*.   '[•'^:. Date \'~^   l.;.^::^I^Num;';^^^   ;;::^-;^AB^h:,,^1   l^^l^'::w^".lN'ame^':^I;I.:.;:^'":i;^
  371        31-60                 Bin          03/17/2018               32705            COGS Vendors      Jefferson Sprinkiec, Inc
  372        31-60                 an           03/16/2018                548             COGS Vendors      Dygent Gates
  373        31-60                  Bill        03/16/2018             31101920           COGS Vendors      Overhead Door of New Orieans
  374        31-60                  Bill        03/16/2018           9730382414           COGS Vendors      WW Gralnger
  375        31-60                  Bit!        03/16/2018           97299637GO           COGS Vendors      WW Grainger
  376        31-60                  BID         03/16/2018           9730114155           COGS Vendors      WW Grainger
  377       31-60                   Bill        03/16/2018           9730114163           COGS Vendors      WW Gralnger
  378       31-60                   Bin         03/15/2018              87015             COC3S Vendors     Air-Nu Filters
  379       61-90                   Bill        03/15/2018              275317            COGS Vendors      Baxter Clean Cars
  380       31-60                   BiSI        03/15/2018              118743            COGS Vendors      Eagfe insulation
  381       31-60                   Bill        03/14/2018            INV490056           COGS Vendors      Fraser Advanced !nfomiat!on Systems
  332        31 "60                 Bill        03/14/2018           9727129695           COGS Vendors      WW Grainger
  383        31-60                  Bil!        03/14/2018           9726610471           COGS Vendors      WW Grainger
  384       61-90                   Bjl!        03/13/2018            61601725            COGS Vendors      Clntas Corporation-061,100,287
  385       61 -90                  BJII        03/13/2018            05-914358           COGS Vendors      Virginia Fire Protection
  386       61 -90                  Bill        03/13/2018           9726215552           COGS Vendors      WW Gralnger
  387       61 -90                  BID         03/12/2018            100228741           COGS Vendors      Cintas Corporation-061,100,287
  388       61 -90                  BKI         03/12/2018             324429             COGS Vendors      IDEAL LiGHTING
  389       61 -90                  Bill        03/12/2018          S5283389.003          COGS Vendors      Rumsey Etectric Co,
  330       61-90                   Bl!l        03/12/2018          9725000369            COGS Vendors      WW Gra!nger
  391       61-90                   Bill        03/12/2018          9724138912            COGS Vendors      WW Gra!nger
  392       61-90                   Bill       03/12/2018           9724138004            COGS Vendors      WW Grainger
  393       61-90                   Bill        03/11/2018        SRVCE00241701           COGS Vendors      Entech Sales & Sen/lces, Inc.
  394       61 -90                  Bill        03/09/2018           61600217             COGS Vendors      Cintas Corporation -061,100,287
  39S       61-9D                   BUS         03/09/2018            005-29178           COGS Vendors      Cummins Mld-South LL.C.
  396       61-90                   BUS         03/09/2018            005-29177           COGS Vendors      Cummins Mld-South L.LC.
  337       61 -90                  Bill        03/09/2018              S8866             COGS Vendors      FERRARA'S HEATING & MR CO.. I
  398       61-90                   Bill        03/09/2018           5031563-JN           COGS Vendors      G&M Electric Sales Co.. Inc.
  399       61-90                   Bill        03/09/2018            31101836            COGS Vendors      Overhead Door of New Orieans
  400       61-90                   Bill       03/09/2018              21639              COGS Vendors      Shades of Green
  401       61 -90                  Bill       03/09/2018            9722355444           COGS Vendors      WW Grainger
  402       61-90                   Bill       03/08/2018              86891              COGS Vendors      Air-Nu Filters
  403       61-90                   Bli)       03/08/2018           S215S511.001          COGS Vendors      Capp, Inc.
  404       61-80                   Bill       03/08/2018           S2155091.001          COGS Vendors      Capp, Inc.
  40S       61-90                   Bill       03/08/2018           32156095.001          COGS Vendors      Capp, Inc.
  406       61-90                   Bill       03/08/2018           S5284083.001          COGS Vendors      Rumsey Eiectric Co.
  407       61-90                  Bitl        03/07/2018             5777214             COGS Vendors      Best Plumbing Specialties, Inc.
  408       61-90                  Bill        03/07/2018           S5306047.001          COGS Vendors      Rumsey Electric Co.
  409       61-90                  Bill        03/06/2018              86795              COGS Vendors      Air-Nu Filters
  410       61-90                  Biil        03/06/2018            005-28971            COGS Vendors      Cummins Mld-South L.L.C.
  411       61-90                  Bin         03/06/2018            005-28922            COGS Vendors      Cummins Mid-South L.L.C.
 412        61-90                  BIEI        03/06/2018            005-28921            COGS Vendors      Cummins Mld-South L,L,C.
 413        61-90                  Biil        03/06/2018            005-28972            COGS Vendors      Cummins Mld-South L.L.C,
 414        61-90                  Bill        03/06/2018              W20433             COGS Vsndors      Texas Chiiler Systems
 415        61-90                  Btil        03/06/2018            9719191638           COGS Vendors      kft/W Grainger
 416        61-90                  Bin         03/06/2018            9719191620           COGS Vandors      i/VW Gralnger
 417        61-90                  Biil        03/05/2018             100225326           COGS Vsndors      Cintas Corporation -061,100,287
 418        61-90                  Bill        03/05/2018            5031553-1 N          COGS Vendors      3&M Eiectric Sales Co.. inc.
 419        61-90                  Bi!)        03/05/2018               64533             COGS Vendors
 420        61-90                  BIH         03/05/2018           S5298683.001          COGS Vendors
 421        61-90                  BNI         03/05/2018            05-912665            COGS Vendors
 422        61-90                  Bill        03/02/2018             61595992            COGS Vendors
 423        61-90                  Bill        03/02/2018            05-912332            COGS Vandors
 424        61-90                  BIN         03/01/2018             5776093             COGS Vendors
 425        61-90                  Bill        03/01/2018           140241-60532             Utilities
 426        61-90                  Bi!i        03/01/2018           PA-10297 P2          COGS Vendors
 427        61-30                  Bl!l        03/01/2018           CT0023825            COGS Vendors
 428        61-90                  Bill        02/28/2018           50313S9-1N           COGS Vendors
 429        61 -90                 BE!!        02/28/2018             131422             COGS Vendors
 430        61 -90                 Bi!i        02/28/2018         SRVCE076523A           COGS Vendors
 431        61-90                  BiH         02/28/2018           CT0023871            COGS Vendors
 432        61-90                  BID         02/28/2018              13382             COGS Vendors
 433        61-90                  BIN         02/27/2018              86663             COGS Vendors
 434        61-90                  Bin         02/27/2018               6274             COGS Vsndors
 435        61-90                  Bin         02/26/2018              86613             COGS Vendors
 436        61-90                  Biil        02/26/2018          SRVCE076523           COGS Vsndors
 437        61-90                  Biil        02/26/2018         S120598675.001         COGS Vendors
 438        61-90                  Biil        02/23/2018             124226             COGS Vendors
 439        61-90                  Bill        02/23/2018            61591865            COGS Vendors
 440        61-90                  Bi!l        02/23/2018          S5297618.001          COGS Vondore
 441        81-90                  Bill        02/22/2018           34008880S            COGS Vendors
 442        61-90                  B!II        02/22/2018               6271             COGS Vendors
 443        61-90                  Bill        02/22/2018         3120366770.002         COKS Vendors
 444        61-80                  Bill        02/22/2018         3120366770.003         COGS Vsndors
           Case 18-12095-BFK                       Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                              Desc Main
                                                               Document      Page 26 of 114

DEBTOR:                   WW Contractors, inc                                                 CASE NO:                                 18-12095.BFK


                                                                          Exhibit G1
                                                                   UNPASD BILLS - PRE BANKRUPTCY
                                                                        AS OF JUNE 12, 2018



          .''



                                            ^
Count   .-^Status;-, :.   "^'tTyf"t^:;.^ ^!_Datej^ ^^f,i:-^um;^y" ^' :^,' LABEL'!: ^"-:'::.   !^^^ ;;yS/^Nam8l^ ^^'i^; ^ -JLJ^i
  445       61-90                 Bili     02/22/2018   9707931284       COGS Vendors         WW Gralnger
  44G       61-90                 Bill     02/21/2018        28118       COGS Vendors         PRECISION PSI INC.
  447       61-90                 Biii     02/21/2018     05-909493      COGS Vendors         Virginia Fire Proteriion
  448       61-90                 8!1!     02/21/2018       167290       COGS Vendors         Waukesha-Pearcs Industrie, Irsc,
  449       61-90                Bill      02/21/2018       193671       COGS  Vendors        Waukesha-Peanse [ndustrie, Inc.
  450       61-90                 Bill     02/20/2016       961443       COGS Vendors         C.O.P.S. Monitoring
  451        > 90                 Bill     02/20/2018  1-61509265570     COGS Vendors         Johnson Controls, Inc.
  452       61-90                 Bill     02/20/2018  S5283389.002      COGS Vendors         Rumsey Electric Co.
  4S3       61-90                 Biil     02/16/2018     61587630       COGS Vendors         Ctntas Corporation •061,100,287
  4S4       61-90                 Biil     02/16/2018    5031373-IN      COGS Vendors         G&M Electric Sales Co., Inc.
  455       61-90                 Bi!l     02/16/2018 S120366770.001     COGS Vendors         Rexel [nc,
  456       61.90                 Bill     02/15/2018   9701195860       COOS Vendors         WW Gralnger
  457       61-90                 Bill     02/13/2018      5771904       COGS Vendors         Best Plumbing Specialties, Inc.
  458       61-90                 8II!     02/13/2018    1NV477107       COGS Vendors         Fraser Advanced Information Systems
  459       61-90                 Bin      02/13/2018  S5284722.001      COGS Vendors         Rumsey Electric Co.
  460       61-90                 Bin      02/13/2018  S5283389.001      COGS Vendors         Rumsey Electric Co.
  4G1       61-90                 HI!      02/13/2018        21619       COGS Vendors         Shades of Green
  462       61-90                 Bil!     D2/12/2018  S5264319.005      COGS Vendors         Rumsey Electric Co.
  4G3       61-90                 Bill     02/12/2018    428809867       COGS Vendors         SuppIyWorks
  4G4        > 90                 Bill     02/10/2018        44372       COGS Vendors         American Sprinkler Company, Inc.
  46S        > 90                 Bill     02/09/2018      5771155       COGS Vendors         Best Piumbing Spedalties, Inc.
  466        > 30                 Bill     02/09/2018        27996       COGS Vendors         PRECISION PSI INC.
  467        > 90                 Bill     02/09/2018  S5282052.002      CQGS Vendors         Rumsey Eiectrtc Co.
  468        > 90                 Bill     02/09/2018        20918          Telecom           Verizon Wireless
  469        > 90                 Bill     02/08/2018      5770762       COGS Vendors         Best Plumbing Specialties, Inc.
  470        >9D                  Bl!l     02/08/2018      2005049       COGS Vendors         Control and Jnstmment Sen/lces
  471        > 90                 Bill     02/08/2018 SRVCE00240436      COGS Vendors         Entech Sates & Services, Inc.
  472        > 90                 Bill     02/08/2018  S5279383.001      COGS Vendors         Rumsey Bectric Co.
  473        > 90                 Bill     02/07/2018    340087757       COGS Vendors         Advanced Door Service
  474        > 90                 B!11     02/07/2018      5770644       COGS Vendors         Best Plumbing Specialties, inc.
  475        > 90                 Bill     02/07/2018      5770648       COGS Vendors         Best Plumbing Specialtios, Inc.
  476        > 90                 Bill     02/07/2018    100515536       COGS Vendors         Firetroi Protection Systems, Inc.
  477        > 90                 Bill     02/07/2018        64420       COGS Vendors         Jefferson Battery Co., inc.
  478        > 90                 Bill     02/07/2018  S5264319.001      COGS Vendors         Rumsey Electric Co.
  479        > 90                 Bill     02/06/2018      5770240       COGS Vendors         Best Plumbing Specialties, inc.
  480        > 90                 Bill     02/05/2018  BMINV030518       COGS Vendors         Burlington Metats, LLC.
  481        > 90                 Bill     02/05/2018    877122732       COGS Vendors         Cintas Corporation -061,100,287
  482        > 90                 Bill     02/05/2018    5031243-IN      COGS Vendors         G&M Electric Sates Co., inc.
  483        > 90                 Bil!     02/05/2018     05-90G1S9      COGS Vendors         Virginia Fire Protection
  484        > 90                 Bill     02/04/2018   DVC0218-015         Tsiscom           Verizon
  48S        > 90                 Bill     02/02/2018 3118613533.002     COGS Venrfore        Rexel Inc.
  485        > 90                Bill      02/02/2018  S5280181.002      COGS Vendors         Rumsey Electric Co.
  487        > 90                Bili      02/02/2018  S5278166.001      COGS Vendors         Rumsey Electric Co,
  488        > 90                Bill      02/02/2018  S5285942.001      COGS Vendors         Rumsey Electric Co.
  489        > 90                Bill      02/01/2018       86137        COGS Vendors         Air-Nu Filters
  430        > 90                Bill      02/01/2018  140241-60532         Utilities         CityofTyier
  491        > 90                Bill      02/01/2018       131420       COGS Vendors         HAI Integrated Building Services, Inc.
  492        > 90                Bill      02/01/2018    CT0023611       COGS Vendors         Kroff Chemical Company, Inc.
  493        > 90                Bill      02/01/2018       116158       COGS Vendors
  494        > 90          Bill Pmt -CCard 01/31/2018                    COGS Vendors
  495        > 90                Bill      01/31/2018    100514466       COGS Vendors
  436        > 90                Bill      01/31/2018    5031241-IN      COGS Vendors
  497        > 90                Biil      01/31/2018   5444886302       COGS Vendors
  498        > 90               Credit     01/31/2018   9685300114       COGS Vendors
  499        > 90                Bill      01/30/2018    PA-10592P       COGS Vendors
  500        > 90                Bill      01/30/2018    CT0023462       COGS Vendors
  501        > 90                BISI      01/29/2018       28105        COGS Vendors
  502        > 90                Biil      01/29/2018  S5280489.001      COGS Vendors
  503        > 90                Bill      01/29/2018   96B1968138       COGS Vendors
  504        > 90                Bill      01/25/2018   ORD0022100      COGS Vendors
  505        > 90                Bill      01/25/2018  S5279618.001     COGS Vendors
  506        > 90                Bill      01/25/2018  S5280181.001     COGS Vendors
  507        > 90                Bill      01/24/2018       64337       COGS Vendors
  508        > 90                Biil      01/24/2018       14121       COGS Vendors
  509        > 90                Bi!l      01/23/2018      5766816      COGS Vendors
  510        > 90                Biil      01/23/2018      2005028      COGS Vendors
  511        > 90                Biil      01/23/2018   9676922306      COGS Vendors
  512        > 90                Bi!l      01/23/2018   9677166844      COOS Vendors
  513        > 90                Bill      01/22/2018       12218       COGS Vendors
  514        > 90                Bill      01/22/2018  BM1NV022118      COGS Vendors
  515        > 90                Biii      01/22/2018        5110       COGS Vendors
  516        > 90               Credit     01/22/2018   9676079743      COOS Vendors
  517        > 90                Bill      01/21/2018  BMINV012718      COOS Vendors
  S18        > 90                Bi!l      01/19/2018        6237       COGS Vendors
           Case 18-12095-BFK                        Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                    Desc Main
                                                               Document      Page 27 of 114

DEBTOR:                     WW Contractors, Inc                                            CASE NO:                           18.12095.BFK


                                                                           Exhibit G1
                                                                   UNPAID BILLS - PRE BANKRUPTCY
                                                                         AS OF JUNE 12. 2018



                 !^                                                                                       ^
Count   ^;.i •Status,^;;'   \W^?<^^-':: " ;Dato ;•: ^^;i<^Nyni.^-j^.l ^^i.ABisL'iri^l ^^^J^^^Name;!!^^',^ -^•/,','"
  519        > 90               Blil      01/19/2018        6236        COGS Vendors  Proton Eiectric
 520         > 90               Bin       01/18/2018      (024011      COGS Vendors   A & A Glass
 521         > 90               Bill      01/11/2018     18033247      COGS Vendors   CNA insurance Companies
 522         > 90               Bill      01/10/2018      1147887       COGS Vendors  A/C SuppSy Comapny Inc
  523        > 90               Bill      01/10/2018   S5270055.001     COGS Vendors  Rumsey Ejectric Co.
  524        > 90              Credit     01/10/2018    9864256725      COGS Vendors  WW Gralnger
  525        > 90               Bill      01/08/2018    5031117-IN      COGS Vendors  G&M Ejectric Sales Co., inc.
  S26        > 90               Bill      01/08/2018   S5265985.001     COGS Vendors  Rumsey Electric Co.
 527         > 90               Bill      01/08/2018    9662231407     COGS Vendors   WW Gra!nger
 528         > 90               Bill      01/05/2018      123754       COGS Venciors  Blue Flash Sewer Service
 529         > 90               Bill      01/05/2018       16748       COGS Vendors   Ecosave Automation inc.
 530         > 90               Bill      01/05/2018 S118698833.002    COGS Vendors   RexelInc.
 531         > 90               Bill      01/04/2018       85626       COGS Vendors   Alr-Nu Filters
 532         > 90                 Bill       01/04/2018    140241-60532        Utillttes   CityofTyter
 533         > 90                 Bili       01/03/2018 856455514578641Y     Telecom       Verizon
 534         > 90                 Bili       01/02/2018    S5255738.001    COGS Vendors    Rumsey Electric Co.
 S35         > 90                 Bill       01/02/2018      05-897804     COGS Vendors    Virginia Fire Protection
 536         > 90                 Bill       01/01/2018      CT0023610     COGS Vendors    Kroff Chemical Company, inc.
 S37         > 90                 Bill       12/28/2017    S5262810.001    COGS Vendors    Rumsey Electric Co,
 538         > 90                 Bill       12/27/2017          98627     COGS Vendors    Kensol Airways
 539         > 90                 Bill       12/27/2017        7719600     COGS Vendors    Pun/is Industries, LTD.
 540         > 90                 Bill       12/27/2017    S5239413.001    COGS Vendors    Rumssy Efectric Co.
 541         > 90                 Bill       12/27/2017    S5252029.001    COGS Vendors    Rumsey Eieciric Co.
 542         > 90                 Bill        12/26/2017     340084736     COGS Vendors    Advanced Door Sen/ics
 543         > 90                 Bill        12/26/2017         85470     COGS Vendors    Air-Nu Filters
 544         > 90                 Bill       12/26/2017       61556462     COGS Vendors    Cintas Corporation -061,100,287
 S45         > 90                 Bill       12/26/2017 S118613593.001     COGS Vendors    Rexe! Inc.
 S46         > so                 BiH        12/20/2017         123434     COGS Vendors    Biue Fiash Sewer Sen/ics
 S47         > 90                 Bill       12/18/2017      05-894353     COGS Vendors    Virginia Fire Protection
 S4S         > 90                 Bill       12/18/2017      05-894355     COGS Vendors    Virginia Fire Protection
 549         > 90                 Bill       12/18/2017     9646296260     COGS Vendors    WW Grainger
 550         > 90                 Bill       12/14/2017 S118674083.001     COGS Vendors
 551         > 90                 Bill       12/12/2017       61548003     COGS Vendors
 552         > 90                 Bill       12/12/2017   17.1526-RG-RF    COGS Vendors
 553         > 90                 Bill       12/10/2017       MJD1203      COGS Vendors
 554         > 90                 Bill       12/08/2017     9638941113     COGS Vendors
 555         > 90                 Bill       12/08/2017     9638941105     COGS Vendors
 556         > 90                 Bill       12/08/2017     963&941089     COGS Vendors
 557         > 90                 Bill       12/07/2017        S-16375     COOS Vendors
 558         > 90                 Biil       12/07/2017       2004919      COGS Vendors
 559         > 90                 Bill       12/07/2017   28690811ded7     COGS Vendors
 5GO         > 90                 Bill       12/07/2017     9637713075     COGS Vendors
 561         > 90                 Bill       12/06/2017   S5239923.001     COGS Vendors
 562         > 90                 Bill       12/04/2017         85107      COGS Vendors
 S63         > 90                 Bill       12/04/2017       MJD1201      COGS Vendors
 564         > 90                 Bill       12/04/2017          1007      COGS Vendors
 S6S         > 90                 Bill       12/04/2017     9633227898     COGS Vendors
 566         > so                 Bill       12/04/2017     9633438529     COGS Vendors
 567         > 90                 Bill       12/03/2017 127981305dec17       Tsiecom
 568         > 90                 Bill       12/03/2017 9039381423dec17      Teiecom
 569         > 80                 Bill       12/01/2017         64064      COGS Vendors
 570         > 90                 Bill       12/01/2017     CT0023153      CQGS Vendors
 571         > 90                 Bill       12/01/2017      05-891379     COGS Vendors
 572         > 90                 Bill       11/30/2017          7156      COGS Vendors
 573         > 80                 Bill       11/30/2017    250-0254-00         Utilities
 574         > 90                 Bill       11/30/2017   140241-60532         Utilities
 575         > 90                 Bill       11/30/2017     8630066471     COGS Vendors
 576         > 90                 Bill ,     11/29/2017 S118134370.005     COGS Vendors
 577         > 90                 Bill       11/29/2017 S118134370.006     COGS Vendors
 S78         > 90                 Bill       11/29/2017   S5229701.001     COGS Vendors
 S79         > 90                 Bill       11/28/2017       5755634      COGS Vendors
 S8D         > 90                 Bill       11/28/2017      61539703      COGS Vendors
 S81         > 80                 Bill       11/28/2017 S118355687.002     COGS Vendors
 S82         > 30                 Bill       11/28/2017   S5220105.001     COGS Vendors
 S83         > 90                 Bili       11/28/2017   S5244266.001     COGS Vendors
 S84         > 90                 Bill       11/27/2017         85008      COGS Vendors
 585         > 90               Credit       11/27/2017    CM47618887      COGS Vendors
 586         > 80                 Bill       11/27/2017         55301      COGS Vendors
 537         > 90               Credit       11/27/2017    9625880811      COGS Vendors
 588         > 90                 B!l!       11/25/2017 5013740157dec17      Telecom
 589         > 90                 B!IS       11/22/2017    96234942S8      COGS Vendors
 590         > 90                 Bill       11/21/2017       1125246      COGS Vendors
 591         > 90                 Bit!       11/21/2017      6153564G      COGS Vendors
 592         > 90                 B1H        11/20/2017       S-16131      COGS Vendors
        Case 18-12095-BFK                       Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                                          Desc Main
                                                            Document      Page 28 of 114

DEBTOR:              WW Contractors, Inc                                                     CASE NO:                                                18-1209S-BFK


                                                                          Exhibit G1
                                                                  UNPAID BILLS " PRE BANKRUPTCY
                                                                        AS OF JUNE 12, 2018



I
Count ;.^Statys^;; il^.TYRe1.:^: ^_^Date:^.; :'"^:?^LNum^^->i; :;:^--l.ftBEbl^.;^.l| ;^'' ^^.^^•^''jNams"'1''^"'; •• ^'<.:}^.' ;i ;;*:DU8:Dafe'?h
   593     > go           Bill     11/17/2017     S5224544.001     COGS Vendors Rumsey Electric Co.                                     12/17/2017
   594     > 90           Btil     11/17/2017        84276146      COGS Vendors Simplex Grinnell                                       12/17/2017
   S95     > 90           BDI      11/17/2017      9619041347      COGS Vendors WW Grainger                                            12/17/2017
   596     > 90           Bill     11/15/2017          1023786     COGS Vendors A & A Glass                                            12/15/2017
   597     > 90           Bill     11/14/2017            4556      COGS Vendors Ace A!arm & CommunicatlonSr LLC                        12/14/2017
   59S     > 90           B!II     11/14/2017         5752993      COGS Vendors Best Plumbing Specialties, Inc.                        12/14/2017
  599      >90            Bil!    11/14/2017          5753004      COGS Vendors Best Piumbing Speciaittes, Snc.                        12/14/2017
   600     > 90           B!I!     11/14/2017        61531582      COGSVendors Ctntas Corporation-061,100,287                          12/14/2017
   601     > 90           BID      11/13/2017         S-16099      COGS Vendors Ben Mainss Air Conditioning Inc                        11/13/2017
   602    > 90            an       11/13/2017         5752837      COGS Vendors Best Plumbing Specialties, Inc.                        12/13/2017
   603     > 90           Bill     11/13/2017     S5234398.002     COOS Vendors Rumsey Eleciric Co.                                    12/13/2017
   S04    > 90            Bifl     11/12/2017           84518      COGS Vendors Air-Hu Filters                                         12/12/2017
   605     > 90           Bill     11/10/2017         5752493      COGS Vendors Best Plumbing Specialties, Inc.                        12/10/2017
   sos    > 90            Bill    11/09/2017          5752021      COGS Vendors Best Plumbing Specialties, Inc.                        12/09/2017
   607    > 90            Bill    11/09/2017          SX9630       Office Supplies Scanex, Inc                                         12/09/2017
   608     > 99           Bill    11/08/2017            4536       COGS Vendors Ace Alarm & Communications, LLC                        12/08/2017
   609     > 90           8ili    11/08/2017            4537       COGS Vendors Acs Aiaran & Communications, LLC                       12/08/2017
   610     > 90           Bill    11/07/2017         61527540      COGS Vendors Cintas Corporation-061,100,287                         12/07/2017
   611     > 90           BilS    11/03/2017          5750955      COGS Vendors Best Piumblng Specialties, inc.                        12/03/2017
   612     > 90           Bil!    11/03/2017     S5216869.001      COGS Vendors Rumsey Electric Co.                                    12/03/2017
   613     > 90           B1H     11/02/2017          S-15872      COGS Vendors Ben Malnes Air Conditioning Inc                        11/02/2017
  614     > 90            Bill    11/01/2017           571299      COGS Vendors Comgo, Inc.                                            12/01/2017
  615     > 90            BiH     11/01/2017       CT0022929       COGS Vendors Kroff Chemical Company, Inc.                           12/01/2017
  616     > 90            Biil    10/31/2017            4531       COGS Vendors Ace Alarm & Communications, LLC                        11/30/2017
  617     > 90            Bill    10/31/2017          5749737      COGS Vendors Best Plumbing Specialties, Inc.                        11/30/2017
  618     >  90           Biil    10/31/2017         61523495      COGSVenciors Cintas Corporation-061,100,287                         11/30/2017
  619     >  90           Bill    10/31/2017        250025400          Utilities City ofShennan                                        11/30/2017
  620      > 90           BIEI    10/30/2017       5444770489      COGS Vendors Sjemen Bultdlng Technologies                           11/29/2017
  621      > 90           Biil    10/27/2017       5444760693      COGS Vendors Siemsn Building Technologies                           11/26/2017
  622     >  90           Bill    10/26/2017           84367       COGS Vendors Air-Nu Filters                                         11/25/2017
  623     > 90            Bill    10/26/2017           140241          Utilities CityofTyler                                           11/25/2017
  624     > 80          Credit    10/26/2017           67162       COGS Vendors Duff Company
  625     > 90            Sift    10/24/2017        61519488       COGS Vendors Cintas Corporation-061,100,267                         11/23/2017
  626     > 90            Bill    10/23/2017       340080458       COGS Vendors Advanced Door Service                                  11/22/2017
  627     > 90          Credit    10/23/2017           127950      COGS Vendors Fisk
  628     > 90            Bill    10/21/2017          FF5420       COGS Vendors WW Contractors, [nc,                                   11/20/2017
  629     > 90          Credit    10/19/2017      9588706979 •    COGS Vendors WW Gralnger
  630     > 90            Bill    10/17/2017            6404      COGS Vendors Alltemp Insulations                                     11/16/2017
  631     > 90            Bill    10/17/2017        61515522      COGS Vendors Cintas Corporation-061,100,287                          11/16/2017
  632     > 90            Bill    10/13/2017        10414346      COGS Vendors Tyco Integrated Sscurity, LLC                           11/12/2017
  633     > 90            Bill    10/13/2017        10414347      COGS Vendors Tyco Integrated Security, LLC                           11/12/2017
  634     > 90            Bill    10/13/2017        10414348      COGS Vendors Tyco Integrated Sscurity, LLC                           11/12/2017
  635     > 90            Bill    10/10/2017           84030      COGS Vendors Air-Nu Filters                                          11/09/2017
  636     > 90            Bill    10/10/2017           84050      COGS Vendors Alr-Nu Filters                                          11/09/2017
  637     > 90           Bill     10/10/2017        61511506      COGS Vendors Clntas Corporation-061,100,287                          11/09/2017
  638     > 90          Credit    10/09/2017        47628080      COGS Vendors McMaster Can-
  639     > 90          Credit    10/09/2017        47628078      COGS Vendors McMaster Can-
  640     > 90           Bill     10/06/2017     S5208735.002     COGS Vendors Rumsey Eiectric Co.
  641     > 90           Bill     10/05/2017     S5210715.001     COGS Vendors Rumsey Electric Co.
  642     > 90           Bill     10/05/2017     S5208735.001     COGS Vendors Rumsey Electric Co.
  643     > 90           Bill     10/04/2017           83900      COGS Vendors Alr-Nu Filters
  644     > 90           Bill     10/04/2017           16895      COGS Vendors NEW & ASSOCIATES. LLC
  645     > so           Bill     10/03/2017            409       COGS Vendors Concord Mechanical Inc
  646     > 80           Bi!l     10/02/2017            6243      COGS Vendors Alltemp Insulations
  647     > 90           Bill     10/02/2017           57429      COGS Vendors National Battery Co.
  648     > 80           BHI      10/02/2017              ec      COGS Vendors WW Contractors, Inc.
  649     > 90           Bi!l     10/01/2017          100317      COGS Vendors Angelas Enterprises
  650     > 80           Bill     10/01/2017       CT0022707      COGS Vendors Kroff Chemical Company, tnc,
  651     > 90           Bill     10/01/2017     S5102492.00-!    COGS Vendors Rumsey Electric Co.
  652     > 90           Bill    10/01/2017           315432      COGS Vendors WW Contractors, Inc.
  653     > 90           Bill    09/29/2017             397       COGS Vendors Concord Mechanical )nc
  654     > 90         Credit    09/29/2017       9570450628      COGS Vendors WW Grainger
  655     > 90           81EI    09/28/2017      140241-60532         Utilities CStyofTyler
  656     > 90           8i!l    09/28/2017           126175      COGS Vendors Fisk
  657     > 90           Bill    09/26/2017         61503341      COGS Vendors Clntas Corporation -061,100,287
  658     > 90           Bi!l    09/26/2017       5444733906      COGS Vendors SSemsn Building Technoiogies
 653      > 90           Bill    09/25/2017           16493       COGS Vendors NEW & ASSOCIATES. LLC
 660      > 90         Credit    09/20/2017     S51G8245.002      COGS Vendors Rumsey Electric Co.
 661      > 90           Bi!l    09/20/2017       5444712080      COGS Vendors Siemsn Building Technologies
 662      > 90           Bill    09/19/2017        61499331       COGS Vendors Clntas Corporation-061,100,287
 663      > 90           Bill    09/18/2017     S2110162.001      COGS Vendors Capp, (no.
 664      > 90           Bill    09/14/2017         5739486       COGS Vendors Best Plumbing Specialties, tnc.
 S65      > 90           B!11    09/12/2017        61495253       COGS Vendors Cintas Corporation-061,100,267
 66S      > 90           Bill    09/05/2017           91717       COBS Vendors      ^ngelos Enterprises
        Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                           Desc Main
                                               Document      Page 29 of 114

DEBTOR:         WW Contractors, Inc                                     CASE NO:                                         18-12095-BFK


                                                        Exhibit G1
                                                  UNPAID BILLS - PRE BANKRUPTCY
                                                        AS OF JUNE 12, 2018



                                                                                                                                      ^'6/12/2018 ;
|Courit[^Status';.-'\|~':;'^:^;Type.;'7;'-i/|?;,^:Date^;"J'^;!<:^^Nuw .^•^"j/^'Nanfle^":^;^^';^   '•'^I)ii0;Dater^i::.   \;jfta!"a^   !_^B3^W5.ei-L
  667 >90 Bill 09/05/2017 G1491101 COGSVerefors Clntas Corporation-061,100,287                          10/05/2017              250          86.12
  668 >90 Biil 09/05/2017 SN-0217822 COGSVendors Miner Ud. d.b.a. House of Doors                        10/05/2017              250         490.01
  669 > 90 Bill 09/01/2017 5N61030 COGS Vendors Total Fire and Safety, Inc.                             10/01/2017              254         165,00
  S70 > 90 Bill 08/31/2017 S2100537.001 COGS Vendors Cap p, Inc.                                        09/30/2017              255         557.73
  671 > 80 Bill 08/31/2017 250-0254-00 Utilities CityofSherman                                          09/30/2017              255         120.16
  G72 >90 BUS 08/29/2017 61486861 COGSVendops Cinlas Corporation-061,100,287                            09/28/2017              257          86.12
  673 > 90 Bili 08/28/2017 300938 COGS Vendors NextWave Solutions                                       09/27/2017              258         510.00
  674 >90 Bill 08/22/2017 61482784 COGSVendors Clnias Corporation-061,100.287                           09/21/2017              264          89.12
  675 > 90 Bill 08/21/2017 S2087809.00-! COGS Vendors Capp, Inc.                                        09/20/2017              265         730.50
  676 > 90 Bill 08/17/2017 JNV00000349 CO GS Vendors D CIM Solutions, LLC                               08/17/2017              299         382.82
  677 > 90 Bi!l 08/15/2017 61470661 COGS Vendors Cintas Corporation -061,100,287                        09/14/2017              271          86.12
  678 > 90 Credit 08/11/2017 S2049126.0D3 COGS Vendors Capp, Inc.                                                                           (213.75)
  679 > 90 Bill 08/11/2017 32088540,001 COGS Vendors Cap p, Inc.                                        09/10/2017             275           382.80
  680 >90 Bill 08/11/2017 61477200 COGSVendors Cintas Corporation-061,100,287                           09/10/2017             275            89.90
  681 > 90 Bill 08/08/2017 340075320 COGS Vendors Advanced Door Ssn/ice                                 09/07/2017             278           983.00
  6B2 > 90 Bil! 08/08/2017 61474482 COGS Vendors Cintas Corporation -061,100,287                        09/07/2017             278            64.39
  683 > 90 Bill 08/08/2017 IN-0212513 COGS Vendors Miner Ltd. d.b.a. House of Doors                     09/07/2017             278           191.00
  684 > 90 Bill 08/07/2017 5444657668 COOS Vendors Siemsn Building Technologies                         09/06/2017             279         1,158.60
  685 > 90 Bill 08/07/2017 5444658-144 COGS Vendors Siemen Building Tec hnoiogles                       09/06/2017             279         2,256.00
  686 >90 Bi!l 08/01/2017 1091627 COGSVendors A/C Suppiy Comapny inc                                    08/01/2017             315         1,100.77
  687 >30 B!il 08/01/2017 1105031 COGS Vendors A/C Supply Comapny Inc                                   08/01/2017             315            17.26
  688 >80 Bill 08/01/2017 1105030 COGS Vendors A/C Supply Comapnylnc                                    08/01/2017             315           294.87
  689 > 90 B11! 08/01/2017 1088339 COGS Vendors A/C Supply Comapnylnc                                   08/01/2017             315           137.30
  690 >90 Bll! 08/01/2017 0135011-IN COGS Vendors Apex Engineering Products Corporatioi                 08/31/2017             285           167.65
  691 > 90 Bil! Pmt -CCard 08/0't/2017 COGS Vendors Slsmsn Building Technologias                                                            (153.47)
  692 > 90 Bill 08/01/2017 AAW61063 COGS Vendors Standard Utility Constfuction                          08/31/2017             285         2,454.44
  693 > 90 Bill 08/01/2017 AAW62479 COGS Vendors Standard Utility Constfuction                          08/31/2017             285         7,450.27
  694 > 90 Bit! 08/01/2017 AAW62465 COGS Vendors Standard Utility Construction                          08/31/2017             285         6,350.52
  695 > 90 BID 08/01/201 7 AAW63069 COGS Vendors Stanciard Utility Construction                         08/31/2017             285         5,366.61
  696 > SO Bill 07/31/2017 250-0254-00 Utilities CityofShemian                                          08/30/2017             286           120.16
  697 > 90 Bill 07/28/2017 86900 COGS Vendors Ameritel Corporation                                      07/28/2017             319           151.00
  698 > 90 Credit 07/28/2017 17-374980 COGS Vendors Hanover Uniform Company                                                                 (150.70)
  699 > 90 Credit 07/28/2017 17-374990 COGS Vendors Hanover Uniform Company                                                                 (136.05)
  700 > 90 Bl!l 07/28/2017 3S236126 COGS Vendors Trane U.S., Inc.                                       08/27/2017            289           387.00
  701 > 90 Bill 07/26/2017 5240814110 COGS Vendors Honeywell International !nc                          08/25/2017            291            50.34
  702 > 80 BHI 07/20/2017 38202690 COGS Vendors Trane U.S., inc.                                        08/19/2017            237           387.09
  703 > 90 Bill 07/17/2017 340073440 COGS Vendors Advanced Door Service                                 08/16/2017            300           406.47
  704 > 90 B!l! 07/17/2017 S2072500.001 COGS Vendors Capp, Inc.                                         08/16/2017            300         1,009.85
  70S > 90 B!1! 07/17/2017 26345033 COGS Vendors Tyco lnE6grated Security, LLC                          08/16/2017            300         3,515.69
  706 > 90 Bil! 07/13/2017 398410951 COGS Vendors SuppiyWorks                                           08/12/2017            304           272.63
  707 > 90 B!l! 07/13/2017 05-845108 COGS Vendors Virginia Fire Protection                              08/12/2017            304         4.809.50
  708 > 90 Bill 07/11/2017 S2066933.001 COGS Vendors Capp, Inc.                                         08/10/2017            306           935.78
  709 > 90 Bill 07/05/2017 6115 COGS Vendors Alltemp insuiatlons                                        08/04/2017            312         1,361.00
  710 >90 Bill 07/03/2017 9039381423jul17 Telscom AT&T                                                  07/28/2017            319           231.23
  711 >90 B!l! 06/30/2017 149245495July17 Telecom AT&T                                                  07/21/2017            326            93.67
  712 >90 Bill 06/30/2017 250-0254-00 Utilities CItyofSherman                                           07/30/2017            317           120.16
  713 > 90 Bill 06/29/2017 S2047333.001 COGS Vendors Cap p, Inc.                                        07/29/2017            318           330.13
  714 > 90 Bill 06/29/2017 52405413S5 COOS Vendors HoneywelHntematlonallnc                              07/29/2017            318           151.04
  715 > 90 B11! 06/28/2017 6100 COOS Vendors Ailtemp Insulations                                        07/28/2017            319         1.547.00
  716 > 90 B11! 06/28/2017 SRVCE00228051 COGS Vendors Entech Sales & Sen/ices, Inc.                     07/28/2017            319         1.650.82
  717 > 90 Bill 06/26/2017 8569660 3jdy17 Telecom Vertzon                                               07/21/2017            326           117.02
  718   > 90 Bill 06/21/2017 FR-85420 COGS Vendors United Security Services                             06/21/2017            356           220.18
  719   > 90 Bill 06/1 6/2017 17-339830 COGS Vendors Hanover Uniform Company                            07/16/2017            331           150.70
  720   > 90 Bill 06/16/2017 17-339820 COGSVendors Hanover Uniform Company                              07/16/2017            331           136.05
  721   >90 Bili 06/16/2017 0104285-IN COGSVendors Naughfon Energy Corp                                 07/16/2017            331         5.336,07
  722 > 90 Bill 06/16/2017 410385303july17 Telecom Verizon                                              07/15/2017            332           199.81
  723 > 90 Bill 06/16/2017 410685853jul17 Telecom Verizon                                               07/15/2017            332           117.35
  724 > 90 Bill 06/15/2017 72690 COGS Vendors United Security Services                                  06/15/2017            362           540.00
  725 > 90 Bill 06/Q9/2017 S002600614.001 COGS Vendors Shepherd E Ie cEric Company                      07/09/2017            338            38.54
  72G > 90 BID 06/06/2017 340071008 COGS Vendors Advanced Door Ssn/ice                                  07/08/2017            339           429.96
  727 > 90 Bill 06/05/2017 4475139-01 COGS Vendors Facl!!ty Solutions Group                             07/05/2017            342           296.58
  728 > 90 Bill 06/01/2017 12228 COGS Vendors inquiries, !nc.                                           07/01/2017            346            30.00
  729 > 90 811) 05/31/2017 250-0254-00 Utilities CityofSheman                                           06/30/2017            347           120.16
  730 > 90 811) 05/31/2017 5029169-IN CQGS Vendors G&M Electric Sales Co., Inc.                         06/30/2017            347         1.031.00
  731 > 90 Bill 05/26/2017 5240186698 COGS Vendors Honeywell International Inc                          06/25/2017            352            98.51
  732 > 30 Bill 05/25/2017 4475139-00 COGS Vendors Facility Solutions Group                             06/24/2017            353           610.88
  733 >90 Bill 05/23/2017 S2046771.001 COGSVendors Capp, Inc.                                           06/22/2017            355           118.00
  734 > 90 Bid 05/19/2017 5-726-57121 Postage/S hip ping Federal Exprass                                06/03/2017            374            45.15
  735 > 90 BIN 05/19/2017 5-762-48560 Postage/S hip ping Federal Express                                06/18/2017            359            65.48
  736 > 90 Biil 05/19/2017 5-702-98535 Postage/Shippins Federal Express                                 06/18/2017            359            42.39
  737 >9Q Bill 05/11/2017 P143503 COGSVendoi-s Johnstone of New Orleans                                 06/10/2017            367           151.33
  738 >9Q Bill 05/04/2017 71869 COGSVendors United Security Sen/ices                                    05/04/2017            404           487.13
  739 > 90 Bill 05/02/2017 5029486-IN COGS Vendors G&M Electric Sates Co., Inc.                         06/01/2017            376           421.00
  740 > 90 Bill 05/02/2017 FR-83731 COGS Vendors United Security Sarvices                               05/02/2017            406           463.80




                                                                                                                                            Pago18of')B
                Case 18-12095-BFK           Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                       Desc Main
                                                       Document      Page 30 of 114

 DEBTOR:             WW Contractors, Inc                                             CASE NO:                            18-12035-BFK


                                                                   Exhibit G1
                                                            UNPAID BILLS - PRE BANKRUPTCY
                                                                  AS OF JUNE 12, 2018



"f.'-",'" '-^
                         ^
Count ^^ Status;'-;^. ^•^^'?»^1^. :;'^:Dater'^;| -^^wii^i^ ^-'•;';.^lAfflELJ;^';'| L^:^^;'::;rNarr>e;- u/ i^^. /l;v^;
   741     > 90                Bill    04/25/2017          114593     COGS Vendors   Mr. Rooter Plumbing
   742     > 90                Biil    04/22/2017     4295784aprl7    COGS Vendors   Cavalier Business CommunlcaEions
   743     > 90                Bill    04/22/2017           71556     COGS Vendors   United Security Services
   744     > 90                Bill    04/21/2017          604269     COGS Vendors   DelVa! Equipment
   74S     > 90             Credit     04/14/2017 S021652987.014      COGS Vendors   Friedman Electric Suppiy
   746     > 90              Credit    04/14/2017      9416556331     COG3 Vendors   WW Grainger
   747     > 90                Bill    04/12/2017        17-288281    COGS Vendors   Hanover Unlfonn Company
   748     > 90                Bill    04/04/2017      250-0254-00       Utilities  City of Sherman
   749     > 90                Bill    04/04/2017       5028654-IN    COGS Venciors G&M Electric Sales Co., tnc.
   7SO     > 90                Bill    04/04/2017        17-289080    COGS Vendors   Hanover Uniform Company
   7SI     > 90                Bli!    04/01/2017          104026     COGS Vendors   CHOLIN CORP., INC.
   752     > 90                Blil    03/31/2017      250-0254-00       Utlllfes    CityofSherman
   753     > 90                Bill    03/31/2017        17-288280    COGS Vendors   Hanover Uniform Company
   754     > 90               Bill     03/31/2017       701702852    COGS Vendors   Mercer Group international
   755     > 90             Credit     03/28/2017     S5077205.002   COGS Vendors    Rumsey Elsctric Co.
   756     > 90               Bill     03/27/2017        98935530    COGS Vendors    Mine Safety Appliances Company
   757     > 90             Credit     03/24/2017 S027390437.002      COOS Vendors   Friedman Electric Supply
   758     > 90                Bill    03/22/2017    4295784mari7     COOS Vendors   Cavaiier Business Communications
   759     > 90                Bill    03/22/2017           70212     COGS Vendors   United Security Services
  760      > 90             Credit     03/21/2017        19776525    COGS Vendors   McMaster Carr
  761      > 90               Bill     03/20/2017          844331    COGS Vendors   C.O.P.S. Monitoring
  762      > 90             Credit     03/17/2017 S021232807.003     COGS Vendors   Friedman Electric SuppSy
  7S3      > 90               Bit!     03/13/2017           31317    COGS Vendors   CHARLES D, LVNN
  7G4      > 90               Biil     03/09/2017            3560    COGS Vendors   Green's Lawn Care
   765     > 90               Bill     03/07/2017           74304    COGS Vendors   MiTCHELL'S LOCK & SAFE CO..INC
  7G6      > 90               Bill     03/01/2017          173272    COGS Vendors   Letsos Company
  767      > 90               Bill     02/26/2017 250-0254-00 2/28       Utilities  CityofShsrman
  768      > 90               Bili     02/22/2017           55790    COGS Vendors   National Battery Co.
  769      > 90               Bil!     02/22/2017       05-828442    COGS Vendors   Virginia Fire Protection
  770      > 90               Bill     02/21/2017 S002548188.001     COGS Vendors   Shepherd Electric Company
  771      > 90               Bill     02/17/2017         02/17/17      ASK NEA     Veronica Claruffoli
  772      > 90               Bit!     02/09/2017       904744792    COGS Vendors   Staniey Access Technologies
  773      > 90               Bill     02/08/2017         1033885    COGS Vendors   DVL Group, !nc.
  774      > 90             Credit     02/07/2017 713A196026515feb17    Telecom     ivr&T
  775      > 90               Bill     02/07/2017          20717     COGS Vendors   Charles King
  776      > 90               Bii!     02/07/2017           13019    COGS Vendors   Design Security Controis
  777      > 90               Bill     02/07/2017           12739    COGS Vendors   Design Security Controls
  778     > 90                Bill    02/07/2017           12535     COGS Vendors   resign Security Controls
  779     > 90                Bill    02/07/2017           20717     COGS Vendors   John Dei Vscchio
  780     > 90                Bill    02/07/2017         020717A     COGS Vendors   John Do! Vecchio
  781     > 90                Bill    02/07/2017           20717     COGS   Vendors Matthew Leonard
  782     > 90                Bii!    02/07/2017           20717     COGS   Vendors Mike Mariey
  783     > 90                BiEi    02/07/2017           20717     COGS Vendors   Robert DeAnionio
  734     > 90                Blii    02/06/2017            3526     COGS Vendors   Sresn's Lawn Cars
  785     > 90                Bill    02/03/2017            5790     COGS Vendors   -l.B. McCIure Company
  7SS     > 90                Bill    02/01/2017         1703326     COGS Vendors   FraneU.S., Inc.
  787     > 90                BIH     01/31/2017            4978     COGS Vendors   I'OU GROW WE MOW
  788     > 90                Biil    01/30/2017           13017     COGS Vendors   3snn!s CanSas
  789     > 90                Bill    01/27/2017           12717     COGS Vendors   Jason Earl
  790     > 90                BID     01/27/2017           12717     COGS Vendors   'aui Whitman
  791     > 90                Biii    01/13/2017       340060746     COGS Vendors   advanced Door Service
  792     > 90              Credit    01/13/2017     31924729.003    COGS Vendors   3spp, Inc.
  793     > 90                Bill    01/11/2017         01/11/17    COGS Vendors   3UDLEY BURRUSS
  794     > 90                Blf!    01/11/2017       5028115-IN    COGS Vendors   3&M Electric Sates Co., Inc.
  795     > 90                Bill    01/05/2017       340061130     COGS Vendors   \t!vanced Door Service
  79S     > 90               Biil     01/01/2017          103991     COGS Vendors
 797      > 90               Bill     01/01/2017        99008114     COGS Vendors
  798     > 90              Credit    01/01/2017            7532     COGS Vendors
  799     > 90               Bill     01/01/2017            4931     COGS Vendors
  800     > 90              Credit    12/29/2016           60961     COGS Vendors
  B01     > so               Bill     12/28/2016        16.123590    COGS Vendors
 802      > 90               BIS!     12/27/2016       5027883-1 N   COGS Vendors
 803      > 30               Bill     12/16/2016           13518     COGS Vendors
 eo4      > 90               BIH      12/15/2016      00568388LN      Lease Equip
 805      > 30             Credit     12/13/2016      4178619-00     COGS Vendors
 806      > 90        BiliPmt-CCard   12/02/2016                     COGS Vendors Arkansas Filter.!
 807      > 90               Bill     12/02/2016           7518
 sos      > 90             Credit     12/01/2016          758169
 809      > 90               B!!l     11/30/2016       CM-15748
 810      > 90             Credit     11/29/2016     S4978837.002
 811      > 90        Bill Pmt -Check 11/07/2016           ACH
 812      > 90               BHI      11/04/2016        27415947
 813      > 90             Credit     11/02/2016      9269455367
 814      > 90             Credit     11/02/2016      9269455375
          Case 18-12095-BFK                           Doc 93                 Filed 09/28/18 Entered 09/28/18 14:20:49                              Desc Main
                                                                           Document      Page 31 of 114

DEBTOR:              WW Contractors, Inc                                                                   CASE NO:                                18-12095.BFK


                                                                                          Exhibit G1
                                                                                  UNPAID BILLS - PRE BANKRUPTCY
                                                                                       AS OF JUNE 12, 2018


                                                           ;::;"^:'^:..'';';L'.;-',1':'



(SdUht :','- -Stiatus '^ ^.^^llpej^l'^:   :^. Date.;.;.'   :^':-^';'Num^;;'               ;^:;^ABEiJ;;^y;: '^ \^^::^ ^Na[jf;e^^^^. ^ i;;:':
   81S         > 90            Bill         10/26/2016           340056859                 COGS Vendors    Advanced Door Service
  816      > 90            Credit           10/24/2016          9005461826                 COGS Vendors    Summit Electric Supply
  817      > 90            Credit           10/12/2016             758869                  COGS Vendors    Houston Bearing & Supply Co., inc.
  818      > 90              Bill •         10/11/2016            IN100859                 COGS Vendors    Tate Engineering Systems, inc.
  819      > 90              Bill           10/06/2016             C12737                  COGS Vendors    Stephens & Company A/C & Heating L
  820      > 90            Credit           10/05/2016            7242071                  COGS Vendors    Purvis Industries, LTD.
  821      > 90              Bill           10/03/2016             97380                   COGS Vendors    BUD GRIFFIN CUSTOMER SUPPOR'
  822      > 90            Credit          09/16/2016           9227550952                 COGS Vendors    WW Grainger
  823      > 90              Bill          09/02/2016               12090                  COGS Vendors    Design Security Controls
  824      > 90            Credit          09/01/2016         S026344448.00;               COGS Vendors    Friedman Electric Supply
  825      > 90            Credit          09/01/2016         S025596007.00'               COGS Vendors    Friedman Electric Supply
  826      > 90             Bill           08/23/2016                   108                COOS Vendors    David's Roofing and Remode!!ng
  827      > 90             Bill           06/18/2016                1608-16               COGS Vendors    Carson K.C. Mok, Consulting Engineer
  828      > 90             Bill            08/12/2016                96127                COGS Vendors    BUD GRiFF!N CUSTOMER SUPPOR'
  829      > 90            Credit          08/05/2016                756111                COGS Vendors    Houston Bearing & Supply Co., inc.
  830      > 90            Credit          08/03/2016              CM185844                COGS Vendors    Ferguson Enterprises, Inc.
  831      > 90            Credit          08/01/2016             9183083965               COGS Vendors    WW Grainger
  832      > 90             Bill           07/18/2016                 71816                COGS Vendors    HARRY KIRBY
  833      > 90            Credit          07/12/2016                 62293                COGS Vendors    Arkansas Fiiterjnc,
  834      > 90             Bt!l           07/01/2016                 70116                COGS Vendors    James Wood Jr.
  835      > 90            Credit          06/27/2016               2477362                COGS Vendors    Refrigeration and Electric Supply Co.
  S3S      > 90             Bill           06/09/2016                 60916                COGS Vendors    Thomas Riffe
  837      > 90             Bill            06/01/2016              6012016                COGS Venciors   Kevin C. McGuire
  838      > 90            Credit           06/01/2016              7109019                COGS Vendors    Pun/is industries, LTD.
  839      > 90            Credit          06/01/2016             9031072607               COGS Vendors    WW Grainger
  SW       > 90            Credit          05/31/2016               7107656                COGS Vendors    Purvis industries, LTD.
  841      > 90            Credit          05/04/2016             1661205-1 C              COGS Vendors    Tri Dim Filter Corp.
  842      > 90            Credit          05/01/2016              99004732                COGS Vendors    Interstate Al! Battery Center
  843      > 90       Genera! Journal      03/31/2016                AE 369                COGS Vendors    Pyramid Waterproofing, Inc.
  844      > 90            Credit          03/29/2016               7036487                COGS Vendors    Purvls Industries, LTD,
  84S      > 90            Credit          03/29/2016               6394653                COGS Vendors    Refrlgeration and ElectriC Supply Co.
  846      > 90             Bill           03/29/2016               3292016                   ASKNEA       Veronica Ciamffol!
  847      > 90            Credit          03/23/2016             9061455797               COGS Vendors    WW Grainger
  848      > 90            Credit          03/15/2016               7023234                COGS Vendors    Purvis Industries, LTD.
  849      > 90            Credit          03/10/2016               7017541                COGS Vendors    Pun/is Industries, LTD.
  8SO      > 90            Credit          03/08/2016             9047387801               COGS Vendors    WW Grafnger
  8S1      > 90             Biil           03/04/2016                94415                 COGS Vendors    BUD GRIFFIN CUSTOMER SUPPOR'
  8S2      > 90            Credit          03/04/2016             9044099654               COGS Vendors    WW Grainger
  853      > 90            Credit          02/26/2016              CM174405                COGS Vendors    Ferguson Enterprises, Inc.
  8S4      > 90            Credit          02/19/2016           51755772.002               COGS Vendors    Capp, Inc.
  855      > 90            Credit          02/18/2016          31821234,003                COGS Vendors    Capp,Inc.
  8S6      > 90            Credit          02/09/2016           9021076220                 COGS Vendors    WW Grainger
  8S7      > 90            Credit          02/01/2016          56175794-002                COGS Vendors    Sunbelt Rentals, Inc.
  858      > 90            Credit          01/29/2016         3112608685.00;               COGS Vendors    RexelInc.
  859      > 90            Credit          01/25/2016             6970062                  COGS Vendors    Pun/ls Industries, LTD.
  860      > 90            Credit          01/22/2016              740535                  COGS Vendors    Houston Bearing & Suppiy Co., Inc.
  861      > 90            Credit          12/15/2015             5294476                  COGS Vendors    Trane HVAC Parts & Supplies
  862      > 90            Credit          12/14/2015           9916975715                 COGS Vendors    WW Graingsr
  863      > 90            Credit          12/14/2015           9916975700                 COGS Vendors
  864      > 90            Credit          12/09/2015            45163544                  COGS Vendors
  865      > 90            Credit          12/02/2015            5605028                   COGS Vendors
  866      > 90            Credit          12/02/2015            5605028                   COGS Vendors
  867      > 90            Credit          11/16/2015             1638825                  COGS Vendors
  868      > 90            Credit          11/02/2015           9882187728                 COGS Vendors
  869      > 90            Credit          10/28/2015           S1762126.002               COGS Vendors
  870      > 90            Credit          10/28/2015             CM142604                 COGS Vendors
  871      > 90            Credit          10/22/2015                5262-5                COGS Vendors
  872      > 90            Credit          10/08/2015           9140976965                 COGS Vendors
  873      > 90            Credit          10/06/2015           9860365528                 COGS Vendors
  874      > 90            Credit          09/24/2015           9850323842                 COGS Vendors
  875      > 90            Credit          09/22/2015         S023046403.003               COGS Vendors
  876      > 90            Credit          09/14/2015          34713189,007                COGS Vendors
  877      > 90            Credit          09/11/2015           9839867489                 COGS Vendors
  878      > 90            Credit          08/21/2015          34618697,003                COGS Vendors
  879      > 90            Credit          08/06/2015           9809957161                 COGS Vendors
  880      > 90            Credit          07/31/2015           9805319762                 COGS Vendors
  881      > 90            Credit          07/27/2015           9801220717                 COGS Vendors
  882      > 90            CredlE          07/24/2015          S4678491.003                COGS Vendors
  S83      > 90            Credit          06/25/2015          S1716974.003                COGS Vendors
  884      > 80            Credit          06/18/2015            5572688                   COGS Vendors
  885      > 80       BiilPmt-CCard        06/05/2015                                      COGS Vendors
  886      > 90            Credit          06/04/2015            9757891057                COGS Vendors
  887      > 90            Credit          05/26/2015              1026080                 COGS Vendors
  888      > 90       BiliPmt-Check        05/18/2015               12797                  COGS Vendors
                              Case 18-12095-BFK                            Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                                                                  Desc Main
                                                                                      Document      Page 32 of 114
                                ^^S^y^SSTCT^^ ?^o3~ N'ib'5" 5'a? r^ ^ o'o~ y S"^"o"'^-^~ ^~ IP~ w~^
                   .^^Ww
                   ",-7-JU^ 0       csiooNoiT-wc3io<^<»^i^ini6oowNconmh-MmcpcQ?^-acNin®cpw(^(»roi^iAt-^ci^^o>tono^

                   s^s^ m<aoinoiOiai<aocooiOBO^^o>mm®ocpcnr^co^c^copw.?n-r-tgoi^cyQT-T-cDCTQcoonmw
                                m o ^^ '^^ co M ^ 10 c\) T-^i^^yroo ^-N <o WIO.N m <o ^ N ^-^N cor-.n.w.T^^ 10 •^ CT.IN.T.O o r>..g rt r>._ 10 T- ^'OT jn i- ui.jn T-.CO 1-^1— T-_




                                                                                                                                                                                                                                    >t >l
                                                                                                                                                                                                                                "Q. ^^:
                                                                                                                                                                                                                                      a. ca.
                                                                          a"                             s. -^                           2                           _1
                                                                                                                                                                                                                                      ca. a. Q
                                                                                                                                                                                                                                      3 3 £
                                                                        S 5 -S o o                                                                               0
                                                                                                                                         0                       u c                                                               0 v> w
                                                                       l^i00                           >.LU   Q-u                                                                                                                  0 u u >^
                                                                                                                                                                                                                   5111
                                                                                                                                                                                                                                                     ><
                                                                                                       E: V                               m                        0           a           m tn
                                                                       CL U U                     ro c CT.u                               c                               ." -° 3                                            Q.    0  •c •c CL
                                        i^i-i-i-i-i-tSi-i-i-i-
                                                                -^ •S »••£•£                      §•5 •£ £ >_ ^  k-                       0
                                                                                                                                                                 £ 15 52Q,.    Sa §              •S- £     "3 vs as
                                                                                                                                                                                                                             Q.
                                                                                                                                                                                                                             =1 01
                                                                                                                                                                                                                                   •c t3 'G a.
                                                                                     e c
                                                                    d) /S u u 03 <u^<i>clr,.;5 <ul£c*i3^><u<D a> (C  a; tt)                       (U (U <u <u         uu            ^ (/) "SS % "5 ??
                                                                                                                                                                                        (^<u<u<UQ<a>^cS==
0
                                        a)<na)iOto<03<u<B.ua?.j-^u
                                        CTOICTCTCTCTC Si]raCTCTa.mv-'_a_ai
                                                                   LU v.{ S. w. 010>S§iOUM      ">6o£^CTCT      d d CT   d  ^                ^   f0 <U   " <u
                                                                                                                                                  t3) 0) 0) 0)gi C
                                                                                                                                                                 g1 j31 g g1 g'UJ ^               cU        tU UJ UJ w>      w CT
                                               c:'c:s::cac:ci=c                    S £ % ^ di^'U :g ^E3 ££ c c       c c. 0               3 (U IS LU $ UJ £
                                                                                                                                             "s
                                                                                                                                               .< £ c c c                                                  iu c c       u    a) c
z                                     2 2 E5    '2 s
                                                     £££
                                                                      -g ui \n
                                                                    ro fi >• >• 22 S t°i s
                                                                                            '2 ^ 2 a; '^,'g "g) 2 2 2   "2  " £2' 2 2 2                          222                                                       u
                                                                                                                                                                                                                           c a
                                                                                                                                                                                                                             0 2
                                                                                                                                                                 I
                                                                                                                                                         >^'^222E?E^E^oc
                                    •^00 CD d U C3 £ C5 (3 (3 <5 § £ g a>' <»' 00^ 51^
                                                                                                                                          5 QL ;><   ;>!
                                                                                                                                                                                                            £';TO TO u
HI
         y                                                                                  c3^S?e i00          (9000         Z.o cs o cs        (D (0
                                                                                                                                              u) Ul W (D         u  u u   u u           "S    £   2 S=                  m    cff 0
                                                                                                                                                                                                                                                 I
(R
                                                                     11                                                       is                                                    QtD^^                      -0 •a
                                                                   'Sm s s                                                        s  s  s
                                                                                                                                                                                            0 .0 _C
                                    Issss?                                                     £ E"^   E        5 5                          *u £ E i= i 'FI
                                                                                                                                                                                                            E          ill   c
                                                                                                                                                                                                                                 s
                                                                   •S = ^ ?3 ss<                                                                                          11.11
                                                                                                                                          c                                                       -£ s
<                                                                                                                   s:  =:  u             S3 TO S S £
                                                                                                                                                                                                                (0 ttl
                                                                                                                                                                                                           dE u- < [£(0 —10
                                                                                                                                                                                                                             ^:




        I!
         a.
                                                                                       -a<'^SroSi^°5
                                                                                     gi£-^^oi£Si£5S s s s s ss^. ^ s ? £s e. e.^- £>                                      SS £w [=<ss u: S
                                                                                                                                                                                    •c == ^ ^        u w o
u        3    co                    h=^?S5 ?ES:S:S s < U: ?C (K £                                                                                                                                    S


         m <N
                                        22i2i2iflE2S2En22E2E2i2Sl'£SSS2inE2Eni2ioS?GSS2E2i2i2i2S2S'3i!'iSiSi2!2(522S222i22iBS2ioioSOS2S2i22i2S22£                                                                                  E3S2S2 S S2 2 i2
                                                 oooooooooooooooooooaou.QOooooooooooooooooooooooooooooooooooooooooooo
                                        ^^^^^^^^^^^^^^^^^^^n'a'5'2'2'S'S'S'§'§'§'S'3'S'S'S'2'2'2'2'2'S'2"o"5"S"§'o"o"S'°'a'o'o'o'o'a~2"°"a~°'^'^"""§"§"'§'§'u'a'3
     t- tli                                  eec e c = =

                                                                                                                                                       »»»
                                                                   C:CE:CCCC;C:C:C:E:C:I=(=CCCCf=(=C;C:C;li:C:C:C:C;C:C:CC;CC;C;C:C:ce££££(£l:::l£:e:C:C:C:C

     °sl                                      »                                                                                                                                      »>
                                        <D<0 <D (D iD                                     (U<y<U<y<D<U<U(&<00<U(U<D  <u <o w                   cu co CO (0 (D m
                                                                                                                                                                                                                          >>>>>>
                                        co w w <n <n v> v>                                                       w  w v> w wwwwwwwwwwwwcn co co v> co co CO M CO CO co co co co V> "? Wf "? w w <n co co co co co co
     iw^                                0 U 0 C5U cs <o                                                          C3 CO u u uoooayuuuuyoo 0 d u u o y 00 d u d u u u u u 0 0 U (S <? <9 CD U d 0
     i d °                              00000 Q o                                                                Q  Q 0 0 0000000000000 0 Q 000 0000 0000 000 0 0 0 0 0 o 0000
                                                                                                                 0 u u u ooooooooooouu 0 0 U 0 0 u 0 u u u u u u 000 U 0 0 0 0 0 0 U U U
                                        00 0 0 0 0 0
     iS 5 S
         0
         <
         a.             in
                                                                          m   tO (M              (0                                                                       N (M
                                                                                                                                                                                                                                      n d; CM
                                                                                                                                                                                                                             CT h. 0 0 0 CM




                       ill
                         >>                     0) Kr2 ?! nS       QOOCNtinlM mOO <0                                     • 01 W 'P'OOCir'-MOtM                            00         !5 CM  npn
                                                                                                                                                                                                        oi m  (0 v ^5sri.° 00° ooi"
                                                                                                                    <o n1 ^r n '?"QOO<D''~T-C?                            00

                                                                11111111111111111111
                                                                                                                                                                                                        a; 10
                       ••'.S m r-
                              01 k: I                      ?S-.S._°^5;O^S<g^oE®s2
                                        Sroroui o> o y ^SXiScMSi'o^c'i^^^S^^dBS^^                                   W ~<f• CM 0) oio.— ^noooCT           <N q                           CM CM r~- o     •<sr oCTtoo<o»®(?Sooo-romm"SS
                                                                                                                    in CMI 0 t~- ^:5iE~£or^?iPi?iio      10 CM                                          h~ in fc<05Sro°'^E??SC°'"E;SmlnS
                                                                                                                                                                                                        M M i:Bn^SS:E:S?BcoK?MCTS°lni?
                                        CM IN CM 00 N M t-

                                                                                                                                                                                     !^1
                                        to to TO c? -^f u"> n                                                       o inI CO CM <& ^ N &- iMcoioio^S0??" 10 CM
                                                                                                                                                                                                        n i~- S^-:SS;^:;f%§L@KCTr^®S"a3:?


                                                                llll?l?llllll§§IPSi                                                                                                                              |s|^pjsj|p|||
                                                                                                                    O? <01 in       ^f=0 &~ ^ncotoco^^fc
                                                                                                                            l0 T^00-5-
                                        0 (D (D tt- •<f 0 0
                                                                                                                    £?i?5co?5n?r^ CTTOKK?3<'*<SCO
                                                                                                                                                                                            in r-~ co
                                                                                                                                                                                                                 o:?SSJ..L£S®3!"®^^b;:31^
                                                                                                                                                                          5^
                                        to m m -<r                                                                                                                                          n r- n 0> 0
                       ^oi S <o         (0 (0 CO N t"-. t0 to
                                        (D(0 (D (0 (0 (0 0
                                                                                                                    0  0
                                                                                                                    u? m
                                                                                                                            h- T      ^ssg§ssh~                                      [i§§   h- in <~    t- CM
                       •;0) (J (N
                        0               05C50? O? 0 d 0         Sia>?5Si g W
                                                                           ^^SSmm
                                                                             V)
                                                                                  "S5S
                                                                                    w                               a) ro          Oi Oi Erl                              •a- -^i-

                                                                                                                                                                          co co                                       -J-JO ^1 WOO ^ CO
                                                                          w                                                                                                                                                  w " th v> w

                      /.-:ioionuinioioioiownininioioiowwurororowww»ummtow^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
                     ^.:.".;o bbobQoooOQOopooc>oc;ogopoc>QogoggoCTOoooc>c>ooooogggoooooooCTC>c>ooggQpooop
                     l:la>;i^ .MC?^^^^c^fQ^^^^^^^^^^^^^^^^yffff^^ff^^^^^^^^ffffffffffff£^^^&&&^&S&&^^y^^^^^^^^^^
                       ;';ocsii^i^t^(^nmmcN^^rtT-^NMT-^^^^oO)nc?^-f^(Dc\!T-fotoc')ioiotoww®<p®
                     .-^1m  s^^^^i~i~i-;-;-SSS°s:;;3~s"SSS^Qy£;§SSOSS£^s:§2S^SC3SQ§S^£S5sgysi^;;^§§§S§§§SgQy£SS^^^^£2£2^^£i;;
                     •"ui:$ ^^c^nc^B^S^SnnSc9c^SKSSiSic?^^^T=T=T=^^^Sc^Nc3c^^nT:T:T:T^T=T^^^^5S55555555oiroroScoS555i5c5i^
                     ;\.':OOOOOOOOCTOOOC>OOOOOOOOOOCTOOOOOOO^^^^^^^^^^T"^^T-^^r-^T-T-T-T-^^^^OOOOOOOC10C>0000000




                     -S!'5 :5 :5 :5 :5 v •5 •5                   TiTi^^^^^^^^TiTjTi^TiTi^'o-o'T'-o-a-o'p-o'ts'o-o'a'g'g'a-g-g-a-a-a T3-0 -0 t3 •0 •a-o "o "a "a "a •a-CT-a -a -o -a -o -OT3 -o is •a -o -a
                      3i3)3?£££££S)                              (y(U<ufl><uw<i>j3>^3>cuEu<u^suji>j3>Pfuy*p'fUfUfUfU3>si>j3>j3>fup?^PPP?yEy Q? 03 H? 0 0) 0) <D CD <U <u a? <u a? su Q? o? 03 03 SD ED iD <tS <D
                     -)-]U UUUO 0 0 U                            ouuouooooouuuooooouEuuouuooooooouuuou 00 U U 0 000000 OUUO 0 U U 0000 U U 0




                                                                   OOOOCTCTOOOOOOOCS



                     ~,'SiSHo»-iMmtftniot'>p!;inOT-tr'!0    ^i/itor^wcTiO^Mm^iri^r^WOTO^Mm^in^r~'coOTO'i-!f^fn'truiior>.iufnci-^Nm-a-tntors«WO'T^
                     ;.1-C! cdma^CTib^^wo^ofta^oioooo OOOOOOi-li-lT<            t^^T^r^^n(Nr^<^<sinir^r^^r^f^^(ri^mmmmm<ft^^^13-^-^r^r^t-^r^u;)Ln
                     ;:y-, OOOOOOCOCOC&cacOE»OOOOCT>CT^OT^l   OltTl 0^ OT OT <n OlOlOTOTCnOl^lO^O^OlCTGtOTOTOTa'lCTlWCTlW^CTlO^OldOimO^O^O^CT^^CTlWCT^^W                                                                   fflOlCTlCTlCT^O^CT^CTt
            Case 18-12095-BFK                    Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49                                      Desc Main
                                                              Document      Page 33 of 114

DEBTOR:               WW Contractors, Inc                                                   CASE NO:                                              18-12095-BFK


                                                                          Exhibit G1
                                                                  UNPAID BILLS - PRE BANKRUPTCY
                                                                        AS OF JUNE 12, 2018


                            '^

Count ;'^   Status;^' -^^'TYPS^^         ^Date^'^1 :.^^^iw'^fe^;l •;^:':,I.ABEL_1^;^.| ^^L^?^-:.^.ts[amel-^^i?'/. f.i '•.. \ :;;-: DiieDate^i'.
  363        > 80            Credit      07/17/2014    31518450.001   COGS Vendors     Capp, Inc.
  964        > 90            Credit      07/-t 7/2014   9493105010    COGS Vendors     WW Graingsr
  9$S        > 90            Credit      07/16/2014     9479223662    COGS Vendors     WW Grainger
  966        > 90            Credit      07/09/2014     9466756765    COGS Vendors     WW Grainger
  967        > 90           Credit       07/07/2014 75-763692C-CM     COGS Vendors     Keliey Brothers, LLC
  968        > 90           CrediE       07/05/2014        7052014    COGS Vendors     HD SUPPLY FACILITIES MAtNTENAN
  969        > 90           Credit       06/25/2014     9466756757    COGS Vendors     WW Grainger
  970        > 90           Credit       06/25/2014     9468409397    COGS Vendors     WW Grainger
  971        > 90            Credit      06/13/2014    S4417240.005   COGS Vendors     Rumsey Electric Co.
  972        > 90            Credit      06/12/2014 S018429235.003    COGS Vendors     Friedman Electric Supply
  973        > 90,           Credit      06/11/2014 S107753397.002    COGS Vendors     RexeS Inc.
  974        > 90            Credit      06/06/2014 1108203130614         Telecom      AT&T
  375        > 90            Credit      06/05/2014    S4385905.003   COGS Vendors     Rumsey Electric Co.
  376        > 90            Credit      06/04/2014    31527227.002   COGS Vendors     Capp, inc.
  977        > 90            Credit      06/03/2014 0670623487june14      Telecom      AT&T
  978        > 90            Credit      05/09/2014        6133352    COGS Vencfore    Refrigeratlon and EleGtrfC Supply Co.
  979        > 90      Bill Pmt -CCard   05/08/2014                   COGS Vendors     Siemen Building Technalagies
  980        > 90            CrscfiE     05/02/2014    S4376257.003   COGS Vendors     Rumsey Electric Co.
  981        > 90            Credit      05/02/2014     9430674011    COGS Vendors     WW Grainger
  982        > 90            Credit      05/01/2014     9429340939    COGS Vendors     WW Grafnger
  983        > 90            Credit      03/31/2014        3312014    COGS Vendors     AnswerNet
  984        > 90            Credit      03/19/2014     9295246806    COGS    Vendors  WW Gralnger
  985        > 90            Credit      03/19/2014     9295246814    COGS   Vendors   WW Gralnger
  986        > 90            Credit      03/14/2014 3018343114.004    COGS Vendors     Friedman Electric Supply
  987        > 90      B!IIPmt-CCard     03/10/2014                   COGS Vendors     Cintas Corporation-061,100,287
  988        > 90            Credit      02/05/2014 3106922616.002    COGS Vendors     Rexel Inc.
  989        > 90            Credit      02/04/2014       72868058    COGS Vendors     McMaster Can-
  990        > 90            Credit      01/29/2014         287961    COGS   Vendors   C. N. Robinson Lighting Supply
  9S1        > 90            Credit      01/17/2014         686393    COGS Vendors     Houston Bearing & Supply Co., Inc.
  932        > 90      Bill Pmt-Check    01/-14/2014         11793    COGS Vendors
  993        > 90            Credit       12/23/2013 S017604947.002   COGS Vendors
  994        > 90            Credit       12/16/2013    9319388634    COGS Vendors
  995        > 90            Credit       12/12/2013        911077    COGS Vendors
  396        > 90            Credit       12/04/2013     264793480    COGS Vendors
  997        > 90            CredK        11/29/2013    9306866097    COGS Vendors
  398        > 90            Credit       11/26/2013    0047703-CM    COGS Venciors
  399        > 90            Credit       11/26/2013   S4202344.004   COGS Vendors
 1000        > 90            Credit       11/20/2013   S4272658.008   COGS Vendors
 1001        > 90            Credit       11/07/2013     4344640-00   COGS Vendors
 1002        > 90            Credit       10/11/2013    9266788281    COGS Vendors
 1003        > 90           Credit       10/09/2013       46592683    COGS Vendors
 1004        > 90           Credit       10/07/2013         679221    COGS Vendors
 1005        > 90           Credit       09/27/2013        6019700    COGS Vendors
 1006        > 90           Credit       09/26/2013         446780    COGS Vendors
 1007        > 90           Credit       09/16/2013      CM927770     COGS Vendors
 1008        > 90           Credit       09/16/2013     10024070-00   Office Supplies
 1003        > 90           Credit       08/15/2013       17291267    COGS Vendors
 1010        > 90           Credit       08/14/2013       19169197    COGS Vendors
 1011        > 90           Credit       08/14/2013     9101842251    COGS Vendors
 1012        > 90           Credit       08/12/2013        896727     COGS Vendors
 1013        > 90           Credit       08/07/2013     9211040259    COGS Vendors
 1014        > 90           Credit       08/05/2013       S4222589    COGS Vendors
 1015        > go           Credit       OS/03/20133870174259322AUG1;     Telecom
 1016        > 90           Credit       08/01/2013     9194976263    COGS Vendors
 1017        > 90           Credit       07/19/2013    34209663,002   COGS Vendors
 1018        > 90           Credit       07/16/2013        893766     COGS Vendors
 1019        > 90           Credit       07/12/2013     9189712137    COGS Vendors
 1020        > 90           Credit       07/09/2013       14532874    COGS Vendors
 1021        > 90           Credit       07/09/2013        1233279    COGS Vendors
 1022        > 90      General Journal   06/30/2013         AE22         Telecom
 1023        > 90      Genera! Journal   OG/30/2013         AE28      COGS Vendors
 1024        > 90      Genera! Journal   OG/30/2013         AE30      COGS Vendors
 1025        > 90           Credit       06/27/2013        609444     COGS Vendors
 1026        > 90           Credit       06/26/2013       51793170    COGS Vendors
 1027        > 90           Credit       05/30/2013    0045993-CM     COGS Vendors
 1028        > 90           Credit       05/24/2013     9150812304    COGS Vendors
 1023        > 90           Credit       05/06/2013     9134092619    COGS Vendors
 1030        > 90           Credit       05/01/2013        389763     COGS Vendors
 t03t        > 90           Credit       04/16/2013     9117396128    COGS Vendors
 1032        > 90      Generai Journal   03/31/2013         AE97      COGS Vendors
 1033        > 90           Credit       03/28/2013     9103174364    COGS Vendors
 1034        > 90           Credit       03/22/2013   34041541.005    COGS Vendors
 103S        > 90           Credit       03/08/2013     9086058378    COGS Vendors
 1035        > 90           Credit       03/07/2013     9084940361    COGS Vendors
         Case 18-12095-BFK                       Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49                                         Desc Main
                                                              Document      Page 34 of 114

DEBTOR:             WW Contractors, inc                                                      CASE NO:                                                18.1209S-BFK


                                                                          Exhibit G1
                                                                  UNPAiD BILLS - PRE BANKRUPTCY
                                                                        AS OF JUNE 12, 2018


                                          '^.
                                                                              ':.}:                              ^
Count :;;:l;Status;:^ ^:f^W^'.'^''" ^/:^^,^ ^.' ^.^-NuiT>;i y~^:';: ^•^!-AB^n:^:;; ;;/'' '\^ •.^it-:i^^a^}B::':^ ^ ^~^:;^; L; .1 :i-;;Dti8.Date:'^
 1037        > 90            Credit    03/06/2013      9084009902     COGS Vendors    WW Grahngar
 1038        > 90            Credit    03/05/2013        CM878613     COGS Vendors    Ferguson Enterprises, inc.
 1039        > 90            Credit    03/04/2013     S4113394.003    COGS Vendors    Rumsey Electric Co.
 1040        > 90            Credit    02/28/2013       28776S627     COGS Vendors    Clntas Corporation -061,100,287
 1041        > 90            Credit    02/22/2013        46644569     COGS Vendors    McMastsr Carr
 1042        > 90            Credit    02/19/2013     S4040083.005    COGS Vendors    Rumsey Electric Co.
 1043        > 90            Credit    02/14/2013         7499864     COGS Vendors    Tefef's Faucet Parts Corp
 1044        > 90            Credit    02/12/2013          227135     COGS Vendors    A[) Electric Suppiy Inc.
 1045        > 90            Credit    01/31/2013         5919526     COGS Vendors    Pun/is Industries, LTD.
 1046        > 90            Credit    01/28/2013 05371902FSNAL CREi     Teiecom      AT&T
 1047        > 90            Credit    01/24/2013          226245     COGS Vendors    ASI Etectric SuppSy Inc.
 1048        > 90            Credit    01/22/2013        39551641     COGS Vendors    McMaster Can-
 1049        > 90      Bill Pmt -Check 01/11/2013           10994     COGS Vendors    WW Gralnger
 1050        > 90            Credit    12/31/2012        12312012     COGS Vsnciors   NORTHERN TOOL&EQUIPMENT CO.
 1051        > 90      Bill Pmt -Check 12/27/2012           10952     COGS Vendors    WW Grainger
 1052        > 90            Credit    12/19/2012      0044589-CM     COGS Vendors    Filtrine Manufacturing Company
 1053        > 90            Credit     12/19/2012     Q044590-CM     COGS Vendors    Filtrine Manufacturing Company
 1054        > 90            Credit     12/18/2012        5963413     COGS Vendors    Refrigeratton and Electric Suppiy Co.
 1055        > 90            Credit     12/14/2012        5807382     COGS Vendors    Purvls industries, LTD.
 1056        > 90            Credit     12/06/2012    S4072327.003    COGS Vendors    Rumsey Electric Co.
 1057       > go             Credit     11/20/2012     9001691907     COGS Vendors    WW Grainger
 1058        > 90            Credit     11/16/2012    S4063433.004    COGS Vendors    Rumsey Electric Co.
 loss        > 90            Credit    11/15/2012     CRED0066419     COGS Vendors    Kele, Inc.
 1060        > 90            Credit    11/13/2012      9976547895     COGS Vendors    WW Gralnger
 1061        > 90            Credit    11/13/2012      9975547903     COGS Vendors    WW Grainger
 1062        > 90            Credit    10/24/2012      9959369308     COGS Vendors    WW Grainger
 1063        > 90            Credit    10/19/2012     3^041541.004    COGS Vendors    Rumsey Eleciric Co,
 1064        > 90            Credit    10/15/2012        14512398     COGS Vendors    Jahnson Supply
 1063        > 90            Credit    10/05/2012      9944240523     COGS Vendors    WW Grainger
 1066        > 90      Bill Pmt -CCard 09/13/2012                     COGS Vendors    McMaster Can-
 1067        > 90            Credit    08/10/2012         5919059     COGS   Vendors  Refrigeration and EtectriC Supply Co.
 1068        > 90            Credit    08/09/2012          218284     COGS   Vendors  AH Electric Supply Inc.
 1063       > 90             Credit    07/24/2012        E27358-iN    COGS   Vendors  Fleming Controls & Power Specialities
 1070        > 90            Credit    07/23/2012        91488778     COGS Vendors    Simpfex Grinnell
 107t        > 90            Credit    07/19/2012     S3991320.005    COGS Vendors    Rumsey Electric Co,
 1072        > 90            Credit    07/02/2012     S3941311.003    COGS   Vendors  Rumsey Eleciric Co.
 1073       > 90             Credit    06/19/2012     S3933863.0Q5    COGS Vendors    Rumsey ElecSfic Co.
 1074        > 90            Credit    05/21/2012       3470966-00    COGS Vendors    Aireco Supp!y, fnc,
 1075        > 90            Credit    05/18/2012        26910443     COGS Vendors    McMasEer Carr
 1076        >9D             Credit    04/26/2012         C4347-1'    COGS Vendors    Champion Rentals, Inc.
 1077       > 90             Credit    04/19/2012     S3929150.003    COGS Vendors    Rumsey Electric Co,
 1078       > 90             Credit    03/30/2012     S3897132.004    COGS Vendors    Rumsey Electric Co,
 1079       > 90             Credit    03/29/2012        22034277     COGS Vendors    McMaster Carr
 1080       > 90             Credit    03/14/2012         19G263      COGS Vendors    Edwin L. Helm Co.
 1081       > 90             Credit    03/05/2012     S3891470.002    COGS Vendors    Rumsey Electric Co.
 1082       > 90             Credit    02/29/2012      0168118-CM     COGS Vendors    EMERGENCY SYSTEMS SERVICE CO.
 1083       > 90             Credit    02/13/2012    227835CREDET     Office Supplies Schwegman Office Producfs/IS
 1084       > 90             Credit    12/19/2011     111449Q-C1-1    COGS Venciors
 1085       > 90             Credit    12/12/2011      0166519-CM     COGS Venciors
 1086       > 90             Credit    11/07/2011         203956      COGS Vendors
 1087       > 90             Credit    11/07/2011        40145561     COGS Vendors
 1088       > 90             Credit    10/31/2011 1265136-2017-20     COGS Vendors
 1089       > 90             Credit    10/10/2011        39981051     COGS Vendors
 1090       > 90       Bill Pmt -CCard 10/04/2011                     COGS Vendors
 1091       > 90             Credit    09/29/2011         CREDIT      COGS Vendors
 1092       > 90             Credit    09/16/2011       CM747317      COGS Vendors
 1093       > 90             Credit    08/29/2011        94052290     COGS Vendors
 1094       > 90             Credit    08/17/2011        931'{6430    COGS Vendors
 1095       > 90             Credit    07/01/2011         272993      COGS Vendors
 1096       > 90       BiH Pmt -CCard  06/09/2011                     COGS Vendors
 1097       > 90             Credit    03/01/2011        914D5381     COGS Vendors
 1098       > 90       B!i! Pmt -CCard 12/03/2010                     COBS Vendors
 1099       > 90             Credit    11/09/2010      CMM132340      COOS Vendors
 1100       > 90       Bill Pmt -CCard 10/30/2010                     COGS Vendors
 1101       > 90       Biil Pmt -CCard 10/29/2010                     COGS Vendors
 1102       > 90       Bill Pmt -CCand 09/17/2010                     COGS Vendors
 1103       > 90             Credit    09/16/2010       CM662080      COGS Vendors
 1104       > 90       Biil Pmt -CCard 09/01/2010                     COGS Vendors
 1105       > 90       Bill Pmt-Check  06/16/2010            eft      COGS Vendors
 1106       > 90       Bill Pmt -CCard 05/07/2010                     COGS Vendors
 1107       > 90       Bill Pmt -CCard 03/23/2010                     COGS Vendors
 1103       > 90       BiHPmt-CCand    01/29/2010                     COGS Vendors
 1109       > 90       Bill Pmt -CCard 01/29/2010                     COGS Vendors
 1110       > 90       Bill Pmt -CCard 01/12/2010                     COGS Vendors
         Case 18-12095-BFK                    Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                                      Desc Main
                                                          Document      Page 35 of 114

DEBTOR:                WW Contractors, Inc                                         CASE NO:                                                  18.12095-BFK


                                                                   Exhibit G1
                                                             UNPAID BILLS - PRE BANKRUPTCY
                                                                   AS OF JUNE 12, 2018



                                                                                                                                                      •:;-W12(2Q18,
Count :;:" StatUB;.^   ^^Jyf^Ll^       ^'Date.^''   ^lll^^urTh^^^^ ^•LAI^Ui^;;.'   '^•^'•'^'^•I'i^'NsmeT;;.^,^ ;,\<r;";;-   ^^;l]Oue'Datei^1 ; :Ag!n^ ^ ^fialatice^ ''

                                                                                                                                                        $ 993,048.94




                                                                                                                                                             Pags24oF48
Case 18-12095-BFK                                 Doc 93              Filed WW
                                                                            09/28/18     Entered 09/28/18 14:20:49
                                                                               Contractors inc.
                                                                                                                                                                          Desc Main
                                                                    Document      Page    36 of 114
                                                                            A/P Aging Detail
                                                                                       As of June 30.2018


DEBTOR:                      WW Contractors, !nc                                                                                                         CASE NO:               18-12095-BFK


                                                                                             Exhibit G1
                                                                                    UNPAID BILLS - PRE BANKRUPTCY
                                                                                         AS OF JUNE 30, 2018


l;.;.'Count", '.„', StatUs:"^ '^ l^.^f>^lr?.-.   ::^,., >,;Data,'~...^';.   ^.^.'~l";'^LIin''L'^.^   ^'-;'^;^'.:.'^-;-i^-;';-:Naine;:^..;;\;,'^!.^.^-^   Due Date; i, Aging,'   ; 6/30/2018. Balanise
    55       Current         BUS                       06/12/2010 287190562 Cfntas Corporation -OS1, 100,287                                             07/12/2018                          173.02

     56      Current         Bill                      06/12/201S 61658674 Clntas Corporalfon -061, 100.287                                              07/12/2018                           96.08
     57      Current         Bill                      06/12/2018 9316085295 WWGrainger                                                                  07/12/2018                          113.50
     58      Current         eni                       08/12/2018 9816072087 WW Gralnger                                                                 07/12/2018                            15.75

    59       Current         Bin                       06/12/2018 9816085287 WW Gfaingef                                                                 07/12/2018                           67.93
    239      1-30            Bill                      OG/12/2018 6.209-64549 Federal Express                                                            06/27/2018         3                213.63
    34       Current         Bill                      06/1V2018 3039230591|ul18 AT&T                                                                    07/05/2018                          357.84

     49      Current         B!!l                      06/11/2018 287186942 Clntas Corporation-061,100,287                                               07/11/2018                          173.02
    50       Current         Bill                      06/11/2018 981513470S WW Gralnger                                                                 07/11/2018                          225.63
    178      1-30            Bll!                      06/11/2018 279389 Baxter Clean Care                                                               06/11/2018        19                228.78

    179      1.30            Bill                      06/11/2018 2794')6 Baxter Clean Care                                                              06/11/2018        19                 88,21
     42      Current         Bili                      06/08/2018 6165679B Glntas Corporallon-061,100,287                                                07/08/2018                          101.80
    43       Current         Bill                      06/08/2018 6797574 Best Plumbing SpectalUes, Inc.                                                 07/08/2018                          391.21

    44       Current         Bill                      06/08/2018 371655 American Unen & Unifofm Supply                                                  07/08/2018                           54.16
    45       Current         Bill                      06/08/2018 37165S American Linen & Uniform Supply                                                 07/08/2018                           59.24

    46       Current         Bin                       06/08/2018 S0371639 American Linen & Uniform Supply                                               07/08/2018                           82,32

    47       Current         Blif                      06/08/2018 S0372743 American Unen & Uniform Supply                                                07/08/2018                          246.35
    41       Current         Bill                      06/07/2018 9811418467 WWGraInger                                                                  07/07/2018                           99.16

    35       Current         Bill                      06/06/2018 JC33812 Herman Goldner, Inc.                                                           07/06/2018                       13,607,00
    36       Current         Bill                      06/06/2018 3884B Eastcoast Elevatof Services, LLG                                                 07/06/2018                        5,545.00
    37       Current        HI!                        06/06/2018 SRVCE00246225 Entech Sales & Services, Inc.                                            07/06/2018                          460.07

    38       Current         Bill                      06/06/2018 370779 American Linen & Uniform Supply                                                 07/08/2018                           54.16
    39       Current         B[l!                      06/OG/2018 370780 American Unen S Uniform Supply                                                  07/OS/2018                           65.32
    40       Current         BID                       06/06/2019 9809159BOO WWGraInger                                                                  07/06/2018                           13.30

    31       Current         Bill                      06/05/2018 61653754 Clntas Corporation -061, 100,287                                              07/05/2018                           96.08
    32       Current        Bill                       06/05/2018 S309281174 WW Gralngsr                                                                 07/05/2018                          261.00
    33       Current        Bill                       06/05/2018 1584 Lannick Construction                                                              07/05/2018                        1,055.05

    21       Current        Bill                       06/04/2018 100265967 Cintas CorporaUon -061, 100,287                                              07/04/2018                           74.00
    22       Current        Bill                       06/04/2018 18.059 Mara Restoration                                                                07/04/2018                       27,575.00
    23       Current        Bill                      06/04/2018 100268351 Clntas CofporaUon -OG1. 100,287                                               07/04/2018                           91.18
    24       Current        Bill                      06/04/2018 05-934749 Virginia Fire Protection                                                      07/0'l/2018                       4,988.55
    25       Current        Bill                      06/04/2018 9806373669 WWGratnger                                                                   07/04/2018                            6.39
    26       Current        Bill                       06/04/2018 98067S2058 WW Gralnger                                                                 07/04/2018                           99.74

    27       Current        Bl!l                      06/04/2018 9806792066 WW Gratnger                                                                  07/04/2018                           95.75
    28       Current        Bill                      06/04/2018 9806852286 WWGrainger                                                                   07/04/201S                          844.90
    29       Current        Bill                      06/0'S/2018 9806852274 WW Grain ger                                                                07/04/2018                          110,52
   156       1-30           Bill                      06/04/2018 279167 Baxter Ciean Care                                                                OG/04/2018        26                544.30
   237       1.30           Bill                      06/04/2018 6755245882|un18 CenlufyLlnk                                                             06/24/2018         6               305.13
   238       1.30           Biil                      06/04/2018 5756223535jtm18 Century Link                                                            06/24/2018         6               203,69
    10       Current        81)1                      OS/01/2018 21843 Shades of Green                                                                   07/01/2018                        1,469.00
    11       Current        Bill                      06/01/2018 21859 Shades of Green                                                                   07/01/2018                      10,370.00
   12       Current         Bill                      06/01/2018 61652146 Cintas CofporaUon -061, 100,287                                                07/01/2018                         100.15
   13       Current         an                        06/01/2018 57019 Powers of Arkansas                                                                07/01/2018                       4,739.67
   14       Current         Bill                      06/01/2018 6244S91937 Honeywell IntemaUonai Inc                                                    07/01/2018                      30,000.00

    15       Current        Bill                      OB/01/2018 CT0024495 Kroff Chemtcal Company, inc.                                                  07/01/2018                       2,760.00
    16      Current         Bill                      06/01/2018 119453 Southwest Dtspaihc Center, LP                                                    07/01/2018                           71.05
    17      Current         Btl!                      06/01/2018 369621 American Unen & Uniform Supply                                                   07/01/2018                           S4.16
    18      Current         Bll!                      06/01/2018 369622 American Linen & Uniform Supply                                                  07/01/2018                           69.24
    19      Current         BUS                       OG/01/2018 S0369614 American Linen & Unifonn Supply                                                07/01/2018                           12.80
    20      Current         BID                       06/01/2018 S03TO346 American Llnsn & Uniform Suppiy                                                07/01/2018                           41.16

   146      1.30            Bill                      06/01/2018 6936 5-H Services Inc.                                                                  06/01/2018       29                439.30
    1       Current         Bill                      05/31/2018 CT0024531 Kroff ChemlcaS Company, Ino,                                                  06/30/2018                         815.00
     2      Current         Bill                      05/31/2018 77S50 SECURIH'AND DATA TECHNOLOGIES                                                     OS/30/2018                         867.70
     3      Current         Bill                      05/31/2016 5445044890 Slemen Building Technologies                                                 OB/30/2018                       1,533.00
    4       Current        Bill                       05/31/2018 16021 Water Treatment Services Inc.                                                     OS/30/2018                         9S7.53
    5       Current        Bill                       05/31/2018 15974 Water Treatment Sen/ices Inc.                                                     06/30/2018                       3,278.18
    6       Current         Bill                      05/31K018 29920 Burto Industries                                                                   06/30/Z018                       3,525.00
    7       Current         Blli                      05/31/2018 16044 Water Treatma nt Services Ino.                                                    06/30/2018                         228.37

    8       Current        Bill                       05/31/2018 5445044578 Slemen Building Technologies                                                 06/30/2018                      32.965,00




                                                                                                                                                                                         Page 2G of 48
 Case 18-12095-BFK                                       Doc 93             FiledWW
                                                                                 09/28/18      Entered 09/28/18 14:20:49
                                                                                    Contractors Inc.
                                                                                                                                                                                   Desc Main
                                                                          Document      Page    37 of 114
                                                                                 A/P Aging Detail
                                                                                      As of June 30, 2018


DEBTOR:                             WW Contractors, Inc                                                                                                     CASE NO:                          18-12095-BFK


                                                                                               Exhibit G1
                                                                                  UNPAID BILLS • PRE BANKRUPTCY
                                                                                        AS OF JUNE 30, 2018


;/':;Courit-'.;; ;•; -^Status.""-    ;/;,;.Type.;';^;   y^^-OMe.,^^ il:.;;^/;;.:;.',^m:!.^.?'/!^;          ^'•-^;"'L;;i';.'.;Nan'>a;;^.'^^'l;',.;'—:'.;^^   ; D Do Date'   ':;. Aging,       '.ef30f20'<8Batance

      9         Current             Bill                    05/31/2018          9804456391          WW Grahger                                               06/30/2018                                  936.50

     68         Current             Bill                    05/31/2018             28842            Admtral Elevator Company                                 07/15/2018                               25,307.00

     245        1-30                Bill                    05/30/2018             129776           Pennsylvania Equipment Sales                             06/29/2016                  1             7,775.00

     246        1-30                eiil                    05/301/2018            88576            Alr-Nu Filters                                           06/29/2018                  1               988.02
     247        1.30                Bin                     05/30/2018             3G8770           American Linen & Uniform Supply                          06/29/2018                  1                54.16

     248        1-30                Bfil                    05/30/2018             36B771           American Linen & Uniform Supply                          QS/29/2018                  1                65.32

     184        1-30                Bill                    05/29/2018          6-197-26962         Federa! Express                                          06/13/2018              17                   35.76

     240        1-30                Bill                    05/29/2018           61649412           Cinlas CofporaUon -061,100,287                           06/28/2018                  2                36.12

     241        1-30                8!)1                    05/29/2018             88522            Alr-Nu Filters                                           06/28/2018                  2               239.52

     242        1-30                Bill                    OS/29/2018             88624            Air-Nu Filters                                           06/28/2018                  2               160,56
     190        1.30                Bill                    05/27/2018        1000018623iune18      Sudden Link Business                                     06/M/aoia               16                  170.18

     234        1-30                BID                     05/25/2018          9799568705          WW Grainger                                              OS/24/2018                  6               217.95

     235        1-30                Bill                    OS/25/2018             367538           American Linen & Uniform Supply                          06/24/201 a                 6                54.16

     236        1-30                Bill                    05/25/2018             3S7639           American Linen & Uniform Supply                          OS/24/2018                  6                46.43

     228        1-30                Bill                    05/24/2018            61S47834          Clnlas Corporation -061,100,287                          OG/23/2018                  7                89,90

     229        1.30                Bin                     05C4/2018            100262552          Chtas Corporation -061,100,287                           06/23/2018                  7                74.00

     230        1.30                Bfli                    05/24/2018          9798441573          WW Grainger                                              06/23/2018                  7                31.85

     231        1-30                Bill                    05/24/2018           9798750999         WW Gralnger                                              06/23/2018                  7               637.90
     232        1-30                Bill                    05/24/2018           97986B9171         WW Gralnger                                              06/23/2018                  7               249.33

     233        1-30                Bill                    05/24/2018          140241-60532        City ofTyier                                             06/23/201 S                 7               267.61

     223        1-30                Bill                    OS/23/2018            8N36557S          LUBR1CATJON ENGINEERS, INC.                              06/22/2018                  a             1,768.36

     224        1.30                Bill                    05/23/2018          S2218042.001        Capp, Inc.                                               06/22/2010                  a               S80.44

     225        1-30                Bill                    05/23/2018             366662           American Unen & Unifofm Supply                           06/22/2018                  8                64.16

     226        1-30                Blli                    05/23/2018             366663           American Linen & Uniform Supply                          06/22/2018                  6                65.32

     206        1-30                Bill                    05/22/2013        85645S5145Jun18       Verizon                                                  06/18/2018              12
     218        1-30                Bill                    05/22/2018           287179545          Clntas Corporaiion -061,100,287                          OG/21/201B                  9
     219        1-30                Bill                    05/22/2018            61644937          Clntas Corporation -061.100,287                          OG/2V2018                   9
     220        1-30                8!il                    05/22/2018             21894            Mr, ShrinkWrap                                           06/21/2018                  9
     221        1-30                Bill                    05/22/2018           340094976          Overhead Door Corporation                                06/21/2018                  9
     222        1-30                Bill                    05/22/2018        SRVCE00245344         Entech Sales & Services, Inc.                            06/21/2018                  9
     211        1.30                Bill                    05/21/2018           JNV0099311         APEX CONTROLS 1.LLC                                      06/20/2018              10
     212        1.30                Bill                    05/21/2018            PA-10591          Fairbom Equipment Company Inc                            OS/20/201S              10
     213        1.30                Biii                    OS/21/2018             21809            Shades of Gre&n                                          06/20/2018              10
     214        1-30                Bf!l                    05/21/2018           61643393           Clntas Corporation -061,100,287                          08/20/2018             10
     215        1-30                Bil;                    05/21/2018            13699MC           PRITCHETT CONTROLS, !NC,                                 06/20/2018              10
     216        1-30                Bl!l                    05/21/2018          9795057240          WW Gralnger                                              06/20/2018              10
     208        1.30                Bill                    05/20/2010             984761           C,0,P,S. Monitoring                                      06/19/2018              11
     209        1-30                Bill                    05/20/2018             384761           C.O.P.S. Monitoring                                      06/19/2018              11
     205        1-30 .              Bill                    05/19/2018        8569860300june18      Verizon                                                  06/18/2018              12
    201         1-30                Bl!l                    05/18/2018             175G8            faosavs Automation Inc.                                  06/17/2018             13
    202         1-30                Bi!l                    05/18/2018           05-928724          Virginia Rre Protecllon                                  06/17/2018             13
    203         1-30                8i!l                    05/18/2018            365432            American Linen & Uniform Suppl/                          06/17/2018             13
    204         1-30                Bill                    05/18/2018           S0366214           American Linen & Uniform Supply                          OG/17/2018             13
    197         1-30                Bll!                    OS/17/2018             16676            Rudd Alarms                                              06/16/2018             14
    198         1.30                Bill                    05/17/2018          9791669357          WW Grainger                                              OS/16/2018             14
    199         1-30                Bl!l                    05/17/2018          9791669840          WW Grainger                                              05/16/2018             14
    200         1-30                Bill                    05/17/2018         302655176}un18       k/erfzon                                                 06/16/2018             14
    177         1.30                Bll!                    05/16/2018        215348457june18       /erizon                                                  06/11/2018             19
    192         1-30                Bili                    05/16/2018          9790274550          ^W Grainger                                              OB/15/2018             15
    193         1-30                Bil!                    05/16/2018           2022464-1          nt Dim Fiiter Corp.                                      06/15/2018             16
    194         1.30                Bill                    05/16/2018            364608            American Linen & Uniform Supply                          06/15/2018             15
    195         1-30                Bill                    05/16/2018           S0365071           i^neflcan Linen & Uniform Supply                         06/15/2018             15
    319         11-60               Blil                    05/16/2018           376807611          Fermlfilx Processing Center                              05/16/2018             49
    185         1.30                Bill                    05/16/2018           61640584           ^tnlas Cofporatlon -061,100,287                          06/14/2018             16
    186         1-30                Bill                    05/15/2018            5792522           3est Plumbing Specialties, inc.                          06/14/2018             16
    187         1-30                Biil                    OS/18/2018            5B063R            Falrbom MldAUantfc                                       06/14/2018             16
    188         1-30                BM                      05/16/2018           80036509           3uckeye Cieanlng Centers                                 06/14/2018             16
    189         1.30                Btl!                    05/15/2018          9789081974          iWW Gralngsr                                             06/14/2018             16
    311         31.60               B!![                    05/15/2018           375575354          Ferminix Pfocesslng Center                               05/1S/201S             46
Case 18-12095-BFK                                     Doc 93              Filed WW
                                                                                09/28/18
                                                                                   ContractorsEntered
                                                                                               Inc.      09/28/18 14:20:49                                                  Desc Main
                                                                        Document      Page     38
                                                                                A/P Aging Detail    of 114
                                                                                       As of June 30, 2018

DEBTOR:                              WW Contractors, Inc                                                                                                 CASE NO:                 18-12095-BFK


                                                                                               Exhibit G1
                                                                                   UNPAID BILLS - PRE BANKRUPTCY
                                                                                         AS OF JUNE 30, 2018


1 .Count:;.;   '."-.Status,-'''-'    ^•^ Type- ; :^ ^:.^.;-Date;,:/;'\;''   '^'.^/^'Nvm\.f^-'^' :•   : :^'':".;^?'^:'''/'':NamB;''.'"^''^ ,;.-';:'>?';   Due Date:    ^Afllng;,: :B/3D/20-l8 Baiarice
    180        1-30                  Bill                 05/14/2018              287175808          Clntas Corporallon-OGI, 100,287                     06/13/2018          17              138.14

    181        1-30                  Bill                 05/1 ?018                 137110           Rite Choice Untforms                                06/13/2018          17              102.12
    182        1-30                  Bill                 05/14/2016              100259149          Chtas CorporaUon -061,100,287                       06/13/2018          17                74.00
    183        1-30                  Bill                 05/14/2018             9787230458          WW Grainser                                         08/13/2018          17                79,20

    309        31-60                 Bi!!                 05/14/2018                89352            Duff Company                                        OS/14/2018          47             1,383.09

    168        1-30                  Bill                 05/11/2018              61638948           Cfntas Corporation -061,100,287                     06/10/2018          20               89.90
    169        1-30                  Bill                 05/11/201 S          S121290250.001        Rexel Inc.                                          06/10/2018          20              342.17

    170        1-30                  8i!l                 05/11/2018             S78533700B          WW Gralnger                                         06/10/2018          20                26,60

    171        1-30                  Btll                 05/11/2018             9785504292          WW Gralnger                                         OS/10/2018          20              336.70
    172        1-30                  Bili                 05/11/2018              100530283          Flretfol Proteciion Systems, Inc.                   06/10/2018          20             2,030.00
    173        1.30                  Bll!                 05/11/2018               363416            American Linen & Uniform Supply                     06/10/2018          20              101.80
    174        1-30                  Bill                 05/11/20-ta             S03617')0          American Linen & Uniform Supply                     06/10/2018          20              330.82
    175        1.30                  Bill                 05/11/2018              S0364168           American Linen & Uniform Supply                     06/W/2018           20              269.52

    176        1-30                  Bill                 05/11/2018              INV516220          Fraser Advanced Information Systems                 06/10/2018          20              451.21
    164        1-30                  Bill                 05/09/2018              287172174          Clntas CorporaUon -061,100,287                      06/08/2018          22              170.14
    165        1-30                  Btl;                 OS/09/2018                50218            Verizon                                             06/08/2016          22             1,029.53

    166        1-30                  Bill                 05/09/2018            S2210042.001         Capp, Inc.                                          06/08/2018          22              516.90
    167        1-30                  Bill                 05/09/2018              S0361744           American Linen & Uniform Supply                     06/08/2018          22               22.69
    161        1-30                  B!!l                 05/08/2018              51636170           Clntas Corporation -061,100,287                     06/07/2018          23                86.12

    162        1-30                  Bill                 05/08/2018             8781465920          WW Grainger                                         06/07/2018          23              844.20
    163        1-30                 Bill                  05/08/2018             9781465910          WW Gralngef                                         06/07/2018          23               74.63
    278        31. GO                Bill                 05/08/2018               2779S6            Baxter Clean Care                                   05/08/2018          53              519.98
    159        1-30                  Bill                 05/07/2018             9779240754          WW Gratnger                                         06/08/2018          24              884.92
    160        1-30                  Bil!                 05/07/2018              1002S5823          Cintas Corporation -061,100,287                     06/06/2018          24               74.00
    276        31-GO                 BID                  05/07/2018               277857            Baxter Clean Care                                   05/07/2018          S4
    277        31-60                 Credit               05/07/2018             9778950882          WW Grainger
    157        1-30                 Bill                  05/06/2018             9781207940          WW Gra!nger                                         06/05/2018          25
    158        1-30                 Bill                  05/06/2018             9781666212          WW Gralnger                                         06/05/2018          25
    151        1-30                 Bill                  05/04/2018                21768            Shades of Green                                     06/03/2018          27
    152        1-30                 Bill                  05/04/2018                5513             Aliantic Services. Inc.                             06/03/2018          27
    153        1-30                 an                    05/04/2018           5765246882may18       Centufy Link                                        06/03/2018          27
   154         1-30                 Bill                  05/04/2018              S0361742           American Linen & Uniform Suppty                     06/03/2018          27
   155         1-30                 Bill                  05/04/2018              S0381743           American then & Untform Supply                      06/03/2018          27
   268         31.60                Bin                   OS/04/2018             398337-5959         Rudd Contracting Co., Inc.                          05/04/2018          57
   355         31-60                Bill                  05/04/2018          5756223535may18        Century Unk                                         05/25/2010          36
   147         1-30                 Bill                  OS/03/2018             9776976897          WW Gfafnger                                         OG/02/2018          28
    148        1-30                 B)l!                  05/03/2018             9776942295          WW Grainger                                         06/02/2018          28
   149         1-30                 Bill                  05/03/2018             9776976889          WW Gralngar                                         06/02/2018          28
   150         1.30                 B!l!                  05/03/2018                1671 G           Rudd Alarms                                         06/02/2018          23
   144         1-30                 Bill                  05/02/2018             977S071657          WW Gralngsr                                         06/01/2018          29
   145         1-30                 Blil                  05/02/2018            S5323SQ9.001         Rumsey Bectrio Co.                                  06/01/2018          29
   105         Current              Blli                  05/01/2018            284509S5G}ul18       AT&T                                                07/22/2018
   136         1-30                 Bill                 05/01/2018               61632034           Clntas Corporation 4)61,100,287                     05/31/2013          30
   137         1-30                 Bill                 05/01/2018                131427            HAI Inlegrated Building Sen/lces, Inc.              05/31/2018          30
   138         1-30                 Bill                 05/01/2018                637345            Corrigo, [nc.                                       05/31/2018          30
   139         1-30                 Bin                  05/01E018               5244230413          Honeywell International Inc                         05/31/2018          30
   140         1-30                 Bill                 05/01/2018               05-926659          Virginia Fire ProtecUon                             05/31/2018          30
   141         1.30                 Bill                 05/01/2018               340079969          Advanced Door Service                               OS/31/2018          30
   142         1-30                 Biil                 05/01/2018                118S9S            Southwest DlspaUtc Center, LP                       05/31/2018          3D
   143         1-30                 Bill                 05/01/2018              CT0024273           Kroff Chemical Company, inc.                        05/31/2018          30
   251         31.60                Bill                 OS/01/2018                 6871             6-H Services inc.                                   05/01/2018          60
   364         31-60                Bill                 04/30/2018              CT0024286           Kroff ChsmicaS Company, inc.                        05/30/2018          31
   365         31.60                Bill                 04/30/2018                 15852            Water Treatinsnt Services Inc.                      05/30/2018          31
   366         31-GO                Bill                 04/30/2018                42S18             Verizon                                             05/30/2018          31
   367         31-GO                Bill                 04/30/2018              287168483           Clntas Corporation -061,100,287                     05/30/2018          31
   368         31.60                Blli                 04/30/2018             S5331778.001         Rumsey Elsclrio Co.                                 05/30/2018          31
   369         31. GO               BUS                  04/30/2018             S5342645.001         Rumsey Electric Co.                                 05/30/2018          31
   370         31-60                BID                  04/30/2018              340093443           Overhead Door Corporation                           05/30/2018          31
   371         31. SO               Bill                 04/30/2018              100252411           Clntas Corporation -061,100,287                     05/30/2018         31
 Case 18-12095-BFK                             Doc 93             FiledWW Contractors Entered
                                                                        09/28/18      Inc.    09/28/18 14:20:49                                                  Desc Main
                                                                       A/P
                                                                Document   Aging Detail
                                                                              Page 39 of 114
                                                                               As of June 30, 2018


DEBTOR:                       WW Contractors, Inc                                                                                               CASE NO:                18-12095-BFK


                                                                                       Exhibit G1
                                                                           UNPAID BILLS - PRE BANKRUPTCY
                                                                                 AS OF JUNE 30. 2018


'-;,C6urit,';:-   '" Status    '^•'we^-\ ; :^':.: bate; .:',^..   ^?7,':\';Hum'i\*/';'-^/ •i^,^'^^..ii;r;:''',:''''^a"^er''-'^'^-?^^1'^;}.-''   hue Date:. "Agliig,    le/30/201S'Balarica
    372           31-60       Bl!l                04/30/2618                15829            Water Treatment Services Inc.                      05/30/2018        31               967.58

    373           31-60       Bill                04/30/2018                29908            Burke Industries                                   05/30/2018        31             3,528.00

    374           31-SO       Blli                04/30/2018             977267S941          WW Gralnger                                        05/30/2018        31               790.00
    375           31-60       Bill                04/30/2018             9772490174          WW Gralnger                                        05/30/2018        31                56.50

    376           31-60       Bill                04/30/2018             9772718970          WW Gratnger                                        05/30/2018        31               826.00

    377           31-SO       Bill                Q'l/30/2018            9773407433          WW Gratnger                                        05/30/2018        31               271.90

    378           31-60       Bill                04/30/2018                15782            Water Treatment Senflces inc.                      05/30/2018        31             3,278.16

    379           31.60       B!tl                04/30/2018             9772824570          WW Grainger                                        05/30/2018        31               41S.18
    380           31.60       Sill                (M/30/2018             9773367769          WW Grafnger                                        05/30/2018        31                 4.29

    381           31-60       an                  04/30/2018             9772824S88          WW Grafnger                                        05/30/2018        31                 1.25

    382           31.60       Bill                04/30/2018                87902            Alr-Nu Filters                                     05/30/2018        31             1,041,30

    383           31-60       Blli                04/30/2018             287183246           Clntas Corporation ~QQ\, 100,287                   05/30/2018        31               178.14
    384           31-60       Btl!                04/30/2018             97724'!6333         WW Gralnger                                        05/30/2018        31               164.05

    38S           31.60       Bill                04/30/2018             5445005344          Slemen Building Technologies                       05/30/2016        31               154.00
    386           31-60       BEIi                04/30/2018               278680            Oliver Fire Frotectlon & Security                  05/30/2018        31               296.20

    387           31-60       Bil!                04/30/2018               278678            Oliver Fire Pfotection & Security                  OS/30/2018        31               233.00

    388           31-60       Bill                04/30/2018               278702            Oliver Fire Protecllon & Security                  05/30/2018        31               110.55

    389           31.60       Bill                O-S/30/2018              278687            Oilver Fire Pfotecllon & Security                  05/30/2018        31               248.80

    390           31-GO       Bil!                04/30/2018               278670            Oliver Fire Protection & Security                  OS/30/2018        31               264.60
    500           61-90       Bill                04/30/2018               337889            Rudd Contrscling Co., inc.                         04/30/2018        61               120.00

    360           31-60       BID                 04/27/2018              61630476           Cinlas Corporation -061,100,287                    05/27/2018        34                89.90

    361           31-60       Bill                04/27/2018             100528267           Fireirol Protection Systems, inc.                  05/27/2018        34               477,38
    362           31-60       Bl!l                04/27/2018             9771714467          WW Grahgsr                                         05/27/2018        34               369.00

    363           31.60       Bill                04/27/2018             437681224           SupplyWorks                                        05/27/2018        34               363.45

    487           G1.9Q       Bill                04/27/2018                32544            PJM Mechanical ConiraclorSi Inc.                   04/27/2018        64
    293           31-60       Bill                04/26/2018              17338700           R. E. Michei Company, Inc.                         05/11/2018        50
    356           31.60       Bi!)                04/26/2018             2020893-1           Trl Dim Filter Corp.                               05/26/2018        35
    357           31-60       Bill                04/26/2018            140241-60532         QtyofTyler                                         05/26/2018        35
    358           31 -eo      Bll!                04/26/2018             100528129           Flretro! Protecyon Systems, Inc.                   05/26/2018        35
    359           31-60       Bi!)                04/26/2018               S001796           South Jersey Glass & Door Co.                      05/26/2018        35
    349           31-GO       Bll!                04/25/2018             9769325128          WW Grain ger                                       05/2S/2018        36
    350           31-GO       Bll!                04/25/2018             9769454399          WW Grainger                                        05/26/2018        36
    351           31.60       Bll!                04/25/2018             05-924413           Virginia Fife Protection                           05/25/2018        36
    352           31-60       BilS                04/25/2018          S12127834S.001         Rexe! )nc.                                         05/25/2018        36
    353           31-60       Blli                04/26/2018             5031938.IN          G&M Electric Sales Co., Inc.                       05/25/2018        36
    354           31.60       Btli                0')/2S/2018          S2195226.001          Capp, Inc.                                         05/25/2018        36
    474           61-90       Bill                04/26/2018             374970568           Terminlx Processing Center                         04/26/2018        66
    346           31-60       BIIi                04/24/2018              61627760           Clntas Corporation -061,100,287                    05/24/2018        37
    347           31.60       Bill                04/24/2018             3336983486          PERSONNEL CONCEPTS LIMITED                         05/24/2018        37
    348           31-60       Bill                04/24/2018               INV194            StopFlre, LLC                                      05/24/2018        37
    344           31-60       Bill               04/23/2018              100249012           Clntas CorporaUon -061,100,287                     05/23/2018       38
    345           31.60       81)1               04/23/2018             9766604657           WW Gralnger                                        05/23/2018       38
    467           61-90       Bi!l               04/23/2018                397282            Rudd Contracting Co., Inc.                         Q'l/23/2018      G8
    341           31.60       Biil               04/20/2018               13579MC            PRSTCHETT CONTROLS, INC.                           05/20/2018       41
    342           31. SO      Bill               04/20/2018               61S26083           Ctntas CorporaUon -OS1,100,287                     05/20/2018       41
    343           31-GO       Bill               04/20/2018                974602            C.O.P.S. Monitoring                                05/20/2018       41
    332           31-60       Bill               04/19/2018             97633384S5           WW Gralnger                                        05/19/2018       42
    333           31-60       Bill               04/19/2018             9763367498          WW Gfatnger                                         05/19/2018       42
    334           31-GO       Bi!!               04/19/2018             9782951003           WW Gralngsr                                        05/19/2018       42
    335           31-60       Bll!               04/19/2018             9762951029          WW Gralnger                                         05/19/2018       42
    336           31.60       BUS                04/19/2018              2016067-3          Tri Dim Filter Corp.                                OS/19/2018       42
    337           31. GO      Bll!               04/19/2010             9763367606          WW Gralnger                                         05/19/2018       42
    338           31-GO       B!II               04/19/2018             976295W11           WW Grainger                                         05/19/2018       42
    339           31-60       Bill               04/19/2018             9762595602          WW Gralnger                                         05/19/2018       42
    340           31-GO       Bill               04/19/2018             9762595594          WW Gralnger                                         05/19/2018       42
    310           31-60       Bin                04/18/2018               10480983          The Standard                                        05/15/2018       '16
    327           31-60       Bill               04/18/2018             9760936840          WW Grainger                                         05/18/2018       43
    328           31-GO       B!il               04/18/2018             9760936832          WW Gralngsr                                         05/18/2018       43
    329           31-60       Bill               04/18/2018             9761903294          WW Gralnger                                         05/18/2018       43
     Case 18-12095-BFK
SfJOGesGBd                                                  Doc 93               Filed 09/28/18 Entered 09/28/18 14:20:49                                                                    Desc Main
                                                                               Document      Page 40 of 114
   OVS^L                  IS            8tOZ?0/SO                                                jsSuiejQ MM                i^mw                      910WWIW                        us       09-l.E    S9Z
   erso9                 ;s             SlOZ'/t'O/SO                                             JSSUiBJQ MAft              SOSZ^ES^B                 SIOZIW/W                       1119     09-t.e    t?9Z
   nwe                    IS            StQZiWIGQ                                                jaSujejo MM
                                                                                                                            immw                      simiwiw                        1119     09-K      £9Z
   (nrooa'i.             as             91.02/30/go                        0-n 'jjedsy euiJBM Sti|8^ )(ong                   810-SOSt                  8102/SO/t'O                   iua      09-I.E    za.

   LZ'OZ                 99             sioe/so/so                                               jsBuiejQ MM                t';99606^6                 eioz/so/ro                    1119     09-I.E    ZLL
   sz'eg                 98             BKK/SO/SO                                                jaBuiBjg MM                9999S06fA6                SWZIQQIW                       liia     09 -W     i.a

   wen                   93             8??/30/SO                                                jgfiuieJQ MM               lZ98S86fr/6                SWZ/SO/t'O                    ISIS     09-I.E    oa
    ?'8?                  99            81.0Z/SO/SO                                              jaGu|BJ9 MM                9;E99Z8t^6                 ei.oz/so/i'o                  liia     09-l.E    69Z
   os'ezt                S3             910Z/90/SO                                               jaGuiejg ?N\               1.9C8BSOSZ6                ei.oe/90/t'o                  liia     09-l.E    S/.Z
   06'68                 S3             8W2/90/SO                        ZSZ'OOt ^80-"ORS-!odJ03 S81UIQ                      WL1619                    SKiS/90/frO                   PIS      09-I.E    fr^Z
   wms                   29             9WWWW                                               sjeouesojstxeg                    eg^9z^                  Sl.OZ/60/t'O                   HIS      06-1.9    EZt?
   W1S                   s^             810Z/60/SO                                                sjs)|y nN-ilV                iwa                    ei.oz/60/t'o                   liia     09-1.1;   S8Z
   ww                    53             8WZ/GO/SO                                                jgBuiejg MM                9838^9tS/6                SI.OZ/60/fO                    liia     09-I.C    wz
   10'W                  zs             8KCT60/SO                                                jaGuiejQ M?                6ZZ1.EOZS^6               8103/60/t'O                    ma       09-i.e    E8Z
   Qi'QW                 33             8KK/60/SO                                                jsBu|ejo MM                1ZWLVSIS                  SLOZ/60/t'O                    IJIB     09-l.C    Z8Z
   ss't-se               S3             8WZ/60/SO                                                jgBuiejg MM                6t63lCS9Z6                SWW601W                        IflS     09-l.E    T8Z
   oo'ses                29             810Z/60/SO                            'au| SLUS(S^S Ja/nod |EO|Jjos|3                  ££[}*H                 SIOZ/60/CO                     ma       09-i.e    08Z
   oo'szs                ss             8KK/60/SO                             •ou| suaais^g JSMOcj |B3jJ)03|3                  KO-H                   ewz/eo/t'o                     1119     09-l.C    ea
   ei'98                  1.3           8K)2/Ot/SO                       ^BZ'OO). '1.90- uo;ie.todJ03 seiu|3                 SZ16191.9                viowiim                        ma       09-I.E    98Z
   Oi'iSO'l              09             wowwo                                                         •ou| 'ddeo           Kiowsmss                   emz/u/ro                       liia     09-i.e    Z6Z
   srz9                  03             SWWIISO                                                  ja6u|BJ£) MM               S/gtSlSSZG                sKiz/u/ro                      ma       09-l.C    T6Z
   63' \W                os             8K1S/H/SO                                                jgBu|BJ3 MM                £8Zl3tSS/6                SlOZ/U/frO                     lilQ     09-I.C    06Z
   OO'CMG'CH             ?              eiom^/so                                             USSJQP sspeqs                    ezziz                   ei.oau/t'o                     liia    09-i.e     68Z
   OO'SEt'               os             81.0Z/H/SO                                             •ouj "s'n aueji               U69t'68£                 ewwnw                          ma      09-I.C     88Z
   oo'w.                 09             si-oe/n/so                       ZSS'OOt '1.30- uoiiejodjoo seiuio                  seesi'eooi.               BlOZ/UftO                      1!IQ    09-l.e     Z.8Z
   WSSt                  ?              BKK/^/SO                                                  SJ811U riN-W                ess^s                   wvzwo                          1!18    09-l.C     TOE
   £Z'Z9                 5t'            81.02/ZtBO                                               jaGuieJQ MM               os&eeessze                 8102/Sl/t'O                    IIIQ    09-).£     OOE
   09'ZGi'l              Sf             8102/Zt/SO                               '0"n iflnoS-P!^ suiiuuino                   tszre-soo                S WW ?0                        llia    03 -W      66Z
   tmez'i.               w              8WZR1/SO                                 •0-1--1 ijinos-POT suiuiiuns               282 ?^00                  WZtZtlW                        ma      09-l.C     86Z
   WWZ                   ?              nowwo                                    •O'Tt mnos-PlM suiuiuino                   G^S-SOO                   v\,owww                        liia    09-I.E     LGi
   m90'3                 51'            9Wm\KQ                                   •O'T-14inos-p[[n| suiuimno                 oseie-soo                 VWZKlfW                        ma      09-I.E

   KTHZ'e                ?              8WZRI/SO                                 •o-n umos-Pl^ sutiuiuns                    seeie-900                 WWKIIW                         ma      09-H:

   ww\-                  S1'            fswvwm                                   '3'T1 mn°S-P!M sujUiUinQ                   KG ^00                    si.oaeifto                     IIIQ    03-l.C

   GG'QH                 Bfr            womiiso                                                  jsGuiejg MM               GQU?lSt6                   wvww                           ma      09-K

   oo'eei'               ?              SKKffil/SO                             •oui ''03 ssjes op)aa|3 WS9                  NI-SZZI.EOS               ewwwo                         1119     09 -IV.

   08't^l.               ?              eioyewo                                          •os o|jtos|3 Assuiny              100'EMKCSS                 swmwQ                         iliQ     03-t£

   oo'acH'l              ?              sioz/ei./so                                      •og o]flos|3 Assiuny              Km)396lESS                 BtOZTCI./K)                   ins      09-K:

   gg-fi.e'z             ?              ew/ei/so                                           •djoojanyuiiapi                   1-91.8600Z               SWWtlW                        dig      09-^

   W'QZZ                 Bt'            swmwQ                                              •djoojeiiymiapi                   1.-019600S               siosm/ro                       ma      09-K

   06'68                 Bt'            810WWO                           ZBS'OOt. 'ISO- uonejodjoo seiUiO                    03Z13919                 SWZKI/W                        11!8    09-l.e

   OVH                   ^              SWiQHSO                          ^SS'OOt 'tSQ- uo[|ejodjoo SBIU|O                   6Z9SKOOt                  QIOWMW                         l!i8    09-i.C


   cxrm                  3t'            9WWWO                                            •OQ OJJIOSB Agsmny               IWlWZfSS                    810S/9WO                       Hi8     09-i.C

   09'see                3t'            8HW91/SO                                                 js6u|ej9 MM               9SGS£^83^6                 B 1.03/9 ?0                    11!9    C9-1.C

   os'l-se               Sfr            81.0CT9?0                                                JBSU]8J9 MM               6f6SMG9Z6                  BWV9[IW                        iiia     09-I.E

   os-iei.               S{'            8tOZ/9?0                                          Butjonuo^ -s'd'0'0                  Z09W.6                  8WVWW                          nia      09 ^E
   GZ'WZ'Z               St-            810Z/91/SO                                         •djoojaijuiuiapi                  1-Z98SOOZ                swvww                         tlia     09 -W

   00'038'S              3fr            8 WZIWQO                             NononaisNoo s.odsaao                              9l8t                   ewwww                         sna      OS"tC

   GZ'61Z                n              Qwzimw                                  J&IUS3 Suissaoojd ^ujiujei                  ZGfse^e                   8WWIIM                        sna      06-1^9

   OOW8                  ?              swwwo                          3-)-t 'suofieo|Unu)Uioo '3 uue|V 33V                    S99t'                  9WWLIW                        ills     09-1C

   se'sez                ?              wowwo                                                    jsSuieJQ MM               6UWQ6QL6                   QWZtWW                         illS    09-^

   QQ'eil'i              tt             vwwsso                             •ou| 'suisisAg uoips)oj(j [QJiajjj               2699ZS001.                vwwwo                          1118    09-i.e

   Ot-'ZZl.              t't'           ewiwo                                                    jg8u|BJ9 MM               smesoazG                   ewmnw                          liia    09-l.C

   S I" 1.8,.            ?              SWiillSQ                                                 -isBuiBJs MM               8K08Z09A6                 vwwwo                          111Q    09-t£

   Z I. •98              ^              eioz/zi/so                       iW'QW ' 1.90- uo|)8jocijo3 seiu[3                   6K£e9l9                  VlWi \,IW                      IIIQ     09-K

   86'?9'K               ^              9tQW\.IQO                                                S93|AJ3S yjO              6eei.9ioi.rn               8WWHW                          ina     09-tE

  (9^(H9)                                                                         •ouj 's3s|j<jjaiu3 uosnBjaj                 t;8K:t'9                stosm/M                     l!peJ3      06^9
   OO'Si'9               Zi.            eioz/stfro                                •ouj ''OQ Sunoe^uoo ppny                 eoss-eeesse                Qiomwo                         lllfl    06-t9

   ZL'QZ<£,              Et'            81.0Z/81/SO                                                   •auj 'ddeo           1.00'TOSG^S                swwiim                         1118    09-i.E

   X9'899                ?              SKKM/SO                                          'OQ op)o3)3 ^esuiny               loo'ouseess                8?e/8t?0                       lii3    09-I.E

   ti:iuG|Ber8i,pz/oE/9^ -,;8Uj8v::!;   'ajsaena";     ;'''•'.'''•,'•';:''{-.;;\;.-.i^8U<tiN'^'.^':;l/I^';:'1,'.^'/   ;/;.>^';'.;iiun^;f^r.;;^,   .;"-y;;.eiBd<^''.^,l-i   .•^W^Ji^'^ '-^sr^Bis^-
 Case 18-12095-BFK                            Doc 93              Filed WW
                                                                        09/28/18
                                                                           ContractorsEntered
                                                                                      Inc.     09/28/18 14:20:49                                                 Desc Main
                                                                Document       Page
                                                                        A/P Aging      41 of 114
                                                                                  Detail
                                                                                    As of June 30, 2018

DEBTOR:                      WW Contractors, Inc                                                                                               CASE NO:                18.12095-BFK


                                                                                            Exhibit G1
                                                                                UNPAID BILLS - PRE BANKRUPTCY
                                                                                      AS OF JUNE 30,2018


\\:, County,; 1;^' Status^   \i^ Type ,^;   ''.:•'• /.'^IDat^i';^'.:   •.^^"'.'^l'11111^ . ;.-:-M   l^'.^-,^'^-^' ^alne''h:"^''";l^^; ••.'•'   r DliaOate;   Aging;: ; 6/30/201 BBalanbB
   266       31-GO           Bill                 04/04/2018                    5783633             Best Plumbing Spec! aides, inc.             05/04/201S        67             972.00

   267       31-GO           Bill                 04/04/2018                  9748031102            WW Gralnger                                 05/04/2018        67
   399       61.90           BHiPmt-CCard         04/04/2018                                        WW Gratnger
    259      31-60           Bill                 04/03/2018                  9746960262            WW Gralnger                                 OS/03/2018        60
    260      31-60           Bili                 04/03/2018                  340031626             Advanced Door Service                       05/03/2018        58
    261      31-69           Bill                 (M/03/2018                   61614842             Clntas Corporation-081,100,287              05/03/2018        58
    262      31-60           BID                  04/03/2018                     87333              Alr-Nu Fl!ters                              05/03/2018        58
    252      31-GO           Bill                 04/02/2018                   100238880            Clntas Corpofatlon -061,100,287             05/02/2013        59
    253      31-60           Bill                 04/02/2018                   05-919321            Vlfgtnta Fire ProlecUon                     05/02/2018        59
    254      31-60           Bill                 04/02/2018                  9744975971            WW Graingsr                                 05/02/2018        69
    255      31-60           Bill                 04/02/2018                  97451S3533            WW Gralnger                                 05/02/2018        69
    256      31 .60          Bin                  04/02/2018                  8744498347            WW Gratnger                                 05/02/2018        59
    257      31-GO           Bill                 04/02/2018                  9744657421            WW Grafnger                                 05/02/2018        69
    258      31.60           B!li                 04/02/2018                  9745366048            WW Gralnger                                 05/02/2018        59
    393      61-90           B]![                 04/02/2018                      6610              5-H Services I no.                          04/02/2018        89
   249       31-GO           Bill                 04/01/2018                     131425             HAI fntegfated Building Sefvfoes, Inc.      05/01/2018        60
   250       31.60           B!!l                 04/01/2018                  CT00240SO             Kroff Chemical Company, Inc.                05/01/2018        60
   49S       61-90           Bill                 03/31/2018                     29896              Burke Industries                            04/30/2018        61
   496       61-90           Bill                 03/31/2018                     16675              Water Treatment Services Inc.               04/30/2018        61
   497       G1.90           Bill                 03/31/2018                     15653              Water TreatmenE Services Inc.               04/30/2018        61
    498      61-90           Bill                 03/31/2018                     15S07              Water Treatment Services [no.               04/30/2018        61
   499       61-90           BUS                  03/31/2018                     16514.             Water Treatment Services inc.               04/30/2018        61
   491       61.90           BUS                  03/30/2018                  CT0024074             Kroff Chsmtcal Company, Inc.                04/23/2018        62
   492       61-90           BUS                  03/30/2018                 S6321141.001           Rumsey Bectrlc Co.                          04/29/2013        62
   493       61-90           Bill                 03/30/2018                 S21479S6.001           Capp, Inc.                                  04/29/2018        62
   494       61-90           Bill                 03/30/2018                  9744221889            WW Grainger                                 04/29/2018        S2
   488       61-90           Bill                 03/29/2018                 140241-60532           City of Tyief                               04/26/2018        63
   489       S1.90           Bill                 03/29/201 S                 9743050305            WW Gra!nger                                 04/28/2018        63
   490       61-90           Bill                 03/29/2018                 32148420,001           Capp, Inc.                                  04/28/2016        63
   1181      > 90            Bill                 03/29/2018                  374160900             Termlnlx Processing Center                  03/29/2018        93
   484       61-30           Bill                 03/28/2018                  9742282529            WW GraSnger                                 04K7/2018         64
   485      61-90            3!11                03/28/2018                 82191714,001            Capp, Inc.                                  04/27/2018        G4
   486       G1-90           Bill                03/28/2018                    18.512760            Hanover Uniform Company                     04/27/2018        64
   475       61-90           3111                03/27/2018                    61610520             Clntas Corporation -061,100,287             04/26/2018        65
   476       61-90           Bill                03/27/2018                   3740902219            WW Grainger                                 04C6/2018         65
   477       61-90           3111                03/27/201S                   9740G15983            WW Grainger                                 04/26/2018        65
   478       61.30           3111                03/27/2018                   9740178554            WW Grainger                                 04/26/2018        65
   479       G1-90           3111                03/27/2018                 S5310353.001            RumseyElecfrteCo,                           04C6/2018         65
   480      61-90            3111                03/27/2018                 S5312142.001            Rumsay Electric Co.                         04/26/2018        65
   481      S1-90            3111                03/27/2018                   005-30315             Cummins Mid-Soulh LLC.                      04/26/2018        es
   482      61-90            3111                03/27/2018                      73712              Oliver Plumbing incorporated                04/26/2018        65
    483     61-90            3111                03/27/2018                 S2164931.001            Capp, Inc.                                  04/26/2018        65
    468     G1-90            3!11                03/26/2018                  973918S059             WW Grainger                                 04/25/2018        66
    469     G1-90            3i11                03/26/2018                  3739590587             WW Grainger                                 04/25/2018        66
    470     61-90            3111                03/2S/2018                   1002354G8             Clntas Corporation -061,100,287             04/25/2018        66
   471      B1-90            3111                03/26/2018                  9738155440             AfW Grainger                                04/2S/2018        66
   472      51-90            )111                03/26/2018                  9739762434             AfW Gralnger                                04/25/2018        66
   473      51-90            iill                03/26/201S                   OOS.30197             Summins Mid-South L.L.C.                    04/25/2018        66
   1175     > 90             illl                03/26/2018                     276847              3axter Clean Care                           03/26/2018        96
   464      B1-90            3ill                03/23/2018                     21684               Shades of Green                             04/22/2018        69
   465      61-SO            3111                03/23/2018                S120941902.001           Rexel Inc.                                  04/2Z/2018        69
   466      51.90            3!H                 03/23/2018                  9737196031             AfW Grafnger                                04/22/2018        69
   461      31-90            i!ll                03/22/2018                  9735367915             AfW Gralnger                               04/21/2018        70
   462      i1.SO            3!H                 03/22/2018                 S2162650.001            ;appi Inc.                                 04/21/2018        70
   463      S1-30            3111                03/22/2018                 S2162650.001            ^app, Inc.                                 04/21/2018        70
   1162     > 90             iill                03/22/2018                   374000165             fermtnix Processing Center                 03/22/2018        100
   457      51-90            3111                03/21/2018                  9734889612             AW Gralnger                                04/20/2018        71
   458      61-90            illl                03/21/2018                  9734735773             /VW Gralnger                               O-t/20/2018       71
   459      51-90            )ilt                03/21/2018                     2B240               PRECISION PSI INC.                         04/20/2018        71
 Case 18-12095-BFK                                  Doc 93                FiledWW
                                                                                09/28/18     Entered 09/28/18 14:20:49
                                                                                  Contractors Inc.
                                                                                                                                                                                 Desc Main
                                                                        Document      Page
                                                                               A/P Aging Detail42 of 114
                                                                                            As of June 30,2018


DEBTOR:                     WW Contractors, Inc                                                                                                                CASE NO:                18-12095-BFK


                                                                                                    Exhibit G1
                                                                                        UNPAID BILLS - PRE BANKRUPTCY
                                                                                             AS OF JUNE 30. 2018


V;Count') ;ki;Status .^-,   ',: :.:'JyReli^;.:   ^:,\;'; Date; •:•:",- ,';'^.   ^.l;'^;.-;Num:^r.'.-^:''    •.;.<;;v-:.V.Y';'^.'^NamB-^.I'!^ ^^i.": '•:'s;^:   Duo Date,: ;''Agthg/'   6f30f2018 Balance
   460      61-90           Bill                        03/21/2018                    9735160740           WW Gralnger                                         04/20/2018         71             153.68

   453      G1-90           m                           03/20/2018                     61606171            Cldtas Corporation -061,100,287                     04/19/2013        72               86.12
   454      61-90           Sill                        03/20/2018                       13451             PRITCHETT CONTROLS, !NC.                            04/19/2018         72            1,050.00

   455      S1-90           Bill                        03/20/2018                      968692             C.O.P.S. Monitoring                                 04/19/2018         72             125.61

   456      61-30           Bill                        03/20/2018                       87081             Alr-Nu Filters                                      04/19/2018         72              76.48

   447      61-SO           Bill                        03/19/2018                     100232069           Cintas Corporation -061,100,287                     04/18/2018         73              74.00

   448      61.90           B!!f                        03/19/2018                    9731223906           WW Grafnger                                         04/18/2018         73             122.88

   449      61 -80          Bill                        03/19/2018                     005-29734           Cummlns Mid-South l.L.C.                            04/18/2018         73            2,3^0,98

   450      61-80           Blli                        03/19/2018                   32173628,001          Capp, inc.                                          04/18/2018         73             789.50

   445      61.90           Bill                        03/17/2018                       32705             Jefferson Sprinkler, fno                            04/16/2018         75          16,725.00

   439      61-90           Bill                        03/16/2018                    9730382414           WW Gralnger                                         04/15/2018         76             637.44

   440      61-90           Bill                        03/16/2018                    97299S3760           WW Gralngec                                         04/16/2018         76              70.61

   441      61-90           8!!1                        03/16/2018                    9730114155           WW Sralngef                                         04/15/2018         76             263,05
   442      61-90           Blli                        03/16/2018                    9730114163           WW Gralnger                                         04/15/2018         76            1.573.73

   443      61.90           Bill                        03/16/2018                     31101920            Overhead Door of New Orleans                        04/15/2018         76             378.00

   444      61-90           Bill                        03/16/2018                        548              Dygent Gates                                        04/15/2018         76            3.525,00

   437      61-90           BUS                         03/18/2013                       118743            Eagle Insulation                                    04/14/2018         77              49.30

   438      61-30           Bll!                        03/15/2018                       87015             Air-Nu Filters                                      04/14/2018         77            1,218.54

   1155     > 90            BID                         03/15/2018                       276317            Baxter Clean Care                                   03/15/2018        107             533.42

   434      61-90           Bill                        03/14/2018                    97271ZS69S           WW Gralnger                                         04/13/2018         78              99.38

   435      81-90           Bill                        03/14/2018                    S726610471           WW Gralnger                                         04/13/2018         78             117.84

   436      61-90           Bill                        03/14/2018                     INV490056           Fraser Advanced Information Systems                 04/13/2018         78               14.58

   431      61-9B           Bill                        03/13/2018                     61601725            Cintas CofporaUon-OSI. 100,287                      04/12/2018         79              86.12

   432      G1-90           Bill                        03/13/2018                    9726215552           WW Gralnger                                         (N/12/Z018         79             192.66
   433      G1-90           Bill                        03/13/2018                     05-91435S           Virginia Fire Protecton                             04/12/2018         79
   425      61-90           Bill                        03/12/2018                    9725000369           WW Gralnger                                         04/11/2018         80
   426      G1-90           Bill                        03/12/2018                   S5283389.003          Rumsey Electric Co.                                 04/11/2018         80
   427      61-90           Bill                        03/12/2018                      324429             !DEAL LIGHTING                                      04/11/2018         80
   428      61-90           Bill                        03/12/2018                    9724138012           WW Granger                                          04/11/2018         80
   429      G1.90           GUI                         03/12/2018                    9724133004           WW Grainger                                         04/11/2018         80
   430      G1-90           GUI                         03/12/2018                     100228741           C;ntas Corporallon -061,100,287                     04/11/2018         80
   424      61-90           Bill                        03/11/2018                  SRVCE00241701          Enlech Sa!es & Services, Inc.                       04/10/2018         81
   415      G1-90           etil                        03/09/2018                     61600217            Clntas Corporation -061,100,287                     04/08/2018         83
   416      61-90           Bill                        03/09/2018                       21639             Shades of Green                                     04/08/2018         83
   417      G1-90           Bill                        03/09/2018                     005-29178           Cummlns Mld-South L.L.C.                            04/08/2018         83
   418      G1-90           Bill                        03/09/2018                     005-29177           Cummlns Mld-Soulli L.L.C.                           04/08/2018         83
   419      61-90           Bill                        03/09/2018                       S8866             FERRARA'S HEATING & AIR CO., !                      04/08/2018         83
   420      G1-90           8!!1                        03/09/2018                     31101836            Overhead Door of New Orleans                        04/08/2018         83
   421      61-90           Bill                        03/09/2018                     5031S63.!N          G&M Electric Sales Co., Inc.                        04/08/2018         83
   422      61-90           Sill                        03/09/2018                    9722355444           WW Grainger                                         04/08/2018         83
   410      G1-90           Bill                        03/08/2018                   S2156511.001          Capp, Inc.                                          04/07/2018         84
   411      G1-90           Bill                        03/08/2018                   S5284083.001          Rumsey Electric Co.                                 04/07/2018         84
   412      61.90           Sill                        03/08/2018                       86891             Alr.Nu Filters                                      04/07/2018         84
   413      61-90           Sill                        03/03/2016                   S2156031.001          Capp, Inc.                                          04/07/2018         84
   414      G1-90           Bill                        03/08/2018                   S216609S.001          Capp, Inc.                                          04/07/2018        84
   408      61-90           Bill                        03/07/2018                   S5306047.001          Rumsey Eiectric Co,                                 04/06/2018        85
   409      G1-90           Bill                        03/07/2018                      5777214            Best Plumbing Specialties, fnc,                     04/06/2018        85
   400      Gl-90           Bill                        03/06/2018                     005.23971           Cummhs Mfd-Soulh L.L.C.                             04/05/2018        86
   401      61-SB           Bill                        03/06/2018                     005-28922           Cummlns Mld-SouUl L.L.C.                            (W/05/2018        86
   402      61-90           Bill                        03/06/2018                     005-28921           Cummlns M!d-South L.L.C.                            OWS/2018          86
   403      G1-90           Bill                        03/OB/2018                     OOS-28972           Cummlns Mid-Soufh L.L.C.                            (M/05/2018        86
   404      61-90           Sill                        03/06/2018                       86795             Alr-Nu Filters                                      O'i/OS/2018       86
   405      G-t-90          Bill                        03/06/2018                      W20433             Texas Chliter Systems                               04/05/2018        86
   406      61-90           Bill                        03/OG/2018                    9719191633           WW Gralngsr                                         04/05/2018        86
   407      61-90           Sill                        03/06/2018                    9719191620           WW Grainger                                         (M/05/2018        86
   394      61-90           Bill                        03/05/2018                   S5298683.001          Rumsey Electric Co.                                 04/04/2018        87
   395      61-90           Bill                        03/05/2018                     10022532G           C!ntas Corporation .061,100,287                     04/04/2018        87
   396      61-90           sin                         03/05/2018                       64533             Jefferson Battery Co,, Inc.                         04/04/2018        87
   397      61.90           Bill                        03/05/2018                     06.912665           Virginia Fire Proteclion                            04/04/2018        87
    Case 18-12095-BFK
WPZeaBej                                               Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                                                Desc Main
                                                                     Document      Page 43 of 114
  62'eet                  sti.       eioz/M/eo                   /.GS'Cm "ISO- uojiejodjoo setUQ             zezz^is              8KK/SO/ZO                          llia          06 <   0£TT
  S6'€ZS                  HI         81.GCT80/SO                   •oui 'ss[l|E]03cts Suiqiuny issg           Ot'eozzs            8W2/90/ZO                          ills          06 <   frETT
  m'sn                    en.        sioz/eo/eo                               •OQ o|j}oaj3 Assuiny          1.00'6l£t'928S        81.0Z/ZO/SO                        li!9          06 <   (?Tt
  9S70G                   en         ei.oz/60/eo                   •ouj 'S9(}|ep8ds Buiqujnjcj issg           SMOZZS              9WWWO                              ira           06 <   6ETT
  Gl.-t'St                en         si-oyeo/so                    •ouj 'ssfiieioads Su[qujn|ci isag          t+go^zs             womwzo                             iiia          06 <   8ETT:
  09'81'6'i.              en         8t05/60/SO                   •OU) 'StUS}S((s UOn031(U(J iOqSJIJ         sesstsooi.           WOVWKO                             l!i9          06 <   Z.ETT
  99-A1.S                 en         8KE/6Q/EO                            eo[ugs -IOOQ paoueApv              isumow               WWLQKO                             1!!8          06 <   9ETT
  oo'oee                  £1.1.      8KK/60/EO                          •ou| "03 AjaitBQ uosjajjef
                                                                                                               wm                 GtOe/AOCT                          1118          06 <   sen
  80'Ot'
                          m          Biomwo                        •OU) 'ssmejoads Bu[qu)fi|d iseg            Z8iOU9              ewzisoRo                           m             06 <   sm
  ez'esg'e                Z\,l       SKE/Ot/eO                      •ou| 'seo|M9S 'S sa]eg i<33)U3        get'ot'zooaoAas         SWWOKO                             sna           06 <   ZfrTT
  oo'oes                  z\\.       81W!W?                                   •os oyiosig Aesuiny          loo'eeee/sQS           QWieORO                            !i!Q          os <   Tm
  oo-oos'^                zn         BWWQRO                       saoi/usg iu3tum]su[ pue |OJ)UQO             St'OSOOZ            8KE/80RO                           w             06 <   E60T
  gresz'u                 tl.1.      SWWKO                                        SS3|3J)^ UOZ[J8/\            8S.60S             stomoKo                            ma            06 <   LWt
  S6W9                    HI.        QWWWO                                   •ON! isa Noisioayj                966A8              swmoKQ                             m             06 <   9HT
  Si'ZZL                  tH.        8[OW?0                        •ou| 'ssmepads 6ujqtun|d )seg              SSUUS               SIOWORO                            11!Q          OG<    SfrTT
  si-'gsi.                H.1.      swmwQ                                     •OQ a;J)os|3 Aasmny          eoo'esosszss           QtOWOISO                           iiia          os <   mi
  00'0?                   Ot\,       siozKt/eo                  •ouj 'Auediuoo je|>|up(is ueopaujv             e^m               9WWWQ                               [119          QG<    SfrTT
  iVW                     801.      swwwo                                            sijjo/A^jddng           Z9860885t'           QWZRWQ                             ilia          OG<    OSTT
  SO'931.                 801.       9?Z/M/£0                                 •OQ o(J(os|3 ^ssiuny         SOO'Sl&t'SZSS          9WKWO                              !1!9          06 <   6HT
  99'soe                  LQ\.       8W2/SI/EO                     •ou| 'ssniBpads Sujqtuny issg              weuiQ               swaet./zo                          nia           06 <   frsn
  os'eet'                 Z(H       8WZ/GIKO                suieisAg uoneutjoju| paaueftpv Jssey             UU^ANI               ai-ozffit/eo                       iiia          OG<    £STT
  t'8'OZS                 i0t        8Loz/st/eo                               •oo 3{J)3S|3 Assiuny         too'sseessss           8WZ/GWO                            11!9          06 <   ZSTI
  oo'on                   L0\        81.02/Sl/EO                              •oo opiaaB fesuiny           wo'eszrezss            VWZKWO                             llig          OG<t   TSH
  t'9-t'ez                SO I.     VlQiiilKQ                                        jsBuiejg M/A           098S6I.KU6           9WVWZQ                              ma            06 <   9STT
  oo'we
                          m         wowsiKO                          •ou] '•03 s9lB$ aifl38|3 n'SO          Nl-ezei-eos          WWWQ                                llfg          06 <   6STT
  QL'wys                  roi       MWSIKO                                               'OUj ]axgy       tOO-OU99e02t5           8l.O£/9t/ZO                        ma            OG<    8STT
  06'68                   ?t        8KE/81/EO                   ZSZ'OtH 't.90- uosejodjoo seiu]3             OG9Z8S19            BWWWQ                               liia          oe<    ^STT
  f9'OW'                  001       WOZKWO                                   •o0 o|409;3 Assiuny           eoo'esesszss           8WZ/OZKO                           lli3          06 <   T9H
  os-sei                  DOS.      BIOWWO                                    GutionuoH 'S'd'0'0              &m96                8WS/OZ/SO                          lli8          06 <   09TT
  ^^•£W'                  O&t       BWWZiZO                                'ou| 'sjojiiuoo uosuqo;'        OZSS9Z60S1.9-1         810E/OZ/ZO                         11!8          w<     OOTT
  00-000't                66        SWRWO                                  uonoaiojcj SJH e|uiBJ[A           eSt'606^0            81.0%, I. WO                       11!3          os <
  iS'ZWl                  66         BtOS/SS/SO                             •ONI isd Noisioayd                 sues              viommo                              11!8          G6<
  eg-oso'i.               66         BKE/syeo                    •ou| 'etJisnpuj eojesd-eijsaiineM             U9S61              SlOE/tZ/ZO                         11!8          os <
  ^8'6i.e'e               56        8102/ez/eo                   •ou| 'e]Jisnpu[ s3je8ij-eqseijne^            ww\.               ewwwo                               liia          06 <
  99'S8                   36        ai.oe/t'e/eo                                    jeBUieJQ MM             t'ssi.ee/026         BIOWWW                              sna           06 <
  St'^9£'2l               B6        Q\,QZ!WKO                                            •au| [sxay       EO(TO^99E05tS          SIOZKZKO                            il!9          06 <
  SS'lSf/                 B6        swwwo                                                •au[ isxsy       ZOO'0^99£OZtS          8WZRW&0                             sna           06 <
  oo'oez                  se        81.02/t'S/EO                          83|AJBg JOOQ paOUBftpV             9088GOOK;           SIOZKWO                             flia          OG<
  oo'o^                   B6        WOWZK.O                                         3|Jp8|3 UO)OJd              uzs              QWWVZQ                              llia          06 <
  06'68                   i6        stoasz/eo                   LSZ'QOl 'ISO- uoRSJodioo seiu[3              S98t6St9             swz/eaeo                           uia           06 <
  00'S?                   i.G       BIWIQZRQ                            sot/uss JSM3S HSB|J snig              °K.ZW\.             stoe/eaeo                          lli8          os <
  OOWfr                   w          SKE/SZ/eO                                •oy o[Jpa|3 Aasuiny          WQWiGZSS               SWKZKO                             1)18          06 <
  00-809                  ro        SWVSZKO                                 'QU| 'jaupiog ueuusH           ees9A030Ays           ewwvw                               iiia          06 <
  CffW                    ?         sKK/sz/eo                                        sjainj nN-W               £1998              8KE/9Z/ZO                          ilia          OG<

  wm                      t>6       WWiQZKO                                              •ouj jsxsy       too'szssesosts          8WZ/9Z/ZO                          iiia          06 <
  ze'oz                   EG        BtOe/SZ/EO                                       sja}|y ON-W               E9998              Bl-oe/ze/eo                        11!9          CG<
  oo'ooe'e                E6         BioE/eyeo                                      o|J103!3 uoiojd            ms                 81.DZHZ/ZO                         11!9          06 <
  oo'oos                  Z6        ewwwo                                   •ou| 'JsuplOQ us lu jan       V£ZS92030AyS            si-oe/sz/EO                        lliS          os <
  OO'OSO'l                S6         91-OZ/OE/eO                  •ON! 'SIOyiNOSHSHOliaci                      E8ESI              BWWZRO                             11!8          os <
  oo'w                    S6         8?z/oe/eo                       •ou[ "03 ss|es 3|Jps|3 ns9             NI-66GIEOS           8WWWO                               ma            06 <
  OO'StO                  w         81.02/oe/eo                     •ou| '/uediuoy leoituaqo JDOJ»           uaeeooio            swmwQ                               illQ          OG<
  oo'ooo's                w         sioyos/eo                •ouj 'SSOJMSS 6u]p[[ns p3iejBs)U| JVH            zznw               8 wmmQ                              !1!S          OG<
  WLW                     16        stozne/so                      •ouj 'ssRlEpscts 6u|qiunict issg          wasiis               sromo/eo                           tiia          06 <
  oo'os^'s                t6         8??ne/eo                       -ou) 'AuediuoQ jeojuaqojpj^             eesezooio             swmo/eo                            iiig          06 <
  9£'£92                  16         siome/eo                                          j3|Al.(o^!0         zwcQ'^wn               8tOe/K)/EO                         1119          06 <
  oo'ooz                  1^6        s^me/eo                    ou( ^uedutoo lusuidinbg ujoqj|8j           Zd Z6ZOt-Vd            SiOWWO                             1!!8          06 <
  007/8't'                06        9WWWW                                  uonoaiay aiy eiu|Sj|A             ?eest6-so            8WWOKQ                             il!S        OG-t8

  06-68                   06        WQWOIW                      ZSS'OOl. '1.90- uo;iejodj03 se]u|o           Z66S68t9             QIOZROKQ                           iiia        06-K

  OO'iZi'i,               IS         SWZIWIW                         •ou) "03 saieg 3[JpB;3 n'gg             NI-S3SIS03           sws/so/eo                          tlia        06-t9

  'eaiiBjSH'flHjaoc/ST.   :-'BuiBv/,) '•'•WQ.^Q "   :^./^^^''^: !.^'wtiW.!^".:"y''!,\ff' 'y;^          :^;:;"i!^lu"KJ:^V^ .^,'^ ;^ea;:^;;:''-;';   •;i\'...'adK^:. • ;•;•   '^,snws'.—:
     Case 18-12095-BFK
gffoeEsGBtj                            Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                                             Desc Main
                                                 Document      Page 44 of 114

   ww           S31     9WWWO                          •an 'sg(flsnpu| s|Mnd            wmu             aoyiwi                   1119     08 <    S^OT
    oo'ose      S91.    iWWVH                                   SfEW^f [OSU6»            ^386           LWWVZl                   m        06 <    frEOT
    os-re       ?1      810WZIW                           '03 o[J)oat3 ^esuiny        tOO'ot.Bssess     nowswi.                  ina      06 <    8^0T
   WOQi'Z       QS\,    8 WV W 1.0              •3Uj 'Aueduioo |soiuiS4oji(OJ>f        019CZ0010        Btoyio/to                iiia     06 <    6Z.OT
    SS'886't'   en      81.02/W/SO                     uopasiojd sjjj E|ti]6J|A        1'08^68-SO       SWWQ/W                   iiia     OG<     E80T
    ?•319       en      WOWQKO                            'OQ op)38B AssLuny          too'se^zss        810WOIW                  usa      06 <    Z80T
    ee-en
                m       8WZ/ZO/ZO                                       uozpaA      Ait'ss/snssst'sss   BWKQ/W                   11!9     06 <    frSOT
    92-I.SO'^   in      st-oe/eo/eo                               s-tsiiU nN-W            9Z9S8         9\.WIW!W                 ma       06 <    980T
    WiW         t.n     eioyeo/eo                                  jaiAjjo^io         eeso9-?zoH        QWVW/W                   l!ia     06 <    S80T
   ee't'ze't    sn      WWiWKO                                        •ou[ [axay     ZOO'EE8G698H.S     91.0Z/SO/I.O             iiia     06 <:   680T
   oo'eis'9
                m       WQWWW                        •au| uoj)eitio}r>v SAesoog          8M91           QWVQWO                   U!9      05 <    880T
   OOTOt-       9H      BWWiZO                      33|AJSS JaMSS t|se|d sn|g            KZKl.          awaso/w                  1118     06 <    /80T
    ^•t£        CM      ewwoRo                                   J8SU|BJQ MM           ;'OMeSS936       8K)Z/80/tO               lli3     06 <    Z60T
   ocrsot'      w       BIOVWRQ                  •ouj "03 saieg o|J)os|3 m3            Nhmieos          QWV8WW                   11!8     06 <    T60T
   ee'ece       en      SWWORO                            •03 opl08|3 Assujny         K)0'S869939S      swwmo                    lliS     os <    060T
   80'SSt'
                m       StOZ/60/EO                        'OQ opiosH Assiuny          1.00'SSOOZZQS     sioe/omo                 1118     06 <    fr60T
   SS'6£
                w       BWVOltW                      ou| AudeujoQ A|ddns Q/V            zssmi           QtOWttlO                 lli8     06 <    Z90T
   (o(rs%)                                                       jaSuiejg ftUA         sezsssi'996      9K>B/(H/K)             11PU3      os <    T90T
   00'199       on      ewwwo                     ssiuedtuoQ eouejnsui VN3              zKeeosi.        81.0Z/H/10               11!8     OG<     S60T
   69^69        eei.    SWViWQ                                     sse|9V8V              HOt'EOt        QWISIM                   1118     06 <    960T
   es-eeo'e     ZEt     swwwo                                   ou]oa|3 uoiojj            9SZ9          swmwo                    1118     06 <    860T
   se'e^s't'    zei     swtewo                                  0|J|03|3 UOtOJd           ISG9          eioe/61/to               11!8     OG<     i.GOt
   00-009       OCt     SlOZtOWO                       •0-t-l 'S|e)3n uoi6uj|jng      StZZtOANIHS       swmwo                    1118     06 <    660T
   00-S8        GZt     9WWZRO                                      ejnijy ue|V          91%!.          vwwmo                    lug      06 <    EOTT:
   oo'ooo'e     SZt     swmwo                          •OT1 'sieisn uoi6ui|jng        SHZSOANins        wwwo                     liia     OG<     ZOTT
   00^9         6St     SWHZKO                           •oui 'sjoiaaiiuoo /^M            aug           eioaeeno                 ira      OG<     TOTT
   (oa'890                                                       jaBujejg MM           Et'^09/96        vwwwo                 1IP9J3      OG<     690T
   99-StZ       8Z(.    SIOZR^RO                                 jaBujejo MM           M'898t.U96       swwwo                    !!ia     06 <    90TT
   ww           BU      QWKWO                                    jgGujBjg WAA          soeezeszas       etozrezno                dig      06 <    SOTT
   QO'OOS       831.    91WRWO                 •ou[ 'sajjjepsds Gujqiunid isag          8tG99A9         snK/emo                  sna      OG<     frOTT
   CKT089       as i.   9WVSWW               seoiwg lusmruisu) pue jojjuoo              8ZOSOOS         8KK/CTK)                 m        06 <    OZ.OT
   Sg'frOt      a\      QIOZKZIZO                   •QU[ '-03 Aisneg uosjsj;3r           ZEH'9          nowmo                    !1!9     06 <    80TT
   (?•391       LZ\     swz/ee/zo                       •ou| 'sjci|3BJluo3 MM            tsm            wowmo                    iiia     OG<     ZOTT
   OO'SAS       921.    QWWWW                   •auj 'AuedutOQ |B3|ui3L|3ji{ojy       OEHZEGOOao        swwwo                    llia     06 <    TTTT
   et''96       S31.    ei.oz/t'z/eo                      • OQ 0{J103|3 Aesiuny       tcmeiosess        8WWWO                    nig      06 <    om
    ?'9S&       951.    WWIWKO                            •OQ ojfl38|3 Aosuiny        100-8 t96ZZSS     sioysaw                  n;g      06 <    60TT
   WZ9          2St     WWWRQ                                    js6u|ejo MM           SG18961896       QtOWWO                   lli9     06 <    HTTC
   H'iQZ        zu      QWVSZRO                          •ONI tsd MOissoaad              3019Z          wmwo                     l!i8     os <    £TTT
   oe'ct't      zz\     8 IWIQWO                          'QO o|jp3i3 fesmny          K)0'68W18SSS      81SZ/6Z/K)               HIS      OG<
   oo'sze'si.   ^^[.    QVQVIOKO            au[ AueduiOQ iU9UJd|(ib3 ujoqiiej          dESSOl-Vd        81.02/OE/tO              ilia     06 <

   ww           w       SKK/lO/eO               •ou[ 'Auediuoo isojiuaqg jj0j>]        gsrezoono        BWVOWO                   SUB      06 <
   oo'eoi       oei.    81.02/ZO/GO              •OU| "co sa|es oiflosH m0             N!-l.mEOS        BlQZWtW                  illQ     06 <
   66-OfrC      oei.    sioz/eo/eo            'ou| 'siusisAs uoipsiojd lofl3J!J        99msooi.         ewmmo                    ma       06 <
   oowa'e       OZt.    ewwwo                  ss|6o[ouL|oai Bujpiing usuisis          zoessst'ws       8WWKIW                   1!!9     06 <
   (OO'Ot'S)                                                     jsSuiBjg fAfA         fUOOES896        smz/imo               l!paJ3      06 <:

   (98-ee;)                                    •ou| 'ssojAjas |e|3ueujj uoueo                           9WWWW          pjeo3-Uiy|li8      os <
   oo'os/.'s    6H.     91WKOKO                 •aitj 'Auediuoo |eoilU8L|0 jjoj>j      1.1.9C20010      siomo/eo                 1118     OG<
   oo'o/
                w       8KK/EO/EO                        •ou| 'sjopejiuos MM             8319 tl        nomoKQ                   !119     06 <
   wn'y'\       6H      si-oz/eo/eo                               sjatdd nN-w            Z£t98          MVWRO                    !1!9     OG<
   oo'ooo's     6H.     81-oz/eo/eo      •ou| 'ssoKuag Bu|p]ing p3iejS3lU[ [W            osfm           BWMRO                    iua      06 <
   H-SES        en      stoz/eo/eo                                 J9]AlJO ^tl0       seso9-?zon        StQWOKO                  liia     os <
   9E'9         8H      8tOE?0/CO                                    •ou[ [axay      eOO'€6S£).88HS     8WWORO                   ma       06 <
   OE'061       8H.     81WIWKO                           •oo3]ji33]3^3siur»y         [.oo'efrsssess    8K?0/ZO                  lti9     06 <:

   ss'zss       8H.     BKK/weo                           •00 opioag Assuiny          K)0'99t8^SS       9WWWO                    Ills     06 <
   wen          Ql\,    gioz/fro/eo                       •co otJ)oa{3 AssuiniJ       WffWWBZ'SS        9WWOKQ                   !i!H     06 <
   Zl'8St'      9H.     B1.0Z/90/EO                                     uozpsA        SlO-BKOOAa        WOWORO                   11!Q     06 <
   oo'ose'e
                m       GtOZ/^O/EO                     •0'n 'sieian uoi6u![jng        ^soeoANma
                                                                                       Ni-emeos
                                                                                                        sw/so/zo                 ma       06 <
                                                                                                                                          08 <
   00-96?       sn      StOZ/ZO/EO               •ouj "03 saies opl3s|3 yfss                            sioyso/zo                l!ia
   gs'886'fr    9H      QIOWWO                         uonosiojd ejy e|ui8j|A          69t906-SO        810Z/SO/SO               iiia     OG<
 Case 18-12095-BFK                                         Doc 93             FiledWW
                                                                                   09/28/18      Entered 09/28/18 14:20:49
                                                                                      Contractors Inc.
                                                                                                                                                                                        Desc Main
                                                                            Document      Page    45 of 114
                                                                                   A/P Aging Detail
                                                                                                  As of June 30. 2018


DEBTOR:                             WW Contractors. Inc                                                                                                               CASE NO:                18-12095-BFK


                                                                                                         Exhibit G1
                                                                                              UNPAID BILLS - PRE BANKRUPTCY
                                                                                                    AS OF JUNE 30, 2018


;';;Cbuint-.';';: '-: • Status',;   ^••^yp»i ;.;;;.•:• i';:; :1^'; Date^.; ;'^.1:   •.;;';^^"Nu;n ".::'•;;.{•;;   /.•;;.^:;i-^^;,'.':'^'^Ha"'a;--"l^;.:'''..:''^..i   ;;DUe'bate' , A9t"a;,   ef3p;Z018 Balance'
    1076         > 90               Bill                       12/27/2017                 SS239413.001            Rums ey Elecido Co.                                  01/26/2018       155            , 106.21

    1077         > so               Bill                       12/27/2017                 S5262029.001            Rumsey Electric Co.                                  01/26/2018       155
    1071         > 90               BH!                        12/26/2017                     85470               Air-Nu Fliters                                       01/25/2018       156
    1072         > 80               Bill                       12/26/2017                   3400G4736             Advanced Door Sen/lce                                01/25/2018       166
    1073         > 90               Bill                       12/26/2017                   61556462              Cinlas Corporailon -OS1,100,287                      01/25/2018       156
    1074         > 90               Bill                       12/26/2017                S118613593.001           Rexel Inc.                                           01/26/2018       156
    1068         > 90               Bill                       12/20/2017                     123434              BIua Flash Sewer Sen/lce                             01/19/2018       162
    1065         > 90               B!li                       12/18/2017                   05-894353             Virginia Fife Protection                             01/17/2018       164
    1066         > 90               Bill                       12/18/2017                   05-894355             Virginia Firs Protection                             01/17/2018       164
    1067         > 90               Btl!                       12/18/2017                  9G46296260             WW Gralnger                                          01/17/2018       164
    1064         > 90               B!l!                       12/14/2017                8118674083,001           Rexel [nc.                                           01/13/2018       163
    1015         > 90               Bili                       12/12/2017                17.1526-RG-RF            Rustic Fence Spec!a!!sts he                          12/12/2017      200
    1063         > 90               BID                        12/12/2017                   61848003              Clntas Corporation -{)81,100,287                     01/1-1/2018      170
    1060         > 90               Bill                       12/10/2017                    MJD1203              Dowlin Electric                                      01/09/2018       172
    1057         > 90               Bill                       12/08/2017                  9638941113             WW Grainger                                          01/07/2018       174
    1058         > 90               Bill                       12/08/2017                  9638941105             WW Gratnger                                          01/07/2018       174
    1059         > go               Bill                       12/08/2017                  9638941089             WW Gratnger                                          01/07/2018       174
    1007         > 90               Bill                       12/07/2017                    S.16375              Ben Mafnes A!r Conditioning Inc                      12/07/2017       205
    1008         > 90               Bill                       12/07/2017                    2004919              Control and Instrument Services                      12/07/2017      205
    1033         > 90               Bill                       12/07/2017                28680311 dad 7           Sprint                                               12/27/2017       185
    1056         > 30               Bill                       12/07/2017                  9637713075             WW Gralnger                                          01/06/2016       175
    1055         > 90               B!li                       12/06/2017                 S5239923.001            Rums ey ElecUlo Co,                                  01/05/2018       176
    1050         > 90               B1!1                       12/04/2017                    MJD1201              Dowtln Eiectrlc                                      01/03/2018       178
    1051         > 90               B)!l                       12/04/2017                     85107               Air-Nu Filters                                       01/03/2018       178
    1052         > 90               Bi!l                       12/04/2017                      1007               Dowlln Eleclrlc                                      01/03/2018       178
    1053         > 90               Bli!                       1Z/04/2017                  9633227S98             WW Gralnger                                          01/03/2018       178
    1054         > 90               Bill                       12/04/2017                  5633438529             WW Grainger                                          01/03/201 S      178
    1029         > 90               Bill                       12/03/2017                12798130Sdeo17           AT&T                                                 12/24/2017       188
    1032         > 90               Bill                       12/03/2017               9039381423dec17           AT&T                                                 12/27/2017       185
    1047         > 90               Bill                       12/01/2017                     64064               Jefferson BattefyCo., Inc.                           12/31/2017       181
    1048         > 90               Bill                       12/01/2017                   CT0023153             Kroff Chemtcat Company, [nc.                         12/31/2017       181
    1049         > 90               BH;                        12/01/2017                   05-8S1379             Virginia Fire Protection                             12/31/2017       181
    1043         > 90               Bl|[                       11/30/2017                 140241-60532            CityofTylsr                                          12/30/2017       182
    1044         > 90               Bill                       11/30/2017                  250-0254-00            Clly of She rm an                                    12/30/2017       182
    1045         > 90               Biii                       11/30/2017                      7156               Bsmhard Mechanical Conlractors. Inc.                 12/30/2017       182
    1046         > 90               Bill                       11/30/2017                  96300S6471             WW Grainger                                          12/30/2017       182
    1040         > 90               Bill                       11/29/2017                S118134370.005           Rexel Inc.                                           12/29/2017       183
    1041         > 90               Blii                       11/29/2017                S118134370.006           Rexe] Inc.                                           12/29/2017       183
    1042         > 90               Bill                       11/29/2017                 S5229701.001            Rumsey Eteclrfo Co.                                  12/29/2017       183
    1035         > 90               Bill                       11/28/2017                 S5220105.001            Rums ey Electric Co.                                 12/28/2017       184
    1036         > 90               Bfi!                       11/28/2017                   81539703              Clntas Corporation -061,100,287                      12/28/2017       184
    1037         > 90               Bil!                       11/28/2017                 S5244266,tM1            Rums ey Seciric Co,                                  12/20/2017       184
    1038         > 90               Bill                       11/28/2017                    5755634              Best Plumbing Spedatlles, Inc.                       12/28/2017       184
    1039         > 90               Bill                       11/28/2017                3118355887.002           Rexel Inc.                                           12/28/2017       184
     995         > 90               Credit                     1V27/2017                  CM47818887              Cobum Suppiy Company, Inc.

     996         > 80               Credit                     11/27/2017                  9625880811             WW Gralnger

    1030         > 90               iiil                       11/27/2017                     85008               lUr-Nu Rlers                                         12/27/2017      18S
    1031         > 90               3111                       11/27/2017                     65301               Falrbom Mid Atlantic                                 12/27/2017      185
    1028         > 80               3ill                       11/2S/2017               50-t37^0157dec17          VT&T                                                 12/22/2017      150
    1027         > 90               sill                       11/22/2017                  9623494268             \NW Grainger                                         12/22/2017      190
    989          > so               Sill                       11/21/2017                    1125246              A/C Supply Comapny inc                               11/21/2017      221
    1026         > 90               3111                       11/21/2017                   61535646              Slntas Corporation-061,100,287                       12/21/2017      191
    988          > 90               sill                       11/20/2017                    S-16131              3en Maines Air Conditioning !nc                      11/20/2017      222
    1023         > 90               3!11                       11/17/2017                  9619041347             WW Grafnger                                          12/17/2017      195
    1024         > 90               3111                       11/17/2017                 S5224M4.Q01             Rums ey Electric Co.                                 12/17/2017      135
    1025         > 30               3111                       11/17/2017                   84276146              Sfmptex Grin nsl]                                    12/17/2017      195
    1022         > 90               3111                       11/15/2017                    10237GS              f\& A Glass                                          12/15/2017      197
    1018         > 90               3)!!                       11/14/2017                   61531582              ClfUas Corporallon -061,100,287                      12/14/2017      198
    1019         > 90               3!lt                       11/14/2017                      4556               Ace Alarm & Communications, LLC                      12/14/2017      198
Case 18-12095-BFK                                              Doc 93               Filed 09/28/18     Entered 09/28/18 14:20:49
                                                                                          WW Contractors Inc.
                                                                                                                                                                                                               Desc Main
                                                                                  Document       Page   46 of 114
                                                                                           A/P Aging Detail
                                                                                                           As of June 30, 2018

DEBTOR:                                     WW Contractors, Inc                                                                                                                           CASE NO:                      18-12095-BFK


                                                                                                                   Exhibit G1
                                                                                                      UNPAID BILLS" PRE BANKRUPTCY
                                                                                                           AS OF JUNE 30, 2018


'; ••'• Count; '.   ,•'';' Status'.-;-1,    ^•,' Type;-.;-,.   './•:;'-.:;.'.Date':::..'.'/^' .••;;;.;^"^Nu'P.;;./' ^''-'-     :'i:': •''^•.'•/..."..''^Naiiris'.'/.^''.-'^''.'^ ^.';^.   ' Due'Date;   t'.'-Aglngi-,   ^ 6/30fZOl8'Balance
    1020            > 90                    Bl!i                     11/14/2017                      6752993                 Best Plumbing Specialties, inc.                              12/14K017             198                  27.38

    1021            > 90                    B!il                     11/14/2017                      5753004                 Best Plumbing Specialties, Inc.                              12/14/2017            198                  65.80
    984             > 90                    Bill                     11/13/2017                      S"16093                 Ben Maines Air Conditioning Inc                              11/13/2017            229                 695.38

    1016            > 90                    Blli                     11/13/2017                   S5234398.002               Rymsey Electric Co.                                           12/13/2017           199                 137.40
    1017            > 90                    Bill                     11/13/2017                      5762837                 Best Plumbing Specialties, Inc.                              12/13/2017            199                 168.95
    1014            > 90                    Bll!                     11/12/2017                       84518                  AIr-Nu Riters                                                12/12/2017            200                  84.00

    1013            > 90                    Bill                     11/10/2017                      5752493                 Best Plumbing Specialties, Ino.                              12/10/2017            202                 246.16
    1011            > so                    Bill                     11/09/2017                      5752021                 Best Plumbing Specialties, Inc.                              12/09/2017            203                 614.70
    1012            > 90                    Bill                     11/09/2017                      SX9630                  Scan ax, Inc                                                 12/09/2017            203               9,852.50

    1009            > 90                    Bill                     11/08/2017                        453B                  Ace Atann & Communications, LLC                              12/08/2017            204                 240.00
    1010            > 90                    Bill                     11/03/2017                        4537                  Ace Alarm & Communications, LLC                              12/08/2017            204                 240.00
    1006            > 90                    Bill                     11/07/2017                     61527MO                  Clntas Corporation -061,100,287                              12/07/2017            205                  86.17

    1004            > 90                    Bill                     11/03/2017                  S6216869.001                Rumsey Electric Co.                                          12/03/2017            209                 274.32
    1005            > 90                    Bl!l                     11/03/2017                      5750955                 Bsst Plumbing Specialties, Inc.                              12/03/2017            209                 376,05
    972             > 90                    Bill                     11/02/2017                      3.15372                 Ben hfeines Air Condttionlng !no                             11/02/2017            240                 487.13

    1002            > 90                    BUS                      11/01/2017                       571299                 Corflgo, Inc.                                                12/01/2017            211                 213.15
    1003            > 30                    Bill                     11/01/2017                    CTOOZ2929                 Kroff Chemical Company, Inc.                                 12/01/2017            211               2,750,00

     998            > 90                    Bill                     10/31/2017                        4531                  Ace Alarm & Communications, LLC                              11/30/2017            212               4,483.99

    999             > 90                    Bill                     10/31/2017                     61523495                 Clntas Corporayon -061,100,287                               11/30/2017            212                  86.17
    1000            > 90                    Bill                     10/31/2017                    250025400                 CItyofSherman                                                11/30/2017            212                 120.16
    1001            > 90                    Bil!                     10/31/2017                      6749737                 Best Plumbing Specialties, !nc.                              11/30/2017            212                 159.61

     997            > 90                    Bill                     10/30/2017                   6444770489                 Slemsn Building Technologies                                 11/23/2017            213                 337.58

     994            > 90                    Bill                     10/27/2017                   5444760693                 Slemen Building Technoiogles                                 11/26/2017            216                 626,88

     960            > 80                    Credit                   10/26/2017                       67162                  Duff Company                                                                                           (17.82)
     992            > 90                    Bill                     10/26/2017                       140241                 CityofTyler                                                  11/25/2017            217                 267.61
     993            > 90                   Bill                      10/26/2017                       84367                  Afr-Nu Filters                                               11/26/2017            217                  28.80

     991            > 90                    Bill                     10/24/2017                     61519488                 CSntas Corporation -081,100,287                              11/23/2017            219                  86.12

     95G            >9B                     Credit                   10/23/2017                       127950                 Flsk                                                                                                  (SOO.OO)
     990            > 90                    Bill                     10/23/2017                    3400G0458                 Advanced Door Service                                        11/22/2017            220                 736,08
     987            > 90                   BUS                       10/21/2017                      FF5420                  WW Contractors, inc.                                         11/20/2017            222                  85.00

     954            > 90                   Credit                    101/19/2017                  9588706979                 WW Grainger                                                                                           (397.03)
     985            > 90                   Bill                      10/17/2017                        6404                  Alttemp Insulations                                          11/16/2017            226               3,000.00

     986            > 90                   Bill                      10/17/2017                     61515522                 Clntas Corporation -061,100,287                              11/16/2017            226                  86.12

     981            > 80                   8![1                      10/13/2017                     1041434G                 Tyco Integrated Securityi LLC                                11/12/2017           230                  348.00
     982            > 90                   Bill                      10/13/2017                     10414347                 Tyco Integrated Security, LLC                                11/12/2017            230                 348.00
     983            > 90                   Biil                      10/13/2017                     10414348                 Tyco Integrated Secufity, LLC                                11/12/2017            230                 348.00

     978            > 90                   Bill                      10/10/2017                     6151160S                 CIntas Corporallon -061,100,287                              11/09/2017            233                  8S.12

    979             > 90                   Bill                     10/10/2017                        &4030                  Air-Nu Filters                                               11/09/2017           233                  110.16
    980             > 90                   Bill                     10/10/2017                        84050                  Alr-Nu Filters                                               11/09/2017           233                  60.84

    948             > 90                   Credit                   10/09/2017                     47S28080                  McMaster Carr                                                                                          (19,53)
    949             > so                   Credit                   10/09/2017                      4762S078                 McMaster Carr                                                                                          (34.38)
    977             > 90                   BH!                      10/06/2017                   S5ZD873S.002                Rums ey Electclc Co.                                         11/05/2017           237                 136.40

    975             > 90                   Bl!t                     10/05/2017                   S5210716.001                Rums ey Electric Co.                                         11/04/2017           233                 165.78

    976             > 90                   Bill                     10/05/2017                   S5208735.001                Rums ey Electric Co.                                         11/04/2017           238                 596.70
    973             > 80                   Sill                     W/04/2017                         16B95                  NEW & ASSOCIATES. i-LC                                       11/03/2017           239                6.000.00

    974             > 90                   Bill                     10/04/2017                        83SOO                  Alf-Nu Fliters                                               11/03/2017           239                  42.00

    971             > 90                   Bill                     10/03/2017                         409                   Concord Mechanical inc                                       11/02/2017           240               3,723.80
    968             > 90                   Bill                     10/02/2017                        6243                   Ailtemp Insulations                                          11/01/2017           241               7,344.50

    969             > 90                   Bill                     10/02/2017                        57429                  Nations! Battery Co.                                         11/01/2017           241                 276.00
    970             > 90                   Btll                     10/02/2017                          ec .'                WW Contractors, Inc.                                         11/01/2017           241                 1 DO. 72

    964             > 90                   Bill                     10/01/2017                  S5102492.001                 Rumsey Eteclric Co.                                          10/31/2017           242                 175.60

    965             > 30                   Bll!                     10/01/2017                       100317                  Angelas Enterprises                                          10/31/2017           242               4,541.00

    966             > 90                   BUS                      10/01/2017                    CT0022707                  Kroff Chemical Company, Inc.                                 10/31/2017           242               2,750.00
    967             > 30                   Bill                     10/01/2017                       316432                  WW Contractofs, Inc.                                         10/31/2017           242                 145.00

    941             > 90                   Credit                   09/29/2017                    9570450628                 WW Grainger                                                                                            (30.87)
    963             > 90                   Bill                     09/29/2017                         397                   Concord Mechanical Inc                                       10/29/2017           244               3,960.96
    961             > 90                   Bill                     09/28/2017                   140241-60532                CltyofTyler                                                  10/28/2017           245                 267.61

    962             > 90                   Bill                     09/23/2017                       126175                  Flsk                                                         10/28/2017           245                 900.00

    958             > so                   Bl!t                     09/26/2017                     61603341                  Cintas Cofporatlon -061,100,287                              10/26/2017           247                  86.12




                                                                                                                                                                                                                                 Page 35 of 48
 Case 18-12095-BFK                                          Doc 93          Filed WW
                                                                                  09/28/18     Entered 09/28/18 14:20:49
                                                                                     Contractors Inc.
                                                                                                                                                                                   Desc Main
                                                                          Document      Page     47 of 114
                                                                                  A/P Aging Detail
                                                                                        As of June 30, 2018


DEBTOR:                                  WW Contractors, Inc                                                                                                    CASE NO:                  18-12095-BFK


                                                                                                Exhibit G1
                                                                                    UNPAID BILLS . PRE BANKRUPTCY
                                                                                         AS OF JUNE 30, 2018

                                                                                                                                  " ."^>:-;.;;>i;ri^.;;./..:^
".•: '.Count "'/   .";'', Stattis,;;'    ^.^•Type:';.-..   ^^•Da^:^:y,      'l-';'.'^^^.Hum'^'^;.'^:                          ;NamB/ J"^', '-'^•^;^ -' ^i;;.    : DtteDateL '::Ag!ng.:.   :e/30B018:Balance
     959           >ao                  B!ll                 09/26/2017           6444733906           Slgmen BuMing Technologies                                10/26/2017        247             2,685.76

     957           > 80                  Biil                09/25/2017              16493             NEW&ASSOC!ATES,LLC                                        10/25/2017        2W              1,500.00

     937           > so                 Credit               09/20/2017          S5168245.002          Rumsey Electric Co.                                                                          (210.00)
     955           > 80                  Btl!                09/20/2017           5444712080           S!emen Building Technologfes                              10/20/2017        283               616.00
     953           > 90                  Bill                09/19/2017            61499331            CIntas Corporation ••061,100,287                          10/19/2017        254                86.12

     952           > 90                  Bili                09/18/2017          S2110162.001          Capp, inc.                                                10/18/Z017        255               724.00
     951           > 90                 B!H                  09/14/2017             6733488            Best Plumbing Specialties, Inc.                           10/14/2017        259               394.74
     950           > so                 Sill                 09/12/2017            61495253            Clnias Corporation -061,1 00,287                          10/12/2017        261                8S.12

     945           > 90                 B!il                 09/05/2017            S1491101            Clotas Corporation -081,100,237                           10/05/2017        268                86.12

     946           > 30                  B!!I                09/05/2017            tN-0217822          Miner Ltd. d.b.a. House of Doors                          10/05/2017        268               490.01
     947           > 90                  Bill                09/05/2017              91717             Angelas Enterprises                                       10/05/2017        268             1.658.00

     944           > 90                 Bill                 09/01/2017             IN61030            Total Firs and Safety, inc.                               10/01/2017        272               165.00

     942           > 90                 Bi!t                 08/31/2017          S2100537.001          Capp, Inc.                                                09/30/2017        273               557.73
     943           > 90                 Bill                 08/31/2017           250-0254-00          CKyofSherman                                              09/30/2017        273               120.16

     940           > 90                 Bitl                 OB/29/2017            614GG8S1            Cifitas Corporation -081,100,287                          09/28/2017        273                86.12

     939           > 90                  Bill                08/28/2017              300938            NsxtWave SoiuHons                                         09/27/2017        276               510.00
     938           > so                  Btl!                08/22/2017            61482784            Qntas Corporation -061,100,287                            03/21/2017        282                89.12

     936           > 30                 Bill ;               08/21/2017          32087809,001          Capp, Inc.                                                09/20/2017        283               730,50
     918           > 90                 BUS                  OS/17C017           1NV00000349           DCIM Solutions, LLC                                       08/17/2017        317               382.32
     935           > 90                 Bl!!                 08/1G/2017            61470661            Cintas Corporallon -061,100,287                           09/14/20-17       289                S6.12

     912           > 90                 Credit               08/11/2017          S2049126.003          Cgpp, inc.                                                                                   (213.75)
     933           > 90                 Bill                 08/11/2017            61477200            Clntas Corporation -061,100,287                           09/10/2017        293                89.90
     934           > 90                 Bill                 08/11/2017          S2088540.001          Capp, Inc.                                                09/10/2017        293               382.80

     930           > 90                 Bill                 08/08/2017           1N-0212513           Miner Ltd, d.b.a. House of Doors                          09/07/2017        2S6               191.00
     931           > 90                 Bill                 08/08/2017            340075320           Advanced Door Service                                     09/07/2017        296               983.00
     932           > 90                 Bill                 08/08/2017            61474482            Cfntas Corporalion -061,100,287                           09/07/2017        236                64.39

     928           > 90                 B)!l                 OB/07/2017           64446576S8           Slemsn Building Technologies                              09/OG/2017        297             1,168.60
     929           > 90                 Bill                 08/07/2017           5444653144           Slemen Building Technologies                              09/06/2017        297             2,258.00
     905           > 90                 BiliPmt'CCard        08/01/2017                                Slemen Building Techno!og!ss                                                                 (163.47)
    906            ? SB                 Bill                 OB/01/2017             1091627            A/C Supply Comapny Inc                                    08/01/2017        333             1,100.77
    907            >9U                  Bl!!                 03/01/2017             1105031            A/C Supply Comapny !nc                                    DS/01C017         333                17.28
    908            > 90                 Bi!i                 03/01/2017             1105030            A/C Supply Comapny !nc                                    08/01/2017        333               294.87

     909           > 90                 Bill                 08/01/2017             1088339            A/C Supply Comapny !no                                    08/01/2017        333               137.30
     923           > 90                 Bill                 08/01/2017           AAW610S3             Standard UUiity ConsfrucUon                               08/31/2017        303             2.454.44
     924           > 90                 8!!i                 OS/01/2C17           AAW62479             Standard Utility Constructton                             OB/31/2017        303             7.450.27

    925            > 90                 Sill                 08/01/2017           AAW62465             Standard Utility Constfuctlon                             08/31/2017        303             6.350.52
    926            > 90                 Siil                 Oa/01/2017           AAW63069             Standard Utility ConstrucUon                              03/31/2017        303             5.368.61

    927            > 90                 Bill                 08/01/2017           013S011-IN           Apex Engineering Products Corporation                     08/31/2017        303               167.65
    922            > 90                 Bill                 07/31/2017           250-0254-00          City of Shemian                                           08/30/2017        304               120.16
    899            > 90                 Sill                 07/28/2017              86300             Ameritel Corpofatton                                      07/28/2017        337               151.00

    900            > 90                 Credit               07/28/2017            17-374980           Hanover Uniform Company                                                                      (150.70)
    901            > 90                 Credit               07/28/2017            17-374990           Hanover Uniform Company                                                                      (136.05)
    921            > 30                 Bill                 07/28/2017            38236126            Trana U.S., Inc.                                         08/27/2017         307              387,00
    920            > 80                 Bill                 07/26/2017           62'!0814110          Honeyweil intematlona! !nc                               08/26/2017         303                50.34

    919            > 30                 Bill                 07/20/2017            38202690            Trane U.S., Inc.                                         08/19/2017         315              387.00
    915            > 90                 Bl!l                 07/17/2017            26345033            Tyco [nlegrated Security, LLC                            08/16/2017         318             3,61 S.69

    916            > so                 Blli                 07/17/2017           340073440            Advancsd Door Service                                    08/16/2017         318              406,47
    917            > 90                 Btli                 07/17/2017          S2072500.001          Capp, [no.                                               08/16/2017         318             1,009.85
    913            > 80                 Btl!                 07/13/2017           05-845108            Virginia Fire Protection                                 08/12/2017         322             4,809.50

    914            > so                 Bill                 07/13/2017           398410951            SupplyWorhs                                              08/12/2017         322              272,63

    911            > 90                 Bill                 07/11/2017          32066933,001          Capp, Inc.                                               08/10/2017         324              935.78
    910            > so                 Bill                 07/05/2017              6115              Ailtemp Insulaltons                                      08/04/2017         330             1,361.00

    898            ? so                 Bill                 07/03/2017        8039381423}u!17         AT&T                                                     07/28/2017         337              231.23
    895            > 90                 Bill                 06/30/2017        14924&)95July17         AT&T                                                     07/21/2017        344                 93.67

    904            > 90                 Bill                 06/30/2017          250.0254-00           CltyofSherman                                            07/30/2017        335               120,16
    902            >9B                  Bill                 06/29/2017          6240541365            Honey\veli International (no                             07/29/2017        336               151.04
    903            > 90                 Bill                 06/29/2017          S2047333.001          Capp, Inc.                                               07/29/2017        336               330.13

    896            > 90                 Bill                 06/28/2017              6100              Alllemp insulations                                      07/28/2017        337              1,547,00
    897            > 80                 Bill                 06/28/2017        SRVCE00228051           Entech Sates & Sefvlces, Inc.                            07/28/2017        337              1,650.82




                                                                                                                                                                                                  Page 3S of 48
  Case 18-12095-BFK                                       Doc 93            FiledWW
                                                                                  09/28/18     Entered 09/28/18 14:20:49
                                                                                    Contractors Inc.
                                                                                                                                                          Desc Main
                                                                          Document      Page    48 of 114
                                                                                 A/P Aging Detail
                                                                                         As of June 30, 2018


DEBTOR:                                 WW Contractors, Inc                                                                               CASE NO:              18-12095-BFK


                                                                                                  Exhibit G1
                                                                                     UNPAID BILLS - PRE BANKRUPTCY
                                                                                                  AS OF JUNE 30, 2018


'.'•''.; Count';',;   ".^:'Status;:.-   •^l;l;'type;^,- ^.i "^ Date;;.^;'^.   ;^.:S^^Nu{rt;:^; .^^;;: .^ ^•:^'-W:. •^:Haw^"\i^^-itl       DueDate: >: Agings   ; 6(30/2018 Balance

      894             > 90              Bill                 06/26/2017           85696603ju!y17       Verlzon                            07/21/2017     344               117.02

      879             > 90              Bill                 OG/21/2017             FR'85420           United Security Services           06/21/2017     374               220.18

      889             > 90              81)1                 06/16/2017          410385303July17       Verlzon                            07/15/2017     350               199,81
      890             > 90              B11!                 06/16/2017           410685853ju[17       Verizon                            07/16/2017     350               117.35

      891             > 30              Bill                 06/16/2017             17-339830          Hanover Uniform Company            07/16/2017     349               150.70

      892             > 39              B!l!                 06/16/2017             17-339820          Hanover Unf form Company           07/16/2017     349               136.05

      893             > 90              Bill                 06/16/2017            0104285-IN          Naughlon Energy Corp               07/16/2017     349             5.33G.07

      876             > 90              Bill                 06/15/2017               72690            Unfled Security Ssrvtces           OS/16/2017     380               540.00

      888             > 90              Sill                 06/09/2017          S002600614.001        Shepherd Electric Company          07/09/2017     356                38.54

      887             > 90              Bill                 06/08/2017             340071008          Advamed Door Service               07/08/2017     357               429.96

      886             > 90              Bill                 OS/05/2017            4475139-01          Facility Solutions Group           07/05/2017     3SO               298.58

      885             > 90              Bin                  06/01/2017               12228            inquiries, Inc.                    07/01/2017     364                30.00

      883             > 90              Bll!                 05/31/2017            250-OZ54-00         CilyofSherman                      06/30/2017     365               120.16

      884             > 90              Bili                 05/31/2017             5029169-IN         G&M Electric Sales Co., Inc.       OG/30/2Q17     365             1,031.00

      882             > 90              Bill                 05/26/2017            6240186698          Honeywel! internaiiona! Inc        06/25/2017     370                38,51

      881             > 90              Biil                 05/25/2017            4475139-00          Facility Solutions Group           06/24/2017     371               610.88

      880             > 90              Bill                 05/23/2017           S2046771.001         Capp, Inc.                         06/22/2017     373               118.00
      874             > 90              B11!                 05/18/2017            5-726-57121         Federal Express                    06/03/2017     392                45.15

      877             > so              Bill                 05/19/2017            5-762-48560         Federal Express                    06/18/2017     377                65.48

      878             > 80              Bill                 05/19/2017            5-702.98535         Fedaral Express                    06/18/2017     377                42.39

      875             > 80              Bill                 05/11/2017              P143503           Johnstone of New Ofteans           06/10/2017     385               151.33
      868             > 90              Bill                 05/04/2017               71869            United Security Services           05/04/2017     422               487.13

      864             > 90              Bill                 05/02/2017             FR-83731           United Security Services           05/02/2017     424               463.80
      873             > 90              Bill                 05/02/2017             5029'tSe-IN        G&M Electric Sales Co., Inc.       06/01/2017     394               421.00

      872             > 90              Sill                 04/25/2017              114553            Mr. Raoter Plumbing                05/25/2017     401
      859             > 90              Bill                 04/22/2017               71556            United Secufily Senflces           04/22/2017     434
      871             > 90              Bill                 04/22/2017           4295784apr17         Cavalier Business Communications   05/22/2017     404
      870             > 90              Bill                 04/21/2017              604269            DeIVa! Equipment                   05/21/2017     405
      855             > 90              Credit               04/14/2017            941G5S6331          WW Gra!nger

      856             > 30              Credit               04/14/2017          S021652987.014        Friedman Elsctric Supply

      869             > 90              Bill                 04/12/2017             17-288281          Hanover Uniform Company            05/12/2017     414
      865             > 90              Blli                 04/04/2017            5028664-IN          G&M Oectrlc Safes Co., ho.         05/04/2017     422
      866             > 90              B!]j                 04/04/2017            260-02S4-00         CltyofjSherman                     05/04/2017     422
      867             > go              Bill                 04/04/2017             17-288080          Hanover Uniform Company            OS/O'i/2017    422
      863             > 90              Blli                 04/01/2017              104026            CHOLIN CORP,, INC.                 OS/01/2017     425
      851             > 90              Bi!l                 03/31/2017             701702852          Mercer Group International         03/31/2017     456
      861             > 3D              B!!i                 03/31/2017            250-0254-00         QtyofSherman                       04/30/2017     426
      862             >9B               Bli!                 03/31/2017             17-288280          Hanover Uniform Company            04/30/2017     426
      849             > 90              Credit               03/2S/2017           S5077205.002         Rumsey Electric Co.

      860             > 90              Blli                 03/27/2017             98935530           Mine Safely Appliances Company     04/26/2017     430
      848             > 90              Credit               03/Z4/2017          S027390437.002        Friedman Bectric Supply
      844             > go              Bill                03/22/2017                70212            United Security Services           03/22/2017     465
      858             > 90              Bill                03/22/2017            42957&4mar17         Cavalier Business Communicattons   04/21/2017     435
      843             > 90              Credit              03/21/2017              19776525           McMaster Carr

      857             > 90              Bill                03/20/2017               844331            C.O.P.S. Monitoring                04/19/2017     437
      841             > 90              Credit              03/17/2017           S021232807.003        Frisctman Eiectric Supply
      854             > 90              Bill                03/13/2017                31317            CHARLES D. LVNN                    04/12/2017     4^4
      853             > 90              Bill                03/09/2017                3560             Green's Lawn Care                  04/08/2017     448
      852             > 90              Bill                03/07/2017                74304            MITCHELL'S LOCK & SAFE COJNC       04/06/2017     450
      826             > 90              8!il                03/01/2017               173272            Lets os Company                    03/01/2017     486
      850             > 90              siil                02/28/2017           250-0264-002/28       CityofShemian                      03/30/2017     457
      846             > 90              Bill                02/22/2017                55790            National Battery Co.               03/24/2017     4G3
      847             > 90              Bill                02/22/2017              05-828442          Virginia Fire Protection           03/24/2017     463
      845             > 90              Bill                02/21/2017           S002548188.001        Shepherd Electric Company          03/23/2017     464
      842             > 30              Blli                02/17/2017              02/17/17           Veronica Claruffo]!                03/19/2017     4GS
      840             > 90              Bill                02/09/2017             904744792           Stanley Access Technologies        03/11/2017     476
      839             > 90              Btl!                02/08/2017               1033885           DVL Group, Inc.                    03/10/2017     477
      820             > 90              Credit              02/07/2017         713A19S028515febl7      AT&T
      830             > 90              Bill                02/07/2017                20717            JohnDetVecchlo                     03/09/2017     478
  Case 18-12095-BFK                                        Doc 93            FiledWW
                                                                                  09/28/18      Entered 09/28/18 14:20:49
                                                                                     Contractors Inc.
                                                                                                                                                                                      Desc Main
                                                                           Document      Page    49 of 114
                                                                                  A/P Aging Detail
                                                                                            As of June 30, 2018


DEBTOR:                                   WW Contractors. Inc                                                                                                      CASE NO:                  18-12095-BFK


                                                                                                    Exhibit G1
                                                                                        UNPAID BILLS " PRE BANKRUPTCY
                                                                                              AS OF JUNE 30, 2018


>:',.;.Cd u nt;''-';   ;;..'Status: :;•   .'^^Re^.-:'.. •:.;;^':Datei/.;'-^   '^L'^'II:.yNum;;,^"'.; '•.:.   '^^',.n;.",\:,'/:.J.!:''Name^;.7-':'t-";^'l;^:^ ;'^   Due Dale     <;,SgtpBVi ' S/30f2018flB!ance
       831             > 90               Bill               02/07/2017                  -13019              Design Security Controls                              03/09/2017         478              198.00

       832             > 90               Bill               02/07/2017                  12739               Design Securliy Controls                              03/09/2017         478
       833             > 30               Bill               02/07/2017                  12635               Design Security Controls                              03/09/2017         478
       834             > 90               Bill               02/07/2017                  20717               Matthew Leonard                                       03/09/2017         478
      835              > 90               Bill               02/07/2017                  20717               Mike Marley                                           03/09/2017         478
      836              > 90               Bill               02/07/2017                020717A               John Del Vecchlo                                      03/09/2017         478
      837              > 90               Bl!i               02/07/2017                  20717               Robert DeAntonto                                      03/09/2017         478
      838              > 90               Bl!l               02707/2017                  20717               Chariss King                                          03/03/2017         478
      829              > 90               Bill               02/OS/2017                  3526                Green's Lawn Care                                     03/08/2017         479
      828              > 90               Blli               02/03/2017                  5790                H.B. McCtura Company                                  03/05/2017         482
      827              > so               Bill               02/01/2017                 1703326              Trane U.S.. Inc.                                      03/03/2017         484
      818              > 90               Btl!               01/31/2017                   4978               YOU GROW WE MOW                                       01/31/2017         615
       815             > 90               Bil!               01/30/2017                  13017               Dennis Canlas                                         01/30K017          516
       824             > 30               Bill               01/27/2017                  12717               Paul Whitman                                          02/26/2017         489
       825             > so               Bill               01/27/2017                  12717               Jason Earl                                            02/26/2017         489
       810             > so               Credit             01/13/2017             S1924729.003             Capp, inc.
       823             > so               Bill               01/13/2017               340060746              Advanced Door Service                                 02/12/2017         603
       821             > 90               Bill               01/11/2017                 01/11/17             DUDLEY BURRUSS                                        02/10/2017         505
       822             > 90               Bill               01/11/2017               5028115-IN             G&M Electflc Sales Co., Inc.                          02/10/2017         sos
       819             > 90               Bill               01/05/2017               3WOS1130               Advanced DoorSen/lce                                  02/04/2017         511
      808              > 90               Bill               01/01C017                   4831                YOU GROW WE MOW                                       01/01/2017         545
      809              > 90               Credit             01/01/2017                  7532                Torblk Safe & Loch, !nc,

      816              > 90               Bill               01/01/2017                 103991               CHOLIN CORP., INC.                                    01/31/2017         616
       817             > 90               Bill               01/01/2017                99008114              Interstate Batteries of Arkansas                      01/31/2017         515
       805             > 90               Credit             12/29/201 S                 S0981               All Electric Supply Inc.

       814             > 90               Bill               12/28/2016               16-123590              Hanover Uniform Company                               01/27/2017         519
       813             > 90               Bfl!               12/27/2016               5027883-1N             G&M Electric Sales Co,, inc.                          01/26/2017         520
      812              >9B                Bili               12/16/2016                  13518               Dsstgn Security Controls                              01/15/2017         S31
      811              > 90               Bll!               12/15/2016              00568388LN              Pitney Bowes                                          01/14/2017         532
      804              > 90               Credit             12/13/2016               4178619-00             Fad! iiy Solutions Group

      802              > 90               BiHPmt-CCard       12/02/2016                                      Arkansas Filter, Inc.

      807              > 90               Bill               12/02/2016                  7818                TTiermal Gas Systems                                  01/01/2017         64S
      801              > 30               Credit             12/01/2016                 758169               Houston Bearing & Supply Co., Inc.

      806              > 90               Bill               11/30/2016               CM-15748               Air Fiiters, inc.                                     12/30/2016         547
      800              > 90               Credit             11/29/2016             S4978837.002             Rumsey Electric Co.

      797              >w                 Bill Pmt-Check     11/07/2016                  ACH                 Clntas Coipofatlon -061,100,287

      803              > 90               Bill               11/04/2016                27415947              Tyco integrated Security, LLC                         12/04/2016         673
      795              > 90               Credit             11/02/2016              9269455367              WW Gralnger
      796              > 90               Credit             1V02/2016               9269455375              WW Gralnger

      799              > 90               Bill               10/26/2016               340056859              Advanced DoorSen/ice                                  11/25/2016         582
      793              > so               Credit             10/24/2016              9005461826              Summit Electric Supply
      792              > so               Credit             10/12/2016                 75B869               Houston Searing & Supply Co,, inc.

      798              > 90               Bill               10/11/2016                IN100869              Tala Engineering Systems, Inc.                        11/10/2016         697
      791              ? 80               3!!1               10/06/2016                 C12737               Stephens & Company A/C & HeaUng LLC                   10/06/2016         632
      790              > 90               Credit             10/05/2016                7242071               Punls Industries, LTD.

      794              > 30               Bill               10/03/2016                  97380               BUD GRIFFIN CUSTOMER SUPPORT                          11/02/2016         605
      786              > 90               Credit             09/16/2016              9227550952              WW Gralnger
      789              > 90               Bill               09/02/2016                  12090               Design Security Controls                              10/02/2016         636
      783              > 90               Credit             09/01/2016            S026344448.002            Frtedman Electrtc Supply
      784              > 90               Credit             09/01/2016            3026596007,004            Friedman Electric Supply
      788              > 90               Bllt               08/23/2016                   108                David's Roofing and Remodeling                        09/22/2016         64fi
      787              '90                311i               03/18/2016                1608.16               Carson K.C. Mok, Consulitng Engineer, P.A             09/17/2016         651
      785              > SB               31!!               08/12/2016                 96127                BUD GR)FF)N CUSTOMER SUPPORT                          09/11/2016         657
      781              > 90               ;red!t             08/05/2016                 756111               Houston Bearing & Supply Co., Inc.

      780              > 90               ;red!t             08/03/2016               CM185844               Ferguson Enterpflses, inc.

      779              > 30               Credit             08/01/2016              9-t 83083865            WW Gratngsr
      782              > 90               Sill               07/18/2016                  71816               HARRY KIRBY                                           08/17/2016         G82
      777              > 90               Credit             07/12/2016                  62293               Arkansas Filter, I no.

      778              > 90               B1H                07/01/2016                  70116               James Wood Jr.                                        07/31/2016         699
      Case 18-12095-BFK
8f.|06£s5ed                                         Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                                       Desc Main
                                                                  Document      Page 50 of 114
   (60'00                                                                        j3Bii|BJ9 MM          ^ZO^^OSSS6      sioz/ei./eo                 i!PE"0              06 <      '9\L
   (fS'SOf)                                                      ssnddns S sped QVAH auajl              IWfKS          SWZ/S2/EO                   11P9-10             06 <      QZL
   (M''9SO'0                                                                    jueo j&isef^pM          Z^t'BBZSS      SKE/SZ/eO                   i!pai0              os <      61L
   (so'szO                                                          •ouj 'sesiJdj3]U3 uosnBLiej        sezssoTO        swwvw                       HpajO               os <      •\.ZL

   (6S798)                                                                              UOZJJSA      S^en6ASS280lt'    sios/oe/K)                  11P9JO              06 <      ZZL
   (oo'ses)                                                                 •djoojeijytuiam               16LZ\.       WZIBilSO        lioaqO-liudlilQ                 06 <      VCL
                                                                                                                                                   IIPEUO              06 <
   [92'G6>                                                          sues|JO M9N 1° suoisuqop            0809ZOI.       StOCTSZ/SO                                                m.
   [z9'soe)                                                                      jeBuieJQ MM           J'SOt68^9;6     StOZ/W/90                   1lf>aJ3             OG<       <SiL
   (OO'SES)
   [we^
                                                                     ^[ddns OJJ10313 tieuipapj

                                                                •ou| 'ss;i|e|38ds Suiquinid )ssg        889ZASS
                                                                                                                       910Z/SO/90
                                                                                                                       siozmreo
                                                                                                                                       pjsoo-itujjra

                                                                                                                                                   Ups"0
                                                                                                                                                                       06 <
                                                                                                                                                                       06 <
                                                                                                                                                                                 m
                                                                                                                                                                                 LZL
   (ss'aee)                                                                          'suj 'ddeQ       eoo'wegtm        sioe/szrao                  HP^O                06 <      8ZZ.
   (t'8-ZSt)                                                              •os oifloaH Aesuny          EOO^Gt'B^St'S    swwmo                       Vpa'3               06 <      GtL
   [KTZt-Z)                                                                      jsSujejo MM           iwmoss          Qiowmo                      Ups^O               06 <      OE^
   (ss-ooe)                                                                      j85u|8jQ MM           29Z61.E6088     SIOZHC//0                   Hpa^O               C6<       TEZ.
   (93'OOZ)                                                                      jgSujejg MM           19US660S6       QtQWOiOO                    t|p3J3              06 <      ZZL
   torn 0                                                                 •OQ o|Jp3|3 Aasiuny         EOO-A6S8t9t'S    wwwo                        w^o                 C6<       £E^
   Ui'w^)                                                                        jaSujBJQ MM           69t'Z9B6eS6     SWWIIW                      llpi"0              DG<       {?£/.

   (oe'09)                                                                'OQ appaB fesujny           ;00'68t£t^S      QWWWQ                       tlpsJO              06 <      SKL
   toe's 0                                                           /jddng op}33B ueiupe|jj         eoo'somoems       BIWRWO                      llpa^O              06 <      9£^
   kfr-esi)                                                                      J96UJBJ9 MM           Zt'OCSEOSSG     SIOWWGQ                     llps^O              06 <       L't.L

   UVSL)                                                                         jgBujeJQ MM           8ZSS9E0986      sw/sow                      »|p3J3              06 <      8£^
   EKT6Z)                                               NW31NIW1 S3UniOVd AlddnS Qht                   SS69;6(m6       SWIW!W                      HpSJQ               06 <      6£^
   tee'89)                                                                    suiejuiM-ui^sijs           S-Z9S9        sios/eem                    t!P&J3              06 <      OfZ
   (oo'gzs)                                                                          •ou| 'ddeo       ZOO'9Z^9^S       QWWWt                       tiPS^O              06 <      WL
                                                                                                                                                                       06 <
   (09'6)                                                           •ou] 'sBSptiisiug uosnSjaj         wset-mo         sios/8?m                    Ups-iQ
                                                                                                                                                                                 m.
   teo'eoO                                                                       jgBuiaig MM           8Z;/8tS886      si.oe/zo/1-t                tlpaJO              06 <      £t^
   [91.'OZ)                                                     •ouj 'seiijepsds Buiqmnu isgg           9ZS8S91.       S1.0Z/91./H                 IIPSJQ              os <      ^L
   t86'?)                                                       •ouj 'ssmeioads eujquinyissg            8ZOS099        SWZRORl                     ilpeJO              os <      QVi.
   [se'es)                                                      •ou) 'ssnjepsds Gu]qiun[d issg          8ZOS09S        SK?0/31                     i!P3JO              os <      St^
   [0£'9t)                                                                      JJBQ JSiSe^OM           t'K£91.St'     31.02/60/Zt                 !!psJQ              06 <       LVL
   (s/.'ae)                                                                      jaBuiejg M/A          ootsimw         SWVHRl                      11P8JO              os <      ?L
   [Oi'QC}                                                                       jaBuiRig MM          9iiSi69?         QWZIWU                      HpaiQ               OG<       ^L
   [E8'£6}                                                      ssfiddns '8 spej OVAH SUEJI             9WGZS          SWWWl                       Itpa-iQ             OG<       os/.
   (89'H^S)                                                 •ou| "03 Aiddng 'S Euueag uo]snoH            S€SOt'A       QWWWQ                       HPSJO               OG<       TSZ
   (OS-3)                                                               'ai~l 'ss|Jlsnpu| siAjnd        Z900ZS9        stoz/se/to                  IJPSJO              06 <      Z^L
   [?•82)                                                                            •ou| [axsy      C00^89809ZHS      9WWWQ                       IJps-iO             06 <      £S^
   fee'est-)                                                              •ou|'s|eiusyusquns          zoo-www          9WWQRO                      l!pEU3              OG<       Ki.

   (St'-GS)                                                                      j38ui8J9 MM           OZE9ZOtZ06      3WWORO                      )IP3JQ              06 <      ss^
   (01.'SS)                                                                          •OUj 'ddBQ       SOO'?ZIZ91.S     9WWWO                       }!P^3               08 <      9Si.
   (SS-ttC)                                                                          •3U) 'ddBQ       ZOO'S/ZSSZl.S    QWWWQ                       ilpaJQ              08 <      L^L
   (wsz}                                                            •3Uj 'sssijdjaiua uosnSjaj         90MW3           9WS/9Z/SO                   l!p9J3              os <      8S^
    oo'sze ei.8 ei.oe/eofro                             iaoddns aairoisno Nlddias ana                     9?t'6        gw/co/eo                         iua            06 <      L9L
   (es'eg?)                                                                      jsBuieJQ MM           fS8660W)6       stoz/to/eo                  HpEUQ               06 <      WL
   (ee'sie)                                                                      JsBujeJQ MM           WViWiWS         stoz/so/eo                  lipsJO              06 <      09i
   (simz)                                                               •Ol-l 'samsnpui si/unj          WL\.QL         810S/OWO                    l!psj3              06 <:      T9Z.
   (89'S)                                                               •an 'sepisnpq s[/und            VSSSiQi         910Z/S?0                    IIP3J3             06 <:     Z9L
   (9^' W)                                                                       jsSuiejg MM           iwsnw            gwEi/ez/EO                  ilpa^O             06 <      £9^
    36'KK £6/ WZIQVW                                                         |]0jjnje|o esjuojsA        siozese         ai-oe/ez/eo                     llia           ?<        89L
   (ocros)                                                •co A|ddns 0!433|3 pue uo|ieje6pjay           ss9ree9        9KE/6S/£0                   11P3JQ              os <      59^
   (BfSS)                                                               'Oil 'ss|Jisnpu| s|/ury         LBWWi          atozreyeo                   lipsjo              OG<       WL
   fao'ozo'sO                                                      -ou) 'BuyoojdjsieAft pituejAj         69G3V         9KK/ie/eo       [eujrtor jejsusg                OG<       99L
   (ss'sO                                                          J81U8Q Ajsneg HV a)eisJ91U[          ZGZt'0066      9WW?Q                       11P3J3              06 <      69^
   (CO'?£)                                                                  •dioojanuujiapl            01-SOSl.SSt     9WWWO                        l!ps«3             06 <      QLL
   ((?•6)                                                               •an 'sajflsnpuj si/ufy          9S9MI.Z         swznc/so                    )IP^3              06 <      \LL
    OO'OS GZZ SWWO/iO                                                        suinQO^ 'o U|AS>J          SlOStOS         91.03/10/90                     11!S            06 <     su
   (sfese)                                                                       jaGuiejg MM           /09SZOLEQ6      WWIW130                      Hpa-iQ              08 <     ZLL
   (l'8'O)                                                              'Oil 'se|Jisnpu| siAjnj         61060U          910S/K)/90                  11P9JO              os <     ZLL
    oo-ot' \ZL Qiomwo                                                             ejHiy semoia            91609         9^03/60/80                      sna             06 <     QLt.
   (88'09)                                                •OQ A[ddns OPIOSB pue uonejsG^ay              ZQULW           9tOZ/ZZ/90                  IIP^O               OG<      FU
   a3uejea:8»:o?rocra~;| ^GtljBv-' ^e'tfona.'-   ,^/^';' /,;^.^.^;;?UKN^;^ -;"-'1-;; Y-'y',        ''•^'.f^:ww^-'^^   —^Wa-^':^       •"•': ^;Bd<i'.;'-;':;;   .•^Bnieisi'/c   .t??"^031/^



                                                                      smz'OCSNflMOSV
                                                                 Aoidny»Nva aad • snia aivdNn
                                                                                       1.91iq!4X3

     ^ua-seo^-s^              :ON asvo                                                                                          OU] 'SJOpEJtUOQ MM                         :yoi93a

                                                                                    Sl.OZ'OESunnosv
                                                                                 IjB^aa 6m6v d/V
                                                                                •OLI] SJO}OBJ^UOO MM
  Case 18-12095-BFK                               Doc 93            FiledWW
                                                                          09/28/18
                                                                            ContractorsEntered
                                                                                       Inc.     09/28/18 14:20:49                                                        Desc Main
                                                                  Document      Page
                                                                         A/P Aging      51 of 114
                                                                                   Detail
                                                                                        As of June 30, 2018


DEBTOR:                         WW Contractors, Inc                                                                                                    CASE NO:               18-12095-BFK


                                                                                                 Exhibit G1
                                                                                  UNPAID BILLS" PRE BANKRUPTCY
                                                                                        AS OF JUNE 30, 2018


',^:\Goitnt.>',;   .^;Status^ .^!{.-Typp>;-';; ^\ ';.:•; Date^.^';^   ^•; /•'i'.;:J^-[Nui'ni' ,.i. ;^';".    ;:'^, ^^^'^^•!.'.^?lmel^^'l^^l;;^.' ^'^   ; Dua.Date   /Aging-   l;ef30UOia:Ba1anCB
     715           > 90         Credit               03/13/2016                9665652922                   WW Gratnger                                                                   (43,08)
     716           > 90         Credit               03/13/2015                9G65652930                   WW Grainger                                                                    (9.27)
     717           > 30         Credit               03/13/2015                9624430S38                   WW Gralnger                                                                  (139.96)
     718           > 90         Credit               03/13/2015                8674')42919                  WW Gralnger                                                                   (89.19)
     713           > 90         Credit               03/12/2015                9655052067                   WW Gralnger                                                                   (28.45)
     711           > 90         Credit               03/04/2015                OOS2031.CM                   Piltrins Manufacluring Company                                               (110.84)
     712           > 90         Credit               03/04/2016                9681459823                   WW Gfalnger                                                                  (258,65)
     710           > so         Credit               03/03/2015                91357308-t3                  WW Grainger                                                                   (20.97)
     709           > 80         Credit               03/01/2015                30113G2149                   WW Grainger                                                                  (315.88)
     708           > go         Credit               02/17/2016                96S8574461                   WW Gralnger                                                                   (18.12)
     706           > 90         Credit               02/12/2015             S020792858.003                  Friedman Electric Supply                                                     (144.50)
     707           > 90         Credit               02/12/2015                     14802                   Automatic Protection Systems                                                 (174.75)
     705           > 90         Credit               02/11/2015                     10265                   All Electric Supply Inc.                                                     (599.50)
     701           > 90         Credit               02/04/2015               S4492261.005                  Rums ey Electric Co.                                                         (103.86)
     702           > 30         Credit               02/EM/2016               84165532,002                  RumseyEteclricCo.                                                             (78.67}
     703           > 30         Credit               02/04/2015                9G47531140                   WW Gralnger                                                                   (26.24)
     704           > so         Credit               02/04/2015                9647581132                   WW Gralngsr                                                                  (480.60)
     700           > 90         Credit               01/30/2015                 325830735                   J.A. Sexauer                                                                 (656.30)
     699           > 90         Credit               01/29/2015                9652900862                   WW Gralnger                                                                   (69.64)
     698           > 90         Credit               01/13/2015                   6214436                   RefrigeraUon and EleclfiC Supply Co.                                         (827.77)
     697           > 90         Credit               01/09/2015                 327192730                   J.A.Sexauer                                                                  (138.22)
     695           > so         Credit               01/07/2015                9610253510                   WW Gralnger                                                                  (142.65)
     696           > 90         Credit               01/07/2016               S3028770.006                  Johnsione Supply                                                             (167.60)
     694           > 30         Credit               01/OS/2015                   1060926                   Darragh Company                                                              (528.67)
     693           > 90         Credit               01/02/2015                   6233624                   Refrtgeratlon and BectriC Supply Co.                                         (570.51)
     692           > 30         Credit               01/01/2015                 RTN100138                   Mark's Pfumblng Parts                                                          (S.75)
     691           > 90         BUIPmt-CCard         12/23/2014                                             Rumsey Electric Co.                                                          (129.85)
     690           > 90         Credit               12/1S/2014                 9606905361                  WW Grainger                                                                  (183.24)
     689           > 90         Credit               12/09/2014                 9602652431                  WW Gralnger                                                                   (11.31)
     685           > 90         Credit               12/05/2014                 9473590249                  WW Gralnger                                                                   (35.60)
     686           > 90         Credit               12/05/2014                 9548127936                  WW Grainger                                                                   (29.69)
     687           > 90         Credit               12/05/2014                 9483034048                  WW Gralnger                                                                   (11.52)
     688           > 90         Credit               12/05/2014                9463449505                   WW Grainger                                                                   (32.79)
     684           > SB         Credit               11/28/2014                 3S74827-00                  Facility Solutions Group                                                      (80.80)
     681           > 90         Credit               11/26/2014                9603127367                   WW Gralnger                                                                  (101.75)
     682           > 90         Credit               11/26/2014                9603382913                   WW Grainger                                                                  (236.62)
     683           > 90         Credit               11/2G/2014               S1617778.002                  Capp,Inc.                                                                    (321.99)
     679           > 90         Credit               11/21/2014                95978S3010                   WW Gralnger                                                                   (20.15)
     680           >9B          Credit               11/21/2014                S597853002                   WW Grainger                                                                   (40.74)
     678           > 90         Credit               11/20/2014                    726250                   Hanover Untform Company                                                      (598.80)
     676           > 90         Credit               11/06/2014                      268                    Mac's Restoration LLC                                                        (510.1 S)
     677           > 90         Credit               11/06/2014               S4449191.002                  Rumsey Electric Co.                                                          (243.18)
     675           > 90         Credit               10/21/2014               S4488714.0D2                  Rumsey Electdo Co.                                                           (309.94)
     674           > 90         Credit               10/17/2014                   5261562                   Trane HVAC Parts & Supptlss                                                (1,934.59)
     673           > 90         Credit               10/16/2014               S4422222.004                  Rumsey Electric Co.                                                          (301.32)
     672           > 90         Credit               10/15/2014                 05-644435                   Vlrgtnta Fire Protecyon                                                       (54.00)
     669           > 90         Credit               10/08/2014                9473590223                   WW Gralnger                                                                   (41,45)
     670           > 90         Credit               10/08/2014                9473590231                   WW Gralnger                                                                   (35.60)
     671           > 90         Credit               10/08/2014                5557779700                   WW Gralnasr                                                                   (22.40)
     668           > 90         Credit               10/03/2014                S513860032                   WW Gralnger                                                                   (41.97)
     666           > 90         Credit               10/01/2014                S519327499                   WW Gralnger                                                                  (108.90)
     667           > 90         Credit               10/01/2014                S520725053                   WW Gralnger                                                                  (101.66)
     664           > 90         Credit               09/29/2014                    0473-6                   Sherwln Williams Company                                                     (206,65)
     665           > 90         Credit               09/29/2014                 CM019795                    Ferguson Enterprises, (no.                                                    (70.39)
     663           > so         Credit               09/09/2014                1634694.C-1                  TriD!mFi!terCofp.                                                            (337.73)
     662           > 80         Credit               09/03/2014                   260876                    Ali Electric Supply the.                                                      (74.60}
     660           > 90         Credit               08/29/2014                LA61-479840                  MoUon Indus iries                                                            (155.18)
     661           > 90         Credit               08/29/2014                LA61-479841                  Motion indusiries                                                            (113.04)
     659           > 90         Credii               08/27/2014                0047333-CM                   Rltrine Manufacturing Company                                                  (7.23)




                                                                                                                                                                                       Page 40 of 48
Case 18-12095-BFK                                   Doc 93              Filed WW
                                                                              09/28/18      Entered 09/28/18 14:20:49
                                                                                 Contractors Inc.
                                                                                                                                                                                 Desc Main
                                                                      Document       Page    52 of 114
                                                                              A/P Aging Detail
                                                                                          As of June 30, 2018


DEBTOR:                          WW Contractors, Inc                                                                                                          CASE NO:                  18-12095-BFK


                                                                                                  Exhibit G1
                                                                                      UNPAID BILLS - PRE BANKRUPTCY
                                                                                            AS OF JUNE 30, 2018


'.^CoUrtt/^   ;,:;'S(atda*,;!,   ;.A:Ty^B^*^      •'-'.;•'.--Date--,-•,";;;   ^^•'•' i';'Num^;'-.:-:;;   /^^.'^;''"';^'"^'^:Nam8'->''''i;!''.'^^;-'S;;'^''^   DLieDate,i ..iAfi1"3'\   ;,6;30/2(H8Baiiin<;e
   658        > 90               Credit                 08/25/2014                   953095S4            McMasier Carr                                                                              (30.60}
   657        > 90               Credit                 08/20/2014                S108465810.001         Rexel inc.                                                                                 (S0.08)
   656        > 90               Credit                 08/19/2014                    702770             Houston Bearing & Supply Co.i [no,                                                         (16.42)
   655        >ao                Credit                 08/07/2014                 34455918,007          Rumsey Electric Co.                                                                        (51.30)
   653        > 90               Credit                 07/31/2014                S019267239.003         Friedman Electric Supply                                                                   (35.85)
   654        > 80               Credit                 07/31/2014                S018346973.002         Frtedman Electric Supply                                                                   (11.72)
   651        > 90               Credit                 07/30/2014                    249526             All Electric Supply Inc.                                                                  (183,86)
   652        > 90               Credit                 07/30/2014                S108273068.002         Rexel Inc.                                                                                 (15.97)
   650        > 90               Credit                 07/25/2014                 S2962855.002          Johnstone Supply                                                                          (116.15)
   649        > 90               Credit                 07/18/2014                  94871473S8           WW Gralnger                                                                                (17.61)
   647        > 90               Credit                 07/17/2014                 S1518450.001          Capp, Inc.                                                                                 (87.12)
   648        > 90               Credit                 07/17/2014                  9493105010           WW Gralnger                                                                                (98.68)
   646        > 90               Cfedfi                 07/16/2014                  9479223S62           WW Gfainger                                                                               (115.48}
   645        > 90               Credit                 07/09/2014                  946675S765           WW Gralnger                                                                                (80.46)
   644        > 90               Credit                 07/07/2014                75-783692C-CM          Kellsy Brothers, LLC                                                                      (215.00)
   643        > 90               Credit                 07/05/2014                    7052014            HD SUPPLY FACILITIES MAfNTENAN                                                              (9.19)
   641        > 30               Credit                 06/25/2014                  346G756757           WW Grainger                                                                               (160,92)
   642        > 90               Credit                 06/25/2014                  9468409397           WW Gralnger                                                                                (35.60)
   640        > 90               Credit                 06/13/2014                 S44172'i0.005         Rumsey Bectrio Co,                                                                         (51.30)
   639        > 90               Credit                 06/12/2014                S018429235.003         Fried man Electric Supply                                                                   (5.65)
   638        > 90               Credit                 06/11/2014                S107753397.002         Rexel Inc.                                                                                 (26.03)
   637        > so               Credit                 06/06/2014                110S203130614          AT&T                                                                                      (731.67)
   636        > so               Credit                 06/05/2014                 S4385905.003          Rums ey Electric Co.                                                                      (187.62)
   635        > 90               Credit                 06/04/2014                 S1527227.002          Capp, Inc.                                                                                (100.07)
   634        > 90               Credit                 OS/03/2014               0670623487juneU         AT&T                                                                                       (53.69)
   633        > 90               Credit                 05/09/2014                    6133352            Refrtgeratlon and ElectriC Supply Co.                                                      (48,44)
   632        > 90               BillFmt-CCard          05/08/2014                                       Slemen Building Technologies                                                            (2,480.00)
   630        > 90               Credit                 05/02/2014                 S4376257.003          Rumssy Electric Co.                                                                       (114.60)
   631        > 90               Credit                 05/02/2014                  &430G74011           WW Gralnger                                                                                (85.68)
   629        > 90               Credit                 05/01/2014                  9429340939           WW Graingsr                                                                               (308.14)
   628        > 90               Credit                 03/31/2014                    3312014            AnswerNet                                                                                  (31.00)
   626        > 90               Credit                 03/19/2014                  9295246606           WW Grainger                                                                             (1,266.40)
   627        > 90               Credit                 03/19/2014                  92952468U            WW Gralnger                                                                             (2,278.80)
   625        > 90               Credit                 03/14/2014                S018343114.004         Friedman Electric Supply                                                                    (0.85)
   624        > 90               BiflPmE-CCard          03/10/2014                                       Cintas Corporation -061,100,287                                                            (62.34)
   623        > 90               credit                 02/05/2014                S106922616.002         Rexet Inc.                                                                                (101.11)
   622        > 90               credit                 02/04/2014                   72868058            McMasterCarr                                                                              (178.02)
   621        > 3D               Credit                 01/29/2014                    287961             C. N. Robinson Lighting Supply                                                            (662.11)
   620        > 90               3red!t                 01/17/2014                    686393             Houston Bearing & Supply Co., Inc.                                                          (9.79)
   619        > 90               3111 Pmt.Check         01/14/2014                     11793             WW Gralnger                                                                               (720.00)
   618        > 90               Credit                 12/23/2013                S017604947.002         Friedman Electric Supply                                                                   (87.83)
   617        > 90               Sredft                 12/16/2013                  9319388634           WW Gralnger                                                                                 (8.34)
   616        > 90               Credit                 12/12/2013                    911077             Duff Company                                                                              (678.63)
   615        '90                Srsdlt                 12/04/2013                  264793480            J.A. Sexausr                                                                               (75.53)
   614        > 90               credit                 11/29/2013                  9306866097           WW Gralnger                                                                              (112.22)
   612        > 90               credit                 11/26/2013                 S4202344.004          Rums ey Eleclric Co.                                                                     (187.10)
   613        >ao                Sredlt                 11/26/2013                 0047703-CM            Flitrine Manufaciyrlng Company                                                             (89.16)
   611        > 30               credit                 11/20/2013                 S4272658.008          Rums ey Etecidc Co.                                                                      (371.60)
   610        > 90               credit                 11/07/2013                  4344S40-00           Alreco Suppty, Inc.                                                                      (402.56)
   609        >ao                credit                 10/11/2013                  9266788281           WW Gralnger                                                                                (21.34)
   608        > 90               3fedli                 10/09/2013                   46592683            MSC industrial Supply Company. Inc.                                                        (49.23)
   607        > 90               credit                10/07/2013                     679221             Houston Bearing & Supply Co,, Inc.                                                         (46,68)
   606        > 90               credit                09/27/2013                    6019700             Pun/ls Induslries, LTD.                                                                  (144.16)
   605        > 30               credit                09/26/2013                     446780             Hanover Uniform Compafiy                                                                   (35.80)
   603        '90                credit                09/16/2013                  10024070-00           Schnelder Paper Producis, Inc.                                                           (164.44)
   604        > 90               credit                09/16/2013                   CM927770             Fsrguson Enterprises, Inc.                                                                 (77.13)
   602        > 90               credit                08/15/2013                    17291267            ROTO-ROOTER SERVICES COMPANY                                                             (328.00)
   600        '90                ;red!t                08/14/2013                   9101842261           WW Gralnger                                                                              (147.65)
   601        > 90               credit                08/14/2013                    19169197            Johnson Supply                                                                             (12.86)




                                                                                                                                                                                                 Pegs 41 of 4B
 Case 18-12095-BFK                                    Doc 93             FiledWW
                                                                              09/28/18
                                                                                 ContractorsEntered
                                                                                            Inc.     09/28/18 14:20:49                                                                Desc Main
                                                                       Document      Page
                                                                              A/P Aging      53 of 114
                                                                                        Detail
                                                                                       As of June 30, 2018


DEBTOR:                            WW Contractors, Inc                                                                                                              CASE NO:               18-12095-BFK


                                                                                                Exhibit G1
                                                                                   UNPAID BILLS - PRE BANKRUPTCY
                                                                                        AS OF JUNE 30,2018


•;.:, Count;'::,   ;1, Status y-   /.""Type^^^       ^^.•.;'DUa-1;..,'^.   ;'';\^^'',Num;^';';;^..,   '.';;-. "^.'.', ••.•^''.''i^^.Name:;;'';;.';^.^^;.','.^^-;:   DueDale   .•'..A'aW:   :6f30f2(m:Balanca

     599           > 90            Credit                08/12/2013                896727             Duff Company                                                                                    (53.40)
     598           > 90            Credit                08/07/2013              9211040259           WW Grainger                                                                                    (183.43)
     597           > 90            Credit                08/OS/2013               S4222589            Rumsey Electric Co.                                                                              {0.32}
     596           > 90            Credit                08/03/2013         0870174259322AUG13 AT&T                                                                                                   (37.10)
     595           > so            Credit                08/01/2013              9194976263           WW Gralnger                                                                                     (73.53)
     594           > 30            Credit                07/19/2013             S4209663.002          Rumsey aectric Co.                                                                              (78.57)
     593           > 90            Credit                07/16/2013                893766             Duff Company                                                                                   (258,28)
     592           > 90            Credit                07/12/2013              9169712137           WW Gralnger                                                                                    (-144.36)
     590           > 90            Credit                07/09/2013                1233279            Mark's PSumblng Parts                                                                          (144.13)
     591           > 90            Credit                07/09/2013               14532874            johnson Supply                                                                                 (135.88)
     587           > so            General Journal       OB/30/2013                 AE22              AT&T                                                                                            (83.00)
     588           > 90            General Journal        06/30/2013                AE28              Capp, Inc.                                                                                     (100,00)
     589           > 90            General Journai       06/30/2013                 AE30              WW Grahger                                                                                   (-1.512.00}

     586           > 90            Credit                06/27/2013                S03444             Universal Plumbing Supply Company                                                               (17.17)
     585           > 90            Credit                06/26/2013               51793170            McMaster Carr                                                                                  (610.26)
     584           > 90            Credit                05/30/2013              0045993-CM           Flitrina Manufaclurtng Company                                                                 (100.00)
     583           > 80            Credit                 OS/24/2013             9150812304           WW Gralnger                                                                                     (72,03)
     582           > 98            Credit                 05/06/2013             9134092G13           WW Gralnger                                                                                     (28.29)
     581           > 90            Credit                 05/01/2013               389763             Johnstona of New Orteans                                                                        (49.05)
     580           > 90            Credit                 04/16/2013             9117396126           WW Gralnger                                                                                    (187.23)
     579           > 90            General Journal       03/31/2013                 AE37              Freestate Etectrica! Service                                                                   (708.00)
     578           > 90            Credit                03/28/2013              9103174364           WW Gralnger                                                                                    (398.14)
     577           > so            Credit                03/22/2013             S4041541.005          Rums ey Electric Co,                                                                            (63,50)
     576           > 90            Credit                 03/08/2013             9086058378           WW Grainger                                                                                     (19.92)
     575           > 90            Credit                 03/C7/2013             9084940361           WW Gralnger                                                                                      (1.51)
     574           > 90            Credit                 03/OG/2013             9084009902           WW Grainger                                                                                    (105.48)
     573           > an            Credit                 03/05/2013              CM878613            Ferguson Enterprises, Inc.                                                                      (16.22)
     572           > 90            Credit                 03/04/2013            S4113394.003          Rums ey Electric Co.                                                                            (30.56)
     571           > 90            Credit                02/20/2013              287766627            Clntas Corporation -OG1,100,287                                                                (139.63)
     570           > 90            Credit                02/2Z/2013               46644563            McMaster Carr                                                                                  (144.25)
     569           > 30            Credit                02/19/2013             S4040083.005          Rums ey Eleclfio Co.                                                                           (278.63)
     568           > 30            Credit                02/14/2013                7499S64            Tetet's Faucet Parts Corp                                                                      (194,40)
     567           > so            Credit                 02/12/2013               227135             All Elsclfto Supply Inc.                                                                        (91.80)
     566           > so            Credit                 01/31/2013               6919526            Pufvls industries, LTD.                                                                        (620.27)
     565           > so            Credit                 01/28/2013       305371902FINALCRED] AT&T                                                                                                    (1,21)
     564           > 90            Credit                 01/24/2013               226245             All Electric Supply inc.                                                                        (79.07)
     563           > BO            Credit                01/22/2013               39551641            McMaster Carf                                                                                  (172,00)
     562           > 90            Bill Pmt -Check       01/11/2013                 10994             WW Gralnger                                                                                    (290.50)
     561           > 90            Credll                 12/31/2012              12312012            NORTHERN TOOL&EQUIPMENT CO.                                                                     (70.19)
     560           > 90            Bill Pmt-Check         12/27/2012                10952             WW Gratnger                                                                                     (34,90)
     558           > 90-           Credit                 12/19/2012             0044589-CM           Rltrine Manufacturing Company                                                                  (103.81)
     559           > 90            Credit                 12/19/2012             0044590-CM           Ftllflne Manufacturing Company                                                                 (200.00)
     557           > 90            Creciit                12/18/2012               59S3413            Refrigeratlon and ElectffC Supply Co.                                                           (12,01)
     556           > 90            Credit                12/14/2012               6807382             PurvSs Industries. LTD.                                                                        (404.17}
     555           > 90            Credit                12/06/2012             S-1072327.003         Rumsey Electric Co.                                                                            (162.11)
     554           > 90            Credit                 11/20/2012             9001691907           WW Gralnger                                                                                     (31.20)
     553           >9B             Credit                11/16/2012             S4063433.004          Rums ey Electric Co.                                                                           (169.80)
     552           > 90            Credit                 11/15/2012           CRED0068419            Kele, inc.                                                                                     (108.08)
     550           > 90            Credit                 11/13/2012             9976547895           WW Grainger                                                                                     (26.81)
     551           > 80            Credit                 11/13/2012             9975547903           WW Gralnger                                                                                     (26.61)
     549           > so            Credit                 W/24/2012              9969369308           WW Gralnger                                                                                     (24.17)
     548           > 90            Credit                10/19/2012             S4W1541.004           Rums ey Electric Co.                                                                            (53.80)
     547           > 90            Credit                10/15/2012               14512398            Johnson Supply                                                                                 (375.07)
     546           > 90            Credit                10/05/2012              9944240523           WW Grahger                                                                                      (13.25)
     545           > 90            BillPmt-CCarci        09/13/2012                                   McMaster Carr                                                                                  (300.00)
     544           > 90            Credit                OB/10/2012               5919059             Refrigeration and BeclriC Suppty Co.                                                            (60.48)
     543           > go            Credit                08/09/2012                218284             A!l Electric Supply Inc.                                                                        (28,91)
     542           > 30            Credit                07/24/2012               E27358-SN           Flamtng Controls & Power Specialities                                                          (141.05)
     541           > 90            Credit                07/23/2012               9148B778            Stmpiex Grinnell                                                                               (714.00)




                                                                                                                                                                                                    Page 42 of 48
Case 18-12095-BFK                               Doc 93           FiledWW
                                                                       09/28/18
                                                                         Contractors Entered
                                                                                     Inc.     09/28/18 14:20:49                                                                Desc Main
                                                               Document      Page
                                                                      A/P Aging       54 of 114
                                                                                 Detail
                                                                                  As of June 30, 2018


DEBTOR:                     WW Contractors, Inc                                                                                                               CASE NO:             18-12095-BFK


                                                                                          Exhibit G1
                                                                             UNPAID BILLS - PRE BANKRUPTCY
                                                                                   AS OF JUNE 30,2018


\;,Count^;   ;^';'Status^   ^•^yps^           . .^,;.:,'bate'^^^   ^•.•''' ":.^unT;.!"..-,;.1 • i^-'-^i'-.J:;.<^'' ^;Nai1rtB!''.?^''i^''.<"'':':';.~;':.-'.   Due Date:   :^g1ng: :;G)3D/20ia Balance
  540        > 30           Credit                07/19/2012             S3991320.005             Rums ey Eiecfric Co.                                                                        (104.14)
  539        > 30           Credit                07/02/2012             S3941311.003             Rumsey Eieoidc Co.                                                                         (111.61)
  538        > 90           Credit                06/19/2012             S3933863.005             Rumsey BecUlc Co,                                                                         (3,662.79)
  537        > so           Credit                05/21/2012               3470966-00             fiSww Supply, Inc.                                                                         (1S8.44)
  536        > 90           Credit                05/18/2012                26910443              McMaster Carr                                                                              (412.05)
  535        > 90           Credit                04/26/2012                 C4347-1              Champion Rentals, Inc.                                                                      (171,25)
  534        > 90           Credit                04/19/2012             S3929150.003             Rumsey Electric Co.                                                                         (191.96}
  533        > 90           Credit                03/30/2012             33897132,004             Rum say Elsctric Co.                                                                        (275.04)
  532        > 90           Credit                03/29/2012                22034277              McMaster Carr                                                                               (234.20)
  531        > so           Credit                03/14/2012                 1962S3               Edwin L. Heim Co.                                                                           (160.00)
  530        > 90           Credit                03/05/2012             S3891470.002             Rums ay Electric Co.                                                                        (234.22)
  529        > 90           Credit                02/29/2012              0168118-CM              EMERGENCY SYSTEMS SERVICE CO.                                                               (904.40)
  528        > so           Credit                02/13/2012            227835CRE01T              Schwegman Office Products/IS                                                                (112.80}
  527        > 90           Credit                12/19/2011             1114490-C1-1             Tfl Dim Filter Corp.                                                                         (61,20)
  526        > 90           Credit                12/12/2011              016B519-CM              EMERGENCY SYSTEMS SERViCE CO.                                                               (277.75)
  524        > 90           Credit                11/07/2011                 20395G               All Electric Supply Inc.                                                                    (193.50)
  525        > 90           Credit                11/07/2011                401'15561             MSC industrial Supply Company. !nc.                                                           (7.69)
  523        > 90           Credit                10/31/2011            1265136-2017-20           waste Management of Uttte Rock Hauling                                                        (0.40)
  522        > 90           Credit                10/10/2011                39981051              MSC Industrial Supply Company. Inc.                                                           (S.20)
  521        > 90           Bill Pmt "CCard       10/04/2011                                      McMaster Carr                                                                               (210,29)
  520        > 90           Credit                09/29/2011                 CREDIT               Cinlas Corporation -061,100,287                                                               (4.86)
  519        > 90           Credit                09/1G/2011               CM747317               Ferguson Enterprises, Inc.                                                                   02.-16}

  518        > 90           Credit                08/29/2011                940522SO              McMaster Carr                                                                                (33.62)
  517        > 90           Credit                08/17/2011                93148430               MoMaster Carr                                                                               (38.57)
  516        > 90           Credit                07/01/2011                 272993               Taytor-Ssidsnbach, inc.                                                                     (152.94)
  515        > 90           BMPmt-CCafd           06/09/2011                                      Purvis industries, LTD,                                                                     (300.47)
  514        > so           Credit                03/01/2011                91405381              Slmplsx GrinneH                                                                           (1,319.93)
  513        > 30           BiliPmt-CCafd         12/03/2010                                      Sherwln Williams Company                                                                      (3.47)
  512        > 90           Credit                11/09/2010              CMM132340               Ferguson Enterprises, Inc.                                                                   (45.38)
  511        > 90           BlilPmt-CCard         10/30/2010                                      Cu!llgart Water Conditioning                                                                 (25.39)
  510        > 90           BiiiPmt-CCard         10/25/2010                                      R.W. Luce Co.                                                                                (35.54)
  509        > 90           BillPmt-CCard         09/17/2010                                      Clntas Corpofatlon -OG1,100,287                                                              (61.87)
  508        > 80           Credit                09/16/2010               CM662080               Ferguson Enterprises, Inc.                                                                   (24.51)
  507        > 90           BiliPmt-CCard         09/01/2010                                      Ferguson &iterprises, Inc.                                                                    (4.77)
  506        > 90           Blifpmt-Check         06/16/2010                    eft               Datamax AR Leasing                                                                          (241.09)
  505        > 90           BIHPmt-CCard          05/07/2010                                      McMaster Carr                                                                               (112.51)
  504        > so           BlliPmt.CCard         03/23/2010                                      River Parish Disposal                                                                       (219.87)
  502        > 90           BiHPmt-CCafd          01/29/2010                                      Clnlas CDrporalion -061,100,287                                                              (47.47)
  503        > 90           BlliPmt-CCafd         01/29/2010                                      Clntas Corporation .061,100,287                                                              (61.27)
  501        > 90           BlliPmt-CCafd         01/12/2010                                      Cintas Corporation -061,100,287                                                              (22.20)


                                                                                                                                                                                        961,473,94




                                                                                                                                                                                            Page 43 of 48
                      Case 18-12095-BFK        Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49        Desc Main
                                                        Document      Page 55 of 114

DEBTOR:      WW Contractors, inc                                                                                        CASE NO:      18.12095-BFK


                                                                      Exhibit H1
                                                   DEBT SCHEDULE " SECURED FIRST NATIONAL BANK
                                                               AS OF JUNE 30, 2018

                                                   Beginning                                     Ending

   ^D>at&                     "^Destail            Principal                                                               total;     ^^Total •".
                                                   Balancel,     Borrowings        Payment                              Bon-pwihgs    ^Payments

  03/12/18 Balance                                2,920,999.49
  04/11/18 Per Statement Activity FNB LOG         2,920,999.49                                            (11,724.56)                   (11,724.56)
             45925165
  04/16/18 Per Statement Activity FNB LOG         2,920,999.49                                                                         (103,407.56)
              45925164
  04/16/18 Per Statement Activity FNB LOG         2,829,316.49                                            (11,259.85)                   (11,259.85)
             45925165
  05/08/18 Per Statement Activity FNB LOG         2,829,316.49 166,751.00                                                166,751.00
             45925165
  06/12/18 Per Statement A.ctiyity_F.NB_LOC_      2,996.067.49                                               ,320,                      (12,320.74)
  06/28/18 Per Statement Activity FNB LQC_   2.996,067.49                      _C2Q,000.00)                                             f20,000,00_)._
  07/05/18 Per Statement Activity FNB LOG 2,976,067.49                             (20,000.00)                                          (20,000.00)
                             45925165
  07/20/18 Per Statement Activity FNB LOC 2,956,067.49                                                                                  (10,000.00)
                           45925165
  07/26/18 Per Statement Activity FNB LOG 2,946,067.49             18,518.53                              (18,518.53)     18,518.53 (18,518.53)
             45925165
  08/01/18 Per Statement Activity FNB LOG    2,964,586.02                                                  (6,587.96)                   (10,000.00)
             45925165
  08/01/18 Per Statement Activity FNB LOG    2,961,173.98                          (10,000-C                                            (10,000.00)
             45925165
  08/07/18 Per Statement Activity FNB LOG    2,951,173.98                           (5,000.00)                                            (5,000.00)
             45925165
  08/15/18 Per Statement Activity FNB LOG    2,946,173.98                           (5,000.00)                                            (5,000.00)
             45925165
  08/22/18 Per Statement Activity FNB LOG    2,941,173.98                                                  (5,000.00)                     (5,000.00)
              45925165
  08/29/18 Per Statement Activity FNB LOG    2,941,173.98                                                  (3,151.29)                   (12,500.00)
              45925165
  09/05/18 Per Statement Activity FNB LOG    2,931,825.27                                                                                 (5,000,00)
             45925165
                                                                  185,269.53 (179,443.75)                 (68,562.93) 185,269.53 (259,731.24)
iTER^viji^ii^ili^^^^^^^^^^^^^^^^^^^^^^^ffi
  03/01/18 Balance                                  470,404.23



                                                                                                                                                      44 of 48
                       Case 18-12095-BFK       Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                    Desc Main
                                                        Document      Page 56 of 114

DEBTOR:      WW Contractors, Inc                                                                                                   CASE NO:      18-12095-BFK


                                                                      Exhibit H1
                                                   DEBT SCHEDULE - SECURED FIRST NATIONAL BANK
                                                                 AS OF JUNE 30, 2018


                                                   Beginning                                        Ending

                                                   Principal                                                                        ^Tofall^;;    ^ Total-
                                                   Balance                                         Balance            Interest     Borrowings     Ra^/ments
  04/01/18   Per Statement Activity FNB Term       470,404.23                      (7,494.66)                         (1,879.52)                    (9,374.18)
             46255090
  05/01/18   Per Statement Activity FNB Term        462,909.57                     (7,583.30)                         (1,790.88)                    (9,374.18)
             46255090
             Per Statement Activity FNB Term                                                                          (1,819.28)
             46255090
             Per Statement Activity FNB Term                                                    ii^f^^'i%^^^sSS^!®B
                                                                                                                      (1,735.27)
             46255090
             Per Statement Activity FNB Term                                                                          (1,756-60)
             46255090
             Per Statement Activity FNB Temn                                                                          (1,728.13)
             46255090

BumpiNGi
  03/01/18   Balance                                187,767.27
  04/01/18   Per Statement Activity FNB Term        187,767.27                                                         (638.85)                     (2,228.24)
             46255090
             Per Statement Actiwty FNB Term                                                                            (613.18)                     (2,228.24)
             46255090
             Per Statement Activity FNB Term                                                                           (627.94)
             46255090
             Per Statement Activity FNB Term                                                                            (603.31)
             46255090
             Per Statement Activity FNB Term                                       (1,605.92)                           (622.32)
             46255090
             Per Statement Activity FNB Term                                       (3,846.57)                           (609.91)
             46255090


                                                  3,579,170.99 185,269.53        (236,861.32)                                       185,269.53 185,269.53




                                                                                                                                                                 45 of 4S
   Case 18-12095-BFK                     Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49    Desc Main
                                                      Document      Page 57 of 114

DEBTOR:                         WW Contractors, Inc                                        CASE NO: 18-12095-BFK


                                                                 Exhibit H2
                                                      DEBT SCHEDULE -KUBOTA SECURED
                                                             AS OF JUNE 30, 2018



                                                                                                      \.'.:;;.Principally
                                                                                      ^.              ; ^Balance ;per^
leridof FulIiName' , -^ .^:^.    ^,;,^Collate!ra)?:'';;^:                                              AcctStatemeht
Kubota Tractor                                                                                                   3/613


Total Other Secured Debt                                                                                         3,613
  Case 18-12095-BFK                      Doc 93            Filed 09/28/18 Entered 09/28/18 14:20:49     Desc Main
                                                         Document      Page 58 of 114


DEBTOR:                          WW Contractors, Inc                                         CASE NO:      18-12095-BFK


                                                                    Exhibit H3
                                                     DEBT SCHEDULE " CREDIT CARD STATEMENT
                                                               AS OF JUNE 30, 2018



                                                                                                          ,"•-,';. Pririfclpai^':''

                                                                                     ^.                   ^Balance pei^;
^::^   'Name^ '.?"</: ^:.ii'^-   :.;;,;^;-C6!l9terall'*:^^-.''                                            Acct Statement
2350 iConnect                                                                                                        14,743
2052 First Nationa Bank                                                                                             435,166
2053 American Express                                                                                               420,601

Total Other Secured Debt                                                                                             870,510
    Case 18-12095-BFK                   Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                        Desc Main
                                                   Document      Page 59 of 114


 DEBTOR: WW Contractors, inc                                                                        CASE NO:           18-12095-BFK


                                                                      Exhibit H4
                                                       DEBT SCHEDULE - MCA LENDER
                                                            AS OF JUNE 30, 2018

^,^:fw^^U;^ .'•;;^.;^;'.^^^:'Detail'';"/'^?^,:l; ^ );rT^ i'; 'l^i'^y;; ^';;'7 ? ILen^e^ Offician^amt^ ^^::;^^^^ ^1       Balanc&^
     2313     Loan CP                                  Capital Partners                                                     254,612
     2315     FF Loan                                  Forward Financing                                                    125,758
     2316     CE Loan                                  PBS Solutions                                                         80,862
            World Global CapEtal/PBS
     2317                                              World Global Capital                                                 122,990
            Capital
     2318     EBF Partners                             Everest Business Funding                                               79,930
     2319     OnDeck                                   OnDeck                                                                162/586
     2321     Empire                                   Empire                                                                 21,169
     2322     Pearl Capita!                            Saturn Funding                                                        140,711
     2324     PFC                                      Payroll Funding Company (not an MCA)                                   94,010
     2325   ML Factors Trust                           ML Factors                                                             98,341
            BMF                                        Business Merchant Funding                                             185,033
             HOP Capita!                               Hop Capital                                                           185,033

                                                                                                                       $ l.,551/035
    Case 18-12095-BFK
Accrual Basis
                                                    Doc 93     FiledWW
                                                                    09/28/18      Entered 09/28/18 14:20:49
                                                                       Contractors Inc.
                                                                                                              Desc Main
                                                             Document      Page
                                                                     Balance Sheet 60 of 114
                                                                     As of June 12, 2018


                                                                                                              Jun -12,18

ASSETS
   Current Assets

         CheckingfSavlngs
              1118-Bank of America Checking 3300                                                                       27,883.20

              1120-Bank of America Checking 3313                                                                             10.00

              1121 -Bank of America Checking 3339                                                                          6.352.80

              1122 • Bank of America Savings 3326                                                                      76,073.30

              1124 • First National Checking Account                                                                   42,316.58

              1126 • First Nattona! Bank PayroSI Ace                                                                   12,067.44

         Total Chechlng/Savlngs                                                                                       164,703.30

         Accounts Receivable
              1210 • Accounts Recetvabla                                                                             2.786.677.64

         Total Accounts Receivable                                                                                   2,786,677.64

         Other Current Assets

              1213 • Allowance for Doubtful Accounts                                                                  -603,230.00

              1390 • Undeposited Funds                                                                                     1,594.60

         Total Other Current Assets                                                                                   -601,635.^0

   Total Current Assets                                                                                              2,349,745.64

    Fixed Assets

         1510 • Automobiles & Trucks                                                                                  342,323.44
         1520-Computer & Office Equipment                                                                              31,924.99

         1530 • Machinery & Equipment                                                                                         -0.20

         1540 • Tools & Equipment                                                                                          5,000.00

         1560 • Buildings                                                                                             340,892.00

         1565 • Budding improvements                                                                                   165,437.00

         1570 • Building Improvements - Land                                                                           60,157.99

         1800 • Accumulated Depreciation                                                                              -460,748.98

   Total Fixed Assets                                                                                                 484,986.24

    Other As sets

         1901 • Shareholder Receivable                                                                               1,073,181.40

         1920 • Overpay Sarat Investment Corp                                                                        1,000,000.00

         1926 • Reserve for Overpay Sarai                                                                           -1.000,000.00

         1999 • Accrued Income                                                                                                •o.u

   Total Other Assets                                                                                                1,073.151.26

TOTAL ASSETS                                                                                                         3.907,883.04

LIABILITIES & EQUITY
    Liabilities
         Current Liabilities

              Accounts Payable
                    2010 • Accounts Payab!e                                                                           993,048.94

              Total Accounts Payable                                                                                  993.048.94

              Credit Cards

                   2052 • First Nationa! Bank Purchasing                                                              435,166.35
                   2053 • American Express Credit Card                                                                420.601.58

                   2054•iConnect                                                                                           2,317.38

              Total Credit Cards                                                                                      858,085.31

              Other Current Liabilities

                   2311-FNB Line of Credit                                                                           2,996,067.49

                   2313 • Loan CP                                                                                     254,612.68

                   2315 • FF Loan                                                                                     126,768,19

                   2316-CE Loan                                                                                        80,862,00

                   2317-WGC Loan                                                                                      122,990.00

                   2318 • EBF Partners                                                                                 79,929.84

                   2319 • OnDeck                                                                                      162,686,12

                   2321 • Empire                                                                                       21,168.00

                   2322 • Pearl Capital                                                                               140,711.00

                   2324 • PFC                                                                                         100,000.00
                   2325-ML Factors Trust                                                                               98,341.00

                   232G • Merchant Funding                                                                            185.033.00

                   2327 • HOP Capital                                                                                 185,033.00

                   2450 • Current Maturity                                                                             3-t,673.53

             Total Other Current Liabilities                                                                         4,684,766.85

         Total Current Liabilities                                                                                   6,435,901.10

         Long Term Liabilities
              2312 • FNB Term Loan                                                                                    447,771.37




                                                                                                                               Page 1 of 2
    Case 18-12095-BFK
Accrual Basis                                      Doc 93     FiledWW
                                                                    09/28/18
                                                                      Contractors Entered
                                                                                  Inc.     09/28/18 14:20:49   Desc Main
                                                            DocumentBalance  Sheet
                                                                          Page     61 of 114
                                                                    As of June 12,2018


                                                                                                               Jun 12,18

             2500 • Auto Loans

                 Note Payable- Kohola Tractor                                                                              3,252.59

             Tota! 26(10 • Auto Loans                                                                                      3,252.59

             2610 • Long-term Debt Current Portion                                                                     -31,673.53

             2B61 • FN8 Building Loan                                                                                 182.9S2.52

        Total Long Term Uablifties                                                                                    602,312.95

   Total Liabilities                                                                                                 7,038,214.05

    Equity
        3050 • Common Stock                                                                                                8,059.00

        3100 • Shareholder Distributions

             3103 • Draw                                                                                               -10,919.25

             3100 • Shareholder Distributions - Other                                                                         -0.41


        Total 3100 • Shareholder Distributions                                                                         -10,919.55

        3300 • Retained Earnings                                                                                    -2,178,510.24

        Net Income                                                                                                    -948,960.11

   Total Equity                                                                                                     -3,130,331.01
TOTAL LIABILITIES & EQUIP/'                                                                                          3,907.883.04




                                                                                                                               Psge 2 of 2
   Case 18-12095-BFK
Accrual Basis
                                                Doc 93       FiledVWV
                                                                   09/28/18
                                                                      ContractorsEntered
                                                                                  inc.      09/28/18 14:20:49         Desc Main
                                                           Document      Page
                                                                   Balance Sheet  62   of 114
                                                                   As of June 30, 2018

                                                                                                      Jun30,1B

ASSETS
   Current Assets

         Checking/SavIngs
              1118 • BankofAmarica Checking 3300                                                         77,994.77
              1122 • Bank of America Savings 332B                                                             0.47

              1124 • First National Cheching Account                                                      -5,179.47

              1123 • Suntrust DIP Account                                                                 -3.880.12

             1130 • Suntrust Payroll DIP Account                                                           -287.54

             1131 • Welis Fargo Checking 8745                                                           289,450.16

         Total Checking/Savlngs                                                                         358,098.27
         Accounts Receivable

              12')0 • Accounts Receivable                                                             2,745,821.75

         Total Accounts Receivable                                                                    2,745.921.75

         Other Current Assets

              1213 • Allowance for Doubtful Accounts                                                   -603.230.00

              1390 • UndeposKed Funds                                                                     9,429,41

         Total Other Current Assets                                                                    -593,800.59

   Total Current Assets                                                                               2,510.219.43

   Fixed Assets
         1510 • Automobiles & Trucks                                                                    342,323.44
         1520 • Computer & Office Equipment                                                              31,924.99
         1530 • Machinery & Equipment                                                                         -0.20


         1540 • Tools & Equipment                                                                         5,000.00

         1560- Buildings                                                                                340,892.00
         1585 • Buliding Improvements                                                                   165,437.00
         1570 • Building Improvements " Land                                                             60,157.99
         1800 • Accumulated Depreciation                                                               -460,748.98

   Total Fixed Assets                                                                                   484,986,24

    Other Assets
         1901 • Shareholder Receivable                                                                1,073.331.24

         1920 • Overpay Saral tnvestment Corp                                                         1,000,000.00

         1926 • Reserve for Overpay Saraj                                                             -1,000,000.00

         1939 • Accrued Income                                                                                -0.14

   Total Other Assets                                                                                 1,073,931.10

TOTAL ASSETS                                                                                          4,089,136.77

LIABILITIES & EQUITY
    Liabilities
         Current-Liabilities
              Accounts Payable
                   2010 • Accounts Payable                                                            1,063,934.67

             Total Accounts Payable                                                                   •i.063.934.67

              Credit Cards
                   20S2 • First National Bank Purchasing                                                435.166.35
                   2053 • American Express Credit Card                                                  420,601.58
                   20S4 • iConnsct                                                                       14,742.57

             Total Credit Cards                                                                         870.510.50

              Other Current Uabliitles
                   2311 • FNB Line of Credit                                                          2.976,067.49

                   2313- Loan CP                                                                        254.612.68
                   2315- FF Loan                                                                        125,758.19
                   2316 •CE Loan                                                                         80,862.00
                   2317 •WGC Loan                                                                       122,990.00

                   2318 -EBF Partners                                                                    79,929,84
                   2319-OnDsck                                                                          162,586.12
                   2321 • Empire                                                                         21,169.00
                   2322 • Pearl Capital                                                                 140,711.00
                   2324 • PFC                                                                            94.009.97

                   2325 • ML Factors Trust                                                               98.341.00

                   2326 • Merchant Funding                                                              185,033.00

                   2327-HOP Capital                                                                     185,033.00
                   2450 • Current Maturity                                                               31,673.53




                                                                                                                            Page 1 of 2
 Case 18-12095-BFK
Accrual Basis WW Contractors Inc.
                                         Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49        Desc Main
                                                  Document      Page 63 of 114
                                                          Balance Sheet
                                                         As of June 30, 2018

                                                                                        Jun 30,18

          Total OtherCurrent Liabilities 4.558,776.82
     Total Current Liabilities • 6.493,221 .99
     Long Term Liabilities
          2312                •         FNB       Term         Loan             440,132.46
          2500 - Auto Loans

              Note             Payable-             Kubota           Tractor        3,252.59

          Total                 2500         •      Auto         Loans            3,252.59
          2610 • Long-term Debt Current Portion -31.673.53

          2861                •   FNB        Building              Loan          182,962.52
     Total               Long            Term         Liabilities                594,674.04
 Total                        Llabfilties                       7.087,896.03
 Equity
     3050                     •         Common                Stoch              8,059.00

     3100 • Shareholder Distributions
          3103-Draw                                            -10.919.25

          3100-Shareholder                            Distributions-Other              -0.41

     Total 3100 • Shareholder Distributions -10,919.66
     3900              •      Retained               Earnings                  -2,178,510,24

     Net                      tncoms                       -837,388.36

 Total  Equity    -3,018,759.26
TOTAL UABiUTIES & EQUITY 4,069,136.77




                                                                                                          Page 2 of 2
    Case 18-12095-BFK
Accrual Basis
                                                       Doc 93     FiledWW
                                                                        09/28/18      Entered 09/28/18 14:20:49
                                                                          Contractors Inc.
                                                                                                                    Desc Main
                                                                Document Profit & Loss64 of 114
                                                                                Page
                                                                         June 13-30, 2018


                                                                                                             Jun13-30,18

   Ordinary Incomeffixpsnse

            Income
                4000 • Construction income

                       4001 • Revenue-Change Orders                                                               213,181.44
                       4002 • Miscellaneous Income                                                                   226.00

                       400S- Revenue-Governme nt Contract                                                         571,654.03

                Total 4000 • Constructton Income                                                                  734,860.47

            Total Income                                                                                          784,960.47

        Gross Profit                                                                                              784,960.47

            Expense
                5000 • Job Related Costs

                       5100 • Parts, Materials, & Supplies                                                         14,059.34

                       5105 • Direct Labor                                                                        385i230.S3

                       5106 • Direct Payroll Tax Benefit                                                           80.031.66

                       5200 • Job Equipment                                                                           433.60
                       6300 • Change Order Costs                                                                   1S.607.42

                       5350 • Union Dues expense                                                                      387.54
                       S400 • Subcontractors                                                                       61,652.66

                       640S • Payro!! Admln fee                                                                     3,046.01

                       5500 • Vendor Services                                                                      18,510.00

                       GGOO • Job Communtcatfons                                                                    3,345.67

                       5800 • Job Other Direct Costs                                                                1,711.59

                Total SOOO • Job Related Costs                                                                    585.016.32

                5005 • Indirect Btpenses

                       5006- Indirect labor                                                                         8,263.48

                       5007 • indirect P/R tax, EE ben & fees                                                         462.54

                       G530 • Uniforms                                                                                316.77

                Tota! 5005 • Indirect Expenses                                                                      9,048.79

                5900 • Repairs and Maintenance                                                                      1,000.00

                6020 • Advertising and Promotion                                                                    4,536.16

                6060 • Bank Service Charges                                                                           630,00
                6100 • Automobile Expense

                       6101-Gas & Oil                                                                                 352.13

                       6102 • Repairs & Maintenance                                                                   484,55
                       6100 • Automobile Expense - Other                                                               11.00

                Total 6100 • Automobile Expense                                                                       847,68

                6130 • Cleaning & Janitortai                                                                          220.00

                6135 • Computer Suppllesffiqutpment                                                                   183.39

                6140 • Contributions                                                                                   38.00

                G170 • Computer and internet Expenses                                                                 845.43
                6200- Interest Expense

                       6201 • Finance Charge                                                                            0,00

                       6202 • Loan interest                                                                         1,735.27

                Total 6200 • Interest Expense                                                                       1,735.27

                6300 • Office Expenses                                                                                 -3.61


                6330 • Office Supplies                                                                                977.68
                 6350 • Office Equipment (under $500)                                                                 172.72

                 G39B • Miscellaneous expense                                                                         160.91

                e't00 • [nsurance Expense
                       6401 • Commerical Pachage Insurance                                                         30.324,20

                Total 6400 • Insurance Expense                                                                     30.324.20

                6500 • Payrolt Expenses

                       G501 • Payroll (Office Staff)                                                               17,992.44

                       6502 • Benefits                                                                                353.0S

                       6503 •Officers Wages                                                                         4,615,20

                       GS1G • Payroll Admln. Fee-Offics peopl                                                         550.03

                       6500 • Payroll Expenses - Other                                                                390.05

                Total 6500 • Payroll Expenses                                                                      23,900.78

                 6600 • Professional Fees

                       6G01 • Legal                                                                                 2,121,88

                Total 6600 • Professional Fees                                                                      2,121,88

                 G700 • Postage and Dsltvery

                       6701 • FedEx                                                                                   435.97

                       6705 • Pitney Bowes                                                                            447.32

                       6707 • USPS                                                                                     80.35




                                                                                                                               Page 1 of 2
     Case 18-12095-BFK
Accrual Basis
                                                     Doc 93      FiledWW
                                                                       09/28/18      Entered 09/28/18 14:20:49
                                                                         Contractors Inc.
                                                                                                                   Desc Main
                                                               Document Profit & Loss65 of 114
                                                                               Page
                                                                        June 13-30, 2018


                                                                                                            Jun 13-30,18

                 Total 6700 • Postage and Delivery                                                                  963.64

                 6820 • Taxes                                                                                      1,600.00

                 6900 • Travel and Entertainment

                     6902 • Meals                                                                                   967.98

                     6903 • Air Fare                                                                                350.97

                     5904 • Hotel & Lodging                                                                         S29.37
                     6905 • Gas                                                                                    1,077.03

                     6906-Tolls, EZ Pass                                                                            112.29

                     6900 • Travel and Entertainment - Other                                                       1,433.87

                 Total 6900 • Travel and Entertainment                                                             4,771.51

                 G910 • Senice Charge                                                                                  2.80

                 7000 • Utilities
                     7001 • Telephone Expense                                                                       494.36

                     7002 • BG&E                                                                                   3,903.93

                 Tota! 7000 • Utilities                                                                            4,398.29

             Total Expense                                                                                       673,391.84

    Net Ordinary Income                                                                                          111.568.63

    Other Income/Expenss

        Other Income

             7010 • Interest Income                                                                                    3.12

             7200 • W/o oid accounts payable                                                                           0.00

        Total Other Income                                                                                             3.12

    Net Other Income                                                                                                   3.12

Net Income                                                                                                       111,571.76




                                                                                                                              Page 2 of 2
Case 18-12095-BFK                Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49        Desc Main
                                          Document      Page 66 of 114

                                                   WW Contractors Inc.
                                              Reconciliation Detail
                           1131 • Wells Fargo Checking 8745, Period Ending 06/30/2018

           Type               Date           Num            Name    Clr    Amount          Balance

   Beginning Balance                                                                                  0.00
        Cleared Transactions
           Checks and Payments • 5 items
   Check               06/21/2018                    Mark Myaft      x           -300.00        -300.00
   Check               06/21/2018                    Wells Fargo     x           -.-MOO         -330.00
   Check                  06/22/2018                 Legal Order     x                      -285,203.92
   Check                  06/22/2018                 Legal Order     x        i4iS?OWiO|    -289,773.92
   Check                  06/22/2018                 Legal Order     x                      -289,898.92

            Total Checks and Payments                                        -289,898.92    -289,898.92

            Deposits and Credits - 3 items
   Deposit 08/18/2018                                                x            25.00           25.00
   Deposit 06/20/2018                                                x       289,873.92      289,898.92
   Deposit 06/29/2018                                                x             3.12      289,902.04

            Total Deposits and Credits                                       289,902.04       289,902.04

        Total Cleared Transactions                                                  3.12              3.12

   Cleared Balance                                                                  3.12              3.12

   Register Balance as of 06/30/2018                                                3.12              3.12

      New Transactions                                                                             Bank Balance
        Checks and Payments -1 item
   Transfer 07/03/2018                                                       -289,000.00     -2i   $289.450.16
            Total Checks and Payments                                        -289,000.00
                                                                                               Legal Order in
                                                                                            -21'
                                                                                               Transit
        Total New Transactions                                               -289,000.00     -i
                                                                                               $287,447.04
   Ending Balance                                                            -288,996.88    -ZBy,yg6,yy




                                                                                                             Page 1
     Case 18-12095-BFK                    Doc 93           Filed 09/28/18 Entered 09/28/18 14:20:49                                                     Desc Main
                                                         Document      Page 67 of 114




Bankof America -^                                                                                              Business Advantage
 P.O. Box 15284
                                                                                                                        Customer service Information
 Wiimington, DE 19850


                                                                                                               U? 1.888.BUSINESS (1.888.287.4637)

                                                                                                                {•^'\
                                                                                                                 ^ bankofamerica.com
  WW CONTRACTORS INCORPORATED                                                                                   Stt' Bank of America, N. A.
  PO BOX 597                                                                                                            P.O. Box 25118
  RANDALLSTOWN. MD 21133-0597                                                                                           Tampa.FL 33622-5118




       Please see the Important Messages - Please Readsection of your statement for important details that could impact you.




Your Business Advantage Savings
for June 1, 2018 to June 30, 2018                                                                              Account number: 4460 3650 3326
WW CONTRACTORS INCORPORATED

Account summary
Beginning balance on June 1,2018                                                          $27.83          fl of deposits/credits; 4
Deposits and other credits                                                         184.073,30             tf of withdrawals/deblts: 13
Withdrawals and other debits                                                      -184,090.66             U of days in cycle: 30
Service fees                                                                              -10.00          Average ledger balance: $19,018,05

Ending balance on June 30, 2018                                                           $0.47           Average collected balance: $19.01 8.05

Annual Percentage Yield Earned this statement per iod: 0.03%.
Interest Paid Year To Date; $0.47.




                                                                                                                                      LiFE / BETTER CONKECTED*
        Bank of, America Business Advantage




        Your Digital
                                 Sign up for online alerts today
                                 Stay up to date on your balances, and receive alerts when transactions have posted and when
         Tip of the             your payments are due.
            Month
                                 Log in or enrol! at bankofamerica.com/smallbusiness and click on Alerts In the Activity Center.

                                5 You may elect to receive alerts via Eextpr email. Bank of America does not charge for this service but your mobile carrier's
                                 message and data rates may ap(}ty..0eliveryofalerti may be affected or deiayed by your mobile carrier's coverage.
                                 ©2018BankofAfnef[ca.Cor|(OF3,Hqn I.'ARTCJRPG L'SS.M^3-18-0017,B .




PIDI-F rsmip-7.1 spFf.-'F nFuwsyp npF- IMARPI R<~.- MD                                                                                                      Diln -1 nf (3
    Case 18-12095-BFK              Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                             Document      Page 68 of 114

WW CONTRACTORS INCORPORATED | Account ff 4460 3650 3326 t June 1, 2018 to June 30, 2018


IMPORTANT INFORWATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.


Updating your contact !nforma£ion- We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
Banking.


Deposit agreement" When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers,


Electronic transfers: in case of errors or questions about your electronic transfers- If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon 35 you can. We must hear from you no !ater than 60 days after we sent you the FIRST statement on
which the error or problem appeared.


         Tell us your name and account number.
         Describe the error or transfer you are unsure about, and explain as dearly as you can why you believe there is an error or
         why you need more information.
         Tell us the dollar amount of the suspected error.


For consumer accounts used primarily for personal, family or household purposes, we will investigate your compiafnt and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this. we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.


For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.


Reporting other problems - You must examine your statement carefully and promptly. You are fn the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.


Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may cal! us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



© 2018 Bank of America Corporation


                          Bank of America, N.A. Member FDIC and 1 BB f Equal Housing lender




                                                                                                                  0->w -» nt" C
    Case 18-12095-BFK              Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                             Document      Page 69 of 114


                                ^as&a                                                     Your savings account
Bankof America
WW CONTRACTORS INCORPORATED | Account # 4460 3650 3326 ] June 1, 2018 to June 30, 2018




 Deposits and other credits
Date Description                                                                                                                      Amount

06/05/18      Online Banking transfer from CHK 3300 Confirmation// 3120560281                                                108,000.00

06/27/18      Legal Order Reversal. LTS D06081 8000839                                                                         74,647.83

06/27/18      Legal Order Reversal, LTS D061818000324                                                                           1,425.00

06/29/18      Interest Earned                                                                                                           0.47

Total deposits and other credits                                                                                         $184,073.30



Withdrawals and other debits
Date Description                                                                                                                  Amount

06/04/18 Online Banking transfer to CHK 3339 Confirmations 21 13742425                                                                -20.00

06/05/18 TRANSFER WW CONTRACTORS INCOR:Comdata. Inc. Conffrmationff 0622394878                                                -20,000.00

06/05/18 MD TLR cash withdrawal from SAV 3326                                                                                  -7,000.00

06/05/18 Online Banking Transfer Confif 5cfa04957; WIggins                                                                       -670.00

06/11,18 Legs] Order, LTS 0060818000839                                                                                       -74.647.83

06/11,18 TLR cash withdrawal from SAV 3326                                                                                     -4.000.00

06/11/18 Legal Order Fee.LTS 0060818000839                                                                                       -U5.00

06/11,18 60334 06/08 #000599581 BAL INQ                                                                                                -2.50

06/11,18 60334 06/08 #000600049 BAL INQ                                                                                                -2.50

06/19/18 Legal Order. L TS 0061818000324                                                                                       -1,425.00

06/19/18 Legal Order Fee.LTS D061818000324                                                                                       -125.00

06/28/18 Online Banking transfer to CHK 3300 Confirmations 241 7242733                                                        -76.072.83

Total withdrawals and other debits                                                                                     -$184,090.66




      Bank of America Business Advantage                                                           LIFE / BETTED CONNECTED*



                           Guaranteed bank-to-bank transfers
     Your Digital
       Tip 'of the Pay individuals, vendors and suppliers who bank at other financial institutions—right from Onijne Banking.
           Month just log in and click the Transfers I Send tab. then select Send Money to Someone or
                          a Business.



                                                                                                        ARH9BYHQ i SSM-03-18-0013.B



                                                                                                                    Dorto Q nf rt
   Case 18-12095-BFK                   Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                                                  Document      Page 70 of 114

WW CONTRACTORS INCORPORATED j Account tf 4460 3650 3326 | June 1, 2018 to June 30, 2018



Service fees
Date                 Transaction                                       description         Amount

06/06/18 ONLINE BUSINESS SUITE NEXT DAY PAYMENT -10.00

Total                             service                                     fees        "$10.00
Note your Ending Ba/once afready reffects the subtractf'on of Servfce Fees,




Daily ledger balances
Date Balance ($} Date B3lance($}' Date Balance ($)

06/01 27.83 06/06 . , 80,327.83 06/27 76,072.83
06/04 7.83 06/11 1 ,550.00 06/28 0.00
06/05 80,337.83 06/19 , _„ ... . 0.00 06/29 , 0.47




                                                                                                 DoifTn A f\f ft
   Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                    Desc Main
                                          Document      Page 71 of 114




 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.


Thank you for being a valued customer of Bank of America Merrill Lynch. The purpose of this message is to remind you of the
Deposit Agreement and Disclosures Booklet that governs use of your deposit account, and where a copy of the agreement can
be viewed. Ail clients, at the time of account opening, are provided with the standard disclosure. Your continued use and
maintenance of your account constitute your receipt, review of, and acceptance of the Agreement A current copy can be found
by logging into bofamlcom/depositagreement.




                                                                                                           Dariia R n-F (5
   Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                                          Document      Page 72 of 114

WW CONTRACTORS INCORPORATED j Account ^ 4460 3&SO 3326 | June 1. 201816 June 30,2018




                                           This page intentionaHy left bJank




                                                                                        0^rt4\ K /^ R
   Case 18-12095-BFK                   Doc 93           Filed 09/28/18 Entered 09/28/18 14:20:49                                                     Desc Main
                                                      Document      Page 73 of 114




                                                                                                              Business Advantage
 P.O. Box 15284
 WUmington, DE 19850
                                                                                                                       Customer service information



                                                                                                               9) -1.888.BUSINESS (1.888.267.4637)

                                                                                                               .".'I
                                                                                                               ;V. bankofamerica.com
  WW CONTRACTORS INCORPORATED
                                                                                                               8)1' Bank of America, NA
  PO BOX 597
                                                                                                                    P.O. Box 25118
  RANDALLSTOWN, MD 21133-0597                                                                                       Tampa.FL 33622-5118




       Please see the Important Messages " Please Read section of your statement for Important details that could Impact you.




Your Business Advantage Checking
for June 1. 2018 to June 30, 2018                                                                             Account number: 4460 3650 3313
WW CONTRACTORS INCORPORATED

Account summary
Beginning balance on June 1, 2018 $10.00
                                                                                                         ff ofdepostts/credits: 1
Deposits and other credits                                                                10.00          # of withdrawals/debits: 2
Withdrawals and other debits                                                             -20.00          if of Items-prevlous cycle1:0

Checks                                                                                     -0.00         H of days in cycle; 30
Service fees                                                                              -0.00         Average ledger balance: $3.66

Ending balance on June 30, 2018                                                          $0.00           l(ncfudes checks pa/d.dsposfted (Eems&other debits




       Bank of America Business Advantaga                                                                                           LIFE / BETTER CONNECTED*




       Your Digital            Sign up for online alerts today1
                               Stay up to date on your balances, and receive alerts when transactions have posted and when
         Tip of the            your payments are due.
            Month
                               Log in or enroll at bankof a merica.cam/s mall business and click on Alerts in the Activity Center.

                              (You msy elect to receive alerEs via text or email. Bank of America does not charge for this service but your mobiSe carrier's
                               message and data rates mayappiy. Delivery of alerts may be affected or delayed by your mobile carrier's coverage,
                               02018BankofAmericaCorporation | ARTCJRP6 | S5M-03-18-0017.B



Pllil'F fWlF'AK SPFf-F nFHUFRY-F TYPF- IMARF-1 m- MD                                                                                                      Dori-a i\ t\f ff
   Case 18-12095-BFK              Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                            Document      Page 74 of 114

WW CONTRACTORS INCORPORATED | Account # 4460 36503313 | June 1, 2018 to June 30, 2018


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.


Updating your contact information- We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your information has changed, the easiest way to update it !s by visiting the Hetp & Support tab of Online
Banking.


Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account wouid be governed by the terms of these documents, as we may amend them from time to time. These documents are
liart of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.


Electronic transfers: In case of errors or questions about your electronic transfers- If you think your statement or receipt is
wrong or you need more information about an electronic trgnsfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.


        Tell us your name and account number.
        Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
        why you need more information.
        Tell us the dollar amount of the suspected error.


For consumer accounts used primarily for personal, family or household purposes; we will investigate your complaint and will
correct any error promptly. If we take more than 1 0 business days (10 calendar days If you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is In error, so that you will
have use of the money during the time it will take to complete our Investigation.


For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.


Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fall to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified In the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorized transactions.


Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



© 2018 Bank of America Corporation


                          Bank of America, N.A. Member FDIC and 1 a F Equal Housing Lender




                                                                                                                      rn ^ nf C
   Case 18-12095-BFK               Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                          Desc Main
                                             Document      Page 75 of 114


                                                                                         Your checking account

WW CONTRACTORS INCORPORATED 1 Account # 4460 3650 3313 [ June 1.20l8to June 30, 2018




Deposits and other credits
Date                      DescriptEon                                                       Amount

06/27/18 Legal Order Reversal, LTS D060818000839 10.00

Total deposits and other credits $10.00



Withdrawals and other debits
Date                      Description                                                  '    Amount

06/11,18 Legal Order, ITS D060818000839 -10.00

06/28/18 Online Banking transfer to CHK 3300 Confirmatlonff 1 117250876 "10.00

Total withdrawals and other debits -$20.00




Daily ledger balances
Date Balance ($) Date Bal3nce($) Date Balance ($)

06/01 10.00 06/27 1 0,00 .06/28 0.00
06/11                  0.00




      Bank of America Business Advantage LIFE / BETTER CONNECTED*



                         Guaranteed bank-to-bank transfers
     Your Digital
       Tip of the Pay individuals, vendors and suppliers who bank at other financial institutions — right from Online Banking.
         Month Just log in and d!ck the Transfers I Send tab, then select Send Money to Someone or
                         a Business.


                                                                                                         ARH98YHQ I SSM-03.1B-0013.fi'



                                                                                                                     Difta -3 nt (;
   Case 18-12095-BFK            Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49    Desc Main
                                         Document      Page 76 of 114

WW CONTRACTORS INCORPORATED [ Account # 446036503313 J June 1, 2018 to June 30, 2018




                                          This page EntentionalEy left bEank




                                                                                         D.orfo A nf ^
  Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                     Desc Main
                                         Document      Page 77 of 114




 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.


Thank you for being a valued customer of Bank of America Merrill Lynch. The purpose of this message is to remind you of the
Deposit Agreement and Disclosures Booklet that governs use of your deposit account, and where a copy of the agreement can
be viewed. All clients, at the time of account opening, are provided with the standard disclosure. Your continued use and
maintenance of your account constitute your receipt, review of, and acceptance of the Agreement. A current copy can be found
by logging into bofaml.com/deposltagreement.




                                                                                                            Ocarfa C; ,-if ft
   Case 18-12095-BFK             Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                                           Document      Page 78 of 114
WW CONTRACTORS INCORPORATED | Account # 44603650 3313 ! June 1, 2018 to June 30, 2018




                                           This page intentionally left blank




                                                                                          D-arfo R nf (5
    Case 18-12095-BFK                     Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                   Desc Main
                                                      Document      Page 79 of 114

                 F' First National Bank Statement Ending 106/21/2018
                                                                              WWCOWRACTOFtSINC                            Page 1 of 2
       4140 E. State Street
                                                                              Primary Account Number: 3534SSOO
       Hermitage, PA 16148

       ADDRESS SERVICE REQUESTED                                                Managing Your Accounts
       >OD3L13 fia5abt>4 DOOl DC13S43 10Z                                          I Online             vww.fnb-oniine.com


       VWV CONTRACTORS ING                                                      [SB By Phone            1 800-555-5455
       WWCFW ACCOUNT
                                                                                                        4140 E. State Street
       PO BOX 597                                                               EBI By Mail
       RANDALLSTOWN MD 21133-0597                                                                       Hermttage.PA 16148



    ,|,|,,iH,]i|i,,n|ii,iil,ii|i|Hi|i|i|m|,,|Uti|i|i|,i||i|,



 Summary of Accounts
 Account Type                                                                 Account Number                Balance This Statement
 FREE SMALL BUSINESS CHECKING                                                     ~ 9S349600                                      $0.00



FREE SMALL BUSINESS CHECi KING - 95349600
Account Summary
Date Description                                                   Amount
06/01/2018 Balance Last Statement                                  $869.21
                 1 Credit(s) This Period                         $44,001.56
            2 Deblt(s) This Period                               $44,870.77
06/21/2018 Balance This Statement                                     $0.00

Account Activity
Post Date Description                                                                 Debits             Credits                 Balance
06/01/2018 Balance Last Statement                                                                                                $869.21
06/01/2018       434901 EB INTERNET XFER TO CHECKING 95191622 ON                     $869,21                                        $0.00
                 6/01/18 AT 6:43
06/14/2018       GSA TREAS 310 MISC PAY 522326231470000                                             $44,001.56                 $44.001.56
06/20/2018       CLOSING WITHDRAWAL                                               $44,001.56                                        $0.00
06/21/2018       Balance This Statement                                                                                             $0.00


Daily Balances
Date                                   . Arriount Date                           Amount .Date                                    Amount
06/01/2018                                 $0.00 .06/14/2018                    $44,001.56 06/20/2018                               $0.00




         Member

         FDIC
   Case 18-12095-BFK                     Doc 93         Filed 09/28/18 Entered 09/28/18 14:20:49                          Desc Main
                                                      Document      Page 80 of 114

                       First National Bank Statement Ending 06/21/2018
   ...^
                                                                                    WWCONTRACrOFtQ INC                           Page 1 of 6
      4140 E. State Street
      Hermitage,PA16148                                                             Primary Account Number: 95191622


      ADDRESS SERVICE REQUESTED                                                      Managing Your Accounts
     >D17ti03 BflSObb4 DDD1 D12543 10Z                                                     Onfine              www.fnb-online.com


     WWCONTRACTORS SNC                                                                |S| By Phone             1 800-555-5455
     WARRBN J WfGGlNS
     NEAEWiGGiNS                                                                                               4140 E. State Street
                                                                                           By Mail
     OPERATING ACCOUNT                                                                                         Hermltage, PA 16148
     PC BOX 597
      RANDALLSTOWN MD 21133-0597
   |l||l|||||||.|,|H.I,,||l|l,||l|l|,,|,l,,l|,Hl,,|l,l|nl|IUI||l




  Summary of Accounts
 /^ccountType                                                                      Account Number                  Balance This Statement
  BUSINESS ANALYSIS CHECKING                                                              95191622                                       $0.00



                        ANALYSIS CHECKING - 95191622
/account Summary
Date Description                                                        Amount
06/01/2018 • Balance Last Statement                                   -$6,925.88
                 51 Credit(s) This Period                          $1,028,384.48
                 66 Debit(s) This Period                           $1,021.458.60
06/21/2018 Balance This Statement                                         $0.00

account Activity
post Date.. - Description;                                                                  Debits              Credits                 Balance
06/01/2018 Balance Last Statement                                                                                                     "$6,925.88
Og/b-f/2018 DEPOSIT                                                                                           $3,400.00           .-$3,525.88
06/01/2018 425042 EB INTERNET XFER FROM FREE SMALL BUSIN                                               ^ $528.24                      -$2,997.64
                 95191523 ON 6/01/18 AT 6:42
:06/01/2018 434901 EB INTERNET XFER FROM FREE SMALL BUStN
                 95349600 ON 6/01/18 AT 6:43                                                          ^        $869.21                -$2.128.43

00/01/2018 412798 EB INTERNET XFER FROM FREE SMALL BUSIN                                                      $1,106.89               -$1,021.54
              95191630 ON 6/01/18 AT 6:41
06?6'1/2018 OVERDRAFT FEE                                                                 "$148.00
                                                                                                       ^
                                                                                                                                      -$1,169.54 3
00/01/2018 , FORWARDF1NANCSNG 8882449099 40559BAF6F74                                  ^2,670.00                                    -$3,839.54
0@/g-r/2018_ Saturn Funding Deblt5047199_                                               ^,599-00                                    -$5,438.54
06/01/2018 , EBF PARTNERS LLCE8F DEBIT 000000001820898                                 ^-$840.58                                    -$6.279.-f 2
06/01/2018 CONTINUOUS OVERDRAFT FEE                                                     ^ $8.00                                   -$6,287.12
gg/04^2018 RETURNED ITEM, INSUFFICIENT FUNDS, EBF
               PARTNERS LLC EBF DEBIT 0000.00001820898                                                  ^ $840.58                 -$5,446.54


06/04/2018 ' RETURNED ITEM, INSUFFICIENT FUNDS. Saturn Funding                                          ,,^1,599.00               "$3.847.54
               Debit 5047199                                                                            f/'


00/04/2Q'f8 RETURNED ITEM. INSUFFfCIEMT FUNDS,                                                         (/" $2,670.00              -$1,177.54
                 FORWARDFINANCING 8882449099 40559BAF6F74
•06A?4/2Q18, RETURNED ITEM FEE                                                          l/^Tn.oo                                  -$1,288.54
:06/04/2018 FORWARDFINANCING 8882449099 AE52D16C9D81                                           .00                                -$3,958,54




         Mftmbar

 "g^FDIC
       Case 18-12095-BFK            Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                   Desc Main
                                             Document      Page 81 of 114

                       First National Bank Statement Ending 06/21/2018
                                                                      WW CONTRA CTORS SNC                      Page 3 ofQ
                                                                      Primary Account Number: Q$191622



     BUSINESS ANALYSIS CHECKING -95191622 (continued)
     Account Activity (continued)
     Post Date DescHpfion                                              . ^ Debits               Credits           . Balance
     06/04/2018   Saturn Funding Debit 5047199                         y- $1,599.00                             -$5i,557.54
     06/04/2018   EBF PARTNERS LLC EBF DEBIT 000000001823973             .•^840,58-                             -$6,398.12
     06/04/2018   CONTINUOUS OVERDRAFT FEE '                               '^S8.00                              "$6,406.12
     06/05/2018   WIRE/IN-201815600693;ORGWW CONTRACTORS                                ^'$50,000.00            $43,593.68
                  JNCORPORATED:REF 233278124
     06/05/2018   FIRST NATIONAL FNBmersvcs 39300982090879                                ^$1.452.68            $45,046.56
     06/05/2018   RETURNED ITEM, INSUFFICIENT FUNDS, EBF                                  v/ $840.58            $45,887.14
                  PARTNERS LLC EBF DEBIT OOOOOQQ01823973
     06/05/2018   RETURNED ITEM, INSUFFICIENT FUNDS, Saturn Funding                      ^ $1,599.00            $47,486.14
                  Debit 6047199
     06/05/2018   RETURNED tTEM, INSUFFICIENT FUNDS,                                       ^<S2.67aOO           $50,156.14
                  FORWARDFINANCING 8882449099 AE62D16C9D81
                                                                               ^-
     06/05/2018   RETURNED ITEM FEE                                      Vsi n.oo                               $60,045.14
     06/05/2018   681609 EB INTERNET XFER TO CHECKENG95191630 ON        ^$5,000.00                              $45,045.14
                  6/05/18 AT 12:00
    06/05/2018    FORWARDFfNANCING 8882449099 17173E8D86EF         t^$5,670.00                                  $42,375.14
    06/05/2018    Saturn Funding D^faft 5047199                     [^,599,00                                   $40,776.14
    06/05/2018    EBF PARTNERS LLC EBF DEBIT 000000001827058           iWO.58                                   $39.935.56
    06/05/2018    PAYMENT TO COMM TAX OTHER FIXED i-OAN 46255090    ^SS,374.18                                  $30,561.38
    06/06/2018    FIRST NATIONAL FNBmersvcs 39300982090879                                 1.^2,037.05          $32,598.43
    06/06/2018    RT 6/5/18 STOP PAY E6F PARTNERS-SK                                        i^$84d58            $33,439.01
    06/06/2018    RT 6/5/18 STOP PAY SATURN FUNDING-SK                                     ^$1,599.00           $35,038.01
    06/08/2018    RT 6/5/18 STOP PAY FORWARDFINCNCING-SK                                   (^£2,670.00          $37,708.01
    06/06/2018    960867 EB INTERNET XFER TO LOAN 4S978710 ON    ^ $2,228.24                                    $35.479,77
                  6/06/18 AT 11:28
    06/06/2018    CHECK#1318 ....                                 1^12,007.00                                   $23,472.77
    .06/06/2018   FORWARDFINANC1NG 8882449099 A08F9803A38E          t-^2,670.00                                 $20,802.77
    06/06/2018    CHECK#1316 . ,                                        ^.,$2,100.00                            $18,70277
    06/06/2018     Saturn Funding Debit 5047199                         ^1,699.00                               $17,103.77
    06/06/2018     EBF PARTNERS LLC EBF DEBIT 000000001830142             ^$840.58                              $16,263.19
    D6/06/2018    .Analysis Charges May 2018                             ' ,M4^35                               $15,816.84
    06/07/2018     RT 6/6/18 STOP PAY EBF PARTNERS LLC -SK                                 i/< $840.58          $16,657.42
    D6/Q7/2018     RT-6/6/18 STOP PAY SATURN FUNDING-SK                                    ^1,699.00            $18.256.42
    06/07/2018_    RT 6/6/18 STOP PAY FORWARDFINANCING-SK                                                      ,$20,926.42
    06/07/2018    ON DECK CAPITAL 28670305 28670305                      ^3,717.95                              $17,208.47
    06/07/2018    FORWARDFINANCING 8882449099 D5396714D4CD              • ^2,670.00'                            $14,538.47
    06/07/2018    Saturn Funding Debit 5047199                             ^,599,00                             $12,939.47
    06/07/2018    EBF PARTNERS LLC EBF DEBIT 000000001833230             y ,^S40.:£8                            $12,098.89
                                                                          "y
    06/08/2018    REPOSIT                                                                (^<9&,298.72          $110,397.6-1
    06/08/2018    FIRST NATIONAL FNBmersvcs 39300982090879                                ^ $336.28            $110,733.89
    06/08/2018    RT6/7/18 STOP PAY EBF PARTNERS LLC SK                                  ~^ $840.58            $111,574.47

m   06/08/2018
    06/08/2018
                  RT 6/7/18 STOP PAY SATURN FUNDING SK
                  RT 6/7/18 STOP PAY FORWARDFINAMCING-SK
                                                                                          ^ $1.599.00
                                                                                         ^ $2,670,00
                                                                                                               $113,173.47
                                                                                                               $115,843.47
    06/08/2018    RT 6/7/18 STOP PAY ON DECK CAPITAL SK                                    j^$%,717.95         $119,561.42
    06/08/2018    CREDIT CRD PMT CR CD PMT 486531XXXXX3127             ^35,166.35                             ^315,604.93
    06/08/2018    FORWARDFiNANCING 8882449099 20F8B50983E5 .'If     $2,670.00                                 -$318,274.93
    06/08/2018    ML FACTORS F5709 CASH C&D VWV CONTRACTORS, -J ',^2;343.00 ,                                 -$320,617.93
    06/11/2018    RETURNED ITEM. INSUFRCIENT FUNDS. CREDIT CRD                           ^435,166.35           $114,548.42
                  PMT CR CD PMT486531XXXXX3127
    06/11/2018 MISCELLANEOUS DEBIT                                        $3,000.00                            $111,548.42
    Case 18-12095-BFK             Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                    Desc Main
                                              Document      Page 82 of 114
•'WWC-©NTRACTC)RS\INQ,                       95191622              Statement Endinci.06/21/2018                 ,'Page4yf_6




                                                              95191622 (contmued)
Account Activity (continued)
Post Date Descripttph-                                                       ^D.e^its             Credits          Balance
OS/11/2018    OVERDRAFTFEE , .                                            \^ $74.00                             $111,474.42
06/11/2018    CHECK#68                                      ..l/f70.000-00                                       $41,474.42
06/11/2018   ~CHECK#68                                      '. .411.717,00                                       $28,757.42
06/11/2018    WORLDGLOBALCAP.ACHPAYMENT W002 .                   t/$4,999,00                                     $24,758.42
06/11/2018    ML FACTORS F5709 CASH C&D WW CONTRACTORS,         1^2,343,00                                       $22,415.42
06/11/2018    BjRCH COMMUNICTN TELECOM SV 4948582                 (^26.53                                        .$21,588.89
08/11/2018    KUBOTA TRACTOR CfPNONREC 00039000138                 ^FSQI.40                                      $21,227.49
06/11/2018    FIRST NATIONAL DISCOUNT 39300982090879              ,^3.15.92                                      $20,911.57
00/11/2018    PAYMENT TO COMM LOG OTHER DUE D LOAN 45925165          ?,320.74                 ^'                  $8,590.83
06/12/2018    DEPOSiT                            -   .   -   ...                           ^70,000.00 '          $'?8,590,83.
06/12/2018    RET ML FACTORS F5709 STOP PAY MES                                            ./• $2,343,00         $80,933.83
06/12/2018    RET WORLDGLOBALCAP STOP PAY MES                                               ^$4,999.00           $85.932.83
06/12/2018    MiSCELLANEOUS DEBIT . .. ,. ,                             '^.<40,000.00                            $45.932.83
06/12/2018    WORLDGLOBALCAP ACHPAYM&NT W003                              -^,999.00                              $40,933,83
06/12/2018    MERCHANT FUNDING BMF 876                                    i/52,342.00                            $38,591.83
06/12/2018    MERCHANT FUNDiNG BMF 876                                    1^2,342,00                             $36,249.83
06/12/2018   ' MCA'Servicing Debit 5047199                                 ,41,599.00                            '$34.650,83-

06/12/2018    ATT Payment 771717003CLARY                          ^156.80               ^                        $34,494.03
                                                                 "^
06/13/2018    248486 EB INTERNET XFER FROM FREE SMALL BUSIN                       ^10,000.00                     $44,494,03
              95191630 ON 6/13/18 AT 19:57
06/13/2018    GSATREAS 310 MISC PAY 521525622470000                                 ^322,268.24 '                $66,762.27
06/13/2018    GSA  TREAS   310 MiSC PAY 521525622470000                            ^   $56,462,30               $123.224.57
06/13/2018
                                                                               jac—-
              RET MCA SERVICING STOP PAY - MES                                      ,,$1,599.00                 $124.823.57
06/13/2018    RET MERCHANT FUNDING STOP PAY - MES                                    ^ $2,342.00                $127,165.67'
06/13/2018    RET MERCHANT FUNDING STOP PAY - MES                                       ^2,342.00               $129,507.57
06/13/2018    RET WORLDGLOBALCAP STOP PAY - MES                                    ^'$4,999.00                  $134.506.57
06/1S/2018    02-)010 EB INTERNET XFER TO CHECKING 95191630 ON ^:0,000 00                                        $74,506.57
              6/13/18 AT 19:34
06/13/2018    WORLDGLOBALCAP ACHPAYMENTW004                       ^4,999.00                                      $69.507.57
06/13/2018. ..FORWARDFINANCING 8882449099 A64DE9EOQ90C            ^,670.12                                       $66,837..45
06/13/2018 ' MERCHANT FUND!NGBMF 876 ' • " • "^$2,342.00                                                         $64,495.45'

06/13/2018    MERCHANT FUNDING BMF 876 .                          ^$2,342.00                                     •$62,153.45

06/13/2018    MCA Sen/icmg Debit 5047199                      • .^1,599.00                                       $60.554,45
06/13/2018    ON DECK CAPSTAL 28790438 28790438                       i-410.00
                                                                                             ^_^__ ,-^ -.
                                                                                                                 $60,544.45
06/14/2018    GSA TREAS 310 M1SC PAY 521525622470000                            '^188,373.47                     $248.917.92
06/14/2018    RET ON DECK CAPITAL STOP PAY -MES                                       / $10,00                  '$248,927.92
06/14/2018 . RET MCA SERVICING STOP PAY -MES                                       ,*/ $1,599.00                $250,526.92
06/14/2018" 1 RET MERCHANT FUNDSNG STOP PAY -MES • -                               /-$2,342.00                  "$252,868.92
06/14/2016    RET MERCHANT FUNDING STOP PAY" MES                                  ^/ $2,342.00 _                $255,210.92
06/14/2018    RET FORWARDFINANCING STOP PAY - MES                                   I/$2.670.12 '               $257.881,04
06/.14/20-18  RETWORLDGLOBALCAP STOP PAY.- MES                                       ., ^4.999.00               $262,880.04.
                                                                                     \^
06/14/2018    WiRE/OUT-2018l65Q0900;BNF PAYROLL FUNDING         ^5,990.03"                                      $256,890.[)1
06/14/2018    WIRE/OUT-201816500894.BNF CHARLES SCHWAB            ^,152 35                                      $224,737.66
              BANK:OB! FFC: ACCT#215416WW CONTRACTORS
06/14/2018    WiRE/OUT-201816500893;BNF CHARLES SCHWAB               ?6,609.76                                  $188,127.90
              BANK;OBi FFC: ACCT#215416WW CONTRACTORS
06/14/2018    242963 EB INTERNET XFER TO CHECKING 95191630 ON    n 50,000.00                                     $38,127.90
              6/1^/18 AT 17:56
06/14/2018    WORLDGLOBALCAP'ACHPAYMENT W005                       ^4,999.00                                    ••$33,128.90

06/14/2018    ON DECK CAPITAL 28817129 28817129'                   '.$3,717.95                                   $29,410.95
06/14/2018    MERCHANT FUNDING BMF 876                            ^$2.342,00"                                    $27,068,95
06/14/2018 MERCHANT FUNDING BMF 876                               ^,2,342.00                                      $24,726.95
    Case 18-12095-BFK             Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                        Desc Main
                                           Document      Page 83 of 114

                     First National Bank                              Statement Ending 06/21/2018
                                                                     WW COWHACTOPtS fNC Page 5 of 6
                                                                    Primary Account Number. 9S191GZ2



 BUSINESS ANALYSIS CHECKING                                 95191622 (continued)
Account Activity (continued)
 Post Date Description                                                       ^ Debits              Credits          Balance
 06/14/2018      MCASetvidirig Debit 5047199                              V^:B99,00                               $23,127.95
 06/14/2018      CHECK #1331                                               ld<800.00                              $22,327.95
 06/15/2018      RET MCA SERVICiNG STOP PAY - MES                                           .^$1'>599.00          $23,926.95
06/15/2018       RET MERCHANT FUNDING STOP PAY - MES                                       , ^2.342.00 ''         $26,268.95
06715/2018       RET MERCHANT FUNDING STOP PAY - MES                                       "y $2,342.00           $28,610.95,,
06/15/2018       RET ON DECK CAPITAL STOP PAY -MES                                        ^ ^3,717.95             $32,328.90
06/15/2018       RET WORLDGLOBALCAP STOP PAY - MES                                          ^4,999.00             $37,327.90
1D6/15/2018      MERCHANT FUNDING BMF 876                                 ^,$2,342.00                             $34,985.90
06/1:5/2018      MERCHANT FUNDING BMF 876                                  -^.342.00                              '$32i643.90
06/18/2018       GSA TREAS 310 MISC PAY 521525622470000                                    ^$6,549.13             $39,193.03
06/18/2018       REt 6/15/18 MERCHANT FUNDING STOP PAY R8                                     ^2,342.00           $41,535.03
06/18/2018       RET 6/15/18 MERCHANT FUNDING STOP PAY     RS        .     ,                 {<^42.00             $43,877.03
                                                                                            ~^7~
06/20/2018       CLOSING WITHDRAWAL                                   , ^3,877.03                                        $Q.OO
06/21/2018       Balance This Statement                              (*
                                                                                                                         $0.00

Checks Cleared
.. Check Nbr         Date           _Amdunt , CfieckJ'jbr      Date      Amount         Check'Nbr . Date             Aftiount
           V6^
             "^ 06/11/2018        $70.000.00      V1316* 06/06/2018    $2,100.00         ^ 1331*.06/14/2018          $800.00
                06/11/2018        $11.717.00      _,^?18\ 06/06/2018 $12,007.00
        Indicates skipped check number

Daily Balances
.Date                           _Amount Date                            Amount Date                                  Amount
06/01/2018                     -$6.287.12 06/08/2018                -$320,617.53. 06/15/2018                       $32,643.90
06/04/2018                     -$6.406.12 06/11/2018                   $8,590.83 06/18/2018                        ,$43,877.03
06/05/2018                     $30.561.38 06/12/2018                  $34,494.03 06/20/2018                              $0.00
06/06/2018                     S15,&16.84 06/13/2018                  $60.544.45
06/07/2018                     $12,098.89 06/14/2018                  $22.327,95
       Case 18-12095-BFK                              Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                                                             Desc Main
                                                               Document      Page 84 of 114
                                                                                                       otmyfriyrii t=naihci_uy/^i/2cny-;                                        P-QQ3 6'.0t6




                      M^-.triaiir tfu.'jwiiiww
                                                                                    ..Fii(i&in.i)^               ^,^11^                                                         \,^_ ///',,'.€
                                                                                                                               ^j^MS^$^IAt^
                        < rv^fti^svftpfft" '""j-
  ^-.^{/^&^^^^' ^ b ^i'/f                                        H>n^Li(^.^=ia±fa^. <-3'.^~-'^'


  '^•^^s^.

                                                                                                                                                                        ^
                                                                                                                                                                                  W-6
Q^PGt 'J}£'.^tr^^                        S ^ f7W
                                                               ,! ^y c ^A,
                                                                 ^ ^^" ^ -i,.ii™^..A--y
                                                                                                        j s \\-+\^
                                                                                                             -^.^.^{s^
                                                                                                                               ^f/te-_
                                                                                                                               :J;^/^~~^-
                                                                                                                                                                        _„„!; ? </^.


                                                                                                                                 AWt\
             ^i-^lc^/" '^7f                                                                                        •& a-r'




                                                                                                       A-
                                                                                     s-cir • •
                                                                                                                             ii~~w"~c?
         t^V^ft'SSSf^^fl^WT^ J| ^SAs'i^W
                                         ;f.r/^;ui/
                                                               [ ^.'0.1 ^-?
                                                                                                                                         9^ 9 ?^ alfaAl
                                                                 );D\iil&0=?
                                                                                                                                »;Ot.iaiflaEiE^
             'tSMC-^CC't


•0- S43/877/036/20/3018"                                               $11/717.00 6/11/2018 68 $70/000.00 6/11/2018


^^».nFHlci=m*ti frsyTvif^'
                                                                                                                       ^iT
                                                                                                                       ^     ^.
                                                                                                                              s
                                                                                                                                  nritusntu^ ta,o?B^ui                                   51
                                                                                                                             ..'
•aai-y ''^.T.w^-ff^ ~-                                         t£^* 'l")tl*A1                                   ^ 1-iVwn"     fSSS tu;^«Bp                                       ^v^"
 •vnr.^i.r-
tm~.^~           ^^-
       -. -L!^. t^\.    ^\,^^'
                     ^ A.^'L ^-'f?'                             .&riili1MuA**-'r


I:' T                         ^                                                                    ^~4^
                                                                                                                   4fc                                              '^^^
                                                                        l.'tfittif ill"
^^... ^, " "'' ^ ^.'.".~^"'^r.~~y
                                      ^'..wwriSfT-——T=r-x.,!
         il.^il.^- _ \ _ . ^__^"._\" " ' ' -i
                                                                                                   ^M^i
  ^^f^ftsitit^ wu.it*!yl-;. -ymwue-                                        •"•.SUi^'Ol.JltSSfj-i iRlWCTtt'                                  ..i:nt31>-' •Wt.llliC'i:') ^fi;l:




1316 $2,100.00 6/6/2018 1318 $12/00-7.00 6/6/2018 1331 $800.00 6,14/2018
   Case 18-12095-BFK                   Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49                            Desc Main
                                                  Document      Page 85 of 114

                       First National Bank Statement Ending 06/21/2018
                                                                                    WWCOW^ACTORS WC                            Page 1 of 4
       4140 E. State Street
       HermHage, PA 16148                                                           Prlmsry Account Number: 95191630


      ADDRESS SERVICE REQUESTED                                                       Managing Your Accounts
      >£U45S4 flfl5Dfafc4 OODli DC15543 3,02                                          gNI Online             www.fnb-oniine.com


      WW CONTRACTORS INC                                                               |a| By Phone          1 800-555-5455
      WARREN JWIGGINS
      NEA E WfGGINS                                                                                          4140 E. State Street
                                                                                      IE3 BY Mail
      PAYROLL ACCOUNT                                                                                        Hermitage, PA 16148
      PO BOX 597
      RANDALLSTOWN MD 21133-0597
    l,l[n,,lnl,n,l,llm,,ll,llullll,lllllllln,l,,nul,l,l,l,l,




  Summary of Accounts
                                                                                    Account Number               Balance This Statement
;' FREE SMALL BUSINESS CHECKiNG                                                            95-191630                                  $0.00



 FREE SMALL BUSINESS CHECKING - 95191630
Account Summary
 Date Description                                                        Amount
06/01/2018 Balance Last Statement                                       $1,106.89
                 5 Credits) This Period                             $453.145.53
            12 Debit(s) This Period                                 $454,252.42
08/21/2018 Balance This Statement                                           $0.00

Account Activity
post Date Description _ .                                                                    Debits           Credits                Balance
06/01/2018 Balance Last Statement                                                                                                   $1,106.89
06/01/2019       412798 EB INTERNET XFER TO CHECKING 95191622 ON                         $1,106.89 '                                    $0.00
                 6/01/18 AT6:41
06/05/2018       681609 EB INTERNET XFER FROM BUSINESS ANALYSi                                           ^5.Bfl?W                   $5,000.00
                 95191622 ON 6/05/18AT 12:00
•06/05/2018      THE GUARDiAN JUN GP INS 50386100SSGOOOO                              ^$4:687.14-                                    $4'12.86
06/12/2018       DEPOSIT                                 _     --   .                                      $40.000.00           $40,412.86
06/12/2018       UNITED HEALTHCAR ED) PAYMTS 367816548408                              ....$28;345:4^                           $12,067.44
'06/13/2018      •DEPOSIT                            ,   _     ,__,     •    "                            .$:i88;M5^           $210.212.97
06/13/2018       021010EB INTERNET XFER FROM BUSINESS ANALYSI                                            ^$60;CKffi:0^         $270,212.97
                 95191622 ON 6/13/'fS AT 19:34
06/13/2018       248486 EB INTERNET XFER TO CHECKING 95191622 ON                        MQ.OO.P<OQ,i,'                         $260,212.97
                _ 6/13/18 AT .19:57
06/14/2018       242S63 EB INTERNET XFER FROI\4 BUSINESS ANALYSi                                         W50;t)00l@^           $4'10,212.97
                 05191622 ON 6/W18 AT 17:56
06/14/2018    VWV Contractors, COLLECTIONH042287                                    1^68,322.92                                $341.890.05
06/J4/2018    WW Contractors, COLLECTtON H042291                                    ^$38.052.98                                $303,837.07
06/14/2018    WW Contractors, COLLECTION H042280                                     ^$31,919.58 ;                             $271,917.49
 06/14/2018 - VWV Contractors, COLLECTION H042281                                    ^$31.442.75                               $240,474.74
 06/14/2018   WW Contractors (COLLECTION H042279                                        $16,966.56                             $223,518.18
'06/1-4/2018 WW Contractors. COLLECTION H042293                                       .v$ 11,726.56                            $211,791.62



         Member
 roau.Kouywf
r-reHDKS i •
  Case 18-12095-BFK            Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49              Desc Main
                                         Document      Page 86 of 114

                 First National Bank Statement Ending 06/21/201 &
                                                             WW CONTRACTORS INC                       Paffe 3 of4
                                                             Primary Account Number: 96191G30



FREESrVIALL BUSINESS CHECKING - 95191630 (continued)
Account Activity (continued)
Post Date Description                                            ,.,.,' Debits         Credits            Balance
06/14/2018   WW Contractors. COLLECTION H042282                  ^9:796.29                            $20'1.995.33
06/20/2018   CLOSING WITHDRAWAL , .                           .,.$201,995.33                                 $0.00
06/21/2018   Balance This-Statement                                                                          $0.00


Daily Balances
Date_                          _Attibunt Date                  _Amoy_nt Date                              Amount
06/01/2018                        $0.00 _08/12/2018 .         $12.067.44 06/14/2018                    $201,99S.33
06/06/2018                      $412.86 06/13/2018           $260,212.97. 06/20/2018                         ?0.00
 Case 18-12095-BFK                            Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49        Desc Main
                                                       Document      Page 87 of 114
•VWV CONTRACTORS,ING                                    9513'i630-       Statemehf En-dinq 08/2.1/2018         'Fafle4;(?tzi




                 ERA < p'art'^ii.aMitsKRinu
                    ;l-r'?iijia=utBt^--'" _, .-"-^

 .-^.^^^W "•Wit- ^ ^^'
 ht-^».^SZi^^^_—l
 A€ W f^'/ ^^^ ^/ ^•^ ^
  _SSS!. _. ., ^,
    ['jT.^~^:ctT^urT=eT<^i(
                                   \ ^•T^.sc
       tiiHS-iCCCC':


?CT-$20i7y95733 ~o72-072-018-
           Case 18-12095-BFK                                 Doc 93            Filed 09/28/18 Entered 09/28/18 14:20:49                                             Desc Main
                                                                             Document      Page 88 of 114

                                                                                                                                                                    i:^'^^i?!^i
                                                                                                                                                                    li:i.!«iiii)i;:li;!ilii;.;!.;i;



        if Corporate Card
                Statement of Account
Pfpwed For                                                                              Aooounf Nunbef           Cloainfl Daia
WARREN W1QGIN8                                                          XXXX-X)00<X4-H001                       06/29/18                           Page 1 of 2
WW CONTRAOTORQ ING

                                                                                                                                        Balance Please Pay Btf
       Pfwioiit Bataneo <            NewCfeugw^                  OtharDabHii                Piiinwils 1      .'OlbdfCffidjiaS              Due ^06/13^8 ' '
         420,389,6e                       "0.00                         ~O^G ^^.^^;11'^^
                                                                                 '•!,-•• • ".i^is-?^:?^
                                                                                                          81illl?'IS)                        EBIB For IrmfiortQDt inf!Qtm@tjon
                                                                                                                                                  Irsfl'ai'dtho.yQLif account •
                                                                                                                                                  •refertGtpa^eS..




Cancallod. Aaalgnad to coilsction agant,

To manage your Account online pr to pay your bill, please visit us at corp,atnsricanexpress.com. For additional
contact infortYtation, please see the reverse side of this page.

Activity                                                                                                                                                                  Amount?


Tot^QfNewActMty                                                                                                    New Cheirgs^/QtHer Debits                                      0.00
                                                                                                                     PPaymenta/Ottier Credits                                     0.00




^ Piesae toy on ih& tMiforelion iMicWi (ieteoh and feisjrn wHh yotir paymant i
Do not siaple or use paper ciips                                                                                                     AccourtNumber Payable upon receipt in
Payment Coupon                                                                                                          3787-617584-11001 U.S. Dollare.
                                                                                                                                 Please Pay By Enter 15 d!g!t account.
                            AB 01 009710 67066 S 30 A ^^i?                                                                             06/1'3/16 number on aii payments,

                            i<*rll11i|nirlnl!)i|mtl!llt"lhllih"hli'iillli"ih!r                                                                     Cheoto or drafts must be
                                                                                                                                                   drawn aflaln^banio
                     ^ WARREN WIGGINS                                                                                             A$S%9SS ^teTOheUS:"
                        WW CONTRACTORS ING
                     i5:H5 W MULBERRY ST                                                                                                           Check hers if addressi
                        BALTIMORE MD 21201                                                                                                         islophpne number, or
                                                                                                                                                   &'hn'£tif,:addreaa has
                                                                                                                                                   ohan^d.^Note ohanoes on
                                                                                                                                                   rsv8rs0:sSde.

                              Mail Payment to;
                                                                           •hirililillliijlll"llntilul'llilnuini"l'i(iutl'iillln
                                                                                                                                                  a'
                                                                           AMERICAN EXPRESS
                                                                           P.O. BOX 1270
                                                                           NEWARK NJ 07101-1270


       nnnn'aiA'"]^ -ira i r i..i. nm naanTiLciCflnnnnnnnnn 3q-i«i
Case 18-12095-BFK             Doc 93        Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                          Document      Page 89 of 114

                                              JAFFE&ASHER                 LLP

                                                 ATTORNEYS AT LAW

           New YORK OFFICE                        ESTABLISHED I 974                       TOLL FREE Q88-625-9SQ5
          600 THIRD AVENUE                     WWW .dAFFEAN DASHER. COM                     TEL 2 I 2-68 7-3000
     NEW YORK, NY 1 00 I 6-! 90 I                                                              FAX Z I £-687-3601



                                                                                     PUEASE RESPOND TO NEW YORK OFFtCE
  DIRECT: Z5&G                                                                      EMAIL! GOALTERIO@JAFfGANDASHE:R.COM




                                                                          April 20,2018
  VIA REGULAR MAIL
  WW CONTRACTORS, INCORPORATED
  Attention: NeaWiggins
  P.O. Box 597
  Randallstpwn, MD 21133-0597


                    Re: American Express Corporate Account Numbers Listed in Exhibit "A"
                             J&A File No. 15003627

  Dear Nea Wiggins:

          This office represents American Express Travel Related Services Company, lac. ("American
  Express'").


          American Express has advised us that the sum of $445,601.58 is presently due and owing from
  the Company to American Express under the above referenced corporate card accounts listed in Exhibit
  A. The foregoing balance is subject to increase as a result of the imposition of delinquency assessments
  and/or additional card accounts being placed with our firm in the future.

          American Express has instructed us to offer an opportunity to resolve this matter. Accordmgly,
  remit payment of $445,601.58 by wire transfer via Jaffe & Asher LLP's wire transfer instructions
  attached as "Exhibit B", or send a bank check payable to "Jaffe & Asher LLP" to our New York office
  address listed above.


          Please contact us upon your receipt of this letter. Our hours of operation are 9:00am to 5:00pm
  EST. All rights and remedies are reserved.


                                                                          Sincerely,
                                                                          JAPFE&ASHERLLP


                                                                   By:                                     UUM^
                                                                          Gregory E. Galterio, Esq*




                   This communication is from a debt collector. This is an attempt to collect
                      a debt and any information obtained will be used for that purpose.

                                                     Page 1 of 3


        GEOROiA                     FLORIDA          NEW JERSEY                 PENNSYLVANIA               TEXAS
Case 18-12095-BFK   Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                             Document      Page 90 of 114




                                  "Exhibit "A"


                     American Express Acct. No. ending in 11001
                     American Express Acct. No. ending m 31003
                     American Express Acct. No. ending in 41002
                     American Express Acct. No. ending itt 91001




                                       Page 2 of 3


      GEIOROIA FLORIDA NEW JERSEY PENNSYLVANIA TEXAS
Case 18-12095-BFK    Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                              Document      Page 91 of 114




                                     Exhibit "B"


                                 Wire Transfer Instruction:
                    To Jaffe and Asher Attorney IOLA Accoimt at Citibank

                                         Citibank
                                      90 Park Avenue
                                   New York, NY 10016
                                     ABA# 021000089
                For credit to the account ofJalEfe & Asher Special No.l
                                 Account No. 09242882




                                         Page 3 of 3

      OEOROIA FLORIDA NEW JERSEY PENNSYLVANIA TEXAS
Case 18-12095-BFK                          Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                               Desc Main
                                                         Document      Page 92 of 114



 Primary account number 5210578745 • June 18.2016-June 30,2018 n Page4of6
                                                                                                                                                        ^A?ELLS
                                                                                                                                                        FABGQ



 Additional Platinum Checking

 Activity summary                                                                                           Account number 6211153829
        Beginning balance on 6/18                                            $0.00                          WW CONTRACTORS. INCORPORATED
        Deposits/Credlts                                                     25.00
                                                                                                            DEBTOR IN POSSESSION
                                                                                                            CH11 CASE #18.12096 (EVA)
        WithdrawaSs/Debits                                                   25.00
                                                                                                            Maryland account femis and condiSwa apply
        Ending balance on 6/30                                               $0.00
                                                                                                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 055003201
        Average ledger balance this period                                   $7.68
                                                                                                            For Wire Transfers use
                                                                                                            Routing Numbsr (RTN): 121000248


Overdraft Protsction
This account is not currently covered by Overdraft Protection, if you wouid like more information regarding Overdraft Protection and eilgibiiity requiremenls
please cal! the number listed on your statement or visit your Wteils Fargo store,




Transaction history

                             Check                                                                                   Deposits/         Withdrawals/         Ending daily
        Oate . Number DesctipSJon , .                                                                                  Credits ,              Debits               balance
        6/18 ~" ~~
                                     Deposit                                                                            25.00                                       ::25.00
       ••6/22                        Legal Order Oeiblt.^.Contad Ariel Bousltiia Esq (212) 433-2298 -                                         -25.00-                  0.00
                                     Case#61424H8 . . .
        Ending balance on 6/30                                                                                                                                       0.00

        Totals                                                                                                         525.00                $25.00

       The EntSng Daily Balance does not reRect any pending ualhdrswats or holds on deposfled funds that may have fleen oulsiandtng on your accaunl when your
       tfanaacSons posted, tf you had Insuflidenl availabfe funds when 8 transaclion posted, few may hava been assQSsed,


Monthly service fee summary

For a complete list of fees and detailed account Information, see the Wells Fargo Account Fee and Information Scheduie and Account Agresment applicable to
your account (EasyPay Card Terms and Conditions far prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly ssrvice fee questions.



       Fee period 08/16/2018 - 06/30/2018                                                   Standard monlhly service fee $12.00                   You paid $0.00

       The fee Is waived this fee period because the account is linked to a platinum Business Checking account.-

       How to avoid the monthly servlcs fee                                                                    Minimum required                   TOs fee period
       Have any ONE of the following account requiremsnts
          • Minimum daily balance                                                                                       $3.000.00                          $0.00 a
          • Average ledger balance                                                                                      $8.000,00                          $9.00 Q
          • A qualifying transaction from a linked Wells Fargo Business Payroll Services                                          1                             oD
            account
         . • The fee is waived whsn (inked to a Platinum Business Checking account
       The Monthiy service fee summary fee period ending data shown above includes a Sattirday, Sunday, or holiday wlilch are non-business days.
       Transactions occurring after the last business day of the month will be incitKtetj In your next fee period.
       WHWH •
          Case 18-12095-BFK                         Doc 93                 Filed 09/28/18 Entered 09/28/18 14:20:49                     Desc Main
                                                                         Document      Page 93 of 114

<i ' ~-^
^.p, —;——SF?"



          Primary account number: 5210578745 • June 18, 2018-June30,2018 «r Page5of6




          Account transaction fees summary

                                                                                                 Units   Excess   Service charge per        Total service
                   Service 'c/o/go 'tfssew'ptfef)                              Units used    included     units      excess unify ($}         :c/tflfge^
                  CXsll Deposited '[S)                                                 CT       5.000-       0              ';,0.0030                0.00
                  TransacOorts                      .   .   .   .-   .   ,            .1 .        15CL       0                 .0,50               "oido-

                  Total                             service                                  charges                          $0.00




                Stiee! Seq = 00270B7
Case 18-12095-BFK                  Doc 93       Filed 09/28/18 Entered 09/28/18 14:20:49            Desc Main
                                              Document      Page 94 of 114

                                                    WW Contractors Inc.
                                               Reconciliation Detail
                       1130 Suntrust Payroll DIP Account, Period Ending 06/30/2018

         Type               Date         Num                Name           Clr   Amount          Balance

 Beginning Balance                                                                                         0.00
      Cleared Transactions
         Deposits and Credits -1 item
 Deposit 06/27/2018                                   WW Contractors. Inc. X           100.00          100.00

          Total Deposits and Credits                                                   100.00          100.00

      Total Cleared Transactions                                                       100,00          100.00

 Cleared Balance                                                                       100.00          100.00

 Register Balance as of 06/30/2018                                                     100.00          100.00

      New Transactions
          Checks and Payments - 34 items
 Check                  07/06/2018      EFT           HUMAN RESOURC...                -378.75          -37S.75
 Check                  07/06/2018      EFT           HUMAN RESOURC...                -217.93          -596.68
 ChecR                  07/12/2018                    HUMAN RESOURC...             -30,150.74       "30,747.42
 Check                  07/12/2018                    HUMAN RESOURC...             "16,744.46       -47,491.88
 Check                  07/12/2018                    HUMAN RESOURC...             -16,644.69       -64,136.57
 Check                  07/12/2018                    HUiyiAN RESOURC...            -7,606.04       -71,742.61
 Check                  07/12/2018                    HUMAN RESOURC...              -6,914.34       -78,656.95
 Check                  07/12/2018                    HUMAN RESOURC...              -3,950.26       -82,607.21
 Check                  07/13/2018                    HUMAN RESOURC...              -2,418.16       -85,025.37
 ChecR                  07/19/2018                    HUMAN RESOURC...             -91,945.78      -176,971.15
 Check                  07/19/2018                    HUMAN RESOURC...             -59,194.75      -236,165.90
 Check                  07/19/2018                    HUMAN RESOURC...             -52,838.47      -289,004.37
 Check                  07/19/2018                    HUMAN RESOURC...             -36,157.28      -325,161-65
 Check                  07/19/2018                    HUMAN RESOURC...             -35,700.92      -360,862.57
 Check                  07/19/2018                    HUMAN RESOURC...             -13,692.96      -374,555.53
 Check                  07/19/2018                    HUMAN RESOURC...             -13,684.19      -388,239.72
 Check                  07/19/2018                    HUMAN RESOURC...             -12,047.42      ^00,287.14
 Check                  07/19/2018                    HUh/lAN RESOURC...            -8,765.99      ^09,053.13
 Check                  07/23/2018      EiecC         CARLA FLOURNOY                "2,418.12      -411,471.25
 Check                  07/23/2018      elec c.       GustavoA. Morales             -1,911.54      -413,382.79
 Check                  07/23/2018      eft           HUMAN RESOURC...              -1,879.57      -415,262.36
 Check                  07/23/2018      eiec   c.     F1DELIA FLORES                -1,152.65      -416,415.01
 Check                  07/23/2018      elec   c.     Alice M. Burks                  ^86.96       -416,901.97
 Check                  07/23/2018      elec   c.     FRANCISCO ALVA...               -462.75      -417,364.72
 Check                  07/23/2018      elec   c.     Lena M. McGowen                 "447.34      "417,812.06
 Check                  08/02/2018      EFT           HUMAN RESOURC...             "113,712.39     -531,524.45
 Check                  08/02/2018      ^F-T          HUMAN RESOURC...              -64,866.84     -596,391.29
 Check                  08/02/2018      EFT           HUMAN RESOURC...              -39,635.97     -636,027.26
 Check                  08/02/2018      EFT           HUMAN RESOURC...              -39,540.43     -675,567.69
 Check                  08/02/2018      EFf           HUMAN RESOURC...              -36,346.34     "711,914.03
 Check                  08/02/2018      EFT           HUI^iAN RESOURC...            -18,226.28     "730,140.31
 Check                  08/02/2018      gpT           HUMAN RESOURC...              -16,615.25     -746,755.56




                                                                                                                  Page 1
Case 18-12095-BFK               Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49        Desc Main
                                         Document      Page 95 of 114

                                             WW Contractors Inc.
                                            Reconciliation Detail
                      1130 Suntrust Payroll DIP Account, Period Ending 06/30/2018

        Type               Date        Num           Name         CIr   Amount          Balance

 Check 08/02/2018                     EFT      HUMAN RESOURC...           -14,867.69      -761,623.25
 Check 08/02/2018                     EFT      HUMAN RESOURC...           -11,709.97      -773,333.22

         Total Checks and Payments                                       -773,333.22     -773,333.22

     Deposits and Credits - 7 items
 Transfer 07/05/2018                                                        1,000.00         1,000.00
 Transfer 07/11/2018                                                       82,010.53       83,010.53
 Transfer 07/13/2018                                                        2,500.00       85,510.53
 Transfer 07/18/2018                                                      330,907.12      416,417.65
 Transfer 07/18/2018                                                      330,907.12      747,324.77
 Transfer 07/24/2018                                                        3,000.00      750,324.77
 Transfer 08/01/2018                                                      360,000.00     1,-!10,324.77

         Total Deposits and Credits                                      1,110,324.77    1,110,324.77

       Total NewTransacfa'ons                                             336,991.55      336,991.55

  Ending Balance                                                          337,091.55      337,091.55




                                                                                                         Page 2
     Case 18-12095-BFK                      Doc 93          Filed 09/28/18 Entered 09/28/18 14:20:49                                                    Desc Main
                                                          Document      Page 96 of 114



                                                                                                               Business Advantage
 P.O. Box 15284                                                                                                       Customer service information
 Wilmington, DE 19850


                                                                                                                i3 1.888.BUSINE55 (1.888.287.4637)

                                                                                                                >\-^ b an kofam erica .corn
  WW CONTRACTORS INCORPORATED                                                                                   SB Bank of America, N.A.
  PO BOX 597                                                                                                          P.O, Box 25118
  RANDALL5TOWN, MD 21133-0597                                                                                         Tampa.FL 33622-5118




 ^     Please see the Important Messages - Please Readsection of your statement for important details that could impact you.




Your Business Advantage Checking
for June 1, 2018 to June 30. 2018                                                                              Account number: 4460 3650 3300

WW CONTRACTORS INCORPORATED

Account summary
Beginning balance on June 1,2018                                                     -$7,833.64
                                                                                                          ff of deposits/credits: 27
Deposits and other credits                                                          991.171.87            # of withdrawais/debits; 74
Withdrawals and other debits                                                       -872,688.89            # of items-previous cycle1: 8

Checks                                                                                 -1.000.00          # of days in cycle: 30

Sen/ice fees                                                                             -600.00          Average ledger balance; $82,763.74

Ending balance on June 30,201 8                                                 $109,049.34               ^tndudes checks pa(d?postted items&other debits




                                                                                                                                      LIFE / BETTER COMNECTEO"
         Bank of America Business Advantage



        Your Digital
                                  Sign up for online alerts today1
                                 Stay up to date on your balances, and receive alerts when transactions have posted and when
         Tip of the              your payments are due.
            Month
                                  Log in or enroii at bankofamerica.com/smallbusiness and dick on Aierts in the Activity Center.

                                 ' You may elect to receive sierts via text or emat!. Bank of Amertca does notcharge for this service but your mobile camer s
                                   message and data rates may appiy. Delivery of aierts may be affecterf or delayed by your mobile carrier's coverage.
                                  ©20^8 Bank of America Corp'ffrati^ | ARTCJRPG I SSM-03-18.0017.B



PDII-P rWIF-dR KPFf:-f: WtWFR^-'F T^PF- IMArtF'I" Rf;-Mn-                                                                                                   O-arra -\ nf -t n
     Case 18-12095-BFK               Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                         Desc Main
                                              Document      Page 97 of 114
WW CONTRACTORS INCORPORATED i Account U 4460 36SO 3300 J June 1, 2018 to June 30, 2018




BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.


Updating your contact information- We encourage you to keep your contact information up-to-date. This includes address, email
and phone number. If your Information has changed, the easiest way to update it is by visiting the He!p & Support tab of Online
Banking.


Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern ai! transactions relating to your account, including ail deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.


Electronic transfers: In case of errors or questions about your electronic transfers" if you think your statement or receipt is
wrong or you need more information about an electronic transfer [e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.


         Tell us your name and account number.
         Describe the error or transfer you are unsure about, and explain as clearly as you can why you beiieve there is an error or
         why you need more information.
         Tell us the dollar amount of the suspected error.


For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provlsionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation,


For other accounts, we investigate. and if we find we have made an error, we credit your account at the conclusion of our
investigation.


Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an unauthorized
transaction within the time period specified in the deposit agreement (which periods are no more than 60 days after we make
the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to not make a
claim against us, for the problems or unauthorteed transactions.


Direct deposits " !f you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may catl us to find out if the deposit was made as scheduled. You may also review your activity online or
visit a financial center for information.



© 2018 Bank of America Corporation


                           Bank of America, N.A. Member FDIC and 1 C F Equal Housing Lender




                                                                                                                   D-.rrn -) ^. f in
       Case 18-12095-BFK             Doc 93      Filed 09/28/18 Entered 09/28/18 14:20:49                            Desc Main
                                               Document      Page 98 of 114




WW CONTRACTORS INCORPORATED I Account # 4460 3650 3300 | June 1, 2018 to June 30. 2018




Deposits and other credits
Date          Description                                                                                                             Amount

06/01/18      GSA TREAS310 DES: MfSC PAY ID:XXXXXXXXXX70000 INDN:R*R* CO                                                      *-
                                                                                                                                     i.792.00

              CONTRACT10:9101036151
06/04/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-01}                                                                      7,535.55

06/04/18      RETURN OF POSTED CHECK / ITEM [RECEIVED ON 06-01)                                                                     4.315.48

06/04/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-01)                                                                      2,995.00

06/04/18      RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 06.01}                                                               ^ 2.499.00

06/04/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-01}                                                                      2,343.00

06/04/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06.01}                                                                      1,973.00

06/04/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-01)                                                                            49.02

06/05/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-04)                                                                      4.31 SAQ

06/05/18      RETURN OF POSTED CHECK / iTEM (RECEIVED ON 06-04)                                                                      2.995.00

06/05/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-04)                                                                      2,499.00

06/05/18      RETURN OF POSTED CHECK / ITEM (RECEIVED ON 06-04)                                                                      2.343.00

06/05/18      RETURN OF POSTED CHECK/ ITEM (RECEIVED ON 06-04)                                                                       -i.973.00

06/05/18      HOP CAPITAL DESACHPAY 10:877 INDN:WW CONTRACTORS ^77 CO 10:5473471515                                                107.000.00
              CCD
06/05/18      MERCHANT FUNDING DES:BMF 10:876 !NDN:WW CONTRACTORS ^76 CO ID:11 47347151                                            107.000.00
              CCD
06/05/1S      GSA TREAS310 DES: MtSC PAY ID:XXXXXXXXXX70000 !NDN:R*R' CO                                                             9,467.55
              CONTRACT10:9101036151
06/05/18      Fee Refund                                                                                                                   35.00

06/08/18      Online Banking transfer from SAV 3326 Confirmation^ 3246764862                                                         1.555.00

06/11/18      GSA TREAS310 DES: MISC PAY iD:XXXXXXXXXX70000 INDN:R<R*                             co                                12,74950
              CONTRACT 10:9101036151
06/13/18 GSATREAS310 DES: MISC PAY 1D;XXXXXXXXXX7 0000 INDN:R*R'                                 co                                271.966.00
            CONTRACT1Q:91010361S1
                                                                                                                        cmtmusd on the next page




        Bank of America Business Advantage                                                             LIFE / BETTER CONNECTED'




                            Guaranteed bank-to-bank transfers
       Your Digital
        Tip of the Pay individuals, vendors and suppliers who bank at other financial Institutions — right from Online Banking
           Month just log in and click the Transfers I Send tab, then select Send Money to Someone or
                            a Business.


                                                                                                            AfiH9aVHg ) SSM-03.ia-Q013,8



                                                                                                                        Dirto '3 nf 1 n
       Case 18-12095-BFK           Doc 93     Filed 09/28/18 Entered 09/28/18 14:20:49                                        Desc Main
                                            Document      Page 99 of 114

WW CONTRACTORS INCORPORATED I Account 8 4460 3650 3300 i June 1, 2018 to June 30. 2018




Deposits and other credits - continued
Date         Description                                                                                                                              Amount


06/13/18 G5A TREAS310 DES: MISC PAY !D:XXXXXXXXXX70000 )NDN:WW CONTRACT                                   co                                 29,782.50
             iD;91 01036151

06/27/18 Legai Order Reversal, LTS D061218000724                                                                                            215,938,79

06/27/18 Legal Order Reversai. LTS D060818000839                                                                                             91,929.67

06/27/18 Legal Order Reversal, LT5 D061218000728                                                                                             21,684.70

06/28/18 Online Banking transfer from SAV 3326 Confirmationff 241 7242733                                                                     76,072.83

06/28/18 Online Banking transfer from CHK 3339 Confirmation// 2317247485                                                                          6,352.80

06/28/18 Online Banking transfer from CHK 3313 Confirmation^ 1117250876                                                                                10.00

Total deposits and other credits                                                                                                       $991,171.87



Withdrawals and other debits
             Itejs-aipxijaa.                                                                                                                      JftfflWp£-.
06/01/18.„ 8AYVIEW LOAN SERVICING Bill Payment                                                                                                -7.535.55.

06/01/18 CAPITAL PARTNERS DE5:PAYMENT ID:OA628746 INDN:WW CONTRACTORS INC. CO                                                                 -4.315.48
             10:1800651227                                         CCD                  .   .   ,    .,    ,
06/01/18 WORLDGLOBALCAP DESACHPAYMENT ID:W079 INDN:WWCONTRACTORS1NCORP 20 CO                                                                  -2.995.00

             1D:XXXXX)(XXXA CCD .-. . . . .. ... ,, .. „

06/01/18 EMPIRE FUNDiNG DES:6469304602 ID:723 INDN:WW CONTRACTORS J723 CO                                                                     -2.499.00

             10:8473471515 CCD.
06/01,18 ML FACTORS TRUST DES:265493 10:303081 INDN:WW CONTRACTORS. INCORP CO                                                                 -2,343.00

             ID;RPP4327677 CCD . .
06/01/18 PB SOLUTIONS DES.-PAYMENT 1D:OA627692 INDN:WW CONTRACTORS 1NCORPO CO                                                                 -1.973.00

             ID:1800651227 CCD
06/01/18 AES DES:STDNT LOAN 1D:8296753292PA                                                         co
           1D:E)(XXXXXXXX WEB
06/04/18 CAPITAL PARTNERS DES:PAYMENT 1D:OA630041 INDNiWW CONTRACTORS INC. CO
             10:1800651227 CCD ...... ....,..-.,. .... .... . . . ...


06/04/1S WORLDGLOBALCAP DES:ACHPAYMENT1D:W080 iNDN:WWCONTRACTORSINCORP 81 CO -2,995.00
             IDrXXmmXA                                                         CCD                       .,    .    ___.                      ..

06/04/18 EMPIRE FUNDING DES;6469304602 ID:723 INDN;WW CONTRACTORS _723 CO -2.499.00
             10:8473471515                                 CCD                    .....      .,_.___._.__„_..                                         ^


06/04/18 ML FACTORS TRUST DES:265493 !D;303081 1NON;WW CONTRACTORS, INCORP CO -2,343,00
             ID:RPP4327677          CCD     .....   ............   .„.   .   ............................................_   .......   .   ....   .   .   .   .   .




06/04/18 PB SOLUTIONS DESiPAYMENT ID:OA629158 INDN;WW CONTRACTORS INCORPO CO -1,973.00
             10:1800651227                                          CCD                     _.._._.__„

06/05/18 . Online Banking transfer to SAV 3326 Confirmationff 3120560281 . ,..,,,. .. .-108.000.00

06/05/1 S WIRE TYPE:WIRE OUT DATE;180605 TtME:1153 ET TRN:2018060500274428 SERVICE                                                           -50,000,00
             REF:006451 BNF:WW CONTRACTORS, INC 10:95191622 BNF BK:F1RST N ATIONAL BANK OF
             10:043318092 PMT DET:233278124
06/05/18 BAYVIEW LOAN SERVICING Blil Pa^in.ent                                                                                                    -7.535,55

.0.6/05/18   PAYROLL FUNDING DES;PAYROLL ID: fNDN:WW Contractors, inc CO !D:XXmX)WX CCD                                                      . -5,990.03.

06/05/18     CAPITAL PARTNERS DESiPAYMENT ID:OA631347 INDN:WW CONTRACTORS INC. CO                                                                 -4,315.48

             iD:1800651227 CCD . .
06/05/18 WORLDGLOBALCAP DES:ACHPAYMENT1D:W081 fNDN:WWCONTRACTORSINCORP b9 CO -2.995.00
             .IDrXXXXXXXXXA.CCD , , .... ..
                                                                                                                                continued on the next page




                                                                                                                                 Do rfc A nf •) Fl
       Case 18-12095-BFK           Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                                Desc Main
                                         Document    Page 100 of 114




WW CONTRACTORS INCORPORATED I Account ff 4460 3650 3300 [ June 1, 2018 to June 30. 2018




Withdrawals and other debits " continued
fiaj^      -&as£ri&tteiL                                                                                                       ^Atgsuot.
06/05/18 EMPIRE FUNDING DES:6469304602 10:723 I NDN:WW CONTRACTORS J23                     co                                   -2.499.00
            10:8473471515 CCD
06/05/18     ML FACTORS TRUST DES:265493 ID:303081 INDN;WW CONTRACTORS, INCORP CO                                               -2,343,00

           .. ID;RPP4327677 CCD .

06/05/18     MERCHANT FUNDING DES:BMF ID:876 INDN;WW CONTRACTORS _87& CO                                                        -2.342.00

             10:1147347151                           CCD           .   .    ,   .........          ...

06/05/18     PB SOLUTIONS DES;PAYMENT ID;OA630493 1NDN;WW CONTRACTORS INCORPO CO                                                -1,973.00
             ID:1800651227 CCO
06/06/18    .MD TLR transfer to CHK 1444 ... . .... ...                                                                         -2,QOO.OQ

06/06/18    . BKOFAMERICA ATM 06/06 #000002536 W1THDRWL GARRISON FOREST OWfNGS MfLLS MD.. . ,„                                  -1.900.00

06/06/18     PAYPAL DESJRANSFER INDN:WW CONTRACTORS fNC. CO                                                                     -2,500.00

             fO:PAYPALSD22                                 WEB              ....      ,   ..   „    ,   ...   .

06/06/18 NAVIENT-FDR DESAUTOPAY ID:BR NiceaWJggin INDN:5029350473917784 CO                                                        -658.64
            .t.D:2541843973                             PRO            .,       .   .......     „   ._.._............                 .^


06/06/18 NAVIENT-FDR DES:AUTOPAY 1D:BR Nitea J Wlgg INDN:5029350473917941 CO -551.46
            ,,10:2541843973                                 PPD                 .........          ..    „,,,,,   .    „.


06/06/18 CHEETAH TECHNOLO DES:IAT PAYPAL tD:1003229579125 INDN:WW CONTRACTORS INC. CO -5.99
             iD:XXXmXXXC IAT PMT INFO: WEB 000000000000000599 , , .,,, , ,_,,,, .__
06/07/18 Onlfne^Banking transfer to CHK,3339 Confirmation^ 1138500229                                                           -6,347,80.

06/07/18 PAYPAL DES:INSTXFER               INONiWW CONTRACTORS (NC. CO                                                             -500.00
             ID:PAYPALS177 WEB
OG/07/18    PAYPAL        DES:!NST XFER fNDN:WW CONTRACTORS tNC CO ID;PAYPALSi77                                                   -200.00
            WEB
06/07/18    PAYPAL        OES:INST XFER fNDN:WW CONTRACTORS )NC CO 10:PAYPALS!77                                                   -200.00
            WEB
06/07/18    NAVfENT DES:NAVI DEBIT 10:969704405^ 1 003F INDN:NEA E WIGGIN5 CO                                                        -80.69

             10:3520974271 PPO .. ,., . „, , . .

06/U/18     60334 06/08 /KX30599575 SAL INQ                                                                                           -2.50

06/11/1.8 .„. 60334 06/08 S000600039.BAL INQ.                                                                                        ..-2.50


06/11/18    Online Banking transfer Rev From SAV 3326 Confirmationff 3246764862 _. ... .„-                                     . -1,555.00

06/18/18   ... Legal Order. LTS 0061218000724 . , .. ...... .„.. .. ... ....                                                 -215,938.79

06/18/18    Legal Ordef, LTS 0060818000839 ........ .... .... ,                                                                -91.929.67

06/18/18    •Legsij Order. LTS D061218000728                                                                                   -21,684.70

06/28/18    WIRE TYPE:WtRE OUT DATE:180628 TIME:OS02 ET TRN:2018062800208727 SERVICE                                           -16.000,00
            REF:003963 BNFiCOMDATA, fNC )D:001841 1568 BNF BK:REGtONS BAN K 10:062000019 PMT
            DET:235117694
06/28/18 WIRE TYPE:WIRE OUT DATE:180628 TfME:1020 ETTRN:201 8062800268639 SERVICE                                              -20,000.00
             REF;006670 BNF.FIRST NATIONAL BANK OF PEN 10:1000703702 BNF BK:FIRST NATIONAL
             BANK OF 10:043318092 PMT DET:235127896 ATTN PAULA CRAMER SPL DEPT PER P.
06/28/18 . TRANSFER WW CONTRACTORS INCOR;SHADES OF GREEN Confirmatfonff 1519981617                                             -25.000.00

06/28/18 WIREPr'PE;WiRE OUT DATE:180628 TIME:1203 ETTRN:2018062800311787 SERVICE -222.771.50
          REF:008792 BNFrHUMAN RESOURCE INC 10:3656227265 BNF BK:WELLS FARGO BANK. N.A.
            10:121000248 PMTDET:235135932PA YROLLACHBOUNCEWWCONTRACT.ORSI . , ... ... ..... ....

06/29/18 MDTLR cash withdrawal fromCHK 3300                                                                                     -2,500,00
c-"~

                                                                                                                   continued on the next page




                                                                                                                      OofTn C, nf '1 n
       Case 18-12095-BFK                 Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                                    Desc Main
                                               Document    Page 101 of 114
WW CONTRACTORS INCORPORATED ( Account fl 44603650 3300 ) June 1, 2018 to ^une 30.2018




Withdrawals and other debits - continued
Oafis_l'f?e?^Ri;iap.-,. ,. , ,.--,: ,„•,-,- - ••--                                                                                          ArripLiftt.

06/29/18       WiRE TYPE:WIRE OUT DATE:180629 T!ME:1 538 ET TRN:2018062900553593 SERVICE                                                  -9,374,18
               REF-.031783 BNF:FIRST NATIONAL BANK OF PEN 10:1000703702 BNF BK:FIRST NATIONAL
               BANK OF !D:043318092 PMT DET:235339708 ATTN PAULA CRAMER SPL DEPT PER P
06/29/18 PAYPAL DES;TRANSFER                      )NDN;WW CONTRACTORS INC. CO                                                             -2.500.00
           ID:PAYPALSD22WEB
06/29/18 BMW BANK DES:BMWFS PYMT 1D:XXXXXXXXX INDNiWarren Wiggil 002061733 CO -779.84
               10:0870631885 PPD , ..

Card account d XXXX XXXX XXXX 6334

06/04/18 CHECKCARO 0531 EXXONMOBtL 47831631 SEAT PLEASANTMD 24164058152378009749207                                                            -73.53

            CKCD 5542 XXXXXXXXXXXX6334 XXXX XXXX XXXX 6334
P6/U/18 CHECKCARD 0606 OBRYCKIS R&R SEAFO                                                                                                      -30.67

06/14/18 . CHECKCAPD 0610 HOTEL                                                                                                              -318.91
Subtotal for card account » XXXX XXXX XXXX 6334 "$423.1 1
Card account ff XXXX Xm XXXX 8835

06/01,18 CHECKCARD 0531 T247 554281512 815115863 59 CKCD 8299 mXX)(XXXXXX8835 XXXX XXXX -150.00
               XXXX                    fi83S                 .       .   .   ..   .......        _


06/06/18 BKOFAMERICA ATM 06/06 #000009244 WJTHDRWL ^ANDALLSTOWN RANDALL5TOWN MD                                                              -400.00

ss^f^j^^ay^^w^^^ xxxx mx aaas-                                                                                                       _J^LMQQ
Total withdrawals and other debits                                                                                               .$872,688.89



Checks
Date           Check U                                   Amount

06/29/18._ . 1.3800                                   -1.000.00

Total checks                                       -$1,000.00
Total n of checks                                                1



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                                                                                              We refunded to you a total of
                                              Total for this period                Total year-to-date
                                                                                                              $35.00 in fees for Overdraft
  Total Overdraft fees                              $35.00                             $875.00                and/or N5F: Returned Items
                                                                                                              this statement period and a
  Total NSF; Returned Item fees                    $420.00                             $420.00                total of $35.00 in fees for
                                                                                                              Overdraft and/or NSF:
                                                                                                              Returned Items this year.



  To help avoid overdraft and returned item fees, you can set up:
       Customized alerts - get email or text message alerts (Footnote 1) to !et you l<now if your balance is low
       Overdraft Protection - enroll to help protect yourself from overdrafts and declined transactions
  To enroll, go to bankofamerica.com/onlfne, cali us at the number listed on this statement, or come see us at your nearest financial
  center.

  (footnote 1 ] Alerts received as text messages on your mobile access device may incur a charge from your mobile access service-
  provider. This feature is not available on the Mobile websice. Wireless carrier fees may apply.


                                                                                                                             continued on (he next page




                                                                                                                              D^.rfft. ^ ,->f -i n
      Case 18-12095-BFK                  Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                              Desc Main
                                               Document    Page 102 of 114




WW CONTRACTORS INCORPORATED | Account H 44603650 3300 | June 1,2018 to June 30,. 2018




Service fees " continued
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 05/31/18, A check mark below
indicates the requirement(s] you have met to qualify for the Monthly Fee waiver on the account.

 Q $2,500+ In new net purchases on a linked'Business credit card

 ^ $15.000+ average monthly balance in primary checking account

  ^ $35,000+ combined average monthly balance in linked business accounts

 Q: active use of Bank of America Merchant Sewfces

 Q active use of Payroi! Services

 Q) enroiied !n Business Advantage Reiationship Rewards

 For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship Rewards
 please call 1.888.BUS1NESS or visit bankofamerica.com/smallbusiness,

Date              Transaction                                description                      _     .   ....     Amount

06/01,18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-01                                                                                 -35,00

06/01/18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-01                                                                                 -35.00

06/01,18 NSF; RETURNED ITEM FEE FOR ACTIVITY OF 06-01                                                                                 -35.00


06/01,18 N5F: RETURNED ITEM FEE FOR ACTIVHY OF 06-01                                                                                  -35.00


06/01,18 NSF: RETURNED ITEM FEE FOR ACTIVJTC OF 06-01                                                                                 -35.00


06/01,18 NSF: RETURNED ITEM FEE FOR ACT1VIT/ OF 06-01                                                                                 -35.00


06/01,18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-01                                                                                 -35.00


06/04/18 OVERDRAFT ITEM FEE FOR ACTIVITi' OF 06-04                                                                                    -35.00


06/04/18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-04                                                                                 -35.00


06/04/18 NSF: RETURNED ITEM FEE FOR ACTIVFTY OF 06-04                                                                                 -35.00


06/04/18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-04                                                                                 -35.00


06/04/18 NSF: RETURNED ITEM FEE FOR ACT)Vmf OF 06-04                                                                                  -35.00


06/04/18 NSF: RETURNED ITEM FEE FOR ACTIVITY OF 06-04                                                                                 -35.00


06/05/18 Wire Transfer Fee                                                                                                            -25.00


06/07/18       ONLINE BUSINESS SUITE DIRECT PMT SERVICES                                                                              -10,00


06/28/18 Wire Transfer Fee                                                                                                            -25.00

06/28/18 Wire Transfer Fee                                                                                                            -25.00


06/28/18 Wire Transfer Fee                                                                                                            -25.00


06/29/18 W!re Transfer Fee                                                                                                            -25.00

06/29/18 ONLINE BUSINESS SUITE NEXT DAY PAYMENT                                                                                       -10.00


Total service fees                                                                                                                -$600.00

Note your Ending Balance already reflects the subtraction of Sen/fce Fees.




                                                                                                                         Dor(& 7 i^f '1 U
   Case 18-12095-BFK             Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                       Desc Main
                                       Document    Page 103 of 114
WW CONTRACTORS (NCORPORATED I Account D 4460 3650 3300 | June 1, 2018 to June 30. 2018




Daily ledger balances
Date Balance ($)                           Date                            Balance($)    Date                   Balance (S)

06/01                        -26,146.69    06/08                         16.96474        06/18 .                        0.00
06/04                        "18,845.65    oem                           28.123.57       06/27.               329.553.16
06/05                         30,764.32    06/13                        329,872.07       06/28.. . .          129.142,29
06/06                         22,748.23    06/14                        329,553.16 06/29                      109,04934
.06/07                        15,409.74




                                                                                                        D^Ka 0 nf 1 U
        Case 18-12095-BFK                                Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49   Desc Main
                                                               Document    Page 104 of 114




WW CONTRACTORS INCORPORATED j Account # 4460 3650 3300 | June 1. 2018 to June30, 2018


Check images
Account number: 4460 3650 3300
Check number: 13800 j Amount: $1,000.00

^•m—aartjFW»jyj^mJ

                 f^tam-ftKWKt'.l.

lata-"-™    ta""^..-




w^
                                           .'< ^,.
     l»'t .
     Wg'^J^KialpAtS-fil^e.,

 i.'~ArtU(dt»!

          Mllt<(a UNUtF* ILO,
          tmitCKwiWBr '
•i\y. HrfitmfciNtHO.HDfl


       vwvwt r HNftteiwicis
                   i'3)3HOO>* itOSiaOi&aii; >,l,6aa&5033Dan^ ^^ ...




                                                                                                            Dirfo a f\f l n
   Case 18-12095-BFK             Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                          Desc Main
                                       Document    Page 105 of 114




 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.


Thank you for being a valued customer of Bank of America Merrlll Lynch. The purpose of this message is to remind you of the
Deposit Agreement and Disclosures Booklet that governs use of your deposit account, and where a copy of the agreement can
be viewed. All clients, at the time of account opening, are provided with the standard disclosure. Your continued use and
maintenance of your account constitute your receipt, review of, and acceptance of the Agreement. A current copy can be found
by logging into bofaml.com/depositagreement




                                                                                                            Oarfa •) n n-f in
Case 18-12095-BFK                Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                       Desc Main
                                       Document    Page 106 of 114

                                                    WW Contractors Inc.
                                                Reconciliation Detail
                        1124 First National Checking Account, Period Ending 06/21/2018

            Type               Date           Num             Name             cir   Amount          Balance

  Beginning Balance                                                                                      -6,925.88
        Cleared Transactions
            Checks and Payments - 30 items
  Bill Pmt -Check       05/18/2018      1318          PJM Mechanical Co...     x       -12,007.00       -12,007.00
  Check                 06/01/2018      eft           First National Bank      x        -2.228.24       -14,235.24
  Check                    06/01/2018     1316        Tyrone Bailey            x        -2,100.00       -16,335.24
  Check                    06/01/2018                 First National Bank      x          -148.00       -16,483.24
  Check                    06/01/2018                 First National Bank      x            -8.00       -16,491.24
  Check                    06/04/2018                 First National Bank      x          -111.00       -16,602.24
  Check                    06/04/2018                 First National Bank      x            -8.00       "16,610.24
  Check                    06/05/2018                 First National Bank      x        -9,374.18       -25,984.42
  Transfer                 06/05/2018                                          x        -5,000.00       -30,984.42
  Check                    06/05/2018                 First National Bank      x          -111.00       -31,095.42
  Check                    06/06/2018                                          x          -446.35       "31,541.77
  Check                    06/08/2018                 Forward Financing        x        -2,670.00       -34,211.77
  Check                    06/08/2018                 ML Factors Trust         x        -2,343.00       -36,554.77
  Check                    06/11/2018                 First National Bank      x       -12,320.74       -48,875.51
  Check                    06/11/2018                 Cash                     x       -11,717.00       "60,592.51
  Check                    06/11/2018                 Cash                     x        -3,000.00       -63,592.51
  Check                    06/11/2018                 Birch Telecom            x          -826.53       -64,419.04
  Check                    06/11/2018     EFT         Kubota Credit Corpo...   x          -361.40       -64,780.44
  Check                    06/11/2018                 First National Bank      x          -315.92       -65,096.36
  Check                    06/11/2018                 First National Bank      x            -74.00      -65,170.36
  Check                    06/12/2018                 Cash                     x       -70,000.00      -135,170.36
  Transfer                 06/12/2018                                          x       -40,000.00      -175,170.36
  BiH Pmt-Check            06/12/2018                 AT&T                     x           -156.80     -175,327.16
  Transfer                 06/13/2018                                          x       -60,000.00      -235,327.16
  Transfer                 06/14/2018                                          x      -150.000.00      -385,327.16
  Check                    06/14/2018                 CHARLES SCHWAB           x       -36,609.76      -421,936.92
  Check                    06/14/2018                 CHARLES SCHWAB           x        -32,152.35     -454,089.27
  Check                    06/14/2018                 Payroii Funding Co...    x         "5,990.03     -460,079.30
  Check                    06/14/2018     1331        Nicholas Wiggins         x           -800.00     -460,879.30
  Check                    06/20/2018                 Cash                     x        -43,877.03     -504,756.33

             Total Checks and Payments                                                -504,756.33      -504,756.33

             Deposits and Credits -16 items
  Transfer                 06/01/2018                                          x           528.24          528.24
  Transfer                 06/01/2018                                          x           869.21        1,397.45
  Transfer                 06/01/2018                                          x         1,106.89        2,504.34
  Deposit                  06/01/2018                                          x         3,400.00        5,904.34
  Deposit                  06/05/2018                                          x         1,452.68        7,357.02
  Transfer                 06/05/2018                                          x        50,000.00       57,357.02
  Deposit                  06/06/2018                                          x         2,037.05       59,394.07
  Deposit                  06/08/2018                                          x              0.00      59,394.07
  Deposit                  06/08/2018                                          x           336.28       59,730.35
  Deposit                  06/08/2018                                          x        98,298.72      158,029.07
  Check                    06/11/2018                 Cash                     x        70,000.00      228,029.07
  Transfer                 06/13/2018                                          x        10,000.00      238,029.07
  Deposit                  06/13/2018                                          x        22,268.24      260,297.31
  Deposit                  06/13/2018                                          x        56,462.30      316,759.61
  Deposit                  06/14/2018                                          x       188,373.47      505,133.08
  Deposit                  06/18/2018                                          x         6,549.13      511,682.21

             Total Deposits and Credits                                                511,682.21      511,682.21

       Tola! Cleared Transactions                                                        6,925.88         6,925.88

  Cleared Balance                                                                        6,925.88              0.00




                                                                                                                      Page 1
Case 18-12095-BFK               Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                   Desc Main
                                      Document    Page 107 of 114

                                              WW Contractors Inc.
                                          Reconciliation Detail
                      1124 • First National Checking Account, Period Ending 06/21/2018

          Type               Date       Num              Name              cir   Amount         Balance

        Uncleared Transactions
            Checks and Payments -13 items
  Bill Pmt -Check       12/12/2016     EFT      Cintas Corporation                    -652.94         -652.94
  Bill Pmt -Check       12/12/2016     EFT      Clntas Corporation"...                -297.16         -950.10
  Bill Pmt -Check       12/12/2016     EFT      Cintas Corporation -...               -123.52       -1,073.62
  Blil Pmt -Check       12/12/2016     EFT      Cintas Corporation"...                -105.11       -1,178.73
  Bill Pmt -Check       05/05/2017     1160     Facility Solutions Gr...            "1,544.24       -2,722.97
  Check                  07/31/2017    1224     Maura Zamora                          -220.00       -2,942.97
  Bi!l Pmt -Check        01/05/2018    1284     Truss&SonPlumbi...                    -516.50       -3,459.47
  Check                  06/14/2018    1327     State Dept. of Asses...               -300.00       -3,759.47
  Check                  06/14/2018    1327     Department of Asse...                 -300,00       -4,059.47
  Check                  06/14/2018    1330     State Dept. of Asses...               -300.00       -4,359.47
  Check                  06/14/2018    1328     State Dept. of Asses...               -300.00       -4,659.47
  Check                  06/14/2018    1329     State Dept. of Asses...               -300.00       -4,959.47
  Check                  06/20/2018    1332     Maura Zamora                          -220.00       -5,179.47

           Total Checks and Payments                                                -5,179.47       -5,179.47

        Total Undoared Transactions                                                 -5,179.47       -5,179.47


  Register Balance as3 of 06/21/2018                                                 1,746.41       -5,179.47

  Ending Balance                                                                     1,746.41       -5,179.47




                                                                                                                Page 2
Case 18-12095-BFK               Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                        Desc Main
                                      Document    Page 108 of 114

                                                   WW Contractors Inc.
                                                 Reconciliation Detail
                       1118 Bank of America Checking 3300, Period Ending 06/30/2018

          Type               Date            Num             Name             CIr   Amount           Balance

  Beginning Balance                                                                                      -7,833.64
       Cleared Transactions
          Checks and Payments" 55 items
  Check               06/01/2018     eft             Bayview Loan Servi...    x         -7,535.55        -7,535.55
  Check               66/01/2018                     Capital Partners         x         -4,315.48       -11,851.03
  Check                  06/01/2018                  Worid Global Capital     x         -2,995.00       -14,846.03
  Check                  06/01/2018                  Empire                   x         -2,499.00       -17,345.03
  Check                  06/01/2018                  ML Factors Trust         x         -2,343.00       -19,688.03
  Check                  06/01/2018                  PBS Solutions            x         -1,973.00       -21,661.03
  Check                  06/01/2018                  Sallie Mae               x           -150.00       -21,811.03
  Check                  06/01/2018       eft        American Education...    x            -49.02       -21,860.05
  Check                  06/04/2018                  Capital Partners         x         -4,315.48       "26,175.53
  Check                  06/04/2018                  World Global Capital     x         -2,995.00       -29,170.53
  Check                  06/04/2018                  Empire                   x         "2,499.00       -31,669.53
  Check                  06/04/2018                  ML Factors Trust         x         -2,343,00       -34,012.53
  Check                  06/04/2018                  PBS Solutions            x         -1,973.00       "35,985.53
  Check                  06/04/2018                  Exxonmobil Flee/Gecc     x           -73.53        -36,059.06
  Transfer               06/05/2018                                           x      -108,000.00       -144,059.06
  Transfer               06/05/2018                                           x       -50,000.00       -194,059,06
  Check                  06/05/2018      • eft       BayvtewLoan Servj,..     x        -7,535.55       -201,594.61
  Check                  06/05/2018                  Payroll Funding          x        -5,990.03       -207,584.64
  Check                  06/05/2018                  Capital Partners         x        -4,315.48       -211,900.12
  Check                  06/05/2018                  World Global Capital     x        -2,995.00       "214,895.12
  Check                  06/05/2018                  Empire                   x        -2,499.00       -217,394.12
  Check                  06/05/2018                  ML Factors Trust         x        -2,343.00       -219,737.12
  Check                  06/05/2018                  Merchant Funding         x        -2,342.00       "222,079.12
  Check                  06/05/2018                  PBS Solutions            x        -1,973.00       -224,052.12
  Check                  06/06/2018                  WW Contractors, Inc.     x        "2.500.00       -226,552.12
  Check                  06/06/2018                  Warren Wiggins           x        -2,000.00       -228,552.12
  Check                  06/06/2018                  Petty Cash               x        -1,900.00       -230,452.12
  Check                  06/06/2018                  Sallle Mae               x          -658.64       -231,110.76
  Check                  06/06/2018        13801     Sallle Mae               x          -551.46       -231,662.22
  Check                  06/06/2018                  Cash                     x          -400.00       "232,062.22
  Check                  06/06/2018                  Cheetah Technologies     x             -5.99      -232,068.21
  Transfer               06/07/2018                                           x         -6,347.80      -238,416.01
  Check                  06/07/2018                  Veronica Williams        x           -500.00      "238,916.01
  Check                  06/07/2018                  Petty Cash               x           "200.00      -239,116.01
  Check                  06/07/2018                  Petty Cash               x           -200.00      -239,316.01
  Check                  06/07/2018                  Sallle Mae               x            -80.69      "239,396.70
  Transfer               06/11/2018                                           x         -1,555.00      -240,951.70
  Check                  06/11/2018                  Exxonmobil Flee/Gecc     x            -30.67      -240,982.37
  Check                  06/11/2018                  Bank of America, N.A.    x             -2,50      -240,984.87
  Check                  06/11/2018                  Bank of America, N.A.    x              -2.50     "240,987.37
  Check                  06/14/2018                  Holiday Inn Express      x           -318.91      -241,306.28
  Check                  06/18/2018                  Legal Order              x       "215,938.79      -457,245.07
  Check                  06/18/2018                  Legal Order              x        -91,929.67      -549,174.74
  Check                  06/18/2018                  Legal Order              x        -21,684.70      -570,859.44
  Check                  06/28/2018       WiRE       HUMAN RESOURC...         x       -222,771.50      -793,630.94
  Bj!i Pmt -Check        06/28/2018       ACH        Shades of Green          x        -25,000,00      -818,630.94
  Check                  06/28/2018       WIRE       First Nationai Bank      x        -20,000.00      "838,630.94
  Check                  06/28/2018        ACH       Comdata                  x        -15,000.00      -853,630.94
  Check                  06/28/2018       13800      Machado Landscap...      x         -1,000.00      -854,630.94
  Check                  06/29/2018       W!RE       First National Bank      x         -9,374.18      -864,005.12
  Check                  06/29/2018                  Baltimore Gas & Ele...   x         -3,903.93      -867,909.05
  Check                  06/29/2018       ACH        WW Contractors, inc.     x         -2,500.00      -870,409.05
  Check                  06/29/2018       ACH        VWV Contractors, inc.    x         -2,500.00      -872,909.05
  Check                  06/29/2018        EFT       BMW Bank                 x           -779.84      -873,688.89
  Check                  06/30/2018                                           x           -600.00      -874,288.89

             Total Checks and Payments                                               -874,288.89       -874,288.89




                                                                                                                     Page 1
Case 18-12095-BFK                 Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                     Desc Main
                                        Document    Page 109 of 114

                                                    WW Contractors Inc.
                                                Reconciliation Detail
                         1118 Bank of America Checking 3300, Period Ending 06/30/2018

            Type               Date           Num            Name             Clr   Amount          Balance

             Deposits and Credits -12 Items
  Deposit                  06/01/2018                                         x         3,792.00        3,792.00
  Deposit                  06/05/2018                                         x         9,467,55       13,259.55
  Deposit                  06/05/2018                                         x       251,425.53      264,685.08
  Deposit                  06/11/2018                                         x        12,749.50      277,434.58
  Deposit                  06/13/2018                                         x        29,782.50      307,217.08
  Deposit                  06/13/2018                                         x       271,966.00      579,183.08
  Deposit                  06/27/2018                                         x        21,684.70      600,867.78
  Deposit                  06/27/2018                                         x        91,929.67      692,797.45
  Deposit                  06/27/2018                                         x       215,938.79      908,736.24
  Transfer                 06/28/2018                                         x            10.00      908,746.24
  Transfer                 06/28/2018                                         x         6,352.80      915,099.04
  Transfer                 06/28/2018                                         x        76,072.83      991,171.87

             Totai Deposits and Credits                                               991,171.87      991,171.87

       Total Cleared Transactions                                                     116,882.98       116,882.98

  Cleared Balance                                                                     116,882.98      @°^^
          Uncleared Transactions
            Checks and Payments - 9 items
  Check                    11/01/2016     13602       Jevaun Bishop                      -200.00          -200.00
  B1SI Pmt -Check          11/16/2016     eft         Pitney Bowes                       -129.32          -329.32
  Biil Pmt -Check          11/16/2016     eft         Pitney Bowes                        -22.26          -351.58
  Check                    12/22/2016     13611       Nivea Rafcjiff                     "250.00          -601.58
  Check                    01/18/2017     13647       Corey Deviile                      -170.00          -771.58
  Check                    12/28/2017                 American Express                 -3,236.79        -4,008.37
  Check                    01/05/2018     13669       Nicholas Wiggins                   -500.00        -4,508.37
  Check                    06/06/2018     13796       Margaret Mead                    -1,000.00        -5,508.37
  Check                    06/08/2018     13797       M aura Zamora                      "220.00        "5,728.37

             Total Checks and Payments                                                 -5,728.37        -5,728.37

       Total Uncleared Transactions                                                    -5,728.37        -5,728.37

  Register Balance as of 06/30/201 8                                                  111,154.61      QWI®
          New Transactions                                                                             BS Balance
            Checks and Payments" 20 items                                                              $77,994.77
  Check                    07/01/2018     13806       CENTRAL PENSIO...                -8,276.13
  Check                    07/01/2018     13805       CENTRAL PENSIO...                -3,247,60       30,324.20
  Check                    07/01/2018     13804       CENTRAL PENSICL,                 "2,880.00
  Check                    07/01/2018     13807       CENTRAL PENSIO...                  -659.20
                                                                                                       outstanding ACH
  Check                    07/01/2018     13802       Local Union 564                    -349.60       -15,412.53
  Check                    07/01/2018     13803       Local Union 564                    -165.66       -15,578.19
  Check                    07/02/2018                 iConnect                        -30,000.00       -45,578.19
  Check                    07/02/2018     Withdr...   Petty Cash                      -10,000.00       -55,578.19
  Check                    07/02/2018     eft         Improcom Giobal Te...            -1,709.70       -57,287.89
  Check                    07/02/2018                 Bank of America, N.A.                -25.00      -57,312.89
  Check                    07/02/2018                 Intuit                              -10.99       -57,323.88
  Check                    07/03/2018                 BMW FINANCIAL                      -884.71       "58,208,59
  Check                    07/03/2018     eft         American Education...                "49.02      -58,257.61
  Transfer                 07/03/2018                                                     -15.00       -58,272.61
  Check                    07/06/2018     eft         Sallie Mae                         -658.64       -58,931,25
  Check                    07/09/2018                 Bank of America, N.A.               -10.00       -58,941.25
  Check                    07/10/2018                 CHUBB INSURANCE                  -5,203.00       -64,144.25
  Check                    07/10/2018                 improcom Giobai Te.,.              -857.00       -65,001.25
  Check                    07/10/2018                 Improcom Global Te...              "286.42       -65,287.67
  Transfer                 07/17/2018                                                 -13,437.94       -78,725.61

             Total Checks and Payments                                                -78,725.61       -78,725.61




                                                                                                                    Page 2
Case 18-12095-BFK   Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49             Desc Main
                          Document    Page 110 of 114

                                 WW Contractors Inc.
                               Reconciliation Detail
              1118 • Bank of America Checking 3300, Period Ending 06/30/2018

       Type Date Num Name C[r Amount Balance

     Deposits and Credits -1 item
   Transfer 07/17/2018                                         0.47            0.47

        Total Deposits and Credits 0.47 0.47

      Total New Transactions -78.725.14 -78,725.14

   Ending           Balance             32,429.47                  24,595.83




                                                                                        Page3
Case 18-12095-BFK                Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                          Desc Main
                                       Document    Page 111 of 114

                                                  WW Contractors Inc.
                                                 Reconciliation Detail
                               1129 Suntrust DIP Account, Period Ending 06/30/2018

          Type                 Date         Num                Name              Clr   Amount           Balance

   Beginning Balance                                                                                              0.00
        Cleared Transactions
           Deposits and Credits" 2 items
   Deposit 06/27/2018                                                                        100.00           100.00
   Deposit 06/28/2018                                                                      2,594.88         2,694.88

             Total Deposits and Credits                                                    2,694.88         2,694.88

        Total Cleared Transactions                                                         2,694.88         2,694.88

   Cleared Balance                                                                         2,694.88         2,694.88

        Uncleared Transactions
          Checks and Payments -1 item
   Bill Pmt "Check 06/29/201,8 Elec C.                Oliver Fire Protectio...            -6,575.00         -6,575.00

             Total Checks and Payments                                                    -6,575.00         -6,575.00

        Total Undeared Transactions                                                       -6,575.00         -6,575.00

   Register Balance as of 06/30/2018                                                      -3,880.12         -3,880.12

        New Transactions
            Checks and Payments" 81 Items
  Check                 07/03/2018     99             PLUMBERS & STE...                     -310.00           -310.00
  Check                 07/05/2018     WIRE           First National Bank                -20,000.00       -20,310,00
  Bill Pmt -Check       07/05/2018     wire           Proton Electric                    -11,032.25       -31,342.25
  Bill Pmt -Check       07/05/2018     WIRE           Kroff Chemical Corn..               -4,049.00       -35,391.25
  Transfer              07/05/2018                                                        -1,000.00       -36,391.25
  Check                 07/05/2018                    Suntrust Bank                          -65.00       -36,456.25
  Check                   07/05/2018                  Sunfrust Bank                          -65.00       -36,521.25
  Check                   07/05/2018                  Suntrust Bank                          -65.00       "36,586.25
  Check                   07/06/2018      EFT         United Healthcare                  -35,540.21       -72,126.46
  Check                   07/06/2018      EFT         Guardian Insurance                  -5,059.99       -77,186.45
  Bill Pmt -Check         07/09/2018      ElecC...    Fairbom Equipment.,                -18,575.00       -95,761.45
  Check                   07/09/2018      eft         Intuit                                -452.60        -96,214.05
  Check                   07/10/2018                  CHUBB GROUP                         -5,203.00      -101,417.05
  Bill Pmt-Check          07/10/2018      Eiec C...   IDEAL LIGHTING                        -625.00      -102,042.05
  Bill Pmt -Check         07/10/2018      Elec C...   Bernhard Mechanica.                   -246.22      -102,288.27
  Transfer                07/11/2018                                                     -82,010.53      -184,298.80
  Check                   07/11/2018                  Verlzon Wireless                   -15,365.39      -199,664.19
  Check                   07/11/2018      eft         Bayview Loan Servi..,               -7,535.55      "207,199.74
  Transfer                07/13/2018                                                      -2,500.00      -209,699.74
  Check                   07/15/2018                  improcom Global Te..                "1,662.32      -211,362.06
  Check                   07/16/2018      WIRE        IConnect                           -15,000.00      -226,362.06
  BiliPmt-Check           07/16/2018      EFT         CNA Insurance Corn.                -14,780.06      -241,142.12
  Check                   07/16/2018      EFT         Suntrust Bank                          -65.00      "241,207.12
  Check                   07/16/2018      EFT         Square, inc.                              -0.01    -241,207.13
  Transfer                07/18/2018                                                     330,907.12      -572,114.25
  Bill Pmt -Check         07/18/2018      ElecC...    StopFire, LLC                       -3,729.00      -575,843.25
  Bill Pmt -Check         07/19/2018      ach         CPR Services                       "24,631.98      -600,475.23
  Check;                  07/19/2018      ACH         CHARLES SCHWAB                     -13,143.34      -613.618.57
  Check                   07/19/2018      ACH         CHARLES SCHWAB                      -1,580.80      -615,199.37
  Check                   07/19/2018      EFT         Northwest BMW                       -1,000.00      -616,199.37
  Check                   07/19/2018      ACH         CHARLES SCHWAB                        -595.63      -616,795.00
  Check                   07/19/2018      ACH         CHARLES SCHWAB                        -531.41      -617,326.41
  Check                   07/19/2018      AC H        CHARLES SCHWAB                        "266.80      -617,593.21
  Check                   07/19/2018      ACH         CHARLES SCHWAB                        -266.80      -617,860.01
  Check                   07/19/2018      ACH         CHARLES SCHWAB                        -196.40      -618,056.41
  Check                   07/19/2018      ACH         CHARLES SCHWAB                        "187.76      -618,244.17
  Check                   07/20/2018      WIRE        First National Bank                "10,000.00      -628,244.17
  Check                   07/20/2018      106         Nicholas Wiggins                    -1,200.00      "629,444.17
  Check                   07/20/2018      EFT         Suntrust Bank                          -65.00      -629,509.17
  Check                   07/21/2018      104         YvonneTinsiey                       -1,500.00      "631,009.17
  Check                   07/23/2018      107         Mark Myatt                          -1,000.00      -632.009.17
  Transfer                07/24/2018                                                      -3,000.00      "635,009.17
  Check                   07/24/2018      In Ban...   Cash                                "3,000.00      -638,009.17
  Check                   07/25/2018      EFT         Northwest BMW                       -6,944.69      -644,953.86
  Check                   07/26/2018      110         Machado Landscap...                 -1,000.00      -645,953.86
  Bill Pmt -Check         07/27/2018      wire        Axten's Nursery & L.,               -6,000.00      -651,953.86

                                                                                                                         Page 1
Case 18-12095-BFK                 Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                      Desc Main
                                        Document    Page 112 of 114

                                                    WW Contractors Inc.
                                                 Reconciliation Detail
                                1129 Suntrust DIP Account, Period Ending 06/30/2018

            Type               Date           Num             Name             cir   Amount          Balance

  Check                    07/27/2018     wire        First National Bank                -4,456.48    -656,410.34
  Bill Pmt-Check           07/27/2018     eft         Kroff Chemical Corn,..             -2,503.20    -658,913.54
  Check                    07/27/2018                 Comcast                              -218.21    -659,131.75
  Check                    07/27/2018     eft         EZ Pass                               -50.00    -659,181.75
  BiilPmt-Check            07/30/2018     EFT         Shades of Green                   -22,000.00    -681,181.75
  Bill Pmt-Check           07/30/2018     ACH         Axten's Nursery & L...             -6,000.00    -687,181.75
  Bill Pmt-Check           07/30/2018     Check...    Kroff Chemical Corn,,,             -2,503.20    -689,684.95
  Check                    07/30/2018     EFT         Improcom Gioba! Te...              -1,696.32    -691,381.27
  Bill Pmt -Check          07/31/2018     111         Dowlin Electric                   "22,000.00    -713,381.27
  Bill Pmt -Check          07/31/2018     Check...    Cintas Corporation"...             -5,144.65    -718,525.92
  Bill Pmt -Check          07/31/2018     ^pY         AT&T                                 -278.97    -718,804.89
  Bill Pmt -Check          07/31/2018     EFT         AT&T                                 -242.15    -719,047.04
  B!H Pmt -Check           07/31/2018     EFT         AT&T                                 -230.32    "719,277.36
  Bill Pmt -Check          07/31/2018                 AT&T                                 -211.35     -719,488.71
  Bill Pmt -Check          07/31/2018     EFT         AT&T                                 -194.40     -719,683.11
  Bill Pmt -Check          07/31/2018     112         Loca!99-99AJACT...                   -180.00     -719,863.11
  Bill Pmt -Check          07/31/2018     EFT         AT&T                                 -119.86     -719,982.97
  Bii! Pmt -Check          07/31/2018     EFT         AT&T                                 -113.71    -720,096.68
  Transfer                 08/01/2018                                                 -360,000.00    -1,080,096.68
  Check                    08/01/2018     WIRE        IConnect                          -20,000.00   -1,100,096.68
  Check                    08/01/2018     WIRE        First National Bank               -19,374.18   "1,119,470.86
  Check                    08/01/2018     WIRE        First National Bank               -10,000.00   -1,129,470.86
  Check                    08/01/2018     0112        Cash                               -3,000.00   -1,132,470.86
  Check                    08/01/2018     109         Nicea Wiggins                        -340.00   -1,132,810.86
  Bill Pmt -Check          08/01/2018     EFT         Corn cast                            -203.21   -1.133,014.07
  Check                    08/02/2018     EFT         Aryeh Stein                        "8,000.00   -1,141,014.07
  Bil! Pmt -Check          08/02/2018     Check...    Kroff Chemical Corn...             -4,650.00   -1,145,664.07
  Check                    08/02/2018     114         Nicholas Wiggins                     -860.00   "1,146,524.07
  Check                    08/02/2018     116         Diego Romero                         -584.05   -1,147,108.12
  Check                    08/02/2018     115         Maura Zamora                         -440.00   -1,147,548.12
  BiliPmt-Check            08/03/2018     EFT         DE LAGE LANDEN ...                   -166.71   -1,147,714.83
  Bill Pmt -Check          08/06/2018     Check...    PRECISION PSI INC.                 -7,618.37   -1,155,333.20
  Bill Pmt -Check          08/OG/2018     EFT         Axten's Nursery & L...             -5,250.00   -1,160,583.20
  Check                    08/07/2018                 Cash                               -5,000.00   -1,165,583.20
  Check                    08/07/2018     wire        First National Bank                -5,000.00   -U70.583.20

             Total Checks and Payments                                               -1,170,583.20   -1,170,583.20

             Deposits and Credits" 23 items
  Deposit                  07/03/2018                                                    2,816.00         2,816.00
  Deposit                  07/03/2018                                                  203,333.61       206,149,61
  Deposit                  07/05/2018                                                    9,967.17       216,116.78
  Deposit                  07/12/2018                                                  198,145.53       414,262.31
  Deposit                  07/17/2018                                                  271,966.00       686,228.31
  Deposit                  07/18/2018                                                    3,520.00       689,748.31
  Deposit                  07/19/2018                                                      833.13       690,581.44
  Deposit                  07/19/2018                                                    6,944.69       697,526.13
  Deposit                  07/19/2018                                                   22,268.24       719.794.37
  Deposit                  07/19/2018                                                   56,462.30       776,256.67
  Deposit                  07/20/2018                                                      264.36       776,521.03
  Deposit                  07/20/2018                                                    1,754.64       778,275.67
  Deposit                  07/20/2018                                                    8,552.50       786,828.17
  Deposit                  07/20/2018                                                   14,417.70       801,245.87
  Deposit                  07/23/2018                                                   21,653.50       822,899.37
  Deposit                  07/25/2018                                                  188,373.47     1,011,272.84
  Deposit                  07/26/2018                                                    1,979.12     1,013,251.96
  Deposit                  07/31/2018                                                    6,862.72     1,020,114.68
  Deposit                  07/31/2018                                                   55,484.82     1,075,599.50
  Deposit                  07/31/2018                                                   55,530.50     1,131,130.00
  Deposit                  08/02/2018                                                    6,598.50     1,137,728.50
  Deposit                  08/06/2018                                                    1,829.30     1.139,557.80
  Deposit                  08/07/2018                                                    1,152.27     1,140,710.07

             Total Deposits and Credits                                               1,140,710.07    1,140,710.07

       Total New Transactions                                                           -29,873.13      -29,873.13

  Ending Balance                                                                        "33,753.25      -33,753.25



                                                                                                                     Page 2
          Case 18-12095-BFK              Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                                           Desc Main
                                               Document    Page 113 of 114
               SUNTRUST BANK                                                                                            Page 1 of 1
               PO BOX 305183                                                                                            66/EOO/0175/0/72
               NASHVILLE TN 37230-5183                                                                                  1000211607550
                                                                                                                        06/30/2018


                                                                                                                        Account
                                                                                                                        Statement
            SUTsfTRUST
               WW CONTRACTORS INC DIP                                                                                   Questions? Piease call
               CASE #18-12095                                                                                           1-800-786-8787
               OPERATING ACCT
               PO BOX 597
               RANDALLSTOWNMD 21133

                       As of June 1, 2018 changes will be made to Rules and Regulations for Deposit Accounts and Funds
                           Availability. The changes will be reflected in the June 1, 2018 versions and can be viewed or
                                     obtained oniine atwww.suntrust.com/cfisclosures, by requesting a copy
                                                 at 800.SUNTRUST or by visiting a SunTrust branch.


Account        Account Type                                         Account Number                                                       Statement Period
Summary
               PRIMARY BUSINESS CHECKING                            1000211607550                                                06/27/2018-06/30/2018

               Description                                        Amount       Description                                                          Amount
               Beginning Balance                                    $.00       Average Balance                                                   $2,694.88
               Deposits/CredEts                                $2,694.88       Average Coiiected Balance                                         $2,046.38
               Checks                                               $.00       Number of Days En Statement Period                                             4
               Withdrawals/Debits                                   $.00
               Ending Balance                                  $2,694.88


Overdraft Account Number Protected By
Protection 10002U607550 Not enrolled
               For more information about SunTrust's Overdraft Services, visit www.suntrustcom/overdraft.


Deposits/      Date                    Amount Serial ^               Description         Date                   Amount Serial #               Description
Credits        06/27                    100.00                       DEPOSIT             06/27                 2,594.88                       DEPOSIT

               Deposits/Credits: 2                                             Total Items Deposited: 4

Balance        Date                        Balance                    Collected            Date                        Balance                    Collected
Activity                                                               Balance                                                                     Balance
History        06/27                       2,694.88                      100.88            06/28                      2,694.88                    2,694.88

               The Ending Daily Balances provided do not reflect pending transactions or hofds that may have been outstanding when your transactions posted
               that day. If your available balance wasn't sufficient when transactions posted, fees may have been assessed.




235536                                                               Member FDIC
          Case 18-12095-BFK              Doc 93 Filed 09/28/18 Entered 09/28/18 14:20:49                                           Desc Main
                                               Document    Page 114 of 114
               SUNTRUSTBANK                                                                                             Page 1 of 1
               PO BOX 305183                                                                                            66/EOO/0175/0/72
               NASHVILLE TN 37230-5183                                                                                  1000211607543
                                                                                                                        06/30/2018


                                                                                                                        Account
                                                                                                                        Statement
            SU]\fTRUST
               WW CONTRACTORS ING DIP                                                                                   Questions? Please call
               CASE #18-12095                                                                                           1-800-786-8787
               PAYROLL ACCT
               PO BOX 597
               RANDALLSTOWN IViD 21133-0597

                       As of'June 1, 2018 changes wiii be made to Rules and Regulations for Deposit Accounts and Funds
                           Availability. The changes will be reflected in the June I, 2018 versions and can be viewed or
                                     obtained online at www.suntrust.com/disclosLires, by requesting a copy
                                               at 800.SUNTRUST or by visiting a SunTrust branch.


Account        Account Type                                         Account Number                                                        Statement Period
Summary
               PRIMARY BUSINESS CHECKING                             1000211607543                                               06/27/2018-06/30/2018

               Description                                        Amount       Description                                                          Amount
               Beginning Balance                                    $.00       Average Balance                                                     $100.00
               DeposEts/Credits                                  $100.00       Average Collected Balance                                           $100.00
               Checks                                               $.00        Number of Days En Statement Period                                            4
               Withdrawals/Debits                                   $.00
               Ending Balance                                    $100.00


Overdraft Account Number Protected By
Protection IQOOZI 1607543 Not enro!led
               For more information about SunTrust's Overdraft Services, visit www.suntmstcom/overdraft.


Deposits/      Date                    Amount Serial #               Description         Date                   Amount Serial #               Description
Credits        06/27                    100.00                       DEPOSIT

               Deposits/Credits: 1                                             Total Items Deposited: 0

Balance        Date                        Balance                    Collected
Activity                                                                Balance
History        06/27                         100.00                      100.00

               The Ending Daily Balances provided do not reflect pending transactions or holds that may have been outstanding when your transactions posted
               that day. If your available balance wasn't sufficient when transactions posted, fees may have been assessed.




235537                                                                Member FDIC
